Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 1 of 243
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 2 of 243



and on behalf of all survivors of John J. Badagliacca;

CHRISTINA BAKSH, as Executor
of the Estate of Michael S. Baksh, Deceased
and on behalf of all survivors of Michael S. Baksh;

JOANNE BARBARA, as Executor
of the Estate of Gerard Barbara, Deceased
and on behalf of all survivors of Gerard Barbara;

DANIEL F. BARKOW, as Administrator
of the Estate of Colleen Ann Barkow, Deceased
and on behalf of all survivors of Colleen Ann Barkow;

NINA BARNES, as Administrator
of the Estate of Durrell Pearsall, Deceased
and on behalf of all survivors of Durrell Pearsall;

JEANNINE P. BARON, as Executor
of the Estate of Evan J. Baron, Deceased
and on behalf of all survivors of Evan J. Baron;

JANE BARTELS, as Executor
of the Estate of Carlton Bartels, Deceased
and on behalf of all survivors of Carlton Bartels;

KIMBERLY KAIPAKA BEAVEN, as Executor
of the Estate of Alan Beaven, Deceased
and on behalf of all survivors of Alan Beaven;

MICHELLE BEDIGIAN, as Administrator
of the Estate of Carl Bedigian, Deceased
and on behalf of all survivors of Carl Bedigian;

SUSAN BERGER, as Administrator
of the Estate of Steven Howard Berger, Deceased
and on behalf of all survivors of Steven Howard Berger;

MADELINE BERGIN, as Administrator
of the Estate of John Bergin, Deceased
and on behalf of all survivors of John Bergin;

MIRIAM M. BIEGELEISEN, as Administrator
of the Estate of Shimmy D. Biegeleisen, Deceased


                                                      2
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 3 of 243



and on behalf of all survivors of Shimmy D. Biegeleisen;

CHRISTINE BINI, as Administrator,
of the Estate of Carl Bini, Deceased
and on behalf of all survivors of Carl Bini;

NEIL B. BLASS, as Administrator
of the Estate of Craig M. Blass, Deceased
and on behalf of all survivors of Craig M. Blass;

KRIS A. BLOOD, as Executor
of the Estate of Richard M. Blood, Deceased
and on behalf of all survivors of Richard M. Blood;

DOROTHY ANN BOGDAN, as Administrator
of the Estate of Nicholas Andrew Bogdan, Deceased
and on behalf of all survivors of Nicholas Andrew Bogdan;

MARIA TERESA BOISSEAU, as Proposed Personal
Representative of the Estate of Lawrence Boisseau, Deceased
and on behalf of all survivors of Lawrence Boisseau;

TRACI BOSCO, as Administrator
of the Estate of Richard Edward Bosco, Deceased
and on behalf of all survivors of Richard Edward Bosco;

KATHLEEN BOX, as Administrator
of the Estate of Gary R. Box, Deceased
and on behalf of all survivors of Gary R. Box;

JAMES BOYLE, as Administrator
of the Estate of Michael Boyle, Deceased
and on behalf of all survivors of Michael Boyle;

DAVID BRACE, as Administrator
of the Estate of Sandra Conaty Brace, Deceased
and on behalf of all survivors of Sandra Conaty Brace;

JENNIFER E. BRADY, as Administrator
of the Estate of David B. Brady, Deceased
and on behalf of all survivors of Jennifer E. Brady;

CURTIS FRED BREWER, as Executor
of the Estate of Carol Keyes Demitz, Deceased


                                                       3
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 4 of 243



and on behalf of all survivors of Carol Keyes Demitz;

HILLARY A. BRILEY, as Administrator
of the Estate of Jonathan E. Briley, Deceased
and on behalf of all survivors of Jonathan E. Briley;

URSULA BROGHAMMER, as Executor
of the Estate of Herman C. Broghammer, Deceased
and on behalf of all survivors of Herman C. Broghammer;

JoANNE BRUEHERT, as Administrator
of the Estate of Richard G. Bruehert, Deceased
and on behalf of all survivors of Richard G. Bruehert;

JUAN B. BRUNO, as Administrator
of the Estate of Rachel Tamares, Deceased
and on behalf of all survivors of Rachel Tamares;

SUSAN E. BUHSE, as Administrator
of the Estate of Patrick Joseph Buhse, Deceased
and on behalf of all survivors of Patrick Joseph Buhse;

ELIZABETH R. BURNS, as Administrator
of the Estate of Donald J. Burns, Deceased
and on behalf of all survivors of Donald J. Burns;

JAMES C. CAHILL, as Administrator
of the Estate of Scott Walter Cahill, Deceased
and on behalf of all survivors of Scott Walter Cahill;

JAMES W. CAHILL and KATHLEEN CAHILL, as co-
Administrators of the Estate of Thomas Cahill, Deceased
and on behalf of all survivors of Thomas Cahill;

DEBORAH CALDERON, as Administrator
of the Estate of Edward Calderon, Deceased
and on behalf of all survivors of Edward Calderon;

JANET CALIA, as Administrator
of he Estate of Dominick Enrico Calia, Deceased
and on behalf of all survivors of Dominick Enrico Calia;

JACQUELINE CANNIZZARO, as Administrator
of the Estate of Brian Cannizzaro, Deceased


                                                        4
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 5 of 243



and on behalf of all survivors of Brian Cannizzaro;

TONI ANN CARROLL, as Executor
of the Estate of Peter J. Carroll, Deceased
and on behalf of all survivors of Peter J. Carroll;

JUDITH CASORIA, as Administrator
of the Estate of Thomas Anthony Casoria, Deceased
and on behalf of all survivors of Thomas Anthony Casoria;

TRACY ANN TABACK CATALANO, as Executor
of the Estate of Harry Taback, Deceased
and on behalf of all survivors of Harry Taback;

SANTA CATARELLI, as Executor
of the Estate of Richard G. Catarelli, Deceased
and on behalf of all survivors of Richard G. Catarelli;

GINA CAYNE, as Administrator
of the Estate of Jason Cayne, Deceased
and on behalf of all survivors of Jason Cayne;

SUK TAN CHIN, as Administrator
of the Estate of Robert Chin, Deceased
and on behalf of all survivors of Robert Chin;

EDWARD P. CIAFARDINI, as Administrator
of the Estate of Christopher Ciafardini, Deceased
and on behalf of all survivors of Christopher Ciafardini;

LISA DiLALLO CLARK, as Administrator
of the Estate of Thomas R. Clark, Deceased
and on behalf of all survivors of Thomas R. Clark;

YUKO CLARK, as Personal Representative
of the Estate of Gregory A. Clark, Deceased
and on behalf of all survivors of Gregory A. Clark;

MARYANN COLIN, as Administrator
of the Estate of Robert Dana Colin, Deceased
and on behalf of all survivors of Robert Dana Colin;

JULIA COLLINS, as Administrator
of the Estate of Thomas J. Collins, Deceased


                                                      5
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 6 of 243



and on behalf of all survivors of Thomas J. Collins;

PATRICIA COPPO and JOHN R. BRENNAN, as
Co-Executors of the Estate of Joseph J. Coppo, Jr., Deceased
and on behalf of all survivors of Joseph J. Coppo, Jr.;

PATRICIA COUGHLIN, as Personal Representative
of the Estate of John Coughlin, Deceased
and on behalf of all survivors of John Coughlin;

EDITH CRUZ, as Administrator
of the Estate of Angela Rosario, Deceased
and on behalf of all survivors of Angela Rosario;

ILDEFONSO A. CUA, as Administrator
of the Estate of Grace Alegre Cua, Deceased
and on behalf of all survivors of Grace Alegre Cua;

LINDA CURIA, as Executor
of the Estate of Laurence Curia, Deceased
and on behalf of all survivors of Laurence Curia;

DAVID EDWARD CUSHING, as Administrator
of the Estate of Patricia Cushing, Deceased
and on behalf of all survivors of Patricia Cushing;

LOUISA D’ANTONIO, as Administrator
of the Estate of Mary D’Antonio, Deceased
and on behalf of all survivors of Mary D’Antonio;

BERIL SOFIA DeFEO, as Administrator
of the Estate of David DeFeo, Deceased
and on behalf of all survivors of David DeFeo;

VINCENT J. DELLA BELLA, as Administrator
of the Estate of Andrea Della Bella, Deceased
and on behalf of all survivors of Andrea Della Bella;

MICHAEL DELOUGHERY, as Personal Representative
of the Estate of Colleen Ann Deloughery, Deceased
and on behalf of all survivors of Colleen Ann Deloughery;

TODD DeVITO, as Administrator
of the Estate of Jerry DeVito, Deceased


                                                       6
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 7 of 243



and on behalf of all survivors of Jerry DeVito;

MILAGROS DIAZ, as Administrator
of the Estate of Lourdes Janet Galletti, Deceased
and on behalf of all survivors of Lourdes Janet Galletti;

ANDY DINNOO and DHANMATEE SAM, as
co-Administrators of the Estate of Rena Sam-Dinnoo, Deceased
and on behalf of all survivors of Rena Sam-Dinnoo;

MARIA DiPILATO, as Administrator
of the Estate of Joseph DiPilato, Deceased
and on behalf of all survivors of Joseph DiPilato;

STACEY FRAN DOLAN, as Executor
of the Estate of Brendan Dolan, Deceased
and on behalf of all survivors of Brendan Dolan;

JOSEPH DOWNEY, as Administrator
of the Estate of Raymond M. Downey, Deceased
and on behalf of all survivors of Raymond M. Downey;

JAY CHARLES DUNNE, as Personal Representative
of the Estate of Christopher Joseph Dunne, Deceased
and on behalf of all survivors of Christopher Joseph Dunne;

STANLEY ECKNA, as Personal Representative
of the Estate of Paul Robert Eckna, Deceased
and on behalf of all survivors of Paul Robert Eckna;

DENISE ESPOSITO, as Administrator
of the Estate of Michael Esposito, Deceased
and on behalf of all survivors of Michael Esposito;

DENNIS EULAU, as Executor (Ad Prosequendum)
of the Estate of the Michele Coyle Eulau, Deceased
and on behalf of all survivors of Michele Coyle Eulau;

JEANNE M. EVANS, as Personal Representative
of the Estate of Robert Evans, Deceased
and on behalf of all survivors of Jeanne M. Evans;

AMY FARNUM, as Personal Representative
of the Estate of Douglas Jon Farnum, Deceased


                                                      7
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 8 of 243



and on behalf of all survivors of Douglas Jon Farnum;

MARYANNE FARRELL, as Administrator
of the Estate of John Farrell, Deceased
and on behalf of all survivors of John Farrell;

MELISSA VAN NESS FATHA, as Administrator Ad
Prosequendum of the Estate of Syed Abdul Fatha, Deceased
and on behalf of all survivors of Syed Abdul Fatha;

STEVEN FEIDELBERG, as Administrator
of the Estate of Peter Adam Feidelberg, Deceased
and on behalf of all survivors of Peter Adam Feidelberg;

WENDY FEINBERG, as Executor
of the Estate of Alan Feinberg, Deceased
and on behalf of all survivors of Alan Feinberg;

CHARLENE FIORE, as Administrator
of the Estate of Michael Fiore, Deceased
and on behalf of all survivors of Michael Fiore;

BRIAN FLANNERY, as Personal Representative
of the Estate of Christina Donovan Flannery, Deceased
and on behalf of all survivors of Christina Donovan Flannery;

LORI FLETCHER, as Personal Representative
of the Estate of Andre G. Fletcher, Deceased
and on behalf of all survivors of Andre G. Fletcher;

CLAUDIA FLYZIK and NANCY WALSH, , as co-
Administrators of the Estate of Carol Flyzik, Deceased
and on behalf of all survivors of Carol Flyzik;

ROBERT T. FOLGER, as Administrator
of the Estate of Jane Claire Folger, Deceased
and on behalf of all survivors of Jane Claire Folger;

KURT FOSTER, as Executor
of the Estate of Claudia Foster, Deceased
and on behalf of all survivors of Claudia Foster;

CAROL FRANCOLINI, as Personal Representative
of the Estate of Arthur Joseph Jones, III, Deceased


                                                        8
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 9 of 243



and on behalf of all survivors of Arthur Joseph Jones, III;

HELEN FRIEDLANDER as Executor
of the Estate of Alan W. Friedlander, Deceased
and on behalf of all survivors of Alan W. Friedlander;

LISA FRIEDMAN, as Administrator
of the Estate of Andrew Friedman, Deceased
and on behalf of all survivors of Andrew Friedman;

ANNE GABRIEL, as Executor
of the Estate of Richard Gabriel, Deceased
and on behalf of all survivors of Richard Gabriel;

MONICA M. GABRIELLE, as Administrator
of the Estate of Richard Gabrielle, Deceased
and on behalf of all survivors of Richard Gabrielle;

KRISTIN GALUSHA-WILD, as Executor
of the Estate of Michael Stewart, Deceased
and on behalf of all survivors of Michael Stewart;

KATHLEEN GANCI, as Executor
of the Estate of Peter J. Ganci, Jr., Deceased
and on behalf of all survivors of Peter J. Ganci, Jr.;

DOROTHY GARCIA, as Executor
of the Estate of Andrew Garcia, Deceased
and on behalf of all survivors of Andrew Garcia;

HECTOR GARCIA and CARMEN GARCIA, as co-
Administrators of the Estate of Marlyn C. Garcia, Deceased
and on behalf of all survivors of Marlyn C. Garcia;

ELIZABETH GARDNER, as Administrator
of the Estate of Thomas Gardner, Deceased
and on behalf of all survivors of Thomas Gardner;

MATHILDA GEIDEL, as Personal Representative
of the Estate of Gary Geidel, Deceased
and on behalf of all survivors of Gary Geidel;

DIANE GENCO, as Administrator
of the Estate of Peter Genco, Deceased


                                                         9
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 10 of 243



and on behalf of all survivors of Peter Genco;

PHILIP GERMAIN, as Proposed Administrator
of the Estate of Denis Germain, Deceased
and on behalf of all survivors of Denis Germain;

CAROL GIES, as Administrator
of the Estate of Ronnie Gies, Deceased
and on behalf of all survivors of Ronnie Gies;

JOHN J. GILL, as Administrator
of the Estate of Paul John Gill, Deceased
and on behalf of all survivors or Paul John Gill;

SERINA GILLIS, as Prospective Administrator
of the Estate of Rodney Gillis, Deceased
and on behalf of all survivors of Rodney Gillis;

ARMINE GIORGETTI, as Personal Representative
of the Estate of Steven A. Giorgetti, Deceased
and on behalf of all survivors of Steven A. Giorgetti;

ANGELA GITTO, as Administrator
of the Estate of Salvatore Gitto, Deceased
and on behalf of all survivors of Salvatore Gitto;

MEG BLOOM GLASSER, as Executor
of the Estate of Thomas Glasser, Deceased
and on behalf of all survivors of Thomas Glasser;

SHARON COBB-GLENN, as Administrator
of the Estate of Harry Glenn, Deceased
and on behalf of all survivors of Harry Glenn;

HELENE PARISI-GNAZZO, as Administrator
of the Estate of John T. Gnazzo, Deceased
and on behalf of all survivors of John T. Gnazzo;

JODIE GOLDBERG, as Administrator
of the Estate of Brian Goldberg, Deceased
and on behalf of all survivors of Brian Goldberg;

MIA GONZALEZ, as Administrator
of the Estate of Lydia Bravo, Deceased


                                                     10
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 11 of 243



and on behalf of all survivors of Lydia Bravo;

DEBORAH GRAZIOSO, as Personal Representative
of the Estate of Timothy Grazioso, Deceased
and on behalf of all survivors of Timothy Grazioso;

CLAUDETTE B. GREENE, as Executor
of the Estate of Donald F. Greene, Deceased
and on behalf of all survivors of Donald F. Greene;

PETER GREENLEAF, as Administrator
of the Estate of James Arthur Greenleaf, Deceased
and on behalf of all survivors of James Arthur Greenleaf;

REGAN GRICE-VEGA , as Personal Representative
of the Estate of Peter Vega, Deceased
and on behalf of all survivors of Peter Vega;

JOANNE GROSS, as Administrator
of the Estate of Thomas Foley, Deceased
and on behalf of all survivors of Thomas Foley;

MARY HAAG, as Fiduciary
of the Estate of Gary Haag, Deceased
and on behalf of all survivors of Gary Haag;

GORDON G. HABERMAN, as Administrator
of the Estate of Andrea Lyn Haberman, Deceased
and on behalf of all survivors of Andrea Lyn Haberman;

PATRICIA HAN, as Administrator
of the Estate of Frederic K. Han, Deceased
and on behalf of all survivors of Frederic K. Han;

RENE BACOTTI HANNAFIN, as Administrator
of the Estate of Thomas Hannafin, Deceased
and on behalf of all survivors of Thomas Hannafin;

RACHEL R. HARRELL, as Administrator
of the Estate of Harvey Harrell, Deceased
and on behalf of all survivors of Harvey Harrell;

ELINORE HARTZ, as Personal Representative
of the Estate of John Clinton Hartz, Deceased


                                                      11
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 12 of 243



and on behalf of all survivors of Elinore Hartz;

JENNIFER L. HARVEY, as Administrator
of the Estate of Emeric Harvey, Deceased
and on behalf of all survivors of Emeric Harvey;

KELLY HAYES, as Executor
of the Estate of Scott J. O’Brien, Deceased
and on behalf of all survivors of Scott J. O’Brien;

VIRGINIA HAYES, as Executor
of the Estate of Philip Thomas Hayes, Deceased
and on behalf of all survivors of Philip Thomas Hayes;

ANN R. HAYNES, as Administrator
of the Estate of William Ward Haynes, Deceased
and on behalf of all survivors of William Ward Haynes;

THERESA HEALEY, as Administrator
of the Estate of Michael Healey, Deceased
and on behalf of all survivors of Michael Healey;

SHIRLEY HENDERSON and HASHIM A. HENDERSON,
as co-Administrators of the Estate of Ronnie Lee Henderson,
Deceased and on behalf of all survivors of Ronnie Lee Henderson;

KAREN HINDS, as Administrator
of the Estate of Neil Hinds, Deceased
and on behalf of all survivors of Neil Hinds;

DENNIS L. HOBBS and DIXIE M. HOBBS,
as co-Administrators of the Estate of Tara Yvette Hobbs,
Deceased and on behalf of all survivors of Tara Yvette Hobbs;

PAMELA HOHLWECK, as Administrator
of the Thomas W. Hohlweck, Jr., Deceased
and on behalf of all survivors of Thomas W. Hohlweck, Jr.;

KATHLEEN HOLLAND, as Administrator
of the Estate of Joseph F. Holland, III, Deceased
and on behalf of all survivors of Joseph F. Holland, III;

RUBINA COX-HOLLOWAY, as Administrator
of the Estate of Darryl Leron McKinney, Deceased


                                                      12
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 13 of 243



and on behalf of all survivors of Darryl Leron McKinney;

COLLEEN HOLOHAN, Administrator
of the Estate of Thomas P. Holohan, Deceased
and on behalf of all survivors of Thomas P. Holohan;

JOANN T. HOWARD, as Administrator
of the Estate of Joseph Howard, Deceased
and on behalf of all survivors of Joseph Howard;

BRIDGET HUNTER , as Administrator
of the Estate of Joseph Hunter, Deceased
and on behalf of all survivors of Joseph Hunter;

KATHRYN J. HUSSA, as Executor
of the Estate of Robert R. Hussa, Deceased
and on behalf of all survivors of Robert R. Hussa;

YESENIA IELPI, as Administrator
of the Estate of Jonathan Ielpi, Deceased
and on behalf of all survivors of Jonathan Ielpi;

FREDERICK IRBY, as Administrator
of the Estate of Stephanie Irby, Deceased
and on behalf of all survivors of Stephanie Irby;

MARGARET P. ISKYAN, as Executor
of the Estate of John Francis Iskyan, Deceased
and on behalf of all survivors of John Francis Iskyan;

JENNIFER RUTH JACOBS, as Administrator
of the Estate of Ariel Louis Jacobs, Deceased
and on behalf of all survivors of Ariel Louis Jacobs;

KAZIMIERZ JAKUBIAK, as Personal Representative
of the Estate of Maria Jakubiak, Deceased
and on behalf of all survivors of Maria Jakubiak;

LEILA M. JOSEPH and WOODLY JOSEPH, as co-
Administrators of the Estate of Karl Joseph, Deceased
and on behalf of all survivors of Karl Joseph;

PAUL KAUFMAN, as Executor
of the Estate of Scott Martin McGovern, Deceased


                                                     13
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 14 of 243



and on behalf of all survivors of Scott Martin McGovern;

ELIZABETH H. KELLER, as Administrator of
the Estate of Chandler Raymond Keller, Deceased
and on behalf of all survivors of Chandler Raymond Keller;

ROBERTA KELLERMAN, as Personal Representative
of the Estate of Peter Kellerman, Deceased
and on behalf of all survivors of Peter Kellerman;

PATRICIA KELLETT, as Administrator
of the Estate of Joseph P. Kellett, Deceased
and on behalf of all survivors of Joseph P. Kellett;

EMMET P. KELLY, as Administrator
of the Estate of Thomas Richard Kelly, Deceased
and on behalf of all survivors of Thomas Richard Kelly;

ROSEMARY KEMPTON, as Administrator
of the Estate of Rosemary A. Smith, Deceased
and on behalf of all survivors of Rosemary A. Smith;

DONALD FRANCIS KENNEDY, as Executor
of the Estate of Yvonne Estelle Kennedy, Deceased
and on behalf of all survivors of Yvonne Estelle Kennedy;

THERESA KING, as Administrator
of the Estate of Robert King, Jr., Deceased
and on behalf of all survivors of Robert King, Jr.;

VERONICA KLARES, as Executor
of the Estate of Richard J. Klares, Deceased
and on behalf of all survivors of Richard J. Klares;

RICHARD I. KLEIN, as Executor
of the Estate of Julie Lynne Zipper, Deceased
and on behalf of all survivors of Julie Lynne Zipper;

FRANCES LaFORTE, as Executor
of the Estate of Michael P. LaForte, Deceased
and on behalf of all survivors of Michael P. LaForte;

EDLENE C. LaFRANCE, as Administrator of the
Estate of Alan Charles LaFrance, Deceased


                                                       14
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 15 of 243



and on behalf of all survivors of Alan Charles LaFrance;

COLETTE M. LAFUENTE, as Fiduciary
of the Estate of Dr. Juan M. Lafuente, Deceased
and on behalf of all survivors of Dr. Juan M. Lafuente;

MORRIS D. LAMONSOFF, as Administrator
of the Estate of Amy Hope Lamonsoff, Deceased
and on behalf of all survivors of Amy Hope Lamonsoff;

LAURIE S. LAUTERBACH, as Personal Representative
of the Estate of Carlos Cortes a/k/a Carlos Cortes-Rodriguez,
Deceased and on behalf of all survivors of Carlos Cortes
a/ka Carlos Cortes-Rodriguez;

ANDREA N. LeBLANC, as Administrator
of the Estate of Robert G. LeBlanc, Deceased
and on behalf of all survivors of Robert G. LeBlanc;

DONALD LEISTMAN, as Executor
of the Estate of David R. Leistman, Deceased
and on behalf of all survivors of David R. Leistman;

INGRID M. LENIHAN, as Executor
of the Estate of Joseph Anthony Lenihan, Deceased
and on behalf of all survivors of Joseph Anthony Lenihan;

ELAINE LEINUNG, as Administrator
of the Estate of Paul Battaglia, Deceased
and on behalf of all survivors of Paul Battaglia;

ROBERTA J. LEVINE, as Administrator Ad Prosequendum
of the Estate of Robert M. Levine, Deceased
and on behalf of all survivors of Robert M. Levine;

JERLINE LEWIS, as Personal Representative
of the Estate of Sherry Ann Bordeaux, Deceased
and on behalf of all survivors of Sherry Ann Bordeaux;

JEFFREY LOVIT, as Executor
of the Estate of Jacqueline Norton, Deceased
and on behalf of all survivors of Jacqueline Norton;

JEFFREY LOVIT, as Executor


                                                    15
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 16 of 243



of the Estate of Robert G. Norton, Deceased
and on behalf of all survivors of Robert G. Norton;

KATHLEEN KEELER LOZIER, as Executor
of the Estate of Garry W. Lozier, Deceased
and on behalf of all survivors of Garry W. Lozier;

ANNE MacFARLANE, as Administrator
of the Estate of Marianne MacFarlane, Deceased
and on behalf of all survivors of Marianne MacFarlane;

LISANNE MacKENZIE, has been or will be
appointed as Personal Representative
of the Estate of James P. O’Brien, Deceased
and on behalf of all survivors of James P. O’Brien;

ANDREA MAFFEO, as Administrator
of the Estate of Jennieann Maffeo, Deceased
and on behalf of all survivors of Jennieann Maffeo;

PAMELA ANN MAGGITTI, as Administrator
for the Estate of Joseph Vincent Maggitti, Deceased
and on behalf of all survivors of Joseph Vincent Maggitti;

NATALIE MAKSHANOV, as Administrator
of the Estate of Jason M. Sekzer, Deceased
and on behalf of all survivors of Jason M. Sekzer;

REBECCA L. MARCHAND, as Personal Representative
of the Estate of Alfred G. Marchand, Deceased
and on behalf of all survivors of Alfred G. Marchand;

BETTYANN MARTINEAU, as Executor
of the Estate of Brian Martineau, Deceased
and on behalf of all survivors of Brian Martineau;

LORI MASCALI, as Administrator
of the Estate of Joseph Mascali, Deceased
and on behalf of all survivors of Joseph Mascali;

DOROTHY MAURO, as Administrator
of the Estate of Charles A. Mauro, Deceased
and on behalf of all survivors of Charles A. Mauro;



                                                      16
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 17 of 243



MERYL MAYO, as Executor
of the Estate of Robert Mayo, Deceased
and on behalf of all survivors of Robert Mayo;

MARGARET DONOGHUE McGINLEY, as Executor
of the Estate of Daniel Francis McGinley, Deceased
and on behalf of all survivors of Daniel Francis McGinley;

ILIANA McGINNIS, as Administrator of the
Estate of Thomas Henry McGinnis, Deceased
and on behalf of all survivors of Thomas Henry McGinnis;

CYNTHIA F. McGINTY, as Administrator
of the Estate of Michael Gregory McGinty, Deceased
and on behalf of all survivors of Michael Gregory McGinty;

VIRGINIA McKEON, as Personal Representative
of the Estate of Barry J. McKeon, Deceased
and on behalf of all survivors of Barry J. McKeon;

PATRICIA H. McDOWELL, as Administrator
of the Estate of John F. McDowell, Deceased
and on behalf of all survivors of John F. McDowell;

THERESA McGOVERN, as Executor
of the Estate of Ann McGovern, Deceased
and on behalf of all survivors of Ann McGovern;

JOANN MEEHAN, as Administrator
of the Estate of Damian Meehan, Deceased
and on behalf of all survivors of Damian Meehan;

OLGA MERINO, as Personal Representative
of the Estate of George C. Merino, Deceased
and on behalf of all survivors of George C. Merino;

FRYDERYK MILEWSKI and ANNA MILEWSKI, as co-
Administrators of the Estate of Lukasz Milewski, Deceased
and on behalf of all survivors of Lukasz Milewski;

AMBER MILLER and JAMIE MILLER, as co-Administrators
of the Estate of Karen Juday, Deceased
and on behalf of all survivors of Karen Juday;



                                                     17
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 18 of 243



DIANE MILLER, as Administrator
of the Estate of Henry Miller, Deceased
and on behalf of all survivors of Henry Miller;

FAITH MILLER, as Executor
of the Estate of Robert Alan Miller, Deceased
and on behalf of all survivors of Robert Alan Miller;

BARBARA MINERVINO, as Executor
of the Estate of Louis J. Minervino, Deceased
and on behalf of all survivors of Louis J. Minervino;

JOANNE MODAFFERI, as Administrator
of the Estate of Louis Modafferi, Deceased
and on behalf of all survivors of Louis Modafferi;

ANNA MOJICA, as Administrator
of the Estate of Manuel Mojica, Deceased
and on behalf of all survivors of Manuel Mojica;

SARADHA MOORTHY, as Administrator
of the Estate of Krishna Moorthy, Deceased
and on behalf of all survivors of Krishna Moorthy;

ELIZABETH ANN MOSS, as Personal Representative
of the Estate of Linda Oliva, Deceased
and on behalf of all survivors of Linda Oliva;

EMILY MOTRONI, as Administrator
of the Estate of Marco Motroni, Deceased
and on behalf of all survivors of Marco Motroni.

LAUREN MURPHY, as Administrator
of the Estate of Matthew T. O’Mahony, Deceased
and on behalf of all survivors of Matthew T. O’Mahony;

ELVIRA P. MURPHY, as Administrator
of the Estate of Patrick Sean Murphy, Deceased
and on behalf of all survivors of Patrick Sean Murphy;

RICHARD B. NAIMAN, as Administrator
of the Estate of Mildred R. Naiman, Deceased
and on behalf of all survivors of Mildred R. Naiman;



                                                     18
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 19 of 243



EDWARD NAVARRO, as Administrator
of the Estate of Karen Susan Navarro, Deceased
and on behalf of all survivors of Karen Susan Navarro;

WILLIAM NELSON, as Administrator
of the Estate of Theresa Risco, Deceased
and on behalf of all survivors of Theresa Risco;

MERRILLY E. NOETH, as Administrator
of the Estate of Michael Allen Noeth, Deceased
and on behalf of all survivors of Michael Allen Noeth;

DANA NOONAN, as Administrator
of the Estate of Robert Walter Noonan, Deceased
and on behalf of all survivors of Robert Walter Noonan;

WILLIAM B. NOVOTNY and MICHAEL J. NOVOTNY,
as co-Administrators of the Estate of Brian C. Novotny, Deceased
and on behalf of all survivors of Brian C. Novotny;

WILLIAM O’CONNOR, as Executor
of the Estate of Diana O’Connor, Deceased
and on behalf of all survivors of Diana O’Connor;

JAMES WALLACE O’GRADY, as Executor
of the Estate of James Andrew O’Grady, Deceased
and on behalf of all survivors of James Andrew O’Grady;

SHERYL J. OLIVER, as Administrator
of the Estate of Edward Kraft Oliver, Deceased
and on behalf of all survivors of Edward Kraft Oliver;

HARRY ONG, JR., as Legal Representative
of the Estate of Betty Ann Ong, Deceased
and on behalf of all survivors of Betty Ann Ong;

LISA PALAZZO, as Administrator
of the Estate of Jeffrey Palazzo, Deceased
and on behalf of all survivors of Jeffrey Palazzo;

DONNA PAOLILLO, as Administrator
of the Estate of John Paolillo, Deceased
and on behalf of all survivors of John Paolillo;



                                                     19
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 20 of 243



HELENE S. PASSARO, as Administrator
of the Estate of Suzanne H. Passaro, Deceased
and on behalf of all survivors of Suzanne H. Passaro;

MARY GOLA PEREZ, as Executor
of the Estate of Anthony Perez, Deceased
and on behalf of all survivors of Anthony Perez;

LINDA PICKFORD, as Administrator
of the Estate of Christopher Pickford, Deceased
and on behalf of all survivors of Christopher Pickford;

NANCY PICONE, as Administrator
of the Estate of Arturo Sereno, Deceased
and on behalf of all survivors of Arturo Sereno;

JEAN OSLYN POWELL, as Administrator
of the Estate of Shawn E. Powell, Deceased
and on behalf of all survivors of Shawn E. Powell;

KAREN PRINCIOTTA, as Legal Representative
of the Estate of Vincent Princiotta, Deceased
and on behalf of all survivors of Vincent Princiotta;

MICHAEL PUCKETT, as Administrator
of the Estate of John F. Puckett, Deceased
and on behalf of all survivors of John F. Puckett;

DOMINIC J. PUOPOLO, SR., as Administrator
of the Estate of Sonia Mercedes Morales Puopolo, Deceased
and on behalf of all survivors of Sonia Mercedes Morales Puopolo;

PATRICIA QUIGLEY, as Executor
of the Estate of Patrick Quigley, Deceased
and on behalf of all survivors of Patrick Quigley;

FRANCINE RAGGIO, as Administrator
of the Estate of Eugene Raggio, Deceased
and on behalf of all survivors of Eugene Raggio;

DEBORAH RANCKE, as Proposed Personal Representative
of the Estate of Alfred Todd Rancke, Deceased
and on behalf of all survivors of Alfred Todd Rancke;



                                                     20
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 21 of 243



MARYANN RAND, as Administrator
of the Estate of Adam David Rand, Deceased
and on behalf of all survivors of Adam David Rand;

SADIQ RASOOL, as Administrator
of the Estate of Amenia Rasool, Deceased
and on behalf of all survivors of Amenia Rasool;

SUSAN RASWEILER, as Administrator
of the Estate of Roger Rasweiler, Deceased
and on behalf of all survivors of Roger Rasweiler;

CATHERINE T. REGENHARD, as Administrator
of the Estate of Christian Michael Regenhard, Deceased
and on behalf of all survivors of Christian Michael Regenhard;

ELIZABETH REGO, as Administrator
of the Estate of Leah E. Oliver, Deceased
and on behalf of all survivors of Leah E. Oliver;

WILLIAM D. ROBBINS, as Personal Representative
of the Estate of Clarin Schwartz, Deceased
and on behalf of all survivors of Clarin Schwartz;

EVELYN RODRIGUEZ, as Administrator
of the Estate of Anthony Rodriguez, Deceased
and on behalf of all survivors of Anthony Rodriguez;

MARTIN ROSENBAUM, as Administrator
of the Estate of Brooke David Rosenbaum, Deceased
and on behalf of all survivors of Brooke David Rosenbaum;

GLENNA M. ROSENBERG, as Administrator
of the Estate of Lloyd Daniel Rosenberg, Deceased
and on behalf of all survivors of Lloyd Daniel Rosenberg;

JILL ROSENBLUM, as Executor
of the Estate of Andrew I. Rosenblum, Deceased
and on behalf of all survivors of Andrew I. Rosenblum;

JUDI A. ROSS, as Executor
of the Estate of Richard Ross, Deceased
and on behalf of all survivors of Richard Ross;



                                                     21
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 22 of 243



CLAUDIA RUGGIERE, as Administrator
of the Estate of Bart Joseph Ruggiere, Deceased
and on behalf of all survivors of Bart Joseph Ruggiere;

GILBERT RUIZ, JR., as Administrator
of the Estate of Gilbert Ruiz, Deceased
and on behalf of all survivors of Gilbert Ruiz;

ANDREA RUSSIN, as Administrator
of the Estate of Steven Russin, Deceased
and on behalf of all survivors of Steven Russin;

DIANE RYAN, as Administrator
of the Estate of Edward Ryan, Deceased
and on behalf of all survivors of Edward Ryan;

MARGARET RYAN, as (Ad Prosequendum)
of the Estate of Matthew Ryan, Deceased
and on behalf of all survivors of Matthew Ryan;

DELPHINE SAADA, as Administrator
of the Estate of Thierry Saada, Deceased
and on behalf of all survivors of Thierry Saada;

PEDRO SALAME, as Administrator, and
MARY LYNN SANTOS, Individually,
of the Estate of Carmen Milly Rodriguez, Deceased
and on behalf of all survivors of Carmen Milly Rodriguez;

BARBARA SCARAMUZZINO, as Administrator
of the Estate of Nicholas Rossomando, Deceased
and on behalf of all survivors of Nicholas Rossomando;

JANLYN SCAUSO, as Administrator
of the Estate of Dennis P. Scauso, Deceased
and on behalf of all survivors of Dennis P. Scauso;

PHYLLIS SCHREIER, as Administrator
of the Estate of Jeffrey H. Schreier, Deceased
and on behalf of all survivors of Jeffrey H. Schreier;

NANCY SHEA, as Personal Representative
of the Estate of Joseph P. Shea, Deceased
and on behalf of all survivors of Joseph P. Shea;


                                                      22
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 23 of 243



MAUREEN SHERRY, as Administrator
of the Estate of John Anthony Sherry, Deceased
and on behalf of all survivors of John Anthony Sherry;

LORI SHULMAN, as Executor
of the Estate of Mark Shulman, Deceased
and on behalf of all survivors of Mark Shulman;

HOLLI SILVER, as Personal Representative
of the Estate of David Scott Silver, Deceased
and on behalf of all survivors of David Scott Silver;

EILEEN SIMON, as Executor
of the Estate of Michael J. Simon, Deceased
and on behalf of all survivors of Michael J. Simon;

DHANRAJ SINGH, as Administrator
of the Estate of Khamladai K. Singh, Deceased
and on behalf of all survivors of Khamladai K. Singh;

MARK J. SISKOPOULOS, as Administrator
of the Estate of Muriel F. Siskopoulos, Deceased
and on behalf of all survivors of Muriel F. Siskopoulos;

DONNA SMITH, as Executor
of the Estate of James Gregory Smith, Deceased
and on behalf of all survivors of James Gregory Smith;

BARBARA SOHAN, as Administrator
of the Estate of Astrid Elizabeth Sohan, Deceased
and on behalf of all survivors of Astrid Elizabeth Sohan;

ROBERT SPADAFORA, ESQ., as Executor
of the Estates of Mary B. Trentini and James A. Trentini,
Deceased and on behalf of all survivors of Mary B.
Trentini and James A. Trentini;

LAURIE SPAMPINATO, as Administrator
of the Estate of Donald Spampinato, Deceased
and on behalf of all survivors of Donald Spampinato;

THERESA A. STACK, as Administrator (Ad Prosequendum)
of the Estate of Lawrence T. Stack, Deceased
and on behalf of all survivors of Lawrence T. Stack;


                                                      23
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 24 of 243



GREGORY STEVENS, as Executor
of the Estate of Lisa Terry, Deceased
and on behalf of all survivors of Lisa Terry;

EDWARD J. SWEENEY, Administrator
of the Estate of Brian E. Sweeney, Deceased
and on behalf of all survivors of Brian E. Sweeney;

EILEEN TALLON, as Fiduciary
of the Estate of Sean Patrick Tallon, Deceased
and on behalf of all survivors of Sean Patrick Tallon;

PATRICIA TARASIEWICZ, as Administrator
of the Estate of Allan Tarasiewicz, Deceased
and on behalf of all survivors of Allan Tarasiewicz;

EVELYN TEPEDINO, as Administrator
of the Estate of Jody Nichilo, Deceased
and on behalf of all survivors of Jody Nichilo;

RAJ THACKURDEEN & SAT THACKURDEEN, as co-
Administrators of the Estate of Goumatie Thackurdeen, Deceased
and on behalf of all survivors of Goumatie Thackurdeen;

ROBIN THEURKAUF, Personal Representative
of the Estate of Thomas F. Theurkauf, Jr., Deceased
and on behalf of all survivors of Thomas F. Theurkauf, Jr.;

ROSANA THOMPSON, as Administrator
of the Estate of Nigel Bruce Thompson, Deceased
and on behalf of all survivors of Nigel Bruce Thompson;

JOSEPH A. TIESI, as Personal Representative
of the Estate of Mary Ellen Tiesi, Deceased
and on behalf of all survivors of Mary Ellen Tiesi;

KIMBERLY TRIMINGHAM-AIKEN, as Administrator
of the Estate of Terrance Aiken, Deceased
and on behalf of all survivors of Terrance Aiken;

MARIE TWOMEY, as Administrator
of the Estate of Robert T. Twomey, Deceased
and on behalf of all survivors of Robert T. Twomey;



                                                      24
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 25 of 243



VICTOR UGOLYN, as Administrator
of the Estate of Tyler V. Ugolyn, Deceased
and on behalf of all survivors of Tyler V. Ugolyn;

FELICIANA UMANZOR, as Administrator
of the Estate of Elsy C. Osoria, Deceased
and on behalf of all survivors of Elsy C. Osoria;

VIRGINIA LORENE ROSSITER VALVO, as Administrator
of the Estate of Carlton F. Valvo, II, Deceased
and on behalf of all survivors of Carlton F. Valvo, II;

JASMINE VICTORIA and DAWN TORRES BROWN, as co-
Administrators of the Estate of Celeste Torres Victoria,
Deceased and on behalf of all survivors of
Celeste Torres Victoria;

RICHARD VILLA, as Administrator
of the Estate of Sharon Christina Milan, Deceased
and on behalf of all survivors of Sharon Christina Milan;

ANTHONY VINCELLI, as Administrator
of the Estate of Chantal Vincelli, Deceased
and on behalf of all survivors of Chantal Vincelli;

LUCY VIRGILIO, as Administrator
of the Estate of Lawrence J. Virgilio, Deceased
and on behalf of all survivors of Lawrence J. Virgilio;

BENHARDT R. WAINIO, as Personal Representative
of the Estate of Honor Elizabeth Wainio, Deceased
and on behalf of all survivors of Honor Elizabeth Wainio;

DIANE WALL, as Executor
of the Estate of Glen J. Wall, Deceased
and on behalf of all survivors of Glen J. Wall;

DIANNE M. WALSH, as Administrator
of the Estate of Christine J. Barbuto, Deceased
and on behalf of all survivors of Christine J. Barbuto;

AMY L. WEAVER, as Administrator
of the Estate of Todd Christopher Weaver, Deceased
and on behalf of all survivors of Todd Christopher Weaver;


                                                      25
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 26 of 243



DELIA WELTY, as Administrator
of the Estate of Timothy Matthew Welty, Deceased
and on behalf of all survivors of Timothy Matthew Welty;

LENA WHITTAKER, as Administrator
of the Estate of Karen E. Hagerty, Deceased
and on behalf of all survivors of Karen E. Hagerty;

PATRICIA WISWALL, as Executor
of the Estate of David Wiswall, Deceased
and on behalf of all survivors of David Wiswall;

ANNE M. WODENSHEK, as Administrator
of the Estate of Christopher W. Wodenshek, Deceased
and on behalf of all survivors of Christopher W. Wodenshek;

CELLA WOO-YUEN, as Administrator
of the Estate of Elkin Yuen, Deceased
and on behalf of all survivors of Elkin Yuen;

SIEW-SIM YEOW, as Administrator
of the Estate of Michael Waye, Deceased
and on behalf of all survivors of Michael Waye;

MADELEINE A. ZUCCALA, as Personal Representative
of the Estate of Joseph J. Zuccala, Deceased
and on behalf of all survivors of Joseph J. Zuccala;

ERICA ZUCKER, as Executor
of the Estate of Andrew Zucker, Deceased
and on behalf of all survivors of Andrew Zucker;

NANCY LYNN ZUCKERMAN, as Administrator
of the Estate of Alan Jay Lederman, Deceased
and on behalf of all survivors of Alan Jay Lederman;

ALDO ADISSI; EDWARD ARANCIO and
KATHLEEN M. ARANCIO; LEONARD ARDIZZONE
and BARBARA ARDIZZONE; THOMAS BAEZ;
JOSEPH BELTRANI; ANDREW BRAUN; ANDRZEJ
CIESLIK; JAMES CIZIKE; THOMAS CONROY, JR.;
GIBSON A. CRAIG; BRADLEY DALY; DOMENICK
DAMIANO; ROBERT J. D’ELIA; THOMAS
DONNELLY; CHARLES DOWNEY; JOSEPH R.


                                                      26
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 27 of 243



DOWNEY; TIMOTHY L. FROLICH and IRENE
FROLICH; STEVEN M. GILLESPIE; JOSEPH
HANDS; JOHN HASSETT; WARREN HAYES;
JAMES D. HODGES, II; NETTA ISSACOF;
ARNOLD LEDERMAN and PHYLLIS LEDERMAN;
MICHAEL J. LINDY; SANDY AMRITA MAHABIR;
WILLIAM MARTIN; KEVIN McARDLE; JAMES
McGETRICK; OWEN McGOVERN; WARREN
MONROE; KEVIN MOUNT;
KEVIN G. MURPHY; JANICE O’DELL; TIMOTHY
PARKER; KEVIN QUINN; HOWARD RICE; LOUIS
SCHAEFER; CHARLES SCHMID; SCOTT
SCHRIMPE; RICHARD TING; GEORGE LUIS
TORRES; ROBERT V. TRIVIGNO; RUSSELL J.
VOMERO; EDWARD WALSH; PHILIP J. ZEISS;


EMILY AMARANTO, as Administrator
of the Estate of Angelo Amaranto, Deceased
and on behalf of all survivors of Angelo Amaranto;

LORI ANN ARCZYNSKI, as Executor
of the Estate of Michael G. Arczynski, Deceased
and on behalf of all survivors of Michael G. Arczynski;

LOUANNE BAILY, as Administrator
of the Estate of Brian Paul Dale, Deceased
and on behalf of all survivors of Brian Paul Dale;

MONICA BARBELLA, as Administrator
of the Estate of James Barbella, Deceased
and on behalf of all survivors of James Barbella;

MARCEL BIRNBAUM, as Personal Administrator
of the Estate of Joshua Birnbaum, Deceased
and on behalf of all survivors of Joshua Birnbaum;

SHARON BOOKER, as Administrator
of the Estate of SEAN BOOKER, Deceased
and on behalf of all survivors of Sean Booker;

FREDERICK BOWERS, JR., as Administrator
of the Estate of Kimberly S. Bowers, Deceased
and on behalf of all survivors of Kimberly S. Bowers;


                                                     27
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 28 of 243



JEAN BRACA, as Administrator
of the Estate of Alfred J. Braca, Deceased
and on behalf of all survivors of Alfred J. Braca;

RODNEY CALLUM, as Administrator
of the Estate of Michell Robotham, Deceased
and on behalf of all survivors of Michell Robotham;

NANCY E. CARROLL, as Administrator
of the Estate of Michael T. Carroll, Deceased
and on behalf of all survivors of Michael T. Carroll;

DAVID J. CHAZIN, as Administrator
of the Estate of Ruth Lapin, Deceased
and on behalf of all survivors of Ruth Lapin;

MARIANNE CRUIKSHANK, as Administrator
of the Estate of Robert L. Cruikshank, Deceased
and on behalf of all survivors of Robert L. Cruikshank;

TANYA KIM DAVIS, as Administrator
of the Estate of Mannie Leroy Clark, Deceased
and on behalf of all survivors of Mannie Leroy Clark;

JOAN E. DINCUFF and FRANK DINCUFF, as co-Administrators
of the Estate of Christopher M. Dincuff, Deceased,
and on behalf of all survivors of Christopher M. Dincuff;

NGORAN DJE, as Administrator
of the Estate of Irina Buslo, Deceased
and on behalf of all survivors of Irina Buslo;

SAM ELLIS, as Representative
of the Estate of Valerie Silver Ellis, Deceased
and on behalf of all survivors of Valerie Silver Ellis;

EILEEN ERWIN, as Representative
of the Estate of William John Erwin, Deceased
and on behalf of all survivors of William John Erwin;

MARY L. FERGUSON, as Executor
of the Estate of George J. Ferguson, Deceased
and on behalf of all survivors of George J. Ferguson;



                                                     28
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 29 of 243



TIERNEY FRAWLEY, as Administrator
of the Estate of Kevin Frawley, Deceased
and on behalf of all survivors of Kevin Frawley;

LARRY GIUGLIANO, as Administrator
of the Estate of Cynthia Giugliano, Deceased
and on behalf of all survivors of Cynthia Giugliano;

MARY JO GRILLO, as Administrator
of the Estate of Joseph Grillo, Deceased
and on behalf of all survivors of Joseph Grillo;

DIGNA HERNANDEZ, as Administrator
of the Estate of Raul Hernandez, Deceased
and on behalf of all survivors of Raul Hernandez;

KATHERINE M. HOORN and DENNIS J. HOORN,
as Administrators of the Estate of Bradley Hoorn, Deceased
and on behalf of all survivors of Bradley Hoorn;

JOSEPH WALTER HROMADA, as Administrator
of the Estate of Milagros Hromada, Deceased
and on behalf of all survivors of Milagros Hromada;

KAREN R. HUGHES, as Administrator
of the Estate of Timothy Hughes, Deceased
and on behalf of all survivors of Timothy Hughes;

YELENA ILKANAYEV, as Personal Representative
of the Estate of Daniel Ilkanayev, Deceased
and on behalf of all survivors of Daniel Ilkanayev;

EMILY LIZCANO, as Administrator
of the Estate of Harold Lizcano, Deceased
and on behalf of all survivors of Harold Lizcano;

JEANNE McALARY, as Administrator
of the Estate of James J. McAlary, Deceased
and on behalf of all survivors of James J. McAlary;

ANN McCARTHY, as Administrator
of the Estate of Robert Garvin McCarthy, Deceased
and on behalf of all survivors of Robert Garvin McCarthy;



                                                      29
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 30 of 243



DEBRA McSWEENEY, as Administrator
of the Estate of Timothy McSweeney, Deceased
and on behalf of all survivors of Timothy McSweeney;

LLOYD C. MAIR, as Personal Representative
of the Estate of Linda Catherine Mair Grayling, Deceased
and on behalf of all survivors of Linda Catherine Mair Grayling;

MARY JEAN McCARTHY O’LEARY, as Administrator
of the Estate of Gerald Thomas O’Leary, Deceased,
and on behalf of all survivors of Gerald Thomas O’Leary;

DEBORAH OPPERMAN, as Administrator
of the Estate of Michael Opperman, Deceased
and on behalf of all survivors of Deborah Opperman;

PERRY S. ORETZKY, as Personal Representative
of the Estates of David L. Angell and Lynn E. Angell, Deceased
and on behalf of all survivors of David L. Angell and Lynn E. Angell;

KANTILAL PATEL, as Representative
of the Estate of Manish Patel, Deceased
and on behalf of all survivors of Manish Patel;

NICOLE REDA, as Administrator
of the Estate of Gregory Reda, Deceased
and on behalf of all survivors of Gregory Reda;

NILSA RIVERA, as Executrix
of the Estate of Isaias Rivera, Deceased
and on behalf of all survivors of Isaias Rivera;

RICKY VIDER RIVERS, as Administrator
of the Estate of David E. Rivers, Deceased
and on behalf of all survivors of David E. Rivers;

EILEEN A. SHANAHAN, as Administrator
of the Estate of Earl R. Shanahan, Deceased
and on behalf of all survivors of Earl R. Shanahan;

SAMANTHA TAYLOR, as Legal Representative
of the Estate of Sandra Carol Taylor, Deceased
and on behalf of all survivors of Sandra Carol Taylor;



                                                      30
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 31 of 243



BARBARA TIRADO, as Administrator
of the Estate of David L. Tirado, Deceased
and on behalf of all survivors of David L. Tirado;

ANNE VANDEVANDER, as Administrator
of the Estate of Jon Vandevander, Deceased
and on behalf of all survivors of Jon Vandevander;

REMA WAISER, as Administrator
of the Estate of SIMON V. WEISER, Deceased
and on behalf of all survivors of Simon V. Weiser;

JANICE C. WILLIAMS, as Administrator
of the Estate of Louis Calvin Williams, III, Deceased
and on behalf of all survivors of Louis Calvin Williams, III;

DEBBIE WILLIAMS, as Administrator
of the Estate of Pauline Francis, Deceased
and on behalf of all survivors of Pauline Francis;

JOHN CITARELLA; DOUGLAS F. COPP;
BRIAN ROCOVICH; STEVE SULLIVAN;
WILLIAM WALSH;


EDELMIRO ABAD, as Personal Representative
of the Estate of Lorraine Abad, Deceased
and on behalf of all survivors of Lorraine Abad;

MARY ELIZABETH ADDERLEY and
TERENCE E. ADDERLEY, as Co-Administrators
of the Estate of Terence E. Adderley, Jr., Deceased
and on behalf of all survivors of Terence E. Adderley, Jr.;

CARMEN AGNES, as Personal Representative
of the Estate of David S. Agnes, Deceased
and on behalf of all survivors of David S. Agnes;

MILTIADIS AHLADIOTIS, as Personal Representative
of the Estate of Joanne Maria Ahladiotis, Deceased
and on behalf of all survivors of Joanne Maria Ahladiotis;

DONNA ALBERT, as Executor
of the Estate of Jon Albert, Deceased


                                                     31
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 32 of 243



and on behalf of all survivors of Jon Albert;

JOSEPH BERARDI, as Personal Representative
of the Estate of Dominick J. Berardi, Deceased
and on behalf of all survivors of Dominick J. Berardi;

VALERIE BETHKE, as Legal Representative
of the Estate of William R. Bethke, Deceased
and on behalf of all survivors of William R. Bethke;

DEBORAH BLANDING, as Administrator
of the Estate of Harry A. Blanding, Deceased
and on behalf of all survivors of Harry A. Blanding;

GAIL BRENNAN, as Administrator
of the Estate of Edward A. Brennan, Deceased
and on behalf of all survivors of Edward A. Brennan;

DAWN BRYFOGLE, as Administrator
of the Estate of Mark Bruce, Deceased
and on behalf of all survivors of Mark Bruce;

JULIE BURKE, as Administrator
of the Estate of Thomas Daniel Burke, Deceased
and on behalf of all survivors of Thomas Daniel Burke;

MARTHA C. BUTLER, as Administrator
of the Estate of Thomas M. Butler, Deceased
and on behalf of all survivors of Thomas M. Butler;

SHARON CAHILL, as Executor
of the Estate of John B. Cahill, Deceased
and on behalf of all survivors of John B. Cahill;

SUSAN CALCAGNO, as Personal Representative
of the Estate of Philip V. Calcagno, Deceased
and on behalf of all survivors of Philip V. Calcagno;

MICHELLE and VINCENT CANGELOSI, as
Personal Representatives of the Estate of
Vincent A. Cangelosi, Deceased and on behalf
of all survivors of Vincent A. Cangelosi;

LORI CAPORICCI, as Personal Representative


                                                    32
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 33 of 243



of the Estate of Louis Caporicci, Deceased
and on behalf of all survivors of Louis Caporicci;

JEAN CAREY, as Administrator
of the Estate of Dennis M. Carey, Deceased
and on behalf of all survivors of Dennis M. Carey;

CATHY CARILLI-SINTON, as Administrator
of the Estate of Thomas E. Sinton, III, Deceased
and on behalf of all survivors of Thomas E. Sinton;

PATRICIA CARRINGTON, as Administrator
of the Estate of Jeremy Carrington, Deceased
and on behalf of all survivors of Jeremy Carrington;

LEONARD A. CASTRIANNO, as Administrator
of the Estate of Leonard M. Castrianno, Deceased
and on behalf of all survivors of Leonard M. Castrianno;

GERALDINE CEFALU, as Administrator
of the Estate of Jason Cefalu, Deceased
and on behalf of all survivors of Jason Cefalu;

BOB CHEATHAM, as Personal Representative
of the Estate of Delrose Cheatham, Deceased
and on behalf of all survivors of Delrose Cheatham;

JOHN FRANCIS CLARKE, as Personal Representative
of the Estate of Michael J. Clarke, Deceased
and on behalf of all survivors of Michael J. Clarke;

ROBERT CLARK, as Personal Representative
of the Estate of Eugene Clark, Deceased
and on behalf of all survivors of Eugene Clark;

CHARLES CLYNE, as Personal Representative
of the Estate of Susan M. Clyne, Deceased
and on behalf of all survivors of Susan M. Clyne;

VINCENT J. COAKLEY and CAROLINE COAKLEY, as
Administrators of the Estate of Steven Coakley, Deceased
and on behalf of all survivors of Steven Coakley;

FELICIA A. CORBETT, as Personal Representative


                                                      33
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 34 of 243



of the Estate of Joseph A. Corbett, Deceased
and on behalf of all survivors of Joseph A. Corbett;

PAULA COTTOY, as Administrator
of the Estate of Conrod Cottoy, Sr., Deceased
and on behalf of all survivors of Conrod Cottoy, Sr.;

MARIANN COYLE, as Personal Representative
of the Estate of Andrew Gilbert, Deceased
and on behalf of all survivors of Andrew Gilbert;

JOHN CRANT, as Administrator
of the Estate of Denise Crant, Deceased
and on behalf of all survivors of Denise Crant;

LISA B. CRAWFORD, as Personal Representative
of the Estate of James L. Crawford, Jr., Deceased
and on behalf of all survivors of James L. Crawford;

MARIA CRIFASI, as Administrator
of the Estate of Lucy Crifasi, Deceased
and on behalf of all survivors of Luch Crifasi

JOANN CROSS, as Administrator
of the Estate of Dennis Cross, Deceased
and on behalf of all survivors of Dennis Cross;

MARIA CRUZ, as Personal Representative
of the Estate of Eduvigis Reyes, Jr., Deceased
and on behalf of all survivors of Eduvigis Reyes, Jr.;*

FREDERICK CURRY, as Personal Representative
of the Estate of Beverly Crew Curry, Deceased
and on behalf of all survivors of Beverly Crew Curry;

PATRICIA DeANGELIS, as Administrator
of the Estate of Thomas DeAngelis, Deceased
and on behalf of all survivors of Thomas DeAngelis;

MARION S. DeBLASE, as Personal Representative
of the Estate of James V. DeBlase, Jr., Deceased
and on behalf of all survivors of James V. DeBlase, Jr.;

VIOLETTA a/k/a VIVI DEMAS, as Personal Representative


                                                       34
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 35 of 243



of the Estate of Anthony Demas, Deceased
and on behalf of all survivors of Anthony Demas;

BROOKE DEMING, as Personal Representative
of the Estate of Francis X. Deming, Deceased
and on behalf of all survivors of Francis X. Deming;

CHRISTEL DeSIMONE, as Personal Representative
of the Estate of Christian DeSimone, Deceased
and on behalf of all survivors of Christian DeSimone;

ROBERT P. DEVITT, SR., as Administrator
of the Estate of Robert Devitt, Jr., Deceased
and on behalf of all survivors of Robert Devitt, Jr.;

DONNA DiAGOSTINO, as Personal Representative
of the Estate of Michael L. DiAgostino, Deceased
and on behalf of all survivors of Michael L. DiAgostino;

DAVID A. DiSTEFANO, as Personal Representative
of the Estate of Douglas F. DiStefano, Deceased
and on behalf of all survivors of Douglas F. DiStefano;
DAVID EGAN, as Personal Representative
of the Estate of Lisa Egan, Deceased
and on behalf of all survivors of Lisa Egan;

DAVID EGAN, as Personal Representative
of the Estate of Samantha Egan, Deceased
and on behalf of all survivors of Samantha Egan;

GAIL EAGLESON, as Administrator
of the Estate of John Bruce Eagleson, Deceased
and on behalf of all survivors of John Bruce Eagleson;

LUIS ESPINOZA, as Personal Representative
of the Estate of Fanny Espinoza, Deceased
and on behalf of all survivors of Fanny Espinoza;

LAURA FALLON, as Executor
of the Estate of William L. Fallon, Jr., Deceased
and on behalf of all survivors of William L. Fallon, Jr.;

PATRICIA FALLONE, as Personal Representative
of the Estate of Anthony J. Fallone, Deceased


                                                        35
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 36 of 243



and on behalf of all survivors of Anthony J. Fallone;

MAUREEN FANNING, as Administrator
of the Estate of John Fanning, Deceased
and on behalf of all survivors of John Fanning;

JEANINE LONG FRAZIER, as Administrator
of the Estate of Clyde Frazier, Jr., Deceased
and on behalf of all survivors of Clyde Frazier, Jr.;

ROBIN A. FREUND, as Fiduciary
of the Estate of Peter L. Freund, Deceased
and on behalf of all survivors of Peter L. Freund;

KENNETH R. FRIED, as Administrator
of the Estate of Arlene E. Fried, Deceased
and on behalf of all survivors of Arlene E. Fried;

MEREDITH FRY, as Executor
of the Estate of Peter C. Fry, Deceased
and on behalf of all survivors of Peter C. Fry;

FRANCINE GALLAGHER, as Administrator
of the Estate of John Patrick Gallagher, Deceased
and on behalf of all survivors of John Patrick Gallagher;

CANDY GLAZER, as Administrator
of the Estate of Edmund Glazer, deceased
and on behalf of all survivors of Edmund Glazer;

ANTONIA GARGANO, as Personal Representative
of the Estate of Rocco Nino Gargano, Deceased
and on behalf of all survivors of Rocco Nino Gargano;

JILL GARTENBERG, as Administrator
of the Estate of James M. Gartenberg, Deceased
and on behalf of all survivors of James M. Gartenberg;

MICHELLE GELINAS, as Personal Representative
of the Estate of Peter Gelinas, Deceased
and on behalf of all survivors of Peter Gelinas;*

DEBRA GELLER, as Administrator
of the Estate of Steven Paul Geller, Deceased


                                                        36
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 37 of 243



and on behalf of all survivors of Steven Paul Geller;

SONDRA GIACCONE, as Personal Representative
of the Estate of Joseph Giaccone, Deceased
and on behalf of all survivors of Joseph Giaccone;

LACHANZE GOODING, as Personal Representative
of the Estate of Calvin Joseph Gooding, Deceased
and on behalf of all survivors of Calvin Joseph Gooding;

ROXANNE GREEN, as Administrator
of the Estate of Wade Green, Deceased
and on behalf of all survivors of Wade Green;

SUSAN MALLERY GURIAN, as Personal Representative
of the Estate of Douglas Brian Gurian, Deceased
and on behalf of all survivors of Douglas Brian Gurian;

THOMAS HANNON, as Personal Representative
of the Estate of Dana R. Hannon, Deceased
and on behalf of all survivors of Dana R. Hannon;

CAROL HARAN, as Personal Representative
of the Estate of James Haran, Deceased
and on behalf of all survivors of James Haran;

SHEILA G. HARRIS, as Executor
of the Estate of Stewart D. Harris, Deceased
and on behalf of all survivors of Stewart D. Harris;

WANDA HERNANDEZ, as Administrator
of the Estate of Monique DeJesus, Deceased
and on behalf of all survivors of Monique DeJesus;

ALLISON HOBBS, as Personal Representative
of the Estate of Thomas A. Hobbs, Deceased
and on behalf of all survivors of Thomas A. Hobbs;

JAMES S. HOFFMAN, as Personal Representative
of the Estate of Marcia Hoffman, Deceased
and on behalf of all survivors of Marcia Hoffman;

ROSEMARIE HOHMANN, as Executor
of the Estate of Jonathan R. Hohmann, Deceased


                                                       37
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 38 of 243



and on behalf of all survivors of Jonathan R. Hohmann;

CHRISTOPHER HOWARD, as Administrator
of the Estate of George Howard, Deceased
and on behalf of all survivors of George Howard;

BARRY JABLONSKI, as Administrator
of the Estate of Virginia Jablonski, Deceased
and on behalf of all survivors of Virginia Jablonski;

ROBERT B. JACKMAN, as Personal Representative
of the Estate of Brooke Alexandra Jackman, Deceased
and on behalf of all survivors of Brooke Alexandra Jackman;

JU-HSIU JIAN, as Administrator
of the Estate of Hweidar Jian, Deceased
and on behalf of all survivors of Hweidar Jian;

JAN L. KANDELL, as Personal Representative
of the Estate of Shari Kandell, Deceased
and on behalf of all survivors of Shari Kandell;

GEORGE KATSIMATIDES, as Personal Representative
of the Estate of John Katsimatides, Deceased
and on behalf of all survivors of John Katsimatides;

JUDITH KEANE, as Personal Representative
of the Estate of Richard Keane, Deceased
and on behalf of all survivors of Richard Keane;

JULIE E. KELLY, as Personal Representative
of the Estate of Timothy C. Kelly, Deceased
and on behalf of all survivors of Timothy C. Kelly;

SUSAN KELLY, as Personal Representative
of the Estate of Joseph Anthony Kelly, Deceased
and on behalf of all survivors of Joseph Anthony Kelly;

PAUL KIEFER, as Personal Representative
of the Estate of Brian Warner, Deceased
and on behalf of all survivors of Brian Warner;

DONNA KLITZMAN & SUSAN KLITZMAN, as
Personal Representatives of the Estate of Karen


                                                      38
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 39 of 243



Klitzman, Deceased and on behalf of all survivors
of Karen Klitzman;

HARLENE LARRY, as Administrator
of the Estate of Hamidou Larry, Deceased
and on behalf of all survivors of Hamidou Larry;

ANN LEAVY, as Personal Representative
of the Estate of Neil Leavy, Deceased
and on behalf of all survivors of Neil Leavy;

KAREN LEE, as Personal Representative
of the Estate of Richard Yun-Choon Lee, Deceased
and on behalf of all survivors of Richard Yun-Choon Lee;

DELORES LEGREE, as Personal Representative
of the Estate of Anthony Hawkins, Deceased
and on behalf of all survivors of Delores Legree;

MARIA LEGRO, as Personal Representative
of the Estate of Adriana Legro, Deceased
and on behalf of all survivors of Adriana Legro;

SUSAN LENOIR, as Executor
of the Estate of John Robinson Lenoir, Deceased
and on behalf of all survivors of John Robinson Lenoir;

CHRISTINE E. LeVEEN, as Personal Representative
of the Estate of Jeffrey E. LeVeen, Deceased
and on behalf of all survivors of Jeffrey E. LeVeen;

MARIE LUKAS, as Personal Representative
of the Estate of Marie Lukas, Deceased
and on behalf of all survivors of Marie Lukas;

MICHELLE LUNDEN, as Administrator
of the Estate of Michael Patrick Lunden, Deceased
and on behalf of all survivors of Michael Patrick Lunden;

LORRAINE MARCHESE, as Personal Representative
of the Estate of Laura A. Giglio a/k/a
Laura Marchese, Deceased, and on behalf of all
survivors of Laura A. Giglio a/k/a Laura Marchese;



                                                    39
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 40 of 243



JUAN MARTINEZ, as Personal Representative
of the Estate of Waleska Martinez, Deceased
and on behalf of all survivors of Waleska Martinez;

PEARL MAYNARD, as Representative
of the Estate of Keithroy Maynard, Deceased
and on behalf of all survivors of Keithroy Maynard;

BETTY ANN McCARTHY, as Personal Representative
of the Estate of Justin McCarthy, Deceased
and on behalf of all survivors of Justin McCarthy;

WILLIAM McCARTHY, as Personal Representative
of the Estate of Michael McCarthy, Deceased
and on behalf of all survivors of Michael McCarthy;

SUSAN McDERMOTT, as Personal Representative
of the Estate of Matthew J. McDermott, Deceased
and on behalf of all survivors of Matthew J. McDermott;

MARY BETH McERLEAN, as Personal Representative
of the Estate of John T. McErlean, Jr., Deceased
and on behalf of all survivors of John T. McErlean, Jr.;

MARY S. McGOVERN, as Administrator
of the Estate of William McGovern, Deceased
and on behalf of all survivors of William McGovern;

GEORGE McLAUGHLIN, as Personal Representative
of the Estate of George McLaughlin III, Deceased
and on behalf of all survivors of George McLaughlin III;

ANNE McNEIL, as Executor
of the Estate of Martin Michelstein, Deceased
and on behalf of all survivors of Martin Michelstein;

KOULA MERKOURIS, as Administrator
of the Estate of George Merkouris, Deceased
and on behalf of all survivors of George Merkouris;

DIANE MONAHAN, as Personal Representative
of the Estate of John Monahan, Deceased
and on behalf of all survivors of John Monahan;



                                                   40
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 41 of 243



ROBERTA MORELL, as Personal Representative
of the Estate of George Morell, Deceased
and on behalf of all survivors of George Morell;

NANCY MORONEY, as Administrator
of the Estate of Dennis Moroney, Deceased
and on behalf of all survivors of Dennis Moroney;

LORRAINE MOSICAL, as Personal Representative
of the Estate of William Mosical, Deceased
and on behalf of all survivors of William Mosical;

ELIZABETH MURPHY, as Personal Representative
of the Estate of Charles A. Murphy, Deceased
and on behalf of all survivors of Charles A. Murphy;

JUDITH BRAM MURPHY, as Personal Representative
of the Estate of Brian Murphy, Deceased
and on behalf of all survivors of Brian Murphy;

GAIL MYHRE, as Personal Representative
of the Estate of Richard Todd Myhre, Deceased
and on behalf of all survivors of Richard Todd Myhre;

ENRICA NACCAROTO, as Personal Representative
of the Estate of Lorraine Lisi, Deceased
and on behalf of all survivors of Lorraine Lisi;

DAVID DWIGHT NELSON and SHARON
BAKER-GUAL, as co-Personal Representatives
of the Estate of Kerene Gordon, Deceased
and on behalf of all survivors of Kerene Gordon;

MANUELA OCTAVIA NITA-GALLO, as Administrator
of the Estate of Cono Gallo, Deceased
and on behalf of all survivors of Cono Gallo;

ARLINE NUSSBAUM, as Personal Representative
of the Estate of Jeffrey Nussbaum, Deceased
and on behalf of all survivors of Jeffrey Nussbaum;*

DENNIS O’CONNOR, as Administrator
of the Estate of Dennis O’Connor, Jr., Deceased
and on behalf of all survivors of Dennis O’Connor, Jr.


                                                    41
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 42 of 243



LYNNE O’CONNOR, as Personal Representative
of the Estate of Richard O’Connor, Deceased
and on behalf of all survivors of Richard O’Connor;

JOSEPH O’KEEFE, as Administrator
of the Estate of Lesley Thomas, Deceased
and on behalf of all survivors of Lesley Thomas;

HOLLY D. O’NEILL, as Administrator
of the Estate of Sean Gordon O’Neill, Deceased
and on behalf of all survivors of Sean Gordon O’Neill;

SHEILA MARIE G. ORNEDO, as Representative
of the Estate of Ruben S. Ornedo, Deceased
and on behalf of all survivors of Ruben S. Ornedo;

TRACY ORR, as Administrator
of the Estate of Alexander Steinman, Deceased
and on behalf of all survivors of Alexander Steinman;

JOANNA OSTROWSKI, as Administrator
of the Estate of James Robert Ostrowski, Deceased
and on behalf of all survivors of James Robert Ostrowski;

KENNETH OSWALD, as Personal Representative
of the Estate of Jason Oswald, Deceased
and on behalf of all survivors of Jason Oswald;

SUSAN OU, as Personal Representative
of the Estate of Michael Ou, Deceased
and on behalf of all survivors of Michael Ou;

KATHLEEN OWENS, as Personal Representative
of the Estate of Peter Owens, Deceased
and on behalf of all survivors of Peter Owens;*

YVETTE PABON, as Personal Representative
of the Estate of Angel Pabon, Deceased
and on behalf of all survivors of Angel Pabon;

BLANCA GUTIERREZ DE PAZ, as Personal Representative
of the Estate of Victor Hugo Paz Gutierrez, Deceased
and on behalf of all survivors of Victor Hugo Paz Gutierrez;



                                                     42
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 43 of 243



BOBBIE CATHERINE PEAK, as Administrator
of the Estate of Stacey Peak, Deceased
and on behalf of all survivors of Stacey Peak;

SOPHIE PELLETIER, as Personal Representative
of the Estate of Mike Pelletier, Deceased
and on behalf of all survivors of Mike Pelletier;

LOURDES PEREZ-BERKELEY, as Personal Representative
of the Estate of Michael J. Berkeley, Deceased
and on behalf of all survivors of Michael J. Berkeley;

PATRICIA PERRONCINO, as Administrator
of the Estate of Joseph Perroncino, Deceased
and on behalf of all survivors of Joseph Perroncino;

JOSEPH PERROTTA, as Personal Representative
of the Estate of Edward Joseph Perrotta, Deceased
and on behalf of all survivors of Edward Joseph Perrotta;

BERNARD PHAIR, as Personal Representative
of the Estate of Joann Cregan, Deceased
and on behalf of all survivors of Joann Cregan;

MURRAY C. PITT and ERIN PITT RICHARDS,
as Co-Administrators of the Estate of Gregory
Richards, Deceased and on behalf of all survivors
of Gregory Richards;

SUSAN PRUNTY, as Administrator
of the Estate of Richard Prunty, Deceased
and on behalf of all survivors of Richard Prunty;

JODI RIVERSO, as Administrator
of the Estate of Joseph R. Riverso, Deceased
and on behalf of all survivors of Joseph R. Riverso;

ELAINE RIZZA, as Administrator
of the Estate of Paul Rizza, Deceased
and on behalf of all survivors of Paul Rizza;

KATHERINE ROBSON, as Personal Representative
of the Estate of Donald A. Robson, Deceased
and on behalf of all survivors of Donald A. Robson;


                                                    43
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 44 of 243




ESTHER RODRIGUEZ, as Public Administrator
of the Estate of Peter A. Bielfeld, Deceased
and on behalf of Brittany Bielfeld, a minor and
Therese Clarner, individually and as guardian
ad litem for Brittany Bielfeld;

RONALD R. ROHNER, as Administrator
of the Estate of Scott W. Rohner, Deceased
and on behalf of all survivors of Ronald R. Rohner;

ALISSA ROSENBERG-TORRES, ad Administrator
of the Estate of Luis Eduardo Torres, Deceased
and on behalf of all survivors of Luis Eduardo Torres;

MICHELE SAND, as Personal Representative
of the Estate of Eric Sand, Deceased
and on behalf of all survivors of Eric Sand;

JOSEPH SANTO, as Administrator
of the Estate of Susan Santo, Deceased
and on behalf of all survivors of Susan Santo;

SHEILA SCANDOLE, a Personal Representative
of the Estate of Robert L. Scandole, Deceased
and on behalf of all survivors of Robert L. Scandole;

KENNETH G. SCHIELKE, as Personal Representative
of the Estate of Sean Schielke, Deceased
and on behalf of all survivors of Sean Schielke;

JEFFREY SCHORPP, as Administrator
of the Estate of Marisa DiNardo, Deceased
and on behalf of all survivors of Marisa DiNardo;

PATRICIA B. SCHWARTZ, as Administrator
of the Estate of Mark Schwartz, Deceased
and on behalf of all survivors of Mark Schwartz;

CHARLES SCIBETTA, as Personal Representative
of the Estate of Adrianne Scibetta, Deceased
and on behalf of all survivors of Adrianne Scibetta;

CATHERINE SCULLIN, as Personal Representative


                                                      44
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 45 of 243



of the Estate of Arthur Warren Scullin, Deceased
and on behalf of all survivors of Arthur Warren Scullin;

LEONOR SHAHID and SYED SHAHID, as
co-Administrators of the Estate of Khalid Shahid, Deceased
and on behalf of all survivors of Khalid Shahid;

JYOTHI SHAH, as Administrator
of the Estate of Jayesh Shah, Deceased
and on behalf of all survivors of Jayesh Shah;

BENJAMIN SHAMAY, as Administrator
of the Estate of Gary Shamay, Deceased
and on behalf of all survivors of Gary Shamay;

JANINE SNYDER, as Administrator
of the Estate of Leonard Snyder, Deceased
and on behalf of all survivors of Leonard Snyder;

LAWAN SRINUAN and CHALERMCHAI SRINUAN,
as Co-Administrators of the Estate of Saranya Srinuan
and on behalf of all survivors of Saranya Srinuan;

DANIEL STAN, as Administrator
of the Estate of Alexandru Stan, Deceased
and on behalf of all survivors of Alexandru Stan;

PATRICIA A. STRAINE, as Personal Representative
of the Estate of James J. Straine, Jr., Deceased
and on behalf of all survivors of James J. Straine;

SUZANNE SWAINE, as Personal Representative
of the Estate of John F. Swaine, Deceased
and on behalf of all survivors of John F. Swaine;

MIDORI TAKAHASHI, as Personal Representative
of the Estate of Keiji Takahashi, Deceased
and on behalf of all survivors of Keiji Takahashi;

EMILY TERRY, as Personal Representative
of the Estate of Andrew Kates, Deceased
and on behalf of all survivors of Andrew Kates;

THOMAS EDWARD TIGHE, as Personal Representative


                                                    45
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 46 of 243



of the Estate of Diane T. Lipari, Deceased
and on behalf of all survivors of Diane T. Lipari;

KATHLEEN TRANT, as Administrator
of the Estate of Daniel Trant, Deceased
and on behalf of all survivors of Daniel Trant;

MARY TSELEPIS, as Personal Representative
of the Estate of William P. Tselepis, Deceased
and on behalf of all survivors of William P. Tselepis;

JULIE UMAN, as Personal Representative
of the Estate of Jonathan Uman, Deceased
and on behalf of all survivors of Jonathan Uman;

PATRICIA VILARDO, as Administrator
of the Estate of Joseph Vilardo, Deceased
and on behalf of all survivors of Joseph Vilardo;

STANLEY WEINSTEIN, as Administrator
of the Estate of Lisa Karen Orfi-Ehrlich, Deceased;
and on behalf of all survivors of Lisa Karen Orfi-Ehrlich;

CAROL WISNIEWSKI, as Administrator
of the Estate of Frank Thomas Wisniewski, Deceased
and on behalf of all survivors of Frank Thomas Wisniewski;

KATHLEEN M. WIK, as Administrator
of the Estate of William J. Wik, Deceased
and on behalf of all survivors of William J. Wik;

CHARLES WOLFE, as Administrator
of the Estate of Katherine Wolfe, Deceased
and on behalf of all survivors of Katherine Wolfe;

KAREN WORTLEY, as Administrator
of the Estate of Martin Wortley, Deceased
and on behalf of all survivors of Martin Wortley;

DYAN ZINZI, as Personal Representative
of the Estate of Michael Zinzi, Deceased
and on behalf of all survivors of Michael Zinzi;

CAROL ZION, as Personal Representative


                                                     46
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 47 of 243



of the Estate of Charles A. Zion, Deceased
and on behalf of all survivors of Charles A. Zion;


WILLIAM STEVEN GOLDSTEIN
TIMOTHY MOLCZYK
JOHN DRISCOLL
LADWIN BRISSETT*
ELLEN McQUEEN*
MARIE POLITE*
CHRISTOPHER SPARACIA*
JILL FENWICK*
SEAN GENOVESE
DANIEL J. PRITZKER
BRIAN J. SULLIVAN
THOMAS McHUGH
JAMES J. BARANEK
ROBERT RENODE, JR.
GREGORY E. MANNING
HILDA VALENTINE
HARRY WAIZER
MARIA WARD
PETER MOLNAR
* Co-Counsel Soberman & Rosenberg


DEBORAH AMATO, as Personal Representative
of the Estate of James A. Amato, Deceased
and on behalf of all survivors of James A. Amato;

SANDRA BURNSIDE, as Personal Representative
of the Estate of John P. Burnside, Deceased
and on behalf of all survivors of John P. Burnside;

WARREN COLODNER, as Executor
of the Estate of Patricia M. Colodner, Deceased
and on behalf of all survivors of Patricia M. Colodner;

JEAN C. FISCHER, as Personal Representative
of the Estate of John R. Fischer, Deceased
and on behalf of all survivors of John R. Fischer;

LISA PALAZZO, as Personal Representative
of the Estate of Thomas Palazzo, Deceased


                                                      47
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 48 of 243



and on behalf of all survivors of Thomas Palazzo;

RICHARD A. PITINO, as Executor
of the Estate of William G. Minardi, Deceased and
on behalf of all survivors of William G. Minardi;

WILLIAM F. REILLY, as Administrator of the
Estate of James Brian Reilly, Deceased and on
behalf of all survivors of James Brian Reilly;

LINDA SARLE, as Administrator of the
Estate of Paul F. Sarle, Deceased and on
behalf of all survivors of Paul F. Sarle;

ELLEN SHEA, as Executor of the Estate of Daniel
James Shea, Deceased, and on behalf of all survivors of
Daniel James Shea;

LORRAINE SPEAR, as Personal Representative
of the Estate of Robert W. Spear, Deceased
and on behalf of all survivors of Robert W. Spear;

DIANE STARITA, as Personal Representative of
the Estate of Anthony Starita, Deceased and on behalf of
all survivors of Anthony Starita;

HARUMI TAKAHASHI, as Personal Representative of
the Estate of Keiichiro Takahashi, Deceased
and on behalf of all survivors of Keiichiro Takahashi,

MARIA ARYEE, as Administrator
of the Estate of Japhet Aryee, Deceased
and on behalf of all survivors of Japhet Aryee;

JoANN ATLAS, as Personal Representative
of the Estate of Gregg Arthur Atlas, Deceased
and on behalf of all survivors of Gregg Arthur Atlas;

VLADIMIR BASIN, as Administrator
of the Estate of Inna Basin, Deceased
and on behalf of all survivors of Inna Basin;




                                                     48
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 49 of 243




PAULINE and CHARLES LESLIE BERKELEY,
as Personal Representatives of the Estate of
Graham Berkeley, Deceased and on behalf of all
survivors of Graham Berkeley;**

PAULA BERRY, as Administrator
of the Estate of David S. Berry, Deceased
and on behalf of all survivors of David S. Berry;

JOLANTA BOYARSKY, as Administrator
of the Estate of Gennady Boyarsky, Deceased
and on behalf of all survivors of Gennady Boyarsky;

PHILIP G. BRADSHAW, as Executor
of the Estate of Sandra W. Bradshaw, Deceased
and on behalf of all survivors of Sandra W. Bradshaw;

SUSAN CARROLL, as Administrator
of the Estate of Kevin Colbert, Deceased
and on behalf of all survivors of Kevin Colbert;

PATRICIA DEAN, as Personal Representative
of the Estate of WILLIAM DEAN, Deceased
and on behalf of all survivors of William Dean;

WILLIAM A. DREIER and MARY WRIGHT, as
Co-Administrators of the Estate of Neil Wright, Deceased
and on behalf of all survivors of Neil Wright;

IRINA DUBENSKAYA, as Administrator
of the Estate of Eugueni Kniazev, Deceased
and on behalf of all survivors of Eugueni Kniazev;

ZHANNA GALPERINA, as Administrator
of the Estate of Arkady Zaltsman, Deceased
and on behalf of all survivors of Arkady Zaltsman;

RANULFO and RENEE GAMBOA, as Personal
Representatives of the Estate of David R. Brandhorst
Gamboa, Deceased and on behalf of all survivors of


                                                  49
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 50 of 243




David R. Brandhorst**

RACHEL W. GOODRICH, as Personal Representative
of the Estate of Peter M. Goodrich, Deceased
and on behalf of all survivors of Peter M. Goodrich;

BOBBY GRIFFIN, as Personal Representative
of the Estate of Tawanna Griffin, Deceased
and on behalf of all survivors of Tawanna Griffin;**

GWYNETTA HURST, as Personal Representative
of the Estate of Shannon Lewis Adams, Deceased
and on behalf of all survivors of Shannon Lewis Adams,

LILLIAN ILOWITZ, as Administrator
of the Estate of Abraham Ilowitz, Deceased
and on behalf of all survivors of Abraham Ilowitz;

ELLA KHALIF, as Administrator
of the Estate of Boris Khalif, Deceased
and on behalf of all survivors of Boris Khalif;

JIN HEE KIM, as Personal Representative of the
Estate of Hyun Joon Lee, Deceased, and
on behalf of all survivors of Hyun Joon Lee;

PAUL KIM, as Personal Representative of the
Estate Andrew Jay-Hoon Kim, Deceased, and
on behalf of all survivors of Andrew Jay-Hoon Kim;

ARSEN KOLPAKOV, as Administrator
of the Estate of Irina Kolpakova, Deceased
and on behalf of all survivors of Irina Kolpakova;

NADADUR S. KUMAR, as Administrator
of the Estate of Pendyala Vamsikrishna, Deceased
and on behalf of all survivors of Pendyala Vamsikrishna;

NADADUR S. KUMAR, as Administrator
of the Estate of Prasanna Kalahasthi, Deceased


                                                  50
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 51 of 243




and on behalf of all survivors of Prasanna Kalahasthi;

NATALYA LOGINOVA, as Administrator
of the Estate of Alexey Razuvaev, Deceased
and on behalf of all survivors of Alexey Razuvaev;

SHARI MAIO, as Personal Representative
of the Estate of Joseph Daniel Maio, Deceased
and on behalf of all survivors of Joseph Daniel Maio;**

RAYNETTE MASCARENHAS, as Executor
of the Estate of Bernard Mascarenhas, Deceased
and on behalf of all survivors of Bernard Mascarenhas
including Sven Herman Mascarenhas and
Jaclyn Anne Marie Mascarenhas;

MARJORIE BETH MILLER, as Administrator
of the Estate of Joel Miller, Deceased
and on behalf of all survivors of Joel Miller;

SURI MORGENSTERN, as Administrator
of the Estate of Nancy Morgenstern, Deceased
and on behalf of all survivors of Nancy Morgenstern;

CATHY MUROLO, as Personal Representative
of the Estate of Marc Murolo, Deceased
and on behalf of all survivors of Marc Murolo,

MARY NICHOLSON, as Personal Representative
of the Estate of M. Kathleen Shearer, Deceased
and on behalf of all survivors of M. Kathleen Shearer;

MARY NICHOLSON, as Personal Representative
of the Estate of Robert Shearer, Deceased
and on behalf of all survivors of Robert Shearer;

GEORGE NICOSIA, as Administrator
of the Estate of Kathleen Anne Nicosia, Deceased,
and on behalf of all survivors of Kathleen Anne Nicosia,



                                                 51
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 52 of 243




FRANK K. PEZZUTI, as Personal Representative
of the Estate of Kaleen E. Pezzuti, Deceased
and on behalf of all survivors of Kaleen E. Pezzuti,

VIVIAN BETH REUBEN, as Personal Representative
of the Estate of Todd H. Reuben, Deceased
and on behalf of all survivors of Todd H. Reuben;**

VASILIY RIJOV, as Administrator
of the Estate of Tatiana Ryjova Deceased
and on behalf of all survivors of Tatiana Ryjova;

ILIA RODRIGUEZ, as Personal Representative
of the Estate of Carlos R. Lillo, Deceased
and on behalf of all survivors of Carlos R. Lillo;**

LAUREN ROSENZWEIG, as Administrator
of the Estate of Philip Rosenzweig, Deceased
and on behalf of all survivors of Philip Rosenzweig

MARIA L. RYAN, as Administrator
of the Estate of Jonathan S. Ryan, Deceased
and on behalf of all survivors of Jonathan S. Ryan;

KIM STATKEVICUS, as Administrator of
the Estate of Derek J. Statkevicus, Deceased
and on behalf of all survivors of Derek J. Statkevicus,

JILL K. TARROU, as Personal Representative
of the Estate of Michael C. Tarrou, Deceased
and on behalf of all survivors of Michael C. Tarrou;**

FRANK TAYLOR, as Personal Representative
of the Estate of Lorisa Taylor, Deceased
and on behalf of all survivors of Lorisa Taylor;

KIMBERLY TRUDEL, as Administrator
of the Estate of Fred Rimmele, Deceased
and on behalf of all survivors of Fred Rimmele;



                                                   52
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 53 of 243




**Co-Counsel Podhurst Orseck

LAURA BACARELLA
ISRAEL HALPERN,


Stand Alone Complaint Filed 9/10/03

ERNESTO BARRERA, as Personal Representative
of the Estate of Ana Gloria DeBarrera, Deceased
and on behalf of all survivors of Ana Gloria DeBarrera;

SHARLENE M. BECKWITH and
JAMES A. REED, as Co-Administrators of
the Estate of Michele M. Reed, Deceased
and on behalf of all survivors of Michele M. Reed;        COMPLAINT
                                                          Civil Action No. 03CV 7036
BENITO COLON, as Administrator
of the Estate of Soledi Colon, Deceased
and on behalf of all survivors of Soledi Colon;

VICTORIA HIGLEY, as Administrator
of the Estate of Robert Higley, Deceased
and on behalf of all survivors of Robert Higley;

MAUREEN KELLY, as Administrator
of the Estate of Mark Ludvigsen, Deceased
and on behalf of all survivors of Mark Ludvigsen;

MARION KNOX, as Administrator
of the Estate of Andrew Knox, Deceased
and on behalf of all survivors of Andrew Knox;

LAURA J. LASSMAN, as Administrator
of the Estate of Nicholas Lassman, Deceased
and on behalf of all survivors of Nicholas Lassman;

PHILIP LEE and MEI JY LEE, as Co-Administrators
of the Estate of Yang Der Lee, Deceased
and on behalf of all survivors of Yang Der Lee;

MELVIN LEWIS & JOHN LEWIS, as
Co-Personal Administrators of the Estate


                                                     53
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 54 of 243



Margaret Lewis, Deceased and on behalf
of all survivors of Margaret Lewis;

JOHN A. MARTIN and PAUL R. MARTIN,
as Co-Administrators of the Estate of
Karen Ann Martin, Deceased and on behalf
of all survivors of Karen Ann Martin;

JOVIANA MERCADO, as Administrator
of the Estate of Steve Mercado, Deceased
and on behalf of all survivors of Steve Mercado;

LINDA PASCUMA, as Personal Representative
of the Estate of Michael J. Pascuma, Jr., Deceased
and on behalf of all survivors of Michael J. Pascuma, Jr.;

SEAN PASSANANTI, as Executor
of the Estate of Horace Passananti, Deceased
and on behalf of all survivors of Horace Passananti;

HELEN PFEIFER, as Personal Representative
of the Estate of Kevin Pfeifer, Deceased
and on behalf of all survivors of Kevin Pfeifer;

DANIEL POLATSCH, as Personal Representative
of the Estate of Laurence Polatsch, Deceased
and on behalf of all survivors of Laurence Polatsch;

THERESA REGAN, as Personal Representative
of the Estate of Donald Regan, Deceased
and on behalf of all survivors of Donald Regan;**

ARMAND REO, as Administrator
of the Estate of John A. Reo, Deceased
and on behalf of all survivors of John A. Reo;

ALEXANDER & MAUREEN SANTORO, as
Personal Representatives of the Estate of Christopher Santoro,
Deceased and on behalf of all survivors of Christopher Santoro;**

NARASIMHA SATTALURI, as Administrator
of the Estate of Deepika Kumar Sattaluri, Deceased
and on behalf of all survivors of Deepika Kumar Sattaluri;



                                                    54
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 55 of 243



CYNTHIA TUMULTY, as Administrator
of the Estate of Lance Tumulty, Deceased
and on behalf of all survivors of Lance Tumulty;

YUN YU ZHENG, as Administrator
of the Estate of Kui Fai Kwok, Deceased
and on behalf of all survivors of Kui Fai Kwok;

DAVID ZIMINSKI, as Administrator
of the Estate of Ivelin Ziminski, Deceased
and on behalf of all survivors of Ivelin Ziminski;

ROBERT BERMINGHAM;**

MARK BERNHEIMER;**

DONALD DiDOMENICO;

JOSEPH DONOVAN;**

WILLIAM ELLIS;**

MICHAEL ENDRIZZI;**

THOMAS FLETCHER;**

MARK GOLDWASSER;**

RON HARDING;**

JEREMIAH HARNEY;**

PETER IOVENO;**

JURGIEL KAZIMIERZ;**

ROBERT KEANE;**

RAYMOND LACHHMAN;**

GEORGE LANTAY;**

HOUSSAIN LAZAAR;**



                                                     55
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 56 of 243



JOYCE LEIGH;**

VINCENT LeVIEN;**

JEFF LEVER;**

JERZY MROZEK;**

ANDREW QUINN;**

DENNIS QUINN;**

KEVIN ROGERS;**

CARMEN ROMERO;**

CHRISTINE SAKOUTIS;**

KEMRAJ SINGH;**

GARY WENDELL;**

** Barasch McGarry Salzman Penson & Lim Attorneys


Plaintiffs added as of March 10, 2004

ANNE ANGELINI, as Administrator
of the Estate of Joseph Angelini, Sr., Deceased
and on behalf of all survivors of Joseph Angelini, Sr.;

KATHLEEN G. APOSTOL, as Administrator
of the Estate of Faustino Apostol, Jr., Deceased
and on behalf of all survivors of Faustino Apostol;

LOWELL L. BELL and PATRICIA BELL, as co-
Administrators of the Estate of Nina P. Bell, Deceased
and on behalf of all survivors of Nina P. Bell;

LINDA BOWMAN, as Personal Representative
of the Estate of Larry Bowman, Deceased
and on behalf of all survivors of Larry Bowman;


                                                56
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 57 of 243




RICHARD PETER CARNEY, as Executor
of the Estate of Mark Stephen Carney, Deceased
and on behalf of all survivors of Mark Stephen Carney;

FRANCES M. COFFEY, as Personal Representative
of the Estate of Daniel M. Coffey, Deceased
and on behalf of all survivors of Daniel M. Coffey;

FRANCES M. COFFEY, as Personal Representative
of the Estate of Jason M. Coffey, Deceased
and on behalf of all survivors of Jason M. Coffey;

ANGELA DANZ, as Administrator
of the Estate of Vincent Danz, Deceased
and on behalf of all survivors of Vincent Danz;

GERALDINE DAVIE, as Administrator
of the Estate of Amy O’Doherty, Deceased
and on behalf of all survivors of Amy O’Doherty;

CHRISTOPHER V. DELLA PIETRA, as Administrator
of the Estate of Joseph A. Della Pietra, Deceased
and on behalf of all survivors of Joseph A. Della Pietra;

MARIAN FONTANA, as Administrator
of the Estate of David J. Fontana, Deceased
and on behalf of all survivors of David J. Fontana;

ELISABET GARDNER, as Administrator
of the Estate of William Arthur Gardner, Deceased
and on behalf of all survivors of William Arthur Gardner;

ROXANN GIORDANO, as Administrator
of the Estate of John Giordano, Deceased
and on behalf of all survivors of John Giordano;

JOHN F. GREGORY, as Administrator
of the Estate of Florence Moran Gregory, Deceased
and on behalf of all survivors of Florence Moran Gregory;



                                                  57
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 58 of 243




JOANNE HATTON, as Administrator
of the Estate of Leonard Hatton, Jr., Deceased
and on behalf of all survivors of Leonard Hatton, Jr.;

MARIE HUNCHAK, as Administrator
of the Estate of Andrew Lacorte, Deceased
and on behalf of all survivors of Andrew Lacorte;

MARY JEANETTE JONES, as Executrix
of the Estate of Charles Jones, Deceased
and on behalf of all survivors of Charles Jones;

MAUREEN KENNEDY, as Administrator
of the Estate of Robert Kennedy, Deceased
and on behalf of all survivors of Robert Kennedy;

SHERI ANNE LADLEY, as Executrix
of the Estate of James P. Ladley, Deceased
and on behalf of all survivors of James P. Ladley;

KIMBERLEY S. LAMANTIA, as Administrator
of the Estate of Stephen Lamantia, Deceased
and on behalf of all survivors of Stephen Lamantia;

CAROL LAEITA, as Administrator
of the Estate of Vincent A. Leita, Deceased
and on behalf of all survivors of Vincent A. Leita;

KIM L. LASKO, as Executrix
of the Estate of Gary E. Lasko, Deceased
and on behalf of all survivors of Gary E. Lasko;

MELVIN LEWIS and JOHN LEWIS, as Co-
Administrators of the Estate of Margaret Lewis, Deceased
and on behalf of all survivors of Margaret Lewis;

DENISE LYNCH, as Administrator
of the Estate of Michael Lynch, Deceased
and on behalf of all survivors of Michael Lynch;



                                                   58
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 59 of 243




ANNE MARIE MCCANN, as Administrator
of the Estate of Thomas McCann, Deceased
and on behalf of all survivors of Thomas McCann;

MICHELLE MCCRANN, as Administrator
of the Estate of Charles A. McCrann, Deceased
and on behalf of all survivors of Charles A. McCrann;

LIDIA MELENDEZ, as Administrator
of the Estate of Mirna A. Duarte, Deceased
and on behalf of all survivors of Mirna A. Duarte;

ENRICA NACCARATO, as Administrator
of the Estate of Lorraine Lisi, Deceased
and on behalf of all survivors of Lorraine Lisi;

MARY NICHOLSON, as Administrator
of the Estate of Robert Shearer, Deceased
and on behalf of all survivors of Robert Shearer;

ANDREA O’HAGAN, as Administrator
of the Estate of Thomas G. O’Hagan, Deceased
and on behalf of all survivors of Thomas G. O’Hagan;

JOHN ERIC OLSON, as Administrator
of the Estate of Maureen Lyons Olson, Deceased
and on behalf of all survivors of Maureen Lyons Olson;

ALREDO F. ORTIZ, as Administrator
of the Estate of Alexander Ortiz, Deceased
and on behalf of all survivors of Alexander Ortiz;

SAMPATH PAKKALA, as Administrator
of the Estate of Deepa Pakkala, Deceased
and on behalf of all survivors of Deepa Pakkala;

EDWARD RADBURN, as Administrator
of the Estate of Bettina Browne, Deceased
and on behalf of all survivors of Bettina Browne;



                                                   59
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 60 of 243




CARMEN RODRIGUEZ, as Administrator
of the Estate of Angel Perez, Deceased
and on behalf of all survivors of Angel Perez;

GRISSEL RODRIGUEZ-VALENTIN, as Administrator
(Ad Prosequendum) of the Estate of Benito Valentin, Deceased
and on behalf of all survivors of Benito Valentin;

SUSAN ROSSINOW, as Administrator
of the Estate of Norman Rossinow, Deceased
and on behalf of all survivors of Norman Rossinow;

DAE JIN RYOOK, as Administrator
of the Estate of Christina S. Ryook, Deceased
and on behalf of all survivors of Christina S. Ryook;

ARLENE SACERDOTE, as Administrator
of the Estate of Joseph Sacerdote, Deceased
and on behalf of all survivors of Joseph Sacerdote;

PAULA SHAPIRO, as Co-Administrator
of the Estate of Eric Eisenberg, Deceased
and on behalf of all survivors of Eric Eisenberg;

JERRI SMITH, as Administrator
of the Estate of Kevin Smith, Deceased
and on behalf of all survivors of Jerri Smith;

MARY E. TADDEI, as Voluntary Administrator
of the Estate of Norma C. Taddei, Deceased
and on behalf of all survivors of Norma C. Taddei;

CONSUELO VELAZQUEZ, as Administrator
of the Estate of Jorge Velazquez, Deceased
and on behalf of all survivors of Jorge Velazquez;

FLOYD WEIL, as Administrator
of the Estate of Joanne Weil, Deceased
and on behalf of all survivors of Joanne Weil;



                                                 60
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 61 of 243




DARREN WILLIAMS, as Administrator
of the Estate of Debbie Williams, Deceased
and on behalf of all survivors of Debbie Williams;

KENNETH WILLIAMS, as Administrator
of the Estate of Brian Patrick Williams, Deceased
and on behalf of all survivors of Brian Patrick Williams;

HELEN ZACCOLI, as Administrator
of the Estate of Joseph Zaccoli, Deceased
and on behalf of all survivors of Joseph Zaccoli;

JILL ZANGRILLI, as Administrator
of the Estate of Mark Zangrilli, Deceased
and on behalf of all survivors of Mark Zangrilli;

DOROTA ZOIS, as Personal Representative
of the Estate of Prokopias (Paul) Zois, Deceased
and on behalf of all survivors of Prokopias (Paul) Zois;

RONALD DE FRANCESCO

DENNIS SIRJUESINGH

GUY ROSBROOK

TAMAR ROSBROOK

MARIA WARD

Plaintiffs added as of September 10, 2004

CHRISTY FERER, as Personal Representative
of the Estate of Neil Levin, Deceased
and on behalf of all survivors of Neil Levin

JULIO CESAR FERNANDEZ, as Personal Representative
of the Estate of Julio Fernandez, Deceased
and on behalf of all survivors of Julio Fernandez

CAROL LAIETA, as Administrator
of the Estate of Vincent A. Laieta, Deceased
and on behalf of all survivors of Vincent A. Laieta
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 62 of 243




JUAN MARTINEZ, as Personal Representative
of the Estate of Waleska Martinez, Deceased
and on behalf of all survivors of Waleska Martinez

MICHAEL RAMBOUSEK, as Representative
of the Estate of Luke Rambousek, Deceased
and on behalf of all survivors of Luke Rambousek;

LAURIE WEINBERG, as Administratrix
of the Estate of Steven Weinberg, Deceased
and on behalf of all survivors of Steven Weinberg;*

SUSAN WOHLFORTH, as Executor
of the Estate of Martin Wohlforth, Deceased
and on behalf of all survivors of Martin Wohlforth

Danny Ray Johnson
Frank Maisano

Co-counsel Soberman & Rosenberg


------------------------------------------------------------------x
ARLENE BEYER, as Representative
of the Estate of Arlene Beyer, Deceased
and on behalf of all survivors of Arlene Beyer;                       02 CV 6978 (RCC)

SUSAN CORREA, as Representative                                       Kreindler & Kreindler LLP
of the Estate of Ruben Correa, Deceased                               Barasch McGarry Salzman
and on behalf of all survivors of Ruben Correa;                       Penson & Lim

EILEEN GERATY, as Administrator
of the Estate of Suzanne Geraty, Deceased
and on behalf of all survivors of Suzanne Geraty;

DONNA HICKEY, as Representative
of the Estate of Brian Hickey, Deceased
and on behalf of all survivors of Brian Hickey;

JENNIFER MINGIONE, as Representative
of the Estate of Thomas Mingione, Deceased
and on behalf of all survivors of Thomas Mingione;

PATRICK J. MULLAN, as Representative
of the Estate of Michael Mullan, Deceased
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 63 of 243



and on behalf of all survivors of Patrick J. Mullan;

JENNIFER REILLY, as Representative
of the Estate of Kevin Reilly, Deceased
and on behalf of all survivors of Kevin Reilly;

MARY ILL, as Representative
of the Estate of Frederick J. Ill, Jr., Deceased
and on behalf of all survivors of Frederick J. Ill, Jr.;

MARCELLA LEAHY, as Representative
of the Estate of James P. Leahy, Deceased
and on behalf of all survivors of James P. Leahy;

JOY & WILLIAM JOHNSON, as Representatives
of the Estate of William Johnson, Jr., Deceased
and on behalf of all survivors of William Johnson, Jr.;

STEPHEN SAUCEDO, as Representative
of the Estate of Gregory Saucedo, Deceased
and on behalf of all survivors of Gregory Saucedo;

DENA SMAGALA, as Representative
of the Estate of Stanley Smagala, Deceased
and on behalf of all survivors of Stanley Smagala;

CARMEN SUAREZ, as Representative
of the Estate of Ramon Suarez, Deceased
and on behalf of all survivors of Ramon Suarez;

PAULETTE ROBERTS and THOMAS ROBERTS as
Co- Representatives of the Estate of Michael E. Roberts,
Deceased and on behalf of all survivors of Michael E. Roberts

BARBARA ANN SWAT, as Representative
of the Estate of Gerald Thomas Atwood, Deceased,
and on behalf of all survivors of Gerald Thomas Atwood

LAURA WEINBERG, as Representative
of the Estate of Richard Aronow, Deceased,
and on behalf of all survivors of Richard Arnow

FDNY
ANTHONY ACCARDO, LUIS ACEVEDO, PETER
ACQUAFREA, MICHAEL AGOVINO, KENNETH
AHLERS, THOMAS AKERBERG, RICHARD ALLES,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 64 of 243



ROBERT ANNUNZIATO, VINCENT ANDERSON,
ANDREW ANSBRO, HARRY ANTONOPOULOS,
SALVATORE ANZALONE, LAWRENCE ARCHER,
JOSEPH ASTARITA, CHRISTOPHER ATTANASIO,
ANTHONY AUCIELLO, JOSEPH BACHERT,
MICHAEL BAILEY, AUGUSTIN BALARAM,
WEST BALLOU, RICHARD BANAT, PAUL
BARBARA, PAUL BARDO, THOMAS BAROZ,
ROBERT BARRETT, BRUCE BARVELS, STEVEN
BASCELLI, PAUL BASSO, ANDREW BEARD,
MARIO BELL, JOHN BELMONTE, TIMOTHY
BENNETT, JOSEPH BENNETT, JAMES BERGEN,
JOSEPH BERING, CHARLES BERNARDI, DANIEL
BEYAR, GEORGE BEYER, GREGORY BIERSTER,
JOSEPH BISERTA, WILLIAM BLAICH, PETER BLAICH,
SUSAN BLAKE, MARK BLANCHARD, GODFREY BLYTHE,
JOHN BONGIORNO, REGINALD BONNER, MARK
BONSANTI, ROBERT BORNHOEFT, NICHOLAS BORRILLO,
GEORGE BRAADT, MANUEL BRACERO, JAMES BRADY,
THOMAS BRADY, JOSEPH BREEN, GERALD BRENKERT,
JAMES BRENNAN, RONALD BRENNEISEN, VITO
BRINZO, MICHAEL BRODY, CHRISTOPHER
BROUGHTON, PETER BROWN, RAYMOND BROWN,
JAMES BRUNO, GREG BRUNO, DAVID BRUNSDEN,
JOHN BYRNES, MICHAEL BUCKLEY, VINCENT
BUONOCORE, MATTHEW BUONO, JAMES BURKE,
WILLIAM BURKE, THOMAS BURKE, ROBERT BURNS,
FRANCIS CALABRO, ROBERT CALISE, RICHARD
CAMIOLO, ERNANDO CAMACHO, RONALD
CAMMARATA, RICHARD CAMPBELL, BRYAN
CAMPBELL, ATTHEW CAMPISI, VINCENT CANALE,
VICTOR CANTELMO, MICHAEL CAPASSO,
CHARLES CAPLE, DAVID CAPUTO, HARRY
CARDIO, PATRICK CAREY, PETER CARINO,
WILLIAM CARLSON, ANGEL CARRERO,
WILLIAM CARLSON, WILLIAM CARROLL,
JOHN CARROLL, ROBERT CARUSO, JOSEPH
CASALIGGI, DONALD CASEY, JAMES CASH,
STEPHEN CASSE, JOHN CASSIDY, STEPHEN
CASSIDY, GREGORY CASTELLANO, JOSEPH
CESTARI, ANTHONY CHAIMOWITZ, DINO CHIRCO,
SHERWIN CHOW, JEFFREY CHRISTENSEN,
ROBERT CHRISTY, FRANK CIARAVINO, RAYMOND
CLANCY, DONALD CLARK, DENNIS CLARKE,
BRIAN CLARO, JAMES CODY, ROBERT COLLIGAN,
CARMELO COMPOSTO, STEPHEN CONKLIN,
DAVID CONLIN, KEVIN CONNELLY, THOMAS
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 65 of 243



CONNOLLY, MICHAEL CONNOLLY, WILLIAM
CONNOLLY, STEVEN CONNOR, KENNETH COOK,
MICHAEL J.CORRIGAN, JR., MICHAEL CORRIGAN,
CHRISTOPHER CORSI, EDWARD COSTELLO,
ROY COTIGNOLA, PATRICK COTTON, JOHN
COUGHLIN, CHRISTOPHER COUGHLIN, RICHARD
COYLE, OMAR CRISOSTOMO, CHARLES CROCCO,
PATRICK CULLEN, RICHARD CURIEL,
EDWARD CUTTING, DENNIS CZECZOTKA,
KENNETH D’ALBERO, PETER D’ANCONA,
DOMINIC D’ARRIGO, STEVEN DAHLSTROM,
JOHN DALY, DANIEL DALY, THOMAS DAMORE,
ARTHUR DARBY, KEVIN DARCY, GERARD DAVAN,
JOSEPH DAWSON, RODNEY DECORT, FRANCIS
DEFEO, WILLIAM DELEHANTY, JAMES DePAOB,
ROBERT DeSANDIS, RAYMOND DIAZ, MARK
DiMAGGIO, RICHARD DIORIO, CHARLES DiRICO,
KEVIN DOHERTY, THOMAS DOHERTY, MICHAEL
DOLAN, MICHAEL DONOHUE, WILLIAM DONOHUE,
MICHAEL DONOVAN, MICHAEL DORGAN, JAMES
DORMAN, JOHN DOUGHERTY, LEONARD DRAVES,
JOSEPH DRISCOLL, RICHARD DRISCOLL, KEVIN
DUFFY, JOHN DUNN, JOSEPH DUNN, THOMAS DUNN,
WILLIAM DUNN, JAMES EFTHIMIADES, ERNEST
EHLBERG, GREG EINSFELD, JAMES ELMENDORF,
KENNETH ERB, DAVID FARRAN, FRANCIS FEEHAN,
JAMES FEELEY, TERRY FELRICE, DANIEL FENNELL,
THOMAS FERRANOLA, TERENCE FINNERMAN,
FRANK FIORE, CHRISTOPHER FISCHER, ROBERT
FITHIAN, DAVID FITTON, MIKE FITZPATRICK,
PATRICK FITZSIMMONS, WILLIAM FLAHERTY,
THOMAS FLEMING, DONALD FLORE, DANIEL
FLORENCO, MICHAEL FLYNN, JOHN FLYNN,
JOSEPH FLYNN, RICHARD FLYNN, WILLIAM FODER,
GREGORY FODOR, DANIEL FOLEY, FRANK
FONTAINO, WARREN FORSYTH, CHARLES
FORTIN, ANTHONY FRACHIOLLA, PETER FRANK,
SCOTT FRAZIER, FREDERICK FUCHS, ALFREDO
FUENTES, DANIEL FURLAND, JOHNNY GAGLIANO,
JOHN GAINE, JACK GALANTE, ANDREW GALASSO,
JAMES GALLICCHIO, ANTHONY GALLO, EDWARD
GANASSA, ANDREW GARGIULO, WAYNE GARGIULO,
JOHN GARNETT, ROBERT GAROFOLO, STEPHEN
GAUDUT, CHRISTOS GEORGE, PAUL GERMANN,
THOMAS GERRISH, PETER GIAMMARINO,
KENNETH GIANNELLI, SALVATORE GIGANTE,
JOSEPH GILDEN, MICHAEL GIMPEL, CRAIG
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 66 of 243



GIUFFRE, ROBERT GLEASON, WILLIAM
GLEASON, KEVIN GLOCK, PETER GLOWACZ,
DONALD GOLLER, TONY GONZALEZ, JOHN
GORGONE, MICHAEL GORMAN, PATRICK
GORMAN, WILLIAM GORMAN, RICHARD GOULD,
MICHAEL GRACE, CHRISTOPHER GREEN,
WILLIAM GREEN, ROBERT GRELL, DANIEL
GROGUL, KEITH GROSS, KRISTEN GROSS,
DANIEL GROSSI, MICHAEL GUARDINO, FRANK
GUNTHER, MICHAEL GURNICK, LUIS GUTIERREZ,
PAUL HAARMAN, JAMES HALABY, PAUL HALEY,
KENNETH HANSEN, SCOTT HANSON, MICHAEL
HARRIS, ROBERT HARTIE, BRIAN HARVEY,
LEROY HAYNES, MELFORD HAZEL, JAMES HEAL,
GEORGE W. HEAR, STEPHEN HEAVEY, GREGORY
HELFER, EUGENE HENDERSON, THOMAS HENRY,
JOHN HENRICKSEN, JOHN HENRY, WILLIAM HERLIHY,
HERBERT HICKEY, SEAN HICKEY, PATRICK HICKEY,
JOSEPH HIGGINS, WILLIAM HOAG, ROBERT HOFER,
JOHN HOLOHAN, TIMOTHY HOPPEY, BRYAN HORAN,
MICHAEL HORAN, ANDREW HORNBUCKLE,
ROBERT HOURICAN, EDWARD HRONEC,
ROBERT HUMPHREY, JAMES HURON, MICHAEL
IANNAZZO, MICHAEL INCANTALUPO, LLOYD
INFANZON, WILLIAM INGRAM, EDWARD IRELAND,
PETER JAKUBOWSKI, JOSEPH JANKUNIS, RICHARD
JANOSCAK, MATTHEW JASKO, WILLIAM
JENNERICH, LAWRENCE JENSEN, PETER
JENSEN, STANLEY JESSAMINE, PAUL JOHNSEN,
KEITH JOHNSON, NATHANIAL JOHNSON,
ROBERT JOHNSTON, JEFFREY JONES,
NIELS JORGENSEN, JOHN JOYCE, WILLIAM JUTT,
JOSEPH KADILLAK, GARY KAKEH, WILLIAM,
KALLETTA, THOMAS KANE, JAMES KAY,
DANIEL KEANE, KENNETH KEARNS,
ROBERT KEATING, WILLIAM KEEGAN,
THOMAS KEERY, ROBERT KELLER, JAMES
KELLY, JOHN KELLY, MICHAEL KELLEHER,
JOHN KELTON, DANIEL KEMMET, SR.,
DANIEL KEMMET, JR., MICHAEL KEMPER,
JOSEPH KENNEDY, DENNIS KERBIS, KENNETH
KERR, JOHN KIELTY, JOSEPH KILLEEN,
CHRISTOPHER KING, JOHN KIRK, WINFIELD
KLUTH, WILLIAM KNOTH, ERIC KNUTSEN,
CRAIG KOBES, CHARLES KOTOV, WALTER
KOWALCEZYK, MICHAEL KOZAK, STEVEN
KRAKOWER, RICHARD KUERNER, JOHN
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 67 of 243



LaBARBERA, ROBERT LACEY, ERIK LAHODA,
LANCE LaMAZZA, RAYMOND LAMBDIN,
RICHARD LANG, MICHAEL LaROSA,
JOSEPH LAVIN, PATRICK LAVIN,
WILLIAM LEAHY, FRANK LEANDRO,
EDWARD LEE, CHRISTOS LEFKADITIS,
JAMES LEIBMAN, JOSEPH LEMBO,
RICHARD LeMONDA, KEVIN LENAHAN,
JOHN LENIHAN, HUGH LENNON,
JOHN LEVENDOSKY, RONALD LITTLEJOHN,
LANCE LIZZUL, ROBERT LODATO, EDWARD
LOEHMANN, FRANK LOMBARDI, MICHAEL
LOMBARDI, GEORGE LONERGAN, STEPHEN
LONERGAN, ROBERT LOPEZ, MICHAEL
LoPORCARO, VINCENT LOUIS, JOHN LOVETT,
VINCENT LUISI, STEVEN LUISI, ADAM LUTFI,
J. DAVID LYNN, THOMAS LYONS, GREGORY
MACAGNONE, JACK MACALUSO, PATRICK
MAHONEY, ANDRE MAJORS, CECIL MALONEY,
TIMOTHY MALONEY, ROBERT MANDIA,
THOMAS V. MANGUS, WILLIAM MANNION,
DANIEL MANOCHIO, LEON MARASHAJ,
EDMOND MARCOUX, ROBERT MARCOUX,
RICHARD MARGINO, JOHN MARR, MICHAEL
MARTORANA, DANIEL MATTEO, SHAWN MAY,
ROBERT MAYNES, GARY MAZALATIS,
JOSEPH MAZZARELLO, SEAN McBRIEN,
JAMES McBURNEY, EDWARD McCABE,
KEVIN McCABE, STEVEN McCAFFERY,
THOMAS McCAFFREY, EDWARD McCAMPHILL,
JOHN McCANN, NEIL McCARTHY, IRVING
McCOY, HAROLD McCLUTCHY, JOHN
McDONALD, KELLY McDONALD, KEVIN
McDOWELL, CHARLES McELHONE, PATRICK
McEVOY, JoANN McFARLAND, PATRICK
McGIVNEY, JOHN McGONIGLE, CORNELIUS
McGOVERN, KEVIN McGOWAN, ROBERT
McGUIRE, BRIAN McGUIRE, THOMAS
McKENNA, SHAWN McKEON, JOHN McLAUGHLIN,
CHRISTOPHER McLAUGHLIN, WILLIAM
McLAUGHLIN, PAUL McMENAMY, JAMES
McNAMARA, JOHN McNAMARA, GARY
McNULTY, GERARD McPARLAND, ROBERT
MEADOWS, VINCENT MEDORDI, PAUL
MEDORDI, KEVIN MEEHAN, KEVIN MELODY,
JAMES MELVIN, RICHARD MEO, JOSEPH
MEOLA, NEIL MILLER, MICHAEL MILNER,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 68 of 243



DERRICK MILONE, DONALD MIMNAUGH,
LOUIS MINUTOLI, MARK MISSALL,
JOHN MIXON, JOSEPH MIYNARCZYK,
ANTHONY MODICA, FRANK MOLLICA,
JOHN MONGIELLO, JOSE MONTALVO,
KENNETH MOODY, GARY MOORE,
JAMES MORAN, WILLIAM MORAN,
DONALD MORMINO, ROBERT MORRIS,
EDWARD MORRISSEY, JOHN MORRONGIELLO,
JOSEPH MOTTOLA, ANTHONY MUIA,
MARK MULLADY, KEVIN MULLANE,
WILLIAM MULLER, HUGH MULLIGAN,
KENNETH MULLIGAN, JAMES MULLINS,
DANIEL MULLINS, BRIAN MULRY,
LEONARD MUNDA, MICHAEL MUNOZ,
JONATHAN MURATH, JESSE MURPHY,
KEVIN MURPHY, ROBERT MURPHY,
PATRICK MURPHY, THOMAS MURPHY,
DANIEL MURRAY, KEVIN MURRAY,
GERARD MURTHA, ARTHUR MYERS,
RICHARD NAPLES, JOSEPH NAPOLI,
REYNALDO NARVAEZ, JOSEPH NARDONE,
ROBERT NEBEL, RALPH NEGRON,
JOHN NEWELL, STEVEN NEWMAN,
GERARD NICOLETTI, ALEXANDER NONEY,
RICHARD O’BRIEN, JOHN O’BRIEN,
SEAN O’BRIEN, JOSEPH O’BRIEN,
JOHN O’CONNOR, PATRICK O’CONNOR,
THOMAS O’CONNOR, WILLIAM O’CONNOR,
ROBERT O’DOWD, JOSEPH O’HARA,
BRIAN O’LEARY, THOMAS O’LEARY,
MICHAEL O’ROURKE, THOMAS O’ROURKE,
MICHAEL O’SULLIVAN, SEAN O’SULLIVAN,
RICHARD OBERMAYER, ROBERT OPALECKY,
JOSE ORTIZ, ARTHUR OSCHMANN, HARRY
OSTER, LUIS OSTOLOZAGA, GERARD PACE,
THOMAS PAIR, VINCENT PALMIERI,
RONALD PARKER, GREGORY PARR, SCOTT
PASKEWITZ, JOSEPH PASQUARELLO,
MICHAEL PASQUARELLO, DENNIS
PATTI, CHARLES VAN PELT, GEORGE PEPE,
FRANK PEREZ, GREGORY PICCONI, ROBERT
PILLARELLA, GLEN PILLARELLA, CHRISTOPHER
PISANO, PERRY PIZZOLO, LEWIS PIZZULLI,
THOMAS PLANE, DEDIE PLASENCIA,
BRYAN PLATT, DOMINICK POMA,
SALVATORE POMA, STEPHEN POSE,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 69 of 243



LARRY PRATHER, KIRK PRITCHARD,
DENNIS PROSICK, ROBERT PUGLIESE,
RICHARD PULZONE, TIMOTHY QUIN,
JOSEPH QUINN, GLENN RADERMACHER,
ANDREW RASAVONGSZUK, LOUIS RAIMONDI,
DAVID RAYMOND, STEVEN RAZICKAS,
JOSUE RECIO, JAMES REDMOND, ROBERT REEG,
SHAUN REEN, JOHN REGAN, ROBERT REGAN,
STEPHEN REILLY, KEVIN REILLY, MICHAEL
RELAY, MICHAEL REUTTER, ROBERT RICCIARDI,
MICHAEL RICCIARDI, STEPHEN RICCIO, JOHN
RICE, STEPHEN RICE, EUGENE RICE, ROCCO
RINALDI, DAVID RIVAS, ALFRED RIVERA,
ROBERT RIVERA, THOMAS RIVICCI,
MATTHEW ROACH, GARY ROBBINS,
THOMAS ROBISKY, ROBERT ROCHFORD,
WILLIAM RODGERS, PETER RODRIGUEZ,
STEVE ROGERS, BRUCE ROSS, DONALD ROZAS,
KEITH RUBY, STEWART RUETER, JOSEPH
RUGGIRELLO, JAMES RULAND, BRIAN RUSSO,
SALVATORE RUSSO, VITO RUVOLO, KEVIN
RYAN, DENIS RYAN, HENRY RYAN,
EDWARD RZEMPOLVCH,JOSEPH SALADIS,
RUDY SANFILIPPO, JOHN SANJURJO,
JOSEPH SAPIENZA, JOSEPH SARDO, ARTHUR
SARTOR, MARK SARNES, LOUIS SARTINI,
PETER SAVARESE, MICHAEL SCALARD,
THOMAS SCALLY, THOMAS SCAMBONE,
SALVATORE SCARENTINO, JOHN SCARSELLA,
RICHARD SCHLUECK, CLINTON SCHMITTERER,
MICHAEL SCHREIBER, ROBERT SCHULZ,
VICTOR SCIARAPPA, ROBERT SCOTT,
MICHAEL SCULLY, JOSEPH SEENEY,
RICHARD SERE, WILLIAM SESSELMAN,
DAVID SGROMO, JAMES SHANNON,
MATTHEW SHANNON, JAMES SHEA,
KEVIN SHEEHAN, EDWARD SHEEHY,
ALPHONSE SICIGNANO, VINCENT SIMEONE,
DAVID SIMMS, AUGUSTINE SIMONCINI,
DENNIS SIRY, SCOTT SIVERT, ANTHONY
SKOMINA, JOSEPH SKONIECZNY, LEO
SKORUPSKI, GARY SLATTERY, JAMES
SMAGALA, GERARD SMITH, JAMES SMITH,
MICHAEL SMITH, PATRICK SMITH, WARREN
SMITH, WILLIAM SMITH, GERALD SNELL,
RICHARD SNYDER, MARK SOLARI,
GERARD SOMERVILLE, STEVEN SORGER,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 70 of 243



WALTER SORRENTI, DEAN SPADARO,
WILLIAM SPADE, ROBERT SPELLMAN,
ROBERT SPINELLI, BRIAN SPISTO,
THOMAS SPITZBARTH, FRANK SPRING,
BERTRAM SPRINGSTEAD, ROBERT SPUTH,
MICHAEL SPYNTIUK, ANTHONY SROUR,
EUGENE ST. JOHN, CLIFFORD STABNER,
BERTRAM STAHLBERG, JOHN STAIANO,
JAMES STANG, ROBERT STANTON,
JAMES STASIO, LOUIS STRANDBERG,
KEVIN STEININGER, BRIAN STRENGE,
RAY STRONG, BRIAN SULLIVAN, JAMES SULLIVAN,
PATRICK SULLIVAN, STEPHEN SULLIVAN,
STEVEN SUPEK, ERIC SUTTON, EDWARD
SWEENEY, JOSEPH SYKES, DENNIS TAAFFE,
DAVID TANZMAN, JOHN TEDESCO, MICHAEL
TENTEROMANO, LUIS THOMAS, THOMAS
THOMASEN, JAMES THOMPSON, ROBERT
THOMPSON, SCOTT THOMSON, ROBERT
TILEARCIO, THOMAS TILLOTSON, DONALD
TOMM, KEVIN TONKIN, STEVEN TONREY,
RUSSELL TOUHEY, CHARLES TOZZO,
PETER TRAUT, LOUIS TREGLIA, MICHAEL
TREZZA, MICHAEL TRIGLIANOS, JOHN
TROIANIELLO, EDWARD TURNER,
LEONARD TYRELL, THOMAS UBERTINI,
NEIL VAILLANCOURT, SALVATORE
VENTIMIGLIA, CHARLES VAN PELT,
DONALD VASTOLA, STEVEN VERDEROSA,
RICHARD VETLAND, ROBERT VINCIGUERRA,
FREDERICK WALKER, ROBERT WALLEN,
DANIEL WALSH, WILLIAM WALSH,
THOMAS WARD, KEITH WARD, CHRISTOPHER
WARD, GARY WASHINGTON, ALBERT WEBER,
JOHN WEBER, PAUL WEIS, STEVEN WEISNER,
JAMES WELDON, RICHARD WELDON, WILLIAM
WELSH, JAMES WERNER, MICHAEL WERNICK,
JAMES WHITE, ROBERT WIEDMANN, ROBERT
WILDAY, JOHN WILLADSEN, KEVIN WILLIAMS,
VANDON WILLIAMS, TYRONE WILLIAMS,
VINCENT WILLIAMS, THOMAS WILLIAMS,
JOHN WILSON, LIEUTENANT JOHN WILSON,
ROBERT WILSON, JAMES WINTERS, DENNIS
WIRBICKAS, MICHAEL WITKOWSKI,
JOHN WROBEL, JOHN YORKS, MARK YOUNGBERG,
STEPHEN ZASA, MICHAEL ZECHEWYTZ,
THOMAS ZELIOS, PATRICK ZODA,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 71 of 243




MICHAEL ARMETTA, CHRISTOPHER BACH,
MICHAEL BEHETTE, JAMES BEUERMAN,
HOWARD BISCHOFF, THOMAS BOCCAROSSA,
KENNETH BOHAN, MICHAEL BOYLE,
MICHAEL BROCATO, MICHAEL BROSCHART,
JAMES BROWN, MICHAEL BUDISCHEWSKY,
JOHN BYNRES, EDWARD CACHIA, THOMAS
CANN, FRANK CAPUTO, DAVID CARDINALE,
RICHARD CARLINO, CHRISTOPHER CARRI,
THOMAS CASCIO, GERARD CASEY, JOHN
CATATANO, ANTHONY CATERA, JAMES
CIZIKE, DERMOTT CLOWE, CHRISTOPHER
COEN, JONATHAN COLEMAN, JEFFREY CONTI,
JAMES COONEY, BRIAN CORCORAN, JOHN
COTTON, BRIAN COYLE, JOHN COYLE, GEORGE
CRISCITIELLO, FRANK CSEKO, MARK DAVINO,
GEORGE DEGEWORTH, KEVIN DELANO, FRED
DELGROSSO, JOSEPH DELGROSSO, PHILIP
DEMARIA, RUDOLF DENT, ETIENNE DEVILLIERS,
ROBERT DISANZA, VICTOR DIZ, STEPHEN
DOMINICK, ROBERT DORRITIE, JOSEPH
DREXLER, RICHARD DRISCOLL, DANIEL
DUDDY, KEVIN DUNCAN, JOHN ENGEL,
JOSEPH ENIA, KEVIN FARRELL, THOMAS
FARRELL, ELIZABETH FEATHERSTON,
ROSARIO FERLISI, JAMES FILOMINO,
JAMES FINN, DAVID FISCHBEIN, LEE
FISCHER, LIAM FLAHERTY, JAMES
FLANAGAN, JAMES M. FLANAGAN,
ROBERT FOLEY, VINCENT FORRAS,
LUIS FRAGOSO, CHARLES GAFFNEY,
PETER GANNON, DENNIS GILHOOLY,
JOHN GIUFFRIDA, STEPHEN GRABNER,
STEVEN GUISE, KEVIN GUTFLEISCH,
KEVIN GUY, DOUGLAS HARKINS,
KIRK HARRINGTON, PATRICK HAYDEN,
WILLIAM HENDERSON, MICHAEL
HENNIGNA, JOHN HOGAN, JOHN IAMMATTEO,
ANDREW ISOLANO, JOSEPH JABLONSKI,
JOHN JERMYN, BRIAN JOHNSON, KEITH
KAISER, GERARD KENNEDY, RICHARD KENNY,
ROGER KILFOIL, MARTIN LANG, CHAD
LEACH, DANIEL LIND, THOMAS LONEGAN,
CHARLES LOSACCO, JOHN CUCCIOLA,
CHRISTIAN LYSY, THOMAS LYONS,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 72 of 243



MICHAEL MACDONALD, JOSEPH MAGGI,
FRANK MANETTA, CHARLES MANISCALCO,
JAMES MANITTA, WAYNE MANZIE,
WILLIAM MARTINEZ, MICHAEL MAYER
THOMAS MCAREE, JAMES MCCARTHY,
KEVIN MCCUTCHAN, DAVID MCGOVERN,
JAMES MCKAY, WALTER MCKEE, JOHN
MCNAMARA, DENNIS MEYERS, STEVE
MODICA, PAUL MONFRE, JOSEPH
MONTANARO, ROBERT MOORE, JOHN
MUCCIOLA, MICHAEL MURPHY, STEVEN
MURPHY, THOMAS NEWMAN, ALBERT
NOCELLA, DANIEL NOONAN, MICHAEL
O’GORMAN, MICHAEL O’SHEA, GIRARD
OWENS, ROBERT PARKER, FRANK PEPE,
DANIEL PERITORE, RICHARD PICCIOTTO,
JOSEPH POMA, JAMES POWERS, FREDERICK
PREVETE, WILLIAM QUICK, MICHAEL QUINN,
RICHARD RAMAIZEL, THOMAS RAPPE,
DANIEL REDDAN, GERARD REILLY,
LEONARD REINA, JOHN REMENTERIA,
WILLIAM RENDINO, MICAHEL RICCIARDI,
ROGER RICHES, JOSEPH ROCHA, ALAN
ROCKEFELLER, JOHN ROGERS, MICHAEL
ROY, STEPHEN RUSSACK, ROBERT SACCHI,
PETER SANTELLI, JOHN SCHILLINGER,
ROBERT SCHMIDT, ROBERT SCHMUCK,
MICAHEL SFORZA, JOHN SIGNORELLI,
FRANK SOMMA, FRANK SPALDO,
DOUGLAS SPANO, ROBERT STANLEWICZ,
EUGENE ST. JOHN, PETER STRAHL,
DANIEL SURAT, ANGEL TORRES,
JOSEPH TORRILLO, FRANCIS TRAPANI,
JAMES TOZZO, VICTOR TROISI, RICHARD
WATTS, CHARLES WEINSHEIMER, JOHN
WHOLIHAN, HERMAN WILLIAMS, VINCENT
YORKS, ROBERT ZAJKOWSKI

THOMAS CALLAGHAN, RAYMOND ARCOS,
KEVIN CALHOUN, HENRY J. CERASOLI,
PATRICK CONNOLLY, THOMAS COURTENAY,
TERENCE COYLE, EDWARD COYLE,
WILLIAM CRAWFORD, KEVIN GRACE,
KENNETH HAMILTON, WILLIAM HARRIS,
THOMAS HARRINGTON, MICHAEL HART,
WILLIAM HENNESSY, ROBERT HOYT,
ROBERT MADDEN, GERARD McMAHON,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 73 of 243



JAMES O’DONNELL,GEORGE O’DOHERTY,
CHARLES O’NEILL, CHRISTOPHER G. O’SULLIVAN,
JASON PERRONE, GEORGE PICKETT,
JOHN A. REGAN, TERENCE RIVERA,
JOHN RIZZI, KEVIN SHEROD, JAMES SPENCER,
MICHAEL TORRES, GREGORY WYCKOFF



NYPD
RICHARD AGUGLIARO, NICHOLAS BALSAMO,
IRENE BLAICH, IRWIN JOSEPH BRODSKY,
ROBERT CAPOLONGO, STEPHEN DONNELLY,
SHARON GATTO, MICHAEL GINTY, TODD
HEIMAN, CHRISTOPHER HUNT, ANITA JOHNSON,
FRANK KROPF, MICHAEL KULL, DORIS MARTINEZ,
DARIO MARTINEZ, SHAUN MCGILL, WILLIAM
McNALLY, JEFFREY NIX, MICHELE PAOLINI,
CHRISTOPHER PHILLIPS,

RAYMOND CASCIO, WALTER COOK,
ALAN FORCIER, CHARLES GALLOGY,
PATRICIA LEWIS, VINCENT MEDORDI,
CLARE O’CONNELL, STEPHEN SPINELLI,
JAMES ZADROGA

RICHARD MAYRONNE, PAUL MOLONEY,
PETER NEWEN, SUSAN A. SCOTT

EMERGENCY MEDICAL SERVICES
PAUL ADAMS, ROGER AHEE, STEPHEN
ANDERSON, ANTHONY ANDERSON,
FRANK ANDINO, MARYLOU AURRICHIO,
ANGEL AYALA, BENJAMIN BADILLO,
ARTURO BANCHS, KEVIN BARRETT,
LORI-ANN BENINSON, RUBEN BERRIOS,
MARVIN BETHEA, ENIS BOYER, MARTIN BRAUN,
JOZETTE BROWN, JACQUELINE BURTON,
MICHAEL CAHILL, H. CARLTON SMITH,
RICHARD CASALETTO, DAVID CLINGAIN,
STEVEN COSCIA, JOSE COTTI, STEVEN CUEVAS,
KIRK DELNICK, ROLAND DIAZ, MICHAEL DiNATALE,
JAMES DOBSON, BOBBY DUDLEY, RICHARD ERDEY,
ALBERT ESTRADA, JOSEPH FAZZINO,
NICOLE FERRELL, SALVADOR FERRER,
DAVID GEORGE RESTUCCIO, BONNIE GIEBERIED,
NORMAN GILLARD, BRIAN GLEASON,
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 74 of 243



MICHAEL GLENN, AWILDA GOMEZ,
GLORIA-GIGI GORDON, LLOYD GROSSBERG,
MORRIS HUBBARD, PAIGE HUMPHRIES,
RAFAEL IGLESAIS, EARTHA INGRAM,
VERONICA JACOBS, ABRAHAM LEVINSON,
VERONICA LYNN JACOBS, STEVE MARION,
MARC MASTROS, LORI MAZZEO, BRIAN MCGUIRE,
ALWISH MONCHERY, PHILIP MEDEIROS,
YVETTE MONTALVO, KEVIN MONTGOMERY,
BLANCA MORRONE, KEVIN MORRONE,
BRENDAN MULROY, MURRAY MURAD,
MICHAEL MUSTO, ANDREA NANNA-MONTGOMERY,
NANCY NOBLE, WALTER ODINOKOW,
TROISI ONOFRIO, LUIS PEREZ, OSVALDO PEREZ,
DARRYL PETTIGREW, RON PFEFFER, LORRAINE
PIRILLO, MICHELLE POHL, ROBIN PFEFFER,
ROBIN PRINTY, FRANK PUMA, PABLO QUESADA,
MICHAEL RAIMER, DAVID REEVE, MARK REILLY,
DANIEL RIVERA, TIMOTHY ROBERTS, DAVID
RUSSELL, PARIS SALEM, STEVEN SAMMIS,
BOBBY SANTIAGO, JEREMY SASSMAN,
PATRICIA SCADUTO-SOTO, PATRICK SCARINGELLO,
STEVEN SCARINZI, JOHN SCHAEFER,
JOHN SCOTCH, II LISA SECKLER- OODE,
RAYMOND SIMONS, GARY SMILEY,
PHILIP SOTO, SYLVESTER STEWART,
MARK STONE, ISA SWEDIN, MAURICE T. ZUNIGA,
JAMES THOMPSON, ALVIN TORO, EDITH TORRES,
BARRY TRAVIS, TINA TRESCA, BETTY VIOLETA-LLANO,
CHARLES WELLS, SPIRO YIORAS,


KEVIN CONNELLY, BENJAMIN FOGEL,
LUIS GUTIERREZ, JOHN JAGODA,
JILL KELLY, WALTER KOWALCZYK,
DANIEL LEFEBVRE, CHRISTOS LEFKADITIS,
JOANN MCFARLAND

TRADES
DAVID AROCHO, GEORGE COLUCCI, GERARD
CRAWFORD, WILLIE B. HENDERSON, ELROY
PAGAN, ANTHONY ROCCHIO, GEORGE SMITH,

MICHAEL BURKE, STEPHEN BURKE,
STEVEN BILICH, RICHARD CARLINO,
RICHARD COYNE, SEAN DONAHUE,
CARL FISHER, JOHN GRAHAM, WALTER
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 75 of 243



JENSEN, JOHN MURPHY, RICHARD
RACCIOPPI, RAINFORD ROBERTS,
JAMES WILLIS

KEVIN DORRIAN, BROOK BUDD,
MICHAEL DePIETRO, RICHARD MULHERN,
JAMES PICONE, DAVID RAPP
CIVILIAN
EDITH BEAUJON, RICHARD DuBOIS, ANDREA
HOWELL, SCOTT SCHIELDS,

ALBERT GREENE, JILL KELLEY,
MANUAL LOPEZ, FRANK MYERS,
DEBORAH MANDELL, MARY
MARINELLI

KHEMRAJ SINGH

FIRE MARSHAL CLIENTS
WERNER COOK, JOHN COYLE
EMIL HARNISCHFEGER, JOSEPH
MCMAHON, PETER PATTERSON,
JOHN VERACKA

SANITATION CLIENTS
SALVATORE ANNERINO, FRANK
BERRAN, PAUL BROWN, CHARLES
BURGE, PETER CIAPPA, LAWRENCE
MARCELIS CLARK, JOSEPH CURRAN,
ALBERT D’ALLESANDRO, JIMMIE
DAVIS, ANTHONY GREENE, RAYMOND
HAYWOOD, JEFF HESTNES, WILLIAM
KING, ROCCO MASCIOLO, HENRY
MORRISON, KEVIN MELFI, DAVID
O’NEIL, WILLIAM OROZCO, MARTIN
PROKUP, ANTHONY QUARANTI,
ALCIDES RIVERA, FELIX SANCHEZ,
PETER SHANLEY, ALPHA TARAWALLY,
ERIC TVEDT

CORRECTIONS
DANIEL OLIVERI

MICHAEL O’CONNELL, MICHAEL SCHNITZER


Plaintiffs added as of March 10, 2004
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 76 of 243




Joseph Gibney; Patrick Lanza; Bozena Kajewska Pielarz;
Ruth Fenner; David Ianelli ;Amon Modine;
Pasquale Abatangelo; Edward M. Alfarano; Michael Banker;
Robert E. Baran; Matthew Blaskovich; Michael Boland;
Charles Bonar; Andrew Borgese; Donald Brierley;
Thomas Calkins; Gary Carpentier; Kevin Cassidy;
Robert J. Colacino; Bruce R. Collister; Christopher Connor;
Michael Costa; Brian R. Coyle; Paul Cresci;
Brent Crobak; John Cronley; Donald Csorny;
Leonard Curcio; Edward Curley; John Curley;
James Dalton; Vincent DeCicco; Vincent T. DeMarinis;
Dominick Devito; Christopher Edwards; Dennis Farrell;
Joseph Felle; Hollis Flanagan; Michael Flanagan;
Leo Fragapano; Danial Fucella; Howard Flugmacher;
Michael Grillo; Thomas A. Guarnieri; Timothy Harrigan;
Brian Healy; Thomas Hughes Jr.; Paul C. Germann;
John R. Graziano; Lanaird Granger; Michael Gregory;
Joseph Harris; Clifford Hollywood; Daniel Jackson;
Brian K. Janelli; Thaddeus Jankowski; Daniel Karp;
Robert Kelly; Joseph Lasher; Christopher LaRocca;
James Lauer; John Layton; Michael Leamy;
Joseph LeClair; Woody Ledwith; John Lennon;
Dennis Linehan; Mark Lotito; Edward Luciani;
James Mahon; Patrick Maloney; Lawrence Marley;
James Martin; Anthony Mattone; Thomas J. May, Jr.;
Brian McAvoy; Daniel McDonough; Gregory McEnroe;
Terrence McGann; Joseph P. McGovern; Brain McKeever;
James Miller; Frank Mondelli; Dominick Montalto;
William Morris; Michael Moore; John Murray;
John Moran; Keith Murphy; Joseph Murphy;
Raul Muniz; John Najmy; James Neville;
Stephen A. Nichols; Robert Niebler; Paul Nigro;
William C. Nolan; John Oddo; Joseph O'Sullivan;
Jeffrey Pawlicki; Robert Pesce; Vincent Picciano;
William Pollack; Andrew Polinsky; Philip Quattrocchi;
Henry Quevedo; Kenneth M. Rallis; Richard Rattazzi;
Stephen G. Rasweiler; Kenneth J. Rogers; John Rubino;
John Rhatigan; Hector Rivera; Richard Ruiz;
Robert Ryan; David Santise; Kevin Scanlon;
Gilbert Scarazzini; James Schwicke; Vincent Scialpi;
Gregory Sclafani; Vincent Sepe; Brian Shea;
Gary C. Sheridan; James Sherwood; Thomas M. Silvestri;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 77 of 243




Michael Sorrentino; Joseph Spagnola; Vincent J. Tesoriero;
Walter Torres; Ralph Tufano; Joseph Tustin;
Philip Vincenzo; Kevin Williams; Gary Wood;
Barry Goffred; Stephen Bruno; Joseph Cotter;
Michael Corr; Paul Daly; James Garcia;
Aurelio Grillo Jr.; Gary Hanley; Gary Hall;
Alberto Morrales; Patrick McCormack; Jacqueline Padilla;
Robert Reip; John Rinciari; Henry Speicher;
Joseph A. Toscano; Daniel Velazquez; Robert Williamson;
Anthony Greene; David Healy; Felix Sanchez;
Theodorus Adrichem; Christopher Amato; Patrick P. Camacho;
Vincenzo Calla; Biagio Cantatore; John Cavaelli;
John Clinton; Harrold A Daver; John Diaz;
Timothy Donnery; Jody Dupuis; Philip Gambino;
Francine A. Goodman; James Haley; Terrence Holt;
Scott Hughes; William Humphrey; Richard Hutra;
Desmond D. Jhagroo; John Kilcoyne; Robert Kmak;
Michael Lally; Haussain Lazaar; Patrick Lanza;
Robert LaStella; James Lewis; Glen Makuch;
Frank Motyka; Gregory N O'Brien; Nicholas Pucciarelli;
John Reilly; Carmen Romero; Richard Ryan;
Angelo Scifo; Anthony Signorile; Samba Sinera;
William Sohmer; William Smith; Felicia Taylor;
John VanWagoner; Onelia Vazquez

Plaintiffs added September 10, 2004

Joseph Accetta; Alamo Agustino; Stanley Andrusyczyn
Thomas Asher; Candiace Baker; Christopher Barrett
John Belford; Joseph Bertolino; Donald Bigi
Richard J. Bittles; Peter Brunaes; James Bruno
Richard Bylicki; Nelson Caban; Gary Cali
William Chesney; Gerald Chiavelli; Bundy Chung
William T. Collins; James Connolly; John Coombs
Richard Coyne; Chris Craven; Peter Curcio
Frank Curnyn; Alan Dagistino; Philip Dagostino
Nicholas DeMasi; Raymond Denninger; Dominick Devito
John Devlin; Robert DiGiovanni; Andrew DiGiugno
John Dixon; Thomas J. Doherty; Francis Donahue
Richard DuBowy; Brian Duffy; Joseph Dunn
George Edgeworth; William Edwards; William Ellis
Steven Fedorczuk; Manuel Fernandez; Edward Ferraro
Michael Fitzmaurice; George Foris; Nicholas Fornario
Gregory Forsyth; Michael Fossati; James Freer
John Fullam; Dennis Gallagher; Robert Gallagher
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 78 of 243




Anne Garcia; Rafael Garcia; Rudolph Geiger
Bruce Gerrie; Garry Giannandrea; Guerino Giannattanasio
Thomas Gillam; Philip Guarnieri; Leakat Hanif
Darren Harkins; Eugene Harris; Richard Harrison
Francis Haskell; Michael Heffernan; Joseph Hickey
Donald Hoffman; James Hurson; Salvatore J. Isabella
Byron Johnson; Leroy Jonas; Robert Jones
Kazimierz Jurgiel; James Kadnar; Patrick Kissane
Carlos Kuper; Richard Lacerra; Stephen P. Lee
Artie Leecock; Thomas Lent; Salvatore Lumia
Charlie Lyons; Michael Mackl; Frank Macri
Frank Maisano; Andrew Majors; Felipe Marcano
John Mark; Erik Marrero; Antonio Martino
John Massarotti; Christopher Massaria; Thomas Mastrodomenico
Mark Mastros; Garry Maurice; Christopher McCormack
David McDonough; Michael McFarland; James McHugh
Tim McInerney; Michael Melillo; James Miller
Richard Miranda; John Miskanic; Elizardo Montes
Frank Moore; Michael Moore; Thomas Moore
Audrey Mosley Marcus; Raul Muniz; Joseph Murphy
Michael Musto; Paul Nigro; Joseph O’Brien
Christopher O’Donnell; Joseph O’Donnell; Howard O’Hringer
Edward Parker; Ronald Pascucci; Hilton Pearce
Frank Perry; Michael Perry; Freedman Pfeil
Joseph Piccininni; Andrew Porrazzo; Carl Punzone
John Quevado; James Ragarn; Sebastian Raspanti
Herman Reyes; Vito Ribaudo; Louie Rios
Hector Rivera; Robert Ryan; Thomas Ryan
Eric Scaknoff; James Schiavone; William Schillinger
Robert Schor; Angel Serrano; Luis Serrano
Giuseppe Sibilla; Jeffrey Simms; Gerard Simpson
Joseph Skonieczny; Adolph Stampfel; Jimmie D. Sullivan
Michael Suwalski; Gary Suson; Keith Tanico
Peter Tartaglione; Jeff Tesoriero; Donald Thompson
John Tiska; Edgar Torres; Peter Tracy
Brian Urban; Anthony Valetta; Thomas VanRossem
Mario Vascon; Jose Velazquez; Guy Villano
Gregory Voce; Ed Wallace; Christopher Wanker
Mack Washington; Michael Welsh; John Whyte
Derek Williams; Martin Zoller

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SHERI G. BURLINGAME, in her capacity as
Administratrix of the Estate of CHARLES FRANK
BURLINGAME, III, Deceased, and in her personal capacity
and as the personal representative of the Estate of
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 79 of 243




CHARLES F. BURLINGAME, III;                             02 CV 7230(RCC)

RUDY ABAD, Individually, as Personal Representative     Speiser, Krause, Nolan &
of the Estate of MARIA ROSE ABAD, Deceased,             Granito
and on behalf of all survivors of MARIA ROSE ABAD;

CYNTHIA LYNN BARKWAY, Individually,
as Personal Representative of the Estate of
DAVID MICHAEL BARKWAY, Deceased, and on
behalf of all survivors of DAVID MICHAEL BARKWAY;

MAUREEN BASNICKI, Individually, as
Personal Representative of the Estate of
KENNETH BASNICKI, Deceased, and on behalf of
all survivors of KENNETH BASNICKI;

BHOLA AND BASMATTIE BISHUNDAT, Individually,
and as Personal Representatives of the Estate of
KRIS ROMEO BISHUNDAT, Deceased, and on behalf of
all survivors of KRIS ROMEO BISHUNDAT;

THOMAS BOCCHINO, Individually,
as Personal Representative of the Estate of
MICHAEL BOCCHINO, Deceased, and on behalf of
all survivors of MICHAEL BOCCHINO;

IRENE BOEHM, Individually, as Personal Representative
of the Estate of BRUCE BOEHM, Deceased,
and on behalf of all survivors of BRUCE BOEHM;

MANUEL BOURDIER, Individually,
as Personal Representative of the Estate of
FRANCISCO BOURDIER, Deceased, and on behalf of
all survivors of FRANCISCO BOURDIER;

KRISTEN BREITWEISER, Individually,
as Personal Representative of the Estate of
RONALD BREITWEISER, Deceased, and on behalf of
all survivors of RONALD BREITWEISER;

ERICA BRENNAN, Individually, as
Personal Representative of the Estate of
PETER BRENNAN, Deceased, and on behalf of
all survivors of PETER BRENNAN;

KATHLEEN BRUNTON, Individually,
as Personal Representative of the Estate of
VINCENT BRUNTON, Deceased, and on behalf of
all survivors of VINCENT BRUNTON;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 80 of 243



DEBORAH RAZZANO, Individually,
as Personal Representative of the Estate of
ANTHONY COLADONATO, Deceased,
and on behalf of all survivors of ANTHONY COLADONATO;

THERESA COVE, Individually, as
Personal Representative of the Estate of
JAMES E. COVE, Deceased, and on behalf of
all survivors of JAMES E. COVE;

JAMES CUDMORE, Individually,
as Personal Representative of the Estate of
NEIL CUDMORE, Deceased, and on behalf of
all survivors of NEIL CUDMORE;

AMY WATERS, Individually, as Personal Representative
of the Estate of SCOTT DAVIDSON, Deceased,
and on behalf of all survivors of SCOTT DAVIDSON;

LORRAINE DELAPENHA, Individually,
as Personal Representative of the Estate of
DONALD A. DELAPENHA, Deceased, and on
behalf of all survivors of DONALD A. DELAPENHA;

VIRGINIA DiCHIARA, Individually;

IRENE DICKEY, Individually, as Personal Representative
of the Estate of JOSEPH DICKEY, Deceased,
and on behalf of all survivors of JOSEPH DICKEY;

ROSEMARY DILLARD, Individually,
as Personal Representative of the Estate of
EDDIE DILLARD, Deceased, and on behalf of
all survivors of EDDIE DILLARD;

LESLIE DIMMLING, Individually,
as Personal Representative of the Estate of
WILLIAM DIMMLING, Deceased, and on behalf of
all survivors of WILLIAM DIMMLING;

MARGUERITA DOMANICO, Individually,
as Personal Representative of the Estate of
JAMES DOMANICO, Deceased, and on behalf of
all survivors of JAMES DOMANICO;

CHRISTOPHER DOWLING, Individually,
as Personal Representative of the Estate of
MARY YOLANDA DOWLING, Deceased, and on
behalf of all survivors of MARY YOLANDA DOWLING;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 81 of 243



CYNTHIA M. DROZ, Individually,
as Personal Representative of the Estate of
CHARLES DROZ, Deceased, and on behalf of
all survivors of CHARLES DROZ;

JACQUELINE EATON, Individually,
as Personal Representative of the Estate of
ROBERT EATON, Deceased, and on behalf of
all survivors of ROBERT EATON;

KEVIN FARRELL, Individually;

CHONG P. FARRELL, Individually;

CATHERINE ANN FAUGHNAN, Individually,
as Personal Representative of the Estate of
CHRISTOPHER FAUGHNAN, Deceased, and on
behalf of all survivors of CHRISTOPHER FAUGHNAN;

MARCO CALLE, Individually,
as Personal Representative of the Estate of
HENRY HOMERO FERNANDEZ, Deceased, and on behalf
of all survivors of HENRY HOMERO FERNANDEZ;

MARY AND FRANK FETCHET, as
Personal Representatives of the Estate of
BRADLEY FETCHET, Deceased, and on behalf of
all survivors of BRADLEY FETCHET;

ERIN FINNEGAN, Individually,
as Personal Representative of the Estate of
MICHAEL FINNEGAN, Deceased, and on behalf of
all survivors of MICHAEL FINNEGAN;

CARLOS GAMBOA, Individually,
as Personal Representative of the Estate of
GIANN F. GAMBOA, Deceased, and on behalf of
all survivors of GIANN F. GAMBOA;

CATHY GEYER, Individually, as Personal Representative
of the Estate of JAMES G. GEYER, Deceased,
and on behalf of all survivors of JAMES G. GEYER;

GERALD GOLKIN, Individually, as Personal Representative
of the Estate of ANDREW H. GOLKIN Deceased,
and on behalf of all survivors of ANDREW H. GOLKIN;

ANA RALEY, Individually, as Executrix
of the Estate of IAN GRAY, Deceased,
and on behalf of all survivors of IAN GRAY;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 82 of 243



RAYMOND HABIB, Individually,
as Personal Representative of the Estate of
BARBARA HABIB, Deceased, and on behalf of
all survivors of BARBARA HABIB;

THOMAS P. HEIDENBERGER, Individually,
as Personal Representative of the Estate of
MICHELE HEIDENBERGER, Deceased, and on behalf of
all survivors of MICHELE HEIDENBERGER;

BRENDAN RYAN, Individually, as
Personal Representative of the Estate of
KRISTIN IRVINE RYAN, Deceased, and on behalf of
all survivors of KRISTIN IRVINE RYAN;

SHERI ANN ISKENDERIAN, Individually, as
Personal Representative of the Estate of
ARAM ISKENDERIAN, Deceased, and on behalf of
all survivors of ARAM ISKENDERIAN;

JENNIFER L. JARDIM, Individually, as Administratrix
of the Estate of MARK S. JARDIM, Deceased,
and on behalf of all survivors of MARK S. JARDIM;

ELIZABETH JORDAN, Individually, as
Personal Representative of the Estate of
ROBERT JORDAN, Deceased, and on behalf of
all survivors of ROBERT JORDAN;

GEOFFREY JUDGE, Individually, as
Personal Representative of the Estate of
ANN JUDGE, Deceased, and on behalf of
all survivors of ANN JUDGE;

JANET KELLEY, Individually, as Personal Representative
of the Estate of FREDERICK KELLEY, Deceased,
and on behalf of all survivors of FREDERICK KELLEY;

JOANNE KELLY, Individually, as Personal Representative
of the Estate of JAMES KELLY, Deceased,
and on behalf of all survivors of JAMES KELLY;

PAUL AND VIVIAN KOLPAK, Individually, and
as Co-Administrators of the Estate of
VANESSA KOLPAK, Deceased, and on behalf of
all survivors of VANESSA KOLPAK;

ELIZABETH KOVALCIN, Individually,
as Personal Representative of the Estate of
DAVID P. KOVALCIN, Deceased, and on behalf of
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 83 of 243



all survivors of DAVID P. KOVALCIN;

SANDRA LANG, Individually, as Personal Representative
of the Estate of BRENDAN LANG, Deceased,
and on behalf of all survivors of BRENDAN LANG;

DONNA CABALLERO, and WILLIAM M. LANG,
Individually, as Personal Representatives of the Estate of
ROSEANN LANG, Deceased, and on behalf of
all survivors of ROSEANN LANG;

CAROLANN LARSEN, Individually, as
Personal Representative of the Estate of
SCOTT LARSEN, Deceased, and on behalf of
all survivors of SCOTT LARSEN;

CAROLE LEAVEY, Individually, as
Personal Representative of the Estate of
JOSEPH GERARD LEAVEY, Deceased, and on behalf of
all survivors of JOSEPH GERARD LEAVEY;

SUSAN LENOIR, Individually, as Personal Representative
of the Estate of JOHN ROBINSON LENOIR, Deceased, and
on behalf of all survivors of JOHN ROBINSON LENOIR;

JOSEPH J. REITANO, Individually, as
Personal Representative of the Estate of
VINCENT LITTO, Deceased, and on behalf of
all survivors of VINCENT LITTO;

ELIZABETH DAVILA-LOPEZ, Individually, as
Personal Representative of the Estate of
DANIEL LOPEZ, Deceased, and on behalf of
all survivors of DANIEL LOPEZ;

EILEEN LYNCH, Individually, as Personal Representative
of the Estate of FARRELL LYNCH, Deceased,
and on behalf of all survivors of FARRELL LYNCH;

BLANE MAGEE, Individually, as Personal Representative
of the Estate of BRIAN MAGEE, Deceased,
and on behalf of all survivors of BRIAN MAGEE;

BRINLEY MALONEY, Individually, as
Personal Representative of the Estate of
EDWARD F. MALONEY, III, Deceased, and on behalf of
all survivors of EDWARD F. MALONEY, III;

MEGAN MANNING, Individually, as
Personal Representative of the Estate of
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 84 of 243



TERENCE JOHN MANNING, Deceased, and on behalf
of all survivors of TERENCE JOHN MANNING;

LYNN McGUINN, Individually, as Personal Representative
of the Estate of FRANCIS McGUINN, Deceased, and on
behalf of all survivors of FRANCIS McGUINN;

TARYN McHALE, Individually, as
Personal Representative of the Estate of
THOMAS McHALE, Deceased, and on behalf of
all survivors of THOMAS McHALE;

ELIZABETH McLAUGHLIN, Individually,
as Personal Representative of the Estate of ROBERT
McLAUGHLIN, Deceased, and on behalf of
all survivors of ROBERT McLAUGHLIN;

MARK MORABITO, Individually, as Personal
Representative of the Estate of LAURA LEE
MORABITO, Deceased, and on behalf of all
survivors of LAURA LEE MORABITO;

CATHERINE MORAN, Individually, as
Personal Representative of the Estate of
KATHLEEN MORAN, Deceased, and on behalf of
all survivors of KATHLEEN MORAN;

KIMBERLY A. MARTONE, Individually, as
Personal Representative of the Estate of
CHRISTOPHER M. MORRISON, Deceased, and on
behalf of all survivors of CHRISTOPHER M. MORRISON;

PATRICK MULLAN, Individually, as
Personal Representative of the Estate of
MICHAEL D. MULLAN, Deceased, and on behalf of
all survivors of MICHAEL D. MULLAN;

AMY NACKE, Individually, as Personal Representative
of the Estate of LOUIS J. NACKE, Deceased,
and on behalf of all survivors of LOUIS J. NACKE;

AMY NEWTON, Individually, as Executrix
of the Estate of CHRISTOPHER NEWTON, Deceased,
and on behalf of all survivors of CHRISTOPHER NEWTON;

SUSAN NEWTON-CARTER, Individually, as
Personal Representative of the Estate of
CHRISTOPHER NEWTON-CARTER, Deceased,
and on behalf of all survivors of
CHRISTOPHER NEWTON-CARTER;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 85 of 243



EDWARD NICHOLLS, Individually;

STACIE NICHOLLS, Individually;

LISA O'BRIEN, Individually, as Personal Representative
of the Estate of TIMOTHY O'BRIEN, Deceased,
and on behalf of all survivors of TIMOTHY O'BRIEN;

ANTOINETTE D. OGNIBENE, Individually, as
Personal Representative of the Estate of
PHILLIP PAUL OGNIBENE, Deceased, and on behalf of
all survivors of PHILLIP PAUL OGNIBENE;

DANIEL ORTH, Individually, as Personal Representative
of the Estate of JANE MARIE ORTH, Deceased,
and on behalf of all survivors of JANE MARIE ORTH;

WANDA GARCIA-ORTIZ, Individually, as
Personal Representative of the Estate of
EMILIO ORTIZ, Deceased, and on behalf of
all survivors of EMILIO ORTIZ;

CAROLYN PANATIER, Individually, as
Personal Representative of the Estate of
CHRISTOPHER M. PANATIER, Deceased, and on behalf
of all survivors of CHRISTOPHER M. PANATIER;

NAVILA PATTERSON, Individually, as
Personal Representative of the Estate of
BERNARD E. PATTERSON, Deceased, and on behalf of
all survivors of BERNARD E. PATTERSON;

MICHAEL QUINN, Individually, as Personal
Representative of the Estate of JAMES QUINN, Deceased
and on behalf of all survivors of JAMES QUINN;

MARILYN REICH, Individually, as
Personal Representative of the Estate of
HOWARD REICH, Deceased, and on behalf of
all survivors of HOWARD REICH;

JAMES J. RICHES, Individually, as
Personal Representative of the Estate of
JAMES C. RICHES, Deceased, and on behalf of
all survivors of JAMES C. RICHES;

BERNARD P. SALAMONE, Individually,
as Executor of the Estate of MARJORIE C.
SALAMONE, Deceased, and on behalf
of all survivors of MARJORIE C. SALAMONE;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 86 of 243



DANIELLE SALERNO, Individually, as
Personal Representative of the Estate of
JOHN SALERNO, Deceased, and on behalf of
all survivors of JOHN SALERNO;

SALLY CALVIN, Individually,
as Personal Representative of the Estate of
FRANK SALVATERRA, Deceased, and on behalf of
all survivors of FRANK SALVATERRA;

LYNNE SAN PHILLIP, Individually,
as Personal Representative of the Estate of
MICHAEL V. SAN PHILLIP, Deceased, and on behalf of
all survivors of MICHAEL V. SAN PHILLIP;

DARA SEAMAN, Individually, as Personal Representative
of the Estate of MICHAEL SEAMAN, Deceased,
and on behalf of all survivors of MICHAEL SEAMAN;

MARIA SILVERSTEIN, Individually, as
Personal Representative of the Estate of
CRAIG SILVERSTEIN, Deceased, and on behalf of
all survivors of CRAIG SILVERSTEIN;

LAURIE SIMOWITZ, Individually, as
Personal Representative of the Estate of
BARRY SIMOWITZ, Deceased, and on behalf of
all survivors of BARRY SIMOWITZ;

JAMES P. SLATTERY, Individually, as
Personal Representative of the Estate of
CHRISTOPHER PAUL SLATTERY, Deceased,
and on behalf of all survivors of
CHRISTOPHER PAUL SLATTERY;

SUSAN M. SLIWAK, Individually, as
Personal Representative of the Estate of
ROBERT F. SLIWAK, Deceased, and on behalf of
all survivors of ROBERT F. SLIWAK;

MICHAEL T. JAMMEN, Individually, as
Personal Representative of the Estate of
HEATHER L. SMITH, Deceased, and on behalf of
all survivors of HEATHER L. SMITH;

CHRISTINE SPENCER, Individually, as
Personal Representative of the Estate of
ROBERT A. SPENCER, Deceased, and on behalf of
all survivors of ROBERT A. SPENCER;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 87 of 243



BARBARA STECKMAN, Individually, as
Personal Representative of the Estate of
WILLIAM STECKMAN, Deceased, and on behalf of
all survivors of WILLIAM STECKMAN;

LORRAINE SZOCIK, Individually, as
Personal Representative of the Estate of
KEVIN T. SZOCIK, Deceased, and on behalf of
all survivors of KEVIN T. SZOCIK;

BASIL G. THORPE AND VALDA M. BINNS,
Individually, and as Co-Administrators of the Estate of
NICHOLA ANGELA THORPE, Deceased, and on behalf
of all survivors of NICHOLA ANGELA THORPE;

ANNE TODISCO, Individually, as
Personal Representative of the Estate of
RICHARD TODISCO, Deceased, and on behalf of
all survivors of RICHARD TODISCO;

TANJA TOMASEVIC, Individually, as
Personal Representative of the Estate of
VLADIMIR TOMASEVIC, Deceased, and on behalf of
all survivors of VLADIMIR TOMASEVIC;

DORRY GROH-TOMPSETT, Individually, as
Personal Representative of the Estate of
STEPHEN TOMPSETT, Deceased, and on behalf
of all survivors of STEPHEN TOMPSETT;

MARY ELIZABETH TUCKER, Individually,
as Personal Representative of the Estate of
MICHAEL P. TUCKER, Deceased, and on behalf of
all survivors of MICHAEL P. TUCKER;

JENNIFER VAUK, Individually, as
Personal Representative of the Estate of
L. COL. RONALD VAUK, Deceased, and on behalf of
all survivors of L. COL. RONALD VAUK;

NAYDA VOSKERIJIAN, Individually, as
Personal Representative of the Estate of
GARO H. VOSKERIJIAN, Deceased, and on behalf of
all survivors of GARO H. VOSKERIJIAN;

ALLISON WALLICE, Individually, as
Personal Representative of the Estate of
JOHN WALLICE, JR., Deceased, and on behalf of
all survivors of JOHN WALLICE, JR.;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 88 of 243



MICHELLE GARTNER, Individually, as
Personal Representative of the Estate of
DINAH WEBSTER, Deceased, and on behalf of
all survivors of DINAH WEBSTER;

MARCIA WEISS, Individually, as Personal Representative
of the Estate of DAVID T. WEISS, Deceased
and on behalf of all survivors of DAVID T. WEISS;

PATRICK WELSH, Individually, as
Personal Representative of the Estate of
DEBORAH ANNE WELSH, Deceased, and on behalf of
all survivors of DEBORAH ANNE WELSH;

BENJAMIN WONG, Individually, as Personal
Representative of the Estate of
JENNIFER Y. WONG, Deceased, and on behalf of
all survivors of JENNIFER Y. WONG;

PAMELA WORKS, Individually, as
Personal Representative of the Estate of
JOHN BENTLEY WORKS, Deceased, and on behalf of
all survivors of JOHN BENTLEY WORKS;

ELAINE M. CHEVALIER, as Administrator
of the Estate of Swede Chevalier, Deceased
and on behalf of all survivors of SWEDE CHEVALIER;

MAUREEN S. DOMINGUEZ, as Administrator
of the Estate of Carlos Dominguez, Deceased,
and on behalf of all survivors of CARLOS DOMINGUEZ;

PHYLLIS GILLY and JOSEPH GILLY, as
Administrators of the Estate of Laura Gilly, Deceased,
and on behalf of all survivors of LAURA GILLY;

YONGJIN L. SONG, HYUNGSHIN K. SONG, as
Administrators of the Estate of Daniel W. Song AKA
Won-Hyeong Song, Deceased, and on behalf of all
survivors of DANIEL W. SONG AKA WON-HYEONG SONG;

MARC TADDONIO, as Executor of the Estate
of Michael Taddonio, Deceased, and on behalf of all
survivors of MICHAEL TADDONIO;

ERNST H. BUCK and JOSEPHINE BUCK, as Parents
and Natural Guardians of GREGORY J. BUCK, Deceased
and on behalf of all survivors of Gregory J. Buck;

KENNETH CHU, as Administrator
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 89 of 243



of the Estate of Pamela Chu, Deceased
and on behalf of all survivors of Pamela Chu;

LOUISA D’ANTONIO, as Administrator
of the Estate of Mary D’Antonio, Deceased
and on behalf of all survivors of Mary D’Antonio;

KATHRYN R. DENNIS, as Administrator
of the Estate of Thomas F. Dennis, Deceased
and on behalf of all survivors of Thomas F. Dennis;

TERESA GOMEZ, as Administrator
of the Estate of Enrique A. Gomez, Deceased
and on behalf of all survivors of Enrique A. Gomez;

BLANCA GOMEZ, as Administrator
of the Estate of Jose B. Gomez, Deceased
and on behalf of all survivors of Jose B. Gomez;

SANDRA MUNRO, as Administrator
of the Estate of Elvira Granitto, Deceased
and on behalf of all survivors of Elvira Granitto;

MARY JEAN HELLER, as Administrator
of the Estate of H. Joseph Heller, Deceased
and on behalf of all survivors of H. Joseph Heller;

EDWARD HENRY AND ALICE HENRY, Individually;

EDWARD HENRY AND ALICE HENRY, as Administrators
of the Estate of Joseph Patrick Henry, Deceased
and on behalf of all survivors of Joseph Patrick Henry;

DOHEE KANG, as Administrator
of the Estate of Joon Koo Kang, Deceased
and on behalf of all survivors of Joon Koo Kang;

ALISON M. KINNEY, as Administrator
of the Estate of Brian Kinney, Deceased
and on behalf of all survivors of Brian Kinney;

ANNA M. KREN, as Executor
of the Estate of John J. Kren, Deceased
and on behalf of all survivors of John J. Kren;

DENNIS LEVI and JENNIFER LISITSIN, as
Administrators of the Estate of John Levi, Deceased
and on behalf of all survivors of John Levi;

ERIC LEVINE, individually;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 90 of 243



CHRISTINA LYNCH, as Administrator
of the Estate of Richard D. Lynch, Deceased
and on behalf of all survivors of Richard D. Lynch;

NICHOLAS MAOUNIS, as Administrator
of the Estate of James Maounis, Deceased
and on behalf of all survivors of James Maounis;

SHEILA MARTELLO, as Executor
of the Estate of James Martello, Deceased
and on behalf of all survivors of James Martello;

MADELINE LEW MOY, as Personal Representative
of the Estate of Teddington H. Moy, Deceased
and on behalf of all survivors of Teddington H. Moy;

HEIDI NAPLES, as Administrator
of the Estate of Frank J. Naples, Deceased
and on behalf of all survivors of Frank J. Naples;

MARY DUFF-ORTALE, as Administrator
of the Estate of Peter Keith Ortale, Deceased
and on behalf of all survivors of Peter Keith Ortale;

ALEXANDRA M. ORTIZ, as Administrator
of the Estate of Sonia M. Ortiz, Deceased
and on behalf of all survivors of Sonia M. Ortiz;

MEGAN P. PELINO, as Administrator
of the Estate of Todd Douglas Pelino, Deceased
and on behalf of all survivors of Todd Douglas Pelino;

JANE POLLICINO, as Executor
of the Estate of Steven Pollicino, Deceased
and on behalf of all survivors of Steven Pollicino;

BARBARA ROPITEAU-GALLOWAY, as Administrator
of the Estate of Eric Thomas Ropiteau, Deceased
and on behalf of all survivors of Eric Thomas Ropiteau;

EUGENIA BOGADO, as Administrator
of the Estate of Carlos A. Samaniego, Deceased
and on behalf of all survivors of Carlos A. Samaniego;

JACQUELINE GALLERON, as Executor
of the Estate of Selina Sutter, Deceased
and on behalf of all survivors of Selina Sutter;

JANE TERRENZI, as Executor
of the Estate of Brian Terrenzi, Deceased
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 91 of 243



and on behalf of all survivors of Brian Terrenzi;

CAROL WALDIE, as Administrator
of the Estate of Kenneth Waldie, Deceased
and on behalf of all survivors of Kenneth Waldie;

LING N. YOUNG and DONALD M. YOUNG, Individually;

PATRICIA FITZSIMONS, as Executor
of the Estate of Richard Fitzsimons, Deceased
and on behalf of all survivors of Richard Fitzsimons;

CHRISTINE O’BERG, as Administrator
of the Estate of Dennis O’Berg, Deceased
and on behalf of all survivors of Dennis O’Berg;

DENNIS O’BERG, individually

JEAN M. PALOMBO, as Administrator
of the Estate of Frank A. Palombo, Deceased
and on behalf of all survivors of Frank A. Palombo;

CORRINE J. EVANS and CHARLES R. EVANS,
as Co-Administrators of the Estate of Eric B. Evans, Deceased
and on behalf of all survivors of Eric B. Evans;

NANCY H. KIMBELL, as Administrator
of the Estate of Mary Booth, Deceased
and on behalf of all survivors of Mary Booth;

CHRISTINIA L. KMINEK, as Personal Representative
of the Estate of Mari-Rae Sopper, Deceased
and on behalf of all survivors of Mari-Rae Sopper;

LORRAINE LYNCH, as Administrator
of the Estate of Sean Lynch, Deceased
and on behalf of all survivors of Sean Lynch;

ELIZABETH McNALLY, as Administrator
of the Estate of Edmund McNally, Deceased
and on behalf of all survivors of Edmund McNally;

JOSEPH RICHARD MICKLEY, as Executor
of the Estate of Patricia E. Mickley, Deceased
and on behalf of all survivors of Patricia E. Mickley;

ELAINE P. MILLER and CORRINE KRACHTUS, as
Personal Representatives of the Estate of Daphne Pouletsos,
Deceased and on behalf of all survivors of Daphne Pouletsos;
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 92 of 243



ARJAN MIRPURI, as Personal Representative
of the Estate of Rajesh Mirpuri, Deceased
and on behalf of all survivors of Rajesh Mirpuri;

SUSANNE MLADENIK, as Executor
of the Estate of Jeffrey P. Mladenik, Deceased
and on behalf of all survivors of Jeffrey P. Mladenik;

JANICE KAY PUNCHES, as Executor
of the Estate of Capt. Jack D. Punches, USN, Retired, Deceased
and on behalf of all survivors of Capt. Jack D. Punches, USN, Retired;

ABRAHAM SCOTT, as Administrator
of the Estate of Janice M. Scott, Deceased
and on behalf of all survivors of Janice M. Scott;

KATHY A. CORDERO,
VALENCIA L. PARKER,


Plaintiffs Added as of March 10, 2004

DENNIS VIANNA and MARILYNDA VIANNA,
Individually and as Administrators of the Estate
of Mathew G. Gianna, Deceased and on behalf of
all survivors of Mathrew G. Gianna;

NANCY HOLZHAUER, Individually and as
Administratrix of the Estate of Gerard P. Rauzi, Deceased
and on behalf of all survivors of Gerard P. Rauzi;

ELIZABETH ANN PAYNE, Individually and as
Executrix of the Estate of William Wilson, Deceased
and on behalf of all survivors of William Wilson;

PATRICIA WREN, Individually and as Administratrix
of the Estate of William Wren, Deceased
and on behalf of all survivors of William Wren;

MARGARET MATHERS, Individually and as
Executrix of the Estate of Charles Mathers, Deceased
and on behalf of all survivors of Charles Mathers;

CHRISTINE JEAN-PIERRE, Individually and as
Executrix of the Estate of Francois Jean-Pierre, Deceased
and on behalf of all survivors of Francois Jean-Pierre;

PATRICIA GREENE-WOTTON, Individually and as
Executrix of the Estate of Rodney Wotton, Deceased
and on behalf of all survivors of Rodney Wotton;
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 93 of 243




Plaintiffs added September 10, 2004

PATRICIA CUBAS-BIELFELD, Individually

ROBERT EICHELE and CARMELA EICHELE, Individually,

MICHAEL HENRY and REBECCA HENRY, Individually

JAMES B. LEACH and CARRIE LEACH, Individually,

JAMES McCAFFREY and AGNES McCAFFREY,
Individually

KEVIN WARD, Individually,

-------------------------------------------------------------------x
VIRGINIA BAUER, Individually and as
Executrix of the Estate of W. DAVID BAUER,                             02 CV 7236(RCC)
Deceased,

CATHY ANN BONNETT, Individually                                        Baumeister & Samuels, P.C.
and as Administratrix of the Estate of
COLIN BONNETT, Deceased,

DEBORAH BOWDEN, Individually and
as Executrix of the Estate of THOMAS
BOWDEN, Deceased,

JENNIFER BOWMAN, Individually and as
Administratrix of the Estate of SHAWN E.
BOWMAN, Deceased,

ELIZABETH CANDELA, Individually and
as Administratrix of the Estate of JOHN
CANDELA, Deceased,

TOMOKO T. SCHLAG, Individually and
as Executrix of the Estate of STEVEN F.
SCHLAG, Deceased,

BETH MURPHY, Individually and as
Administratrix of the Estate of KEVIN J.
MURPHY, Deceased,

ROSEANN ZISA, Individually and as
Administratrix of the Estate of SALVATORE
ZISA, Deceased,

MICHELE JONES, Individually and as Executrix
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 94 of 243



of the Estate of DONALD JONES, Deceased,

AMY VASEL, Individually and as Administratrix
of the Estate of SCOTT VASEL, Deceased,

MARGARET MEYER, Individually and as
Executrix of the Estate of DAVID R. MEYER,
Deceased,

BARBARA GALLUCCI, Individually and as
Administratrix of the Estate of VINCENZO
GALLUCCI, Deceased,

ARLENE ORSINI, Individually and as
Administratrix of the Estate of RONALD
ORSINI, Deceased,

EILEEN HANNAFORD, Individually and as
Administratrix of the Estate of KEVIN
HANNAFORD, Deceased,

JILL GOLDSTEIN, Individually and as
Administratrix of the Estate of STEVEN
GOLDSTEIN, Deceased,

AUDREY MAGNUSON, Individually and as
Executrix of the Estate of RONALD E.
MAGNUSON, Deceased,

KAREN D’AMBROSI, Individually and as
Executrix of the Estate of JACK L. D’AMBROSI,
Deceased,

SUSAN MAGAZINE, Individually and as
Administratrix of the Estate of JAY MAGAZINE,
Deceased,

KATHERINE MAHER, Individually and as
Executrix of the Estate of DANIEL L. MAHER,
Deceased,

ELLEN ROBB, Individually and in her capacity
as Proposed Co-Administrator of the
Estate of KRISTEN MONTANARO, Deceased,

MICHELLE TANNER, Individually and as
Executrix of the Estate of MICHAEL TANNER,
Deceased,

MARIE CARLINO, Individually and as Executrix
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 95 of 243



of the Estate of EDWARD CARLINO, Deceased,

PANDORA PO BHARVANEY, Individually and
as Administratrix of the Estate of ANIL T.
BHARVANEY, Deceased,

DEBRA ZEPLIN, Individually and as Executrix of
the Estate of MARC SCOTT ZEPLIN, Deceased,

LAURA BUSTILLO, Individually and as
Administratrix of the Estate of MILTON BUSTILLO,
Deceased,

CAROLE DiFRANCO, Individually and as
Administratrix of the Estate of CARL DiFRANCO,
JR., Deceased,

CAMERON F. MACRAE, III, Individually and as
Administrator of the Estate of CATHERINE
FAIRFAX MACRAE, Deceased,

DONALD MAURO, Individually and as Administrator
of the Estate of NANCY T. MAURO, Deceased,

JOHN SANDERS, Individually and as Administrator
of the Estate of STACEY L. SANDERS, Deceased,

JENNIFER PRICE, Individually and as Executrix
of the Estate of JEAN ELIZABETH HOADLEY
PETERSON, Deceased,

SANDRA VALDEZ FELT, Individually and as
Executrix of the Estate of EDWARD P. FELT,
Deceased,

ROSE KELLER, Individually and as Administratrix
Administratrix of the Estate of JOSEPH KELLER,
Deceased,

LYZBETH GLICK, Individually and as Administratrix
of the Estate of JEREMY GLICK, Deceased,

ELSA STRONG, Individually and as Executrix of the
Estate of LINDA GRONLUND, Deceased,

JOHN DiMEGLIO, Individually and as Administrator
of the Estate of DAVID DIMEGLIO, Deceased,

BARBARA RATCHKO, Individually and as
Administratrix of the Estate of BRYAN JACK,
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 96 of 243



Deceased,

MICHAEL GIORDANO, Individually and as
Administrator of the Estate of DONNA GIORDANO,
Deceased,

ROSA CAICEDO, as Mother and Legal Guardian
of LESLIE VARGAS and KEVIN VARGAS, the
Natural Children of DAVID VARGAS, Deceased, and
as Proposed Administratrix and/or personal
representative of the Estate of DAVID
VARGAS, Deceased,

JILL SWIFT, Individually and as Executrix of the
Estate of THOMAS SWIFT, Deceased,

LISA BEAMER, Individually and as Executrix
of the Estate of TODD BEAMER, Deceased,

JENNIFER G. BRENNAN, Individually and as
Administratrix of the Estate of THOMAS M. BRENNAN,
Deceased,

SUSAN BEATINI, Individually and as Administratrix
of the Estate of PAUL F. BEATINI, Deceased,

MARY DANAHY, Individually and as Executrix of
the Estate of PATRICK W. DANAHY, Deceased,

KATHLEEN M. WISNIEWSKI, Individually and as
Administratrix of the Estate of ALAN L. WISNIEWSKI,
Deceased,

TERESA CUNNINGHAM, Individually and as
Administratrix of the Estate of MICHAEL J.
CUNNINGHAM, Deceased,

BEVERLY ECKERT, Individually and as Executrix
of the Estate of SEAN ROONEY, Deceased,

PATRICIA RYAN, Individually and as Executrix
of the Estate of JOHN J. RYAN, Deceased,

LORI KANE, Individually and as Administratrix
of the Estate of HOWARD L. KANE, Deceased,

SUZANNE SISOLAK, Individually and as
Administratrix of the Estate of JOSEPH M.
SISOLAK, Deceased,
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 97 of 243



THOMAS S. JOHNSON, Individually and as
Administrator of the Estate of SCOTT M. JOHNSON,
Deceased,

H. MICHAEL KEDEL, as Executor of the Estate of
Adam Jay Lewis, Deceased,

NANCY FOSTER, as Personal Representative of
the Estate of Noel John Foster, Deceased,

CHIEMI YORK, as Administrator of the
Estate of Kevin Patrick York, Deceased,

JENNIFER TARANTINO, as Executor of the
Estate of Kenneth J. Tarantino, Deceased,

Plaintiff added September 10, 2004

MARY SMITH, Individually and as Administratrix
of the Estate of Daniel Laurence Smith, Deceased

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CHERYL SCHNEIDER, in her own right and as
the Executrix of the ESTATE OF IAN
SCHNEIDER, Deceased                                                         02 CV 7209(RCC)

NANCY DIMINO, in her own right and as                                       Law Firm of Aaron J. Broder
the Executrix of the ESTATE OF STEPHEN                                      & Jonathan C. Reiter
DIMINO, Deceased

MATILDE SALCEDO, in her own right and
as the Personal Representative of the ESTATE
OF ESMERLIN SALCEDO, Deceased

SUSAN CONNORS, in her own right and as the
Executrix of the ESTATE OF JONATHAN M.
CONNORS, Deceased

GERARD JEAN BAPTISTE, in his own right and
as the Proposed Personal Representative of the
ESTATE OF GERARD BAPTISTE, Deceased

DEBORA ANN CRISMAN, in her own right and
as Administratrix of the ESTATE OF DANIEL
HAL CRISMAN, Deceased

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   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 98 of 243



MAYORE ESTATES, LLC and
80 LAFAYETTE ASSOCIATES, LLC                        02 CV 7214(RCC)

                                                    Jaroslawicz & Jaros, Esqs.
                                 Plaintiffs,

             - against -

AL QAEDA ISLAMIC ARMY

TERRORIST HIJACKERS
THE ESTATE OF AHMED, FAYEZ
THE ESTATE OF AL-GHAMDI, AHMED
THE ESTATE OF AL-GHAMDI, HAMZA
THE ESTATE OF AL-GHAMDI, SAEED
THE ESTATE OF AL-HAZMI, NAWAF
THE ESTATE OF AL-HAZMI, SALEM
THE ESTATE OF AL-HAZNAWI, AHMED IBRAHIM A.
THE ESTATE OF AL-MIDHAR, KHALID
THE ESTATE OF AL-NAMI, AHMED
THE ESTATE OF AL-OMARI, ABDULAZIZ
THE ESTATE OF AL-SHEHHI, MARWAN
THE ESTATE OF AL-SHEHRI, MOHAND
THE ESTATE OF AL-SHEHRI, WAIL
THE ESTATE OF AL-SHEHRI, WALEED M.
THE ESTATE OF AL-SUQAMI, SATAM M. A.
THE ESTATE OF ATTA, MOHAMMED
THE ESTATE OF HANJOUR, HANI
THE ESTATE OF JARRAH, ZIAD SAMIR
THE ESTATE OF MOQED, MAJED
MOUSSAOUI, ZACARIAS

THE REPUBLIC OF SUDAN
AL-BASHIR, OMAR HASSAN AHMAD
AL-TURABI, HASSAN
NATIONAL ISLAMIC FRONT

ISLAMIC REPUBLIC OF IRAN
BLOKIAN, GENERAL ALI
FALAHYAN, ALI
ISLAMIC REVOLUTIONARY GUARD CORPS a/k/a IRGC
LASHKAR FEDAYAN-E-ISLAMI a/k/a Islamic Martyrs Brigade
KHAMEINI, AYATOLLAH ALI
MINISTRY OF INTELLIGENCE AND SECURITY a/k/a MOIS
NAJAF-ABADI, QORBAN ALI
OL-ESLAM, HOSEYN SHAYKH
RAYSHARI, MOMAMMED MOHAMMADI
REZA’I, GENERAL MOHSEN
SAFAVI, GENERAL YAHYA RAHIM
SALIM, AHMAD SALAH
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 99 of 243



SAVEHI, MAHDI CHAMRAN

THE REPUBLIC OF IRAQ
AL-ANI, AHMED KHALIL IBRAHIM SAMIR
AL-HIJAZI, FARUQ
HUSSEIN, SADDAM
RAMADAN, TAHA YASSIN

CO-CONSPIRATOR
ABU ZUBAYDAH a/k/a Zayn al Abidin Muhammad Husayn Tariq
AHMAD, MUSTAFA MUHAMMED a/k/a Mustafa Ahmed Al-Hasawi
AKIDA BANK PRIVATE LIMITED a/k/a Akida Islamic Bank International Limitied a/k/a Iksir
International Bank Limited
AL-ADEL, SAIF
AL-ALI, SULAIMAN
AL-AQEEL, AQEEL
AL-BAYOUMI, OMAR a/k/a Abu Imard
AL-BUTHE, SOLIMAN H.S.
AL-HARAMAIN ISLAMIC FOUNDATION
AL-HIJRAH CONSTRUCTION AND DEVELOPMENT LTD.
AL-KADI, MANSOUR
AL-NASHIRI, ABD AL-RAHIM a/k/a Bilal Bin Marwan a/k/a Umar Mohammed al-Harazi
AL-QADI, YASSIN a/k/a Yassin al-Kadi
AL-QARDAWI, SHEIKH YUSUF
AL-RAJHI BANKING & INVESTMENT CORPORATION
AL-RAJHI, ABDULLAH SULAIMAN
AL-RAJHI, SALEH ABDULAZIZ
AL-RAJHI, SULAIMAN ABDULAZIZ
AL-RASHID TRUST
AL-SHAMAL ISLAMIC BANK
AL-TALIB, HISHAM
AL-TURKI, ABDULLAH BIN ABDUL MUHSEN
AL-ZAWAHIRI, AYMAN
ALAMOUDI, ABDURAHMAN
ARADI, INC.
ARNAOUT, ENAAM M.
ASAT TRUST REGISTERED
ASHRAF, M. OMAR
ASHRAF, MUHAMMAD
BAHAJI, SAID
BAHARETH, MOHAMMED
BAHFZALLAH, HASSAN A.A.
BANK AL TAQWA LIMITED, a/k/a Al Taqwa Bank
BARZINJI, JAMAL
BASHA, ADNAN
BATTERJEE, SHEIK ADEL GALIL
BAYAZID, MOHAMED
BENEVOLENCE INTERNATIONAL FOUNDATION, INC.
BIHEIRI, SOLIMAN S.
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 100 of 243



BIN LADEN, ABDULA
BIN LADEN, BAKR M
BIN LADEN, OSAMA
BIN MAHFOUZ, ABDUL RAHMAN KHALID
BIN MAHFOUZ, KHALED
BINALSHIBH, RAMZI MOHAMMED ADBULLAH a/k/a Ramzi Mohamed Abdallah Omar
DALLAH AL BARAKA GROUP LLC
DALLAH AVCO TRANS ARABIA CO. LD.
DAR-AL-MAAL AL ISLAMI TRUST
DARKAZANLI, MAMOUN
EGYPTIAN ISLAMIC JIHAD
EL-HAGE, WADIH
EL-MOTASSADEQ, MOUNIR
FAISAL ISLAMIC BANK
GHATY, PEROUZ SEDA
GLOBAL DIAMOND RESOURCE
GLOBAL RELIEF FOUNDATION, INC.
GROVE CORPORATE, INC.
GUM ARABIC CO. LTD.
HAMDI, TARIK
HEKMATYAR, GULBUDDIN
HIMMAT, ALI GHALEB
HUBER, ARMAND ALBERT FRIEDRICH a/k/a Ahmed Huber
INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT (IIIT)
INTERNATIONAL ISLAMIC RELIEF ORGANIZATION (IIRO)
JAGHLIT, MOHAMMED
JULAIDAN, WA’EL HAMZA a/k/a Al Hasan al Madani
KAMEL, SALEH ABDULLAH
KHALIFA, MOHAMMED JAMAL
MAMOUN DARKAZANLI IMPORT-EXPORT COMPANY
MANSOUR, MOHAMED
MANSOUR, ZEINAB a/k/a Zeinab Mansour Fattouh
MAR-JAC INVESTMENTS, INC.
MAR-JAC POULTRY
MIGA – MALAYSIAN SWISS, GULF AND AFRICAN CHAMBER, a/k/a Camera di
Commercio, Industria e Turismo per Gli Stati Arabi del Golfo e la Svizzera a/k/a Gulf Center
MIRZA, M. YAQUB
MOHAMMED, KHALID SHEIKH
MUHAMMAD, SHEIKH OMAR BAKRI
MULLAH OMAR
MUSLIM BROTHERHOOD
MUSLIM WORLD LEAGUE
MUWAFFAQ FOUNDATION a/k/a Blessed Relief Foundation
NADA MANAGEMENT ORGANIZATION SA, a/k/a al Taqwa Management Organization
NADA, YOUSSEF MUSTAFA
NASCO NASREDDIN HOLDING SA
NASEEF, ABDULLAH OMAR
NASREDDIN, AHMED IDRIS, a/k/a Nasreddin Ahmed Idris
NATIONAL COMMERCIAL BANK OF SAUDI ARABIA
NEW DIAMOND HOLDINGS
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 101 of 243



PIEDMONT POULTRY
PRINCE MOHAMMED AL FAISAL AL SAUD
PRINCE NAYEF BIN ABDULAZIZ AL SAUD
PRINCE SALMAN BIN ABDULAZIZ AL SAUD
PRINCE SULTAN BIN ABDULAZIZ AL SAUD
PRINCE TURKI AL FAISAL AL SAUD
RABITA TRUST
RASHID, MUFTI MOHAMMED
SAAR FOUNDATION
SAFA TRUST
SANABEL AL-KHEER, INC.
SANA-BELL, INC.
SANABIL AL-KHAIR
SAUDI BIN LADEN GROUP
SAUDI HIGH COMMISSION a/k/a The Saudi High Relief Commission)
SAUDI JOINT RELIEF COMMITTEE
SAUDI RED CRESCENT COMMITTEE
SEDKY, SHERIF
SUCCESS FOUNDATION
TADAMON ISLAMIC BANK
TAIBAH INTERNATIONAL AID ASSOCIATION
THE TALIBAN
TOTONJI, AHMED
WORLD ASSEMBLY FOR MUSLIM YOUTH
YOUSSEF M. NADA ESTABLISHMENT
YUNUS, IQBAL
ZARQAWI, ABU MUSAB
ZOUAYDI, MUHAMMED GALEB KALAJE a/k/a Abu Talha

                                         Defendants.
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          Plaintiffs, by their attorneys Kreindler & Kreindler, Barasch, McGarry Salzman

Penson & Lim, Speiser, Krause, Nolan & Granito, Baumeister & Samuels, P.C., Law Firm

of Aaron J. Broder & Jonathan C. Reiter and Jaroslawicz & Jaros, Esqs., as and for their

Sixth Amended Consolidated Master Complaint, hereby allege:

          1.        Plaintiffs listed in the caption of this action are U.S. citizens, residents or

foreign citizens who are or will be appointed either the Executors, Administrators or

Personal Representatives of the Estates of persons killed, or are persons injured in the

September 11, 2001 terrorist attacks perpetrated by some of the defendants with the support
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 102 of 243




and assistance of the other defendants, in which four United States’ commercial aircraft

were caused to crash into the World Trade Center Towers, the Pentagon and a field in

Shanksville, Pennsylvania (hereinafter “September 11th Attacks”) or representatives of

property that was damaged in the attacks. Plaintiffs’ decedents were passengers or crew

members on board American Airlines Flights 11 and 77, United Airlines Flights 175 and

93, and persons present at both Towers of the World Trade Center in New York, or present

at the Pentagon in Virginia and includes personal injury victims and those persons or

entities who suffered property damage at those locations.

                                  JURISDICTION AND VENUE

        2.      Jurisdiction arises pursuant to 28 U.S.C. §§ 1330(a) (actions against foreign

states), 1331 (federal question), 1332(a)(2), 1350 (“Alien Tort Act”), 1605(a)(2),

1605(a)(5), 1605(a)(7) (the Foreign Sovereign Immunities Act), and the Torture Victim

Protection Act, PL 102-256, 106 Stat. 73 (reprinted at 28 U.S.C.A. § 1350 note (West

1993)), and violation of the International Anti-Terrorism Act, 18 U.S.C. §2333.

        3.      Venue is proper in this district pursuant to the Air Transportation Safety and

System Stabilization Act, (Pub. Law 107-42, 115 Stat. 230), 49 U.S.C. § 40101, Title IV,

§ 408(b)(3), designating the Southern District of New York (“S.D.N.Y.”) as the exclusive

venue for all civil litigation arising out of, or related to the September 11th Attacks, and 28

U.S.C. 1391(b)(2) and 1391(f)(1) because a substantial number of acts, occurrences, injuries

and deaths occurred in the Southern District of New York.

        4.      This action for wrongful death, personal injury and related claims perpetrated

by the foreign states of IRAQ, the SUDAN, and IRAN through their instrumentalities and

their official and unofficial employees, agents and servants alleged herein, falls within the
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 103 of 243




exceptions to immunity under 28 U.S.C. §§ 1605(a)(5) and 1605(a)(7) (the Foreign

Sovereign Immunities Act).

                                          DEFENDANTS

       5.      Defendants are co-conspirators who intentionally, willfully and knowingly

conspired, planned, financed, supported, executed and carried out a plan to murder, maim

and injure United States’ citizens, residents and others on September 11, 2001; and all

participated directly or indirectly in the September 11, 2001 terrorist attacks on the United

States of America. Defendants fall into three primary categories, (1) AL QAEDA and its

members and associates, (2) IRAQ, the SUDAN and IRAN, State Sponsors of AL

QAEDA’s terrorist activities, and (3) entities or individuals who provided logistical,

material, financial or other support to AL QAEDA and its terrorist activities.

       6.      Defendant AL QAEDA, a/k/a Islamic Army, is an unincorporated association

organized to perpetrate acts of international terrorism, including murder, mayhem,

bombings and hijackings against the United States, its citizens and its allies. AL QAEDA

has also encouraged, financed and supported other terrorist groups who targeted U.S.

citizens. AL QAEDA, as of September 11, 2001, was headquartered in Afghanistan, but

has a network of terrorist cells and affiliated groups throughout the world.

       7.      Defendant OSAMA BIN LADEN a/k/a Usama Bin Laden, Abu Abdullah,

Mujahid Shaykh Hajjs and Abdul Hay, (“BIN LADEN”) was formerly a national of Saudi

Arabia with Yemen as his ancestral home, but who is now an alien of unknown nationality.

He is last known to have been living in Afghanistan. At all relevant times, BIN LADEN

has headed and directed the terrorist activities of AL QAEDA.

       8.      Defendants OSAMA BIN LADEN, MUHAMMAD ATEF, AYMAN AL
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 104 of 243




ZAWAHIRI, ABU ZUBAYDAH, SAIF AL ADEL, KHALID SHEIKH MOHAMMED,

RAMZI BINALSHIBB, MOHAMED BAYAZID, and others named herein are or were

natural persons who, on or before September 11, 2001, were leaders or members of AL

QAEDA who conspired, acted in concert with, aided and abetted, sponsored and assisted

directly and indirectly, in the September 11th terrorist attacks against the United States of

America.

       9.      MOHAMMED ATTA, MARWAN AL SHEHHI, FAYEZ AHMED,

AHMED AL GHAMDI, HAMZA AL GHAMDI, MOHAND AL SHEHRI, SATAM M.

A. AL SUQAMI, ABDULAZIZ AL OMARI, WALEED M. AL SHEHRI, WAIL AL

SHEHRI, KHALID AL MIDHAR, NAWAF AL HAZMI, HANI HANJOUR, SALEM AL

HAZMI, and MAJED MOQED hijacked three commercial aircraft on September 11, 2001

and committed mass murder by deliberately flying the aircraft into the World Trade Center

and the Pentagon. ZIAD SAMIR JARRAH, AHMED IBRAHIM A. AL HAZNAWI,

SAEED AL GHAMDI, and AHMED AL NAMI hijacked United Airlines Flight 93 and

attempted to deliberately fly the aircraft into the White House or another prominent

Washington D.C. landmark but were thwarted by the efforts of heroic passengers, resulting

in the aircraft crashing to the ground in Shanksville, Pennsylvania. The “twentieth

hijacker,” ZACARIAS MOUSSAOUI, was in custody on September 11, 2001, and thus

unable to participate in the attacks perpetrated that fateful day. Plaintiffs have named as

defendants, the estates of various AL QAEDA members who were killed on September 11th

or in armed conflict with allied forces since September 11, 2001.

       10.     Defendant TALIBAN, as of September 11, 2001, was an unincorporated

association that served as the de facto government of Afghanistan from approximately 1996
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 105 of 243




until shortly after September 11, 2001. The TALIBAN, as of September 11, 2001, was

headquartered in Kandahar, Afghanistan and had declared itself to constitute the

government of Afghanistan.

       11.     Defendant MUHAMMAD OMAR ("OMAR") founded the TALIBAN and

since 1996 OMAR was the leader of the TALIBAN's six member ruling council and was

responsible for the TALIBAN’s financial activities. OMAR, individually and through the

TALIBAN organization that he controlled, supplied material and logistical support to AL

QAEDA and BIN LADEN in furtherance of their terrorist plans to attack the United States

of America and murder U.S. citizens.

       12.     AL QAEDA and the TALIBAN were closely linked. OMAR and the

TALIBAN afforded BIN LADEN special status in Afghanistan; and BIN LADEN was the

de facto head of TALIBAN intelligence and security. BIN LADEN acted on OMAR’s

behalf, by providing soldiers to crush opposition to the TALIBAN’s ruthless rule inside

Afghanistan. OMAR enabled BIN LADEN to export terrorism to the United States and

elsewhere by allowing him to construct and maintain camps in Afghanistan and train AL

QAEDA members and other terrorists from around the world in the deadly and depraved

methods of committing acts of violence, murder, destruction and mayhem. OMAR refused

to turn BIN LADEN over to the United States after the September 11th attacks and instead,

continued to offer sanctuary to BIN LADEN and AL QAEDA members.

       13.     Defendant REPUBLIC OF IRAQ (“IRAQ”) at all relevant times prior to and

including September 11, 2001, was a foreign sovereign state located in the Middle East and

shares borders with Saudi Arabia, Jordan, Syria, Turkey, IRAN and Kuwait.

       14.     Defendant IRAQ for many years and at all relevant times, was designated
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 106 of 243




by the United States Department of State as a foreign state that sponsors terrorism within

the meaning of the Export Administration Act of 1979, 50 U.S.C. § 2405(j); the Foreign

Assistance Act of 1961, 22 U.S.C. § 2371(b) and 18 U.S.C. § 2333.

       15.     Defendant IRAQ sponsored terrorism through its officials, officers,

employees and agents, including but not limited to defendants, SADDAM HUSSEIN,

TAHA YASSIN RAMADAN, FARUQ AL HIJAZI, and AHMED KHALIL IBRAHIM

SAMIR AL ANI, who are natural persons, subjects and citizens of IRAQ and leaders,

agents/or employees of IRAQ and/or its intelligence agency, who participated in the acts

and conspiracy described below while acting in the course and scope of their employment.

       16.     The defendant REPUBLIC OF SUDAN (“SUDAN”) is a foreign sovereign

state within the meaning of 28 U.S.C. § 1391(f) and 1603(a) and is located on the continent

of Africa and borders the Red Sea west of Saudi Arabia and south of Egypt. The United

States does not have formal diplomatic relations with the current government of the

defendant SUDAN, which maintains an Embassy in Washington, D.C. located at 2210

Massachusetts Avenue, N.W., Washington, D.C. 20008-2831.

       17.     The defendant SUDAN has, for many years and at all relevant times, been

designated by the United States Department of State as a foreign state that sponsors

terrorism within the meaning of the Export Administration Act of 1979, 50 U.S.C. App. §

2405(j); the Foreign Assistance Act of 1961, 22 U.S.C. § 2371(b); and 18 U.S.C. § 2333.

The defendant SUDAN, by and through its agents and instrumentalities has supported,

encouraged, sponsored, aided and abetted and conspired with a variety of groups that use

terror to pursue their goals. The defendant SUDAN has provided financing, training, safe-

haven, and weapons for terrorist groups including the defendants AL QAEDA and BIN
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 107 of 243




LADEN, through its officials, officers, employees and agents, including but not limited to

the NATIONAL ISLAMIC FRONT, HASSAN TURABI, and OMAR HASSAN AHMAD

AL BASHIR, the President of Sudan.

       18.     Defendant, the ISLAMIC REPUBLIC OF IRAN (hereinafter referred to as

"IRAN"), is a foreign state within the meaning of 28 U.S.C. §1391(f) and 1603(a) and

borders Afghanistan to its east and IRAQ to its west. IRAN maintains an Interest Section

within the United States at 2209 Wisconsin Avenue, N.W., Washington, D.C. 20007.

       19.     Defendant IRAN has for many years, and at all relevant times, been

designated as a foreign state that sponsors terrorism within the meaning of the Export

Administration Act of 1979, 50 U.S.C.App.§ 2405(I), and the Foreign Assistance Act of

1961, 22 U.S.C. §2371(b) and 18 U.S.C. § 2333.

       20.      Defendant IRAN has been found to be liable as a state sponsor of

international terrorism under 28 U.S.C. §1605(a)(7), especially in connection with acts

perpetrated by its state sponsored paramilitary terrorist organization known as Hezbollah

in various cases, including Anderson v. the Islamic Republic of Iran, 90 F. Supp.2d 107

D.D.C. 2000), and Cicippio v. The Islamic Republic of Iran, 18 F.Supp 2d 62 (D.D.C. 1998).

       21.     Defendant IRAN through its officials, officers, agents and employees,

including but not limited to, its MINISTRY OF INTELLIGENCE AND SECURITY

(“MOIS”), IRANIAN REVOLUTIONARY GUARD (“IRGC”), AYATOLLAH ALI

KHAMENEI, Spiritual Leader of IRAN, MOMAMMED MOHAMMADI RAYSHAHRI,

special advisor to the Spiritual Leader, QORBAN ALI NAJAF-ABADI, Minister of

Intelligence, ALI FALAHYAN, Director of Public Intelligence, GENERAL ALI

BLOKIAN, former advisor to Hezbollah, AHMAD SALAH (SALIM), member of
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 108 of 243




committee of three of International Hezbollah, MAHDI CHAMRAN SAVEHI, Iranian

External Intelligence chief, GENERAL MOHSEN REZA’I, Iranian security director

HOSEYN SHAYKH OL-ESLAM, former Assistant Foreign Minister, GENERAL

MOHSEN REZA'I, former commander of the IRANIAN REVOLUTIONARY GUARD’S

CORPS (IRGC), GENERAL YAHYA RAHIM SAFAVI, head of the IRGC, provided

material support and resources to defendants AL QAEDA and BIN LADEN both directly

and through its surrogate, Hezbollah. The support provided by IRAN to BIN LADEN and

AL QAEDA assisted in or contributed to the preparation and execution of the plans that

culminated in the September 11 Attacks.

       22.     The co-conspirator sponsor defendants are individuals, organizations, banks

and charities located in Saudi Arabia and other parts of the world including the United

States who conspired with BIN LADEN, AL QAEDA, and the TALIBAN to raise, launder,

transfer, distribute and hide funds for BIN LADEN and AL QAEDA in order to support and

finance their terrorist activities, including, but not limited to, the September 11th attacks.

Some of the individuals, businesses, banks and charities operate legitimate businesses but

also maintain a dual role as an AL QAEDA co-conspirator and have actively supported its

terrorist activities; while others, including some of the individuals, are a sham front for AL

QAEDA or are full fledged members of AL QAEDA.



                              THE BIRTH OF AL QAEDA

       23.     Starting in 1989, an international terrorist group emerged dedicated to

opposing non-Islamic governments with brutal force and terrifying violence.              This

organization grew out of the "Mekhtab al Khidemat" (the "Office of Services") which
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 109 of 243




maintained offices in Peshawar, Pakistan and received funds from Islamic charities, wealthy

Saudi families, mosques, legitimate businesses and criminal enterprises, among others

during the Soviet-Afghan war.

        24.     Under the leadership of BIN LADEN, MUHAMMAD ATEF, a/k/a Abu

Hafs al Masry, together with Abu Ubaidah al Banshiri, AYMAN AL ZAWAHIRI and

others, the Office of Services expanded, creating terrorist cells in various parts of the world,

including Afghanistan, Pakistan and the United States. Their role was to recruit fighters

and raise funds to support a new terrorist group, AL QAEDA (the Base).

        25.     At all relevant times, AL QAEDA was led by BIN LADEN. Members of AL

QAEDA pledged an oath of allegiance (called a "bayat") to BIN LADEN and AL QAEDA,

committing themselves to become martyrs in their depraved cause.

        26.     AL QAEDA actively and vehemently opposed the United States for several

reasons. First, it regarded the United States as a “kafir” or "infidel" nation governed in a

manner inconsistent with the group's interpretation of Islam. Second, it believed the United

States was providing essential support for other "infidel" nations and organizations,

particularly Egypt, Israel and the United Nations, which AL QAEDA regarded as enemies.

Third, AL QAEDA opposed the involvement of the United States armed forces in the Gulf

War in 1991 and its presence in the Middle East afterwards as illustrated by Operation

Restore Hope in Somalia in 1992 and 1993. In particular, AL QAEDA opposed the

continued presence of American military forces in Saudi Arabia and elsewhere on the

Arabian peninsula following the Gulf War. Fourth, AL QAEDA opposed the United States

Government because of the arrest, conviction and imprisonment of AL QAEDA members

or other terrorists with whom it worked, including the Islamic Group’s Sheik Omar Abdel
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 110 of 243




Rahman who was convicted of planning to bomb bridges and tunnels in New York City.

Fifth, AL QAEDA believed United Nation sanctions against IRAQ killed millions of IRAQI

children and were orchestrated by the United States out of “eagerness to destroy IRAQ”.

        27.     One of the AL QAEDA’s principal goals was to use violence to drive the

United States armed forces out of Saudi Arabia and Somalia. Members of AL QAEDA and

its supporters issued fatwas (rulings on Islamic law) stating that attacks on the United States

were both proper and necessary.

        28.     At least as early as 1991, BIN LADEN and AL QAEDA began working

closely with AYMAN AL ZAWAHIRI, a/k/a "Abdel Muaz," a/k/a "Dr. Ayman al

Zawahiri," a/k/a "the Doctor," a/k/a "Nur," a/k/a "Ustaz," a/k/a "Abu Mohammed," a/k/a

"Abu Mohammed Nur al-Deen," whose EGYPTIAN ISLAMIC JIHAD terrorist group

shared BIN LADEN and AL QAEDA’s goals. BIN LADEN had met ZAWAHIRI in

Peshawar, Pakistan in 1987 during the Afghan-Soviet War.

        29.     From in or about 1987, until in or about December 1997, AYMAN AL

ZAWAHIRI, led the EGYPTIAN ISLAMIC JIHAD, a group dedicated to the forceful

overthrow of the Egyptian Government and committing violence against the United States.

Members of EGYPTIAN ISLAMIC JIHAD pledged allegiance to AL ZAWAHIRI. Many

of the leading members of the EGYPTIAN ISLAMIC JIHAD ultimately became influential

members of AL QAEDA, including AYMAN AL ZAWAHIRI and MUHAMMAD ATEF.

By February 1998, the EGYPTIAN ISLAMIC JIHAD led by AL ZAWAHIRI and

MUHAMMAD ATEF, had effectively merged with AL QAEDA and had joined with AL

QAEDA in targeting United States’ citizens.

        30.     AL QAEDA had a command and control structure which included a majalis
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 111 of 243




al shura (or consultation council) that discussed and approved major undertakings, including

terrorist operations. BIN LADEN, MUHAMMAD ATEF, AYMAN AL ZAWAHIRI,

SAIF AL ADEL, among others, sat on the consultation council of AL QAEDA.

       31.     AL QAEDA also maintained a "military committee" which considered and

approved "military" matters. MUHAMMAD ATEF sat on the military committee and was

one of BIN LADEN's two principal military commanders together with Abu Ubaidah al

Banshiri, (until his death in May 1996).       MUHAMMAD ATEF had the principal

responsibility for supervising the training of AL QAEDA members. SAIF AL ADEL also

served on the military committee reporting to MUHAMMAD ATEF.

       32.     Defendant ABU HAMZA AL MASRI was in contact with BIN LADEN

lieutenant defendant ABU ZUBADYA. AL MASRI recruited people for Bin Laden terror

training camps and for AL QAEDA’s acts of terror, including ZACARIAS MOUSSAOUI,

suspected of helping to plan the 9-11 attacks and Richard Reid the “shoe bomber” arrested

in December 2001. Both terrorists were worshipers at the British mosque controlled by AL

MASRI.

       33.     BIN LADEN and AL QAEDA also forged alliances with the NATIONAL

ISLAMIC FRONT in the SUDAN and with representatives of the government of IRAN, and

its associated terrorist group Hezbollah, for the purpose of working together against their

perceived common enemies in the West, particularly the United States.

        34.    At various times from as early as 1989, BIN LADEN, and others known and

unknown, ran terrorist training "camps and guesthouses” in various areas, including

Afghanistan, IRAQ , IRAN, Pakistan, the SUDAN, Somalia, Kenya, Malaysia, Philippines

and Germany for the use of AL QAEDA and its affiliated groups.
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 112 of 243




       35.     Since 1991, BIN LADEN, AL QAEDA and many of their co-defendants

unlawfully, wilfully and knowingly combined, conspired, confederated and agreed to

murder and injure United States citizens throughout the world, including in the United

States, and to conceal their activities and methods by, among other things, establishing front

companies, providing false identity and travel documents, financing terrorist operations,

engaging in coded correspondence, providing false information to the authorities in various

countries and seeking to detect and kill informants.




                                           THE SUDAN

       36.     In 1989, Defendants HASSAN AL TURABI, OMAR HASSAN AHMED

AL BASHIR, and the NATIONAL ISLAMIC FRONT installed an extremist government

in SUDAN via a coup d’etat. Within weeks of taking power, emissaries of the new

government in SUDAN traveled to Afghanistan where they met with BIN LADEN and AL

QAEDA. AL QAEDA was invited to relocate their operations to SUDAN. By the end of

1989, members of AL QAEDA were in SUDAN preparing the infrastructure for the move

to SUDAN. In 1991, BIN LADEN relocated to the SUDAN. He centered his AL QAEDA

operations there for the next four years while maintaining offices and orchestrating terrorist

recruitment, training and launching attacks in various parts of the world.

       37.     A 1996 State Department fact sheet on OSAMA BIN LADEN described his

operations in the country beginning in 1991:

               Bin Laden relocated to SUDAN in 1991, where he was
               welcomed by National Islamic Front (NIF) leader Hasan Al
               Turabi. . . . [bin Laden] embarked on several business
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 113 of 243




               ventures in SUDAN in 1990, which began to thrive following
               his move to Khartoum. Bin Laden also formed symbiotic
               business relationships with wealthy NIF members by
               undertaking civil infrastructure development projects on the
               regime's behalf.

       38.     OSAMA BIN LADEN’s close relationship with the new extremist Sudanese

regime became symbiotic and he conducted several business projects with or on behalf of

the NIF. These businesses including defendants AL HIJRAH CONSTRUCTION AND

DEVELOPMENT and GUM ARABIC enriched the NATIONAL ISLAMIC FRONT and

solidified its hold on power. The AL QAEDA owned businesses provided employment to

the Afghan veterans as well as providing the perception of a legitimate front which masked

their preparations for terror, AL QAEDA’S true mission in SUDAN. One of BIN

LADEN’S investments was the Defendant AL SHAMAL ISLAMIC BANK, as reported

by the State Department:

               Bin Laden and wealthy NIF members capitalized al-Shamal
               Islamic Bank in Khartoum. Bin Laden invested $50 million
               in the bank.

       39.     OSAMA BIN LADEN’s involvement in business transactions in the

SUDAN including the AL SHAMAL ISLAMIC BANK, was confirmed by a 2002

Congressional Research Service Report:

               In 1991, bin Laden relocated to SUDAN with the approval
               of SUDAN National Islamic Front (NIF) leader Hasan Al
               Turabi. There, in concert with NIF leaders, [bin Laden]
               built a network of businesses, including an Islamic Bank (al
               Shamal), an import-export firm, and firms that exported
               agricultural products. An engineer by training, bin Laden
               also used his family connections in the construction business
               to help SUDAN build roads and airport facilities. The
               business in SUDAN . . . enabled him to offer safe haven and
               employment in SUDAN to AL QAEDA members, promoting
               their involvement in radical Islamic movements in their
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 114 of 243




               countries of origin (especially Egypt) as well as anti-U.S.
               terrorism.


       40.     Defendant AL SHAMAL ISLAMIC BANK was founded in 1983 by three

individuals or entities: (1) Al Shamal for Investment and Development, a Sudanese

company; (2) Defendant SALEH ABDULLAH KAMEL, Chairman of the DALLAH AL

BARAKA GROUP LLC; and (3) the Sudanese Government of Northern State, then

controlled by Governor Mutasim Abdul-rahim, Secretary General of the NATIONAL

ISLAMIC FRONT in Khartoum, and representative of HASSAN AL TURABI.

       41.     In April 1984, the AL SHAMAL ISLAMIC BANK issued shares to its main

founders. They included the Sudanese Government of Northern State, the Defendant

FAISAL ISLAMIC BANK – SUDAN, Defendant SALEH ABDULLAH KAMEL, his

brother Omar Abdullah Kamel, and Al Baraka Investment and Development, a wholly

owned subsidiary of DALLAH AL BARAKA GROUP.

       42.     Among the shareholders of the AL SHAMAL ISLAMIC BANK was

Defendant FAISAL ISLAMIC BANK – SUDAN, whose parent company is Defendant

DAR-AL-MAAL AL ISLAMI TRUST, registered in the Bahamas but operating out of

Switzerland. These two entities are chaired by Defendant PRINCE MOHAMMED AL

FAISAL AL SAUD, and controlled by Saudi investors. AL SHAMAL ISLAMIC BANK

and FAISAL ISLAMIC BANK SUDAN have common shareholders as well as common

corporate officers.

       43.     AL SHAMAL ISLAMIC BANK Chairman and shareholder, Defendant

ADEL ABDUL JALIL BATTERJEE, is the Chairman of Al Bir Al Dawalia, whose United

States branch, BENEVOLENCE INTERNATIONAL FOUNDATION (“BIF”), is also a
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 115 of 243




front for AL QAEDA sponsorship. Both BATTERJEE and BIF have been listed as

Specially Designated Global Terrorists by the US Department of the Treasury.

       44.     AL SHAMAL ISLAMIC BANK General Manager, Mohammad S.

Mohammad, acknowledged in a November 2001 report to the United Nations that OSAMA

BIN LADEN had two accounts in the bank, opened on March 30, 1992 in the name of AL-

HIJRAH CONSTRUCTION AND DEVELOPMENT LTD. This company, according to

the United States Department of State, worked directly with Sudanese military officials to

transport and provide provisions to terrorists training in OSAMA BIN LADEN’s terrorist

training camps in northern SUDAN.

       45.     A third AL SHAMAL ISLAMIC BANK account was opened in 1993 in the

name of OSAMA BIN LADEN’s company, Wadi Al Aqiq, a company registered in Saudi

Arabia. The import-export firm, in conjunction with OSAMA BIN LADEN’s Taba

Investment Company Ltd., secured a near monopoly over SUDAN's major agricultural

exports of corn, sunflower, and sesame products in cooperation with prominent Sudanese

NIF members.

       46.     AL SHAMAL ISLAMIC BANK has repeatedly been used to fund criminal

and terrorist activities. Jamal Ahmed Al Fadl (or “Al Fadl”), was the first person called in

the trial of four men charged with participating in a terrorism conspiracy led by OSAMA

BIN LADEN, that being the 1998 bombings of the American Embassies in Kenya and

Tanzania. Al Fadl testified, that OSAMA BIN LADEN and at least six AL QAEDA

operatives held bank accounts in AL SHAMAL ISLAMIC BANK under their real names.

       47.     Jamal Ahmed Al Fadl also testified that AL QAEDA operatives received

monthly checks of several hundred dollars from AL SHAMAL ISLAMIC BANK accounts
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 116 of 243




and that he transferred $100,000.00 from AL SHAMAL ISLAMIC BANK to an AL

QAEDA representative in Jordan.

       48.     Defendant BENEVOLENCE INTERNATIONAL FOUNDATION (“BIF”)

(infra) held accounts at AL SHAMAL BANK from 1991 until 2002. These accounts were

used for the beneift of AL QAEDA.

       49.     Defendant FAISAL ISLAMIC BANK – SUDAN , was one of the five main

founders of AL SHAMAL ISLAMIC BANK in April 1984 and became member of the

board in July 1988. PRINCE MOHAMMED AL FAISAL AL SAUD is heavily involved

in the sponsorship of terror through FAISAL ISLAMIC BANK – SUDAN.

       50.     Defendant FAISAL ISLAMIC BANK – SUDAN was also implicated as an

AL QAEDA sponsor during the 2001 United States trial on the 1998 embassy bombings in

Africa as managing bank accounts for AL QAEDA operatives. Al Fadl, testified:

               Q. Where were the accounts [of AL QAEDA ] held? In what countries?
               A. . . . we got account in Bank Faisal Islami [Faisal Islamic Bank].
               Q. Is that also in Khartoum?
               A. Yes.”


       51.     Under Sudanese banking regulations, AL SHAMAL ISLAMIC BANK is

considered as a joint ownership commercial bank, and therefore subject to the Central Bank

of SUDAN review, supervision and control, according to the provisions of the Banks’

Practice Act of 1991.

       52.     In February of 2001, Al Fadl’s testimony described OSAMA BIN LADEN's

global banking network, naming institutions in SUDAN, Malaysia, The United Kingdom,

Hong Kong and Dubai where OSAMA BIN LADEN and his international terrorist

organization kept money. He also gave a detailed account of OSAMA BIN LADEN's
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 117 of 243




agricultural, construction, transportation and investment companies in SUDAN, which are

fronts for terrorist activities.

        53.      Al Fadl testified that he helped OSAMA BIN LADEN pay the employees

of his companies and AL QAEDA, and that he was sent out to buy five farms in SUDAN

for the group to use as training camps. Al Fadl testified one farm cost $250,000 and another

$180,000.

        54.      After OSAMA BIN LADEN moved his group to SUDAN, Al Fadl testified,

its activities were greatly aided by SUDAN’S intelligence agencies and by other

government officials. Al Fadl described several arms shipments, including AL QAEDA's

smuggling of Kalishnikov rifles into Egypt from SUDAN on two separate occasions. Al

Fadl also recalled a shipment of four large crates of weapons and explosives to an extremist

group in Yemen, carried on a boat owned by AL QAEDA and accomplished with the help

of a Sudanese Intelligence officer as well as paperwork provided by the President of

SUDAN, defendant OMAR HASSAN AHMED AL BASHIR.

        55.      Defendant TADAMON ISLAMIC BANK was formed in Khartoum,

SUDAN on November 28, 1981 and started operations on March 24, 1983. The

TADAMON ISLAMIC BANK is active across the Sudanese territory, through twenty-one

different establishments and has several subsidiaries there.

        56.      Shareholders of the TADAMON ISLAMIC BANK included SALEH

ABDULLAH KAMEL and FAISAL ISLAMIC BANK SUDAN, a main shareholder of

TADAMON ISLAMIC BANK until at least 1995.

        57.      TADAMON ISLAMIC BANK facilitated, materially sponsored, aided and

abetted, and/or conspired with AL QAEDA and its international terrorists and financial
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 118 of 243




operations. According to testimony of Al Fadl, during the 2001 trial regarding the 1998

Embassy bombings in Africa, TADAMON ISLAMIC BANK managed accounts of AL

QAEDA operatives:

       Q “Do you recall anyone else that had bank accounts in their name for AL
       QAEDA?
       A. Abdouh al Mukhlafi.
       Q. Who was this person named Abdouh al Mukhlafi?
       A. He is from Yemen.
       Q. What role did he play for Bin Laden?
       A. He goes with Bin Laden when Bin Laden travel outside or inside SUDAN.
       Q. What role did he play for Bin Laden when Bin Laden traveled?
       A. He is like bodyguard for him, and also if Bin Laden, he needs bank something,
       he use account for that.
       Q. Did he handle money during the travel?
       A. Yes.
       Q. Where were the accounts held? In what countries?
       A. In Sudan and is in Bank Tadamon Islami [Tadamon Islamic Bank].”

       58.     TADAMON ISLAMIC BANK is also a shareholder of Defendant AL

SHAMAL ISLAMIC BANK, a bank formed in SUDAN and extensively used for AL

QAEDA operations. TADAMON ISLAMIC BANK joined the provisional Board of

Directors of AL SHAMAL ISLAMIC BANK on July 1988 and has been a major

shareholder of AL SHAMAL ISLAMIC BANK since March 26, 1986.

       59.     During the 1991-1996 time period, SUDAN abandoned visa requirements

for Arabs and actively encouraged militants to live within its borders. By the end of 1991,

there were between 1,000 and 2,000 members of AL QAEDA in the SUDAN. OSAMA

BIN LADEN established a headquarters in the Riyadh section of Khartoum, SUDAN, an

area heavily populated by Saudis.

       60.     OSAMA BIN LADEN was able to establish a powerful military and political

presence in the SUDAN in the early 1990s, using a variety of business ventures to finance
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 119 of 243




his activities, aided and abetted and materially sponsored by Defendants and co-conspirators

named herein.

       61.      In SUDAN, between the years 1990 and 1993, members of AL QAEDA

undertook the task of writing the Encyclopedia of the Afghan Jihad. AL QAEDA wrote

another terrorist work entitled Military Studies in the Jihad against the Tyrants. It was

during this period that OSAMA BIN LADEN and AL QAEDA became fully operational,

expanding their terrorist network.

       62.      OSAMA BIN LADEN organized AL QAEDA into camps dedicated to the

exportation of terrorism; the main Sudanese training site being a 20-acre site near Soba, 10

kilometers south of Khartoum. OSAMA BIN LADEN and AL QAEDA were sponsored,

encouraged and allowed to operate freely in SUDAN.

       63.      AL QAEDA purchased communications equipment, radios, and rifles for

the Sudanese NIF, while the Sudanese government in exchange provided 200 passports to

AL QAEDA allowing terrorists to travel internationally with new identities.

       64.      In or about the early 1990s, Jamal Al Fadl went to Hilat Koko, a suburb of

Khartoum, where he met with representatives of AL QAEDA and the Sudanese army to

discuss the joint manufacture of chemical weapons. AL QAEDA and the Sudanese army

cooperated in efforts to mount chemical agents on artillery shells. AL QAEDA at this time

also began to experiment with biological warfare – injecting or gassing dogs with cyanide.

       65.      In 1993, AL QAEDA paid $210,000.00 for an airplane in Tucson, Arizona,

that was then flown to Khartoum, SUDAN. The funds were transferred to the United States

from an account at AL SHAMAL BANK. This plane was intended to transport American

stinger anti-aircraft missiles from Pakistan to SUDAN, although that missile transport did
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 120 of 243




not take place as the plane was damaged before the operation could take place.

       66.     Beginning in 1991 defendant HASSAN AL TURABI hosted annual

meetings of terrorist and militant groups from IRAQ, IRAN, Pakistan, Algeria and Tunisia,

as well as Palestinian Islamic Jihad and Hamas. These meetings named the Pan Arab

Islamic Conference included AL QAEDA. During the time that AL QAEDA was based in

SUDAN, it also forged alliances with EGYPTIAN ISLAMIC JIHAD and other global

jihad groups in becoming an international sponsor of terrorism.

       67.     SUDAN, HASSAN AL TURABI, and OMAR HASSAN AHMED AL

BASHIR under pressure from the United States, the United Nations and others, finally

expelled OSAMA BIN LADEN from SUDAN in 1996, but allowed him to relocate and

regroup in Afghanistan.

       68.     Even after BIN LADEN left SUDAN, AL QAEDA maintained operations

in SUDAN. According to the US Department of State, “bin Ladin reportedly has made

numerous surreptitious return trips to Sudan.”

       69.     According to the US State Department’s annual report, Pattern of Global

Terrorism, right up to September 11, 2001 SUDAN allowed AL QAEDA to provide

financial and logistical support from its Sudanese base to other AL QAEDA cells

worldwide.

       70.     SUDAN also provided other help to AL QAEDA after BIN LADEN had

relocated to Afghanistan. According to the Canadian Intelligence Service, in a 1998

meeting with AL QAEDA #2 official, AYMAN AL ZAWAHIRI, SUDAN government

officials agreed to use their embassies in western capitals to act as fund raisers for AL

QAEDA and to provide passports to AL QAEDA to further AL QAEDA’s terrorist agenda.
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 121 of 243




       71.     Islamic African Relief Agency a/k/a “IARA”, a charity based in Khartoum

with fund raising subsidiaries in many countries including the United States, has long

supported AL QAEDA and BIN LADEN. IARA had very close ties to the NATIONAL

ISLAMIC FRONT and the Government of SUDAN. Senior members of AL QAEDA were

also officers of IARA. IARA’s office in Dublin, Ireland was raided in 2001 and evidence

was found demonstrating a financial link to MUSTAFA AHMED AL HASAWI. AL

HASAWI was a major source of funds for the 9/11 hijackers during their stay in the United

States in 2000 and 2001. IARA has been listed as a Specially Designated Global Terrorist

by the US Department of the Treasury.

       72.     The SUDAN continues to be one of the governments that the United States

has designated as a State sponsor of international terrorism. SUDAN serves as a safe-haven

for members of AL QAEDA, the Lebanese-Iranian Hezbollah, Egyptian Al-Gama’a Al-

Islamiyya, EGYPTIAN ISLAMIC JIHAD, the Palestine Islamic Jihad, and Hamas and

continued to provide financial support to AL QAEDA through September 11, 2001.

Defendants SUDAN, HASSAN AL TURABI, OMAR HASSAN AHMED AL BASHIR,

and the NATIONAL ISLAMIC FRONT, knowingly provided resources and expertise to AL

QAEDA and OSAMA BIN LADEN to carry out terrorist attacks against Americans,

including the attacks on September 11, 2001..

       73.     AL QAEDA operative Jamal Al Fadl testified that his terrorist activities were

greatly aided by Sudanese intelligence and by other Sudanese officials. He also testified

that AL QAEDA members were granted Sudanese passports and diplomatic privileges by

the government. Such material support constitutes the sponsoring of international terrorism.

       74.     These facts fall under the scope of the 1999 International Convention for the
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 122 of 243




Suppression of the Financing of Terrorism, signed by SUDAN on February 29, 2000, and

entered in force on April 10, 2002. THE REPUBLIC OF SUDAN’s course of conduct

contradicts the General Assembly Resolution 51/210 of December 17, 1996 calling upon

the States to “prevent and counteract . . . the financing of terrorists and terrorist

organizations, whether such financing is direct or indirect,” the United Nations Security

Council Resolution 1373 of September 28, 2001 and the United Nations Security Council

Resolution 1269 of October 19, 1999, calling upon all States to “prevent and suppress in

their territories through all lawful means the preparation and financing of any acts of

terrorism.”

                The Agencies and Instrumentalities of the Republic of Sudan

       75.     As described above, SUDAN acted through its officials, officers, agents,

employees and instrumentalities in aiding, abetting, and providing material support and

resources to OSAMA BIN LADEN, AL QAEDA and international terrorism. The support

provided by the REPUBLIC OF SUDAN to OSAMA BIN LADEN and AL QAEDA

assisted in, or contributed to, the preparation and execution of plans that culminated in the

attacks on September 11, 2001 and to the damages to the Plaintiffs herein.

       76.     Lieutenant General OMAR HASSAN AHMAD AL BASHIR is the

President of SUDAN, and is an instrumentality of SUDAN for the purposes of liability and

damages under the Foreign Sovereign Immunities Act. As head of SUDAN, Lieutenant

General OMAR HASSAN AHMAD AL BASHIR is responsible for formulating and

executing SUDAN’s policy of supporting terrorism and OSAMA BIN LADEN and AL

QAEDA .

                                            IRAN
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 123 of 243




       77.     Powerful government officials in IRAN provided long-term assistance to

OSAMA BIN LADEN and his army of allied Islamists. IRAN’s support enabled BIN

LADEN to maintain a steady course of violent activities against America and American

interests culminating on September 11, 2001.

       78.     In 1996 when OSAMA BIN LADEN left the SUDAN and enjoyed sanctuary

in largely TALIBAN controlled Afghanistan, he notably maintained a relationship with the

Iranian-supported TALIBAN opposition leader, defendant GULBUDDIN HEKMATYAR.

BIN LADEN and HEKMATYAR met in the 1980s while the Afghani HEKMATYAR was

leading Hezb-e-Islami, a Pakistan-based group fighting the Soviet occupation of

Afghanistan. Their cooperative relationship lasted over a decade.

       79.     In the mid nineties this cooperation consisted of joint training camps and

drug smuggling operations in Afghanistan that provided funding for both Hezb-e-Islami and

AL QAEDA.

       80.     In the mid nineties, IRAN as a Shia Muslim nation was actively competing

with Saudi Arabia for influence in the fledgling Islamic nation of Afghanistan. At the same

time IRAN was competing with Afghanistan to be the site of a planned gas pipeline from

Central Asia to the Caspian Sea.

       81.     According to a September 26, 2002 interview with Salauddin Safi, a military

commander under HEKMATYAR living in Pakistan, IRAN “is helping with money and

weapons,” for suicide attacks on Americans in Afghanistan. Safi explained the relationship

between IRAN and HEKMATYAR saying, “IRAN needs HEKMATYAR because IRAN

is an enemy of the United States and HEKMATYAR is too.”

       82.     In addition to HEKMATYAR, BIN LADEN maintained associations with
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 124 of 243




other terrorists sponsored by IRAN. The International Policy Institute for Counter

Terrorism reports that in 1995 and 1996, BIN LADEN approached IRAN’S MINISTRY OF

INTELLIGENCE AND SECURITY (MOIS) and offered to join forces against America.

This was followed by a number of meetings between BIN LADEN, operatives from IRAN

and leaders of the government of IRAN’s proxy army, Hezbollah. BIN LADEN met with

Imad Mughniyeh, Hezbollah’s director of operations at a meeting sponsored by the Iranian

MOIS in IRAN in 1996, but it was not the first or only meeting between those two

terrorists.

        83.    A witness at the United States Federal court trial in New York against some

of the United States Embassy terrorist bombers reported that contacts between BIN LADEN

and Mughniyeh began before BIN LADEN even left the SUDAN in 1996. The former AL

QAEDA member, Ali Mohammed testified,

               I arranged security for a meeting in the SUDAN between
               Mughniyeh, Hezbollah’s chief, and Bin Laden.

               Hezbollah provided explosives training for al-Qaeda and al-
               JihadÿIran also used Hezbollah to supply explosives that
               were disguised to look like rocks.

        84.    In June 1996 IRAN hosted a meeting of international terrorists. At this

meeting, a “Committee Of Three” was created to preside over an International Hezbollah

. Leading the committee were Imad Mughniyeh, BIN LADEN and Ahmad Salah (Salim),

of the EGYPTIAN ISLAMIC JIHAD. An Iranian leader, MAHDI CHAMRAN SAVEHI,

would direct the committee’s work in sponsoring terrorist attacks against the United States

and others.

        85.    At an October 1997 meeting between terrorist organizations and high-level
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 125 of 243




officials from IRAN, including GENERAL MOHSEN REZA’I, former commander of the

ISLAMIC REVOLUTIONARY GUARD CORPS (IRGC); GENERAL YAHYA RAHIM

SAFAVI, head of the IRGC; QORBAN ALI NAJAF-ABADI, Information Minister; former

minister ALI FALAHYAN; MOHAMMED MOHAMMADI RAYSHAHRI, special adviser

to IRAN’s supreme leader ALI KHAMENEI; and HOSEYN SHAYKH OL-ESLAM,

former assistant foreign minister, plans were made to increase support of anti U.S.

terrorism. The report stated:

        “Reza’i informed the participants that IRAN would double the amount of
       material and logistical support for those organizations engaged in
       defending the revolution.”


“Defending the revolution” is a rallying cry for acts of violence against the west.

       86.     On September 14, 1998, the U.S. requested from Germany the extradition

of AL QAEDA member Mamdouh Mahmud Salim, and stated that during the period 1992-

1996, while BIN LADEN lived in SUDAN, AL QAEDA and the Sudanese government

worked closely together on training and arming terrorists. According to the FBI, AL

QAEDA “agreed to put aside its differences with Shi’a Muslim terrorist organizations,

including the Government of IRAN and its affiliated terrorist group Hezbollah, to cooperate

against the perceived common enemy, the United States and its allies.”

       87.     In 1998, prior to the bombings of the U.S. embassies in East Africa, a

representative of BIN LADEN reportedly met again with an official of IRAN in order to

establish an “anti-U.S. alliance.” By this time, communication between OSAMA BIN

LADEN and Iranians was regular and frequent. 10% of the calls made from BIN LADEN’s

satellite phone were to IRAN.
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 126 of 243




        88.      Running parallel to their interest in anti-American activities, BIN LADEN

and IRAN were active in promoting an Islamic government in Albania and Kosovo.

According to the Times of London in February 1998, BIN LADEN and the IRANIAN

REVOLUTIONARY GUARDS signed a pact consolidating their operations in Albania and

Kosovo. They created financial support networks by setting up banks and humanitarian

organizations.

        89.      MOHAMED ZARQAWI founded a terrorist group called Al Tawhid and he

assisted a hundred or more AL QAEDA fighters who were fleeing Afghanistan by arranging

for funds, passports, escape routes (sometimes through IRAN) and sanctuary. Defense

Secretary Donald Rumsfield confirmed the flight of AL QAEDA members to or through

IRAN.

        90.      According to the 9/11 Commission Report, 8 to 10 of the ‘muscle hijackers’

traveled in or out of IRAN on their way to or from Afghanistan between October 2000 and

February 2001. Senior Hezbollah operatives were often on the same flights. Defendant

BINALSHIBH, a key organizer of the Hamburg cell, also traveled to Afghanistan to help

further the planning for the 9/11 attacks via Tehran.

        91.      After the September 11 attacks, IRAN provided an escape route for two

Egyptian AL QAEDA members on the FBI’s most wanted list, SAIF AL ADEL and

Mahfouz Walad Al Walid. Additionally, American intelligence reports that AL ADEL and

top AL QAEDA leader Mahfouz Walad Al Walid, were in Eastern IRAN where, the

Washington Post reported they might be planning further AL QAEDA operations.

        92.      Haji Mohamad Akram, a captured BIN LADEN aide told an interviewer

from the Christian Science Monitor that BIN LADEN fled Afghanistan to IRAN in
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 127 of 243




November 2001. Akram said that at the time, BIN LADEN had offers of sanctuary from

IRAQ and from IRAN. Akram claimed that IRAN distributed money to AL QAEDA for

distribution to terrorist soldiers and that he himself had received the equivalent of $1400.

       93.     Other AL QAEDA terrorists have been located in a dozen camps around

Tehran that serve as underground railroads for terrorists and their families en route through

IRAN for Beirut and Syria as well as a route for the smuggling of AL QAEDA and

Hezbollah assets, gold and diamonds from Pakistan to SUDAN.

       94.     A U.S. government report in 2000, Patterns of Global Terrorism alleged that

IRAN remained the most active state sponsor of terrorism.”

                Its Revolutionary Guard Corps (IRGC) and Ministry of
               Intelligence and Security (MOIS) continued to be involved in
               the planning and the execution of terrorist acts and
               continued to support a variety of groups that use terrorism
               to pursue their goals.

       95.     IRAN’S pattern of support to terrorism has been ongoing for many years.

Indeed, by providing training, facilities, planning, logistics, escape routes and leadership,

IRAN enabled BIN LADEN’s army to carry out acts of terrorism it otherwise would be

incapable of accomplishing. Likewise, without terrorists like BIN LADEN and Hezbollah,

IRAN would lose a most effective weapon against the United States and the West.

                                       IRAQ

       96.     Since the early 1990s, IRAQ has used both Iraqi agents and independent

“contractors” to commit terrorist acts against the United States in revenge for IRAQ ’s Gulf

War defeat. AL QAEDA was an Iraqi partner in terror.

       97.     While AL QAEDA’s presence was growing in the SUDAN in 1992, the

Government of IRAQ also had close ties with the Sudanese government. HASSAN AL
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 128 of 243




TURABI has often boasted of his frequent contact with and immense respect for, SADDAM

HUSSEIN. SUDAN supported IRAQ during the Gulf War and allowed IRAQ to establish

a major Iraqi intelligence center in the SUDAN. During the time that AL QAEDA was in

SUDAN, IRAQ brought 35 intelligence officers to the SUDAN to establish a base for Iraqi

operations.

       98.     During the early 1990s, HASSAN AL TURABI arranged meetings between

BIN-LADEN and Iraqi Intelligence officials. BIN LADEN met with FARUQ AL HIJAZI,

an Iraqi Intelligence agent in the SUDAN who would later head Iraqi Intelligence for

SADDAM HUSSEIN. BIN LADEN again met with Iraqi Intelligence officers in 1994 and

1995 in the SUDAN.

       99.     During his time in SUDAN, BIN LADEN became interested in using Iraqi

chemical and biological weapons and explored plans to use crop dusting aircraft to disperse

toxins as the Iraqi military had done earlier in Kurdistan.

       100.    AYMAN AL ZAWAHIRI met with Iraqi agents in Baghdad, over several

days in 1992. An Iraqi serving with the TALIBAN who fled Afghanistan in the fall of

2001, was captured in Kurdistan and has corroborated this meeting and confirmed that Iraqi

contacts with AL QAEDA began in 1992.

       101.    In February 1997, BIN LADEN publicly expressed his support for IRAQ in

its conflict with the United States stating:

               The hearts of the Muslims are filled with hatred towards the
               United States of America and the American president for
               American conduct towards IRAQ.




                                                128
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 129 of 243




       102.    In their February 22, 1998 fatwas, BIN LADEN and AL QAEDA expressly

referenced the United States’ “continuing aggression” towards IRAQ as one of their reasons

for calling on all Muslims to kill Americans “wherever and whenever” they are found:

                The best proof of this is the Americans’ continuing aggression
       against the Iraqi people using the [Arabian] Peninsula as a staging post,
       even though all its rulers are against their territories being used to that end,
       still they are helpless.

The BIN LADEN and AL QAEDA fatwas also cited the alleged “great devastation inflicted

on the Iraqi people” by the United States, as well as the United States alleged “eagerness

to destroy Iraq.”

       103.    Iraqi intelligence officials met with BIN LADEN in Afghanistan several

more times. A second group of BIN LADEN and AL QAEDA operatives from Saudi

Arabia were then trained by Iraqi intelligence in IRAQ to smuggle weapons and explosives

into Saudi Arabia and other countries, which they later accomplished in an effort to carry

out future terrorist acts of violence. A third group of BIN LADEN and AL QAEDA

operatives received a month of sophisticated guerrilla operations training from Iraqi

intelligence officials later in the Summer of 1998.

       104.    Despite philosophical and religious differences with SADDAM HUSSEIN,

BIN LADEN continually sought to strengthen and reinforce the support he and AL QAEDA

received from IRAQ. In mid-July 1998, BIN LADEN sent Dr. AYMAN AL ZAWAHIRI,

the Egyptian co-founder of AL QAEDA, to IRAQ to meet with senior Iraqi officials,

including Iraqi vice president TAHA YASSIN RAMADAN. Upon information and belief,

the purpose of this meeting was to discuss and plan a joint strategy for a terrorist campaign



                                                 129
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 130 of 243




against the United States.

       105.    On January 22, 2001, the Arab language newspaper Al Wotan Al Arabi,

reported that SADDAM HUSSEIN and his sons had called for an Arab alliance to “launch

a global terrorist war against the United States and its allies.” The newspaper characterized

HUSSEIN’s statement as calling for an uncompromising campaign and “scorched earth

policy.”

       106.    Upon information and belief, Iraqi news columnist Naeem Abd Mulhalhal

has been connected with Iraqi Intelligence since the early 1980s. He comments on matters

of Iraqi political interest for the Al Nasiriyah newspaper, a weekly paper published in the

provincial capital city of Al Nasiriyah. On September 1, 2001 he was honored for his

“documentation of important events and heroic deeds that proud Iraqis have accomplished"

and praised by SADDAM HUSSEIN.

       107.    On July 21, approximately six weeks before the September 11th attacks, Iraqi

columnist Mulhalhal reported that BIN LADEN was making plans to “demolish the

Pentagon after he destroys the White House.”

       108.    Mulhalhal’s July 21 article further informed that BIN LADEN would strike

America “on the arm that is already hurting.” Upon information and belief, this references

the 1993 attack on the World Trade Center. This interpretation is further bolstered by

another reference to New York as “[Bin Laden] will curse the memory of Frank Sinatra

every time he hears his songs.” (e.g., “New York, New York”) identifying New York, New

York as a target.




                                                130
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 131 of 243




       109.    Mulhalhal further indicated, “The wings of a dove and the bullet are all but

one and the same in the heart of a believer.” This appears to be a reference to the use of

commercial aircraft as a weapon. The information was reported in an Iraqi newspaper

whose editor-in-chief serves as secretary to Uday Hussein’s Iraqi Syndicate of Journalists.

Uday Hussein is the son of SADDAM HUSSEIN. The article expressed Iraqi admiration

and support for BIN LADEN’s plans and its appearance in the newspaper would clearly

have to be endorsed by SADDAM HUSSEIN himself.



                                  THE 1993 WTC BOMBING

       110.    On February 26, 1993 a bomb was detonated in the World Trade Center

underground parking lot, killing six U.S. citizens. The 1993 WTC bombing, took place on

the Friday before the two year anniversary of IRAQ’s defeat in Kuwait, which was February

28, 1991. The anniversary in 1993, was a Sunday and few people would have been working

at the World Trade Center that day; and the terrorists wanted to maximize the number of

American casualties.

       111.    During the initial planning of the WTC bombing, Mohammed Salameh (who

was later convicted for his role in the bombing) was in regular and frequent contact with his

uncle Kadri Abu Bakr, who lived in IRAQ and had been a member of a PLO faction allied

with SADDAM HUSSEIN. Shortly after these calls, the mastermind of the bombing,

Ramzi Ahmed Yousef a/k/a Abdul Basit, traveled to the United States using identification

documents obtained in Kuwait during the Iraqi occupation of that country in 1991.




                                                131
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 132 of 243




       112.    Ramzi Yousef arrived in New York on September 1, 1992 using an Iraqi

passport and requesting asylum. While in New York, Yousef led the team which

constructed the bomb used in the attack. In fleeing the United States after the bombing,

Yousef first traveled through Baluchistan, an uncontrolled region straddling the border of

IRAN and Pakistan. By the following year, 1994, Yousef was living in the Phillippines.



       113.    He left the Phillippines however, after authorities discovered a plan he was

working on to bomb United States’ airliners. Yousef fled to Pakistan. He was arrested in

February 1995 in Pakistan while being sheltered at an AL QAEDA guesthouse. Yousef was

extradited to the U.S. for prosecution and was eventually convicted in the 1993 World

Trade Center bombing conspiracy. Following his arrest, Yousef told U.S. investigators that

his intent was to create an explosion that would cause one of the World Trade Center

Towers to fall over onto the other, destroying both and causing massive casualties.

        114.   During the worldwide hunt for fugitive Yousef, he was living in the

Phillippines with KHALID SHEIKH MOHAMMED. KHALID SHEIKH MOHAMMED’s

involvement in terror activities became known when law enforcement authorities

interrupted a plot to blow up a dozen U.S. commercial airliners flying to the United States

from Asian cities. Philippines authorities found chemicals, bomb making instructions and

timing devices in the apartment and they seized those items along with a computer

containing the details of the airliner bombing plans. MOHAMMED and Yousef fled the

country, before they could be arrested.




                                               132
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 133 of 243




       115.    MOHAMMED eventually found sanctuary in Doha, Qatar. In early 1996,

MOHAMMED was visited in Qatar by BIN LADEN. Around the same time, FBI director,

Louis Freeh, wrote to the Qatari government requesting that it surrender MOHAMMED to

U.S. authorities. Not long after the FBI request, with the assistance of Qatari officials,

MOHAMMED fled to Prague, Czech Republic, foiling U.S. attempts to arrest him.

       116.    MOHAMMED’s whereabouts after his escape to Prague in May 1996 were

not known until his capture in Pakistan in March 2003, but documents and AL QAEDA

members captured in Afghanistan identified MOHAMMED as a leader in the AL QAEDA

terror network and actively involved in the planning, logistics and financing of the

September 11th attacks. MOHAMMED is a close associate of ABU ZUBAYDAH, a top

BIN LADEN associate who was fully aware of the targets of the September 11th hijackers.

       117.    Abdul Rahman Yasin was born in the United States to Iraqi parents and

raised in IRAQ. Within days of the 1993 bombing he was questioned in New York and

New Jersey in connection with the World Trade Center bombing, but was released after

appearing to cooperate with U.S. officials. He fled the country the next day and traveled

to Baghdad, IRAQ. U.S. prosecutors later learned that he, along with others, had prior

training in bomb making, and had mixed the chemicals and constructed the bomb that was

used in the World Trade Center. Iraqi intelligence knew of Yasin’s presence in IRAQ and

provided him refuge. On August 4, 1993 Yasin was indicted in absentia for the World

Trade Center bombing.

       118.     In June 1994 Yasin was seen in Baghdad by an ABC news correspondent




                                              133
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 134 of 243




who was told that Yasin worked for the Iraqi government. U.S. law enforcement officials

confirmed that fugitive Yasin has been sheltered in IRAQ, a continuing violation of United

Nationals Security Council Resolution 687 which makes it unlawful to harbor a suspected

terrorist. In June 2002, Yasin was interviewed in Baghdad by Leslie Stahl from CBS.

                                         SOMALIA

       119.    In 1992 and 1993, AL QAEDA trained terrorists in Somalia and from

nearby SUDAN attempted to incite an Islamic jihad against U.S. military forces stationed

in Mogadishu, Somalia by working with Somali warlord, General Farah Adid. BIN

LADEN issued a fatwas urging Muslims to attack the U.S. and U.N. military forces

stationed there during Operation Restore Hope. BIN LADEN, MUHAMMAD ATEF,

SAIF AL ADEL, along with Abu Ubaidah Al Banshiri, provided weapons, military training

and assistance to the Somali tribes working for Adid who were opposed to the U.N.

intervention in Somalia and urged them to attack U.S. military personnel. On October 3 and

4, 1993, these forces did attack U.S. military personnel in Mogadishu and killed 18 U.S.

servicemen.

                             AL QAEDA during 1994-1996

       120.    In 1994, AL QAEDA member Mohamed Sadeek Odeh and others

established a cell in Nairobi and Mombasa, Kenya and followed BIN LADEN’s SUDAN

model by setting up seemingly legitimate businesses and aid organizations to facilitate their

terrorist mission. These businesses and aid organizations included, but were not limited to,

the Asthma, Ltd., Tanzanite King and the Help African People organization. MOHAMED




                                                134
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 135 of 243




ATEF, Khalid Al Fawaz, WADIH EL HAGE, Fahid Mohammed Ally Msalam, Anas Al

Liby and Ali Mohamed spent considerable time in Kenya from 1993 through August 1998

solidifying this AL QAEDA cell.

       121.    In or about 1994, BIN LADEN, working together with Khalid Al Fawaz, set

up a media information office in London, England hereafter the ("London office"), which

was designed both to publicize BIN LADEN’s statements and to provide a cover for activity

in support of AL QAEDA's "military" activities, including the recruitment of trainees, the

disbursement of funds and the procurement of equipment and services. In addition, the

London office served as a communication center for reports on military, security and other

matters from various AL QAEDA cells to AL QAEDA’s headquarters.

       122.    In November 1995, upon information and belief, AL QAEDA terrorists

conspired with IRANIAN INTELLIGENCE and with the Hezbollah to bomb the Khobar

Towers in Saudi Arabia, killing five U.S. servicemen. Fearing further attacks by BIN

LADEN and AL QAEDA, some Saudi government officials and businessmen agreed to

provide financial support to AL QAEDA and to continue funneling millions of dollars to

charities that would then forward the money to AL QAEDA.



                               RETURN TO AFGHANISTAN

       123.    In 1996, BIN LADEN was asked to leave the SUDAN by Sudanese officials

pressured by the United States and the United Nations to crack down on terrorism. BIN

LADEN returned to Afghanistan after the TALIBAN had seized control of most of that




                                              135
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 136 of 243




country.   BIN LADEN and Defendant MULLAH OMAR developed a very close

relationship.

       124.     From 1996 until 2001, BIN LADEN with the financial and logistical support

of MULLAH OMAR, the TALIBAN and governments, individuals, companies, and

charities outside of Afghanistan, created, supplied and operated at least five training camps

in order to form an “Islamic Foreign Legion” capable of attacking enemies throughout the

world. These camps trained men from at least 15 nations in guerrilla warfare, terrorist

activities, rocket warfare, demolition and bombing, including the use of mines, grenades,

TNT, nitroglycerine and plastic explosives. Classes were also given in “how to kill a

policeman” and “traps, murder and terrorist moves.” The 9/11 Commission notes that BIN

LADEN and AL QAEDA received financial backing from the ‘Golden Chain’ a group of

wealthy Saudi and other Gulf businessmen, to re-establish themselves in Afghanistan.

       125.     On August 23, 1996, a strengthened BIN LADEN issued a fatwas declaring

a jihad against Americans present in Muslim lands. The message was disseminated

throughout all AL QAEDA cells and associated terrorist groups, such as the EGYPTIAN

ISLAMIC JIHAD. The London AL QAEDA cell, run by Khalid Al Fawaz under the name

Advice and Reformation Committee, and the Egyptian cell, run by AL ZAWAHIRI and

Abdel Bari, were used to send the fatwas to Muslims living in the Western World. WADIH

EL HAGE was also used by BIN LADEN to deliver messages, money and terrorist material

to AL QAEDA operatives in the U.S. and U.K. In his fatwas BIN LADEN said to the US;

“Terrorizing you, while you are carrying arms on our land, is a legitimate and morally




                                                136
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 137 of 243




demanded duty.”


                              U.S. EMBASSY BOMBINGS

       125.    On February 22, 1998, BIN LADEN, Khalid Al Fawwaz and AYMAN AL

ZAWAHIRI of the EGYPTIAN ISLAMIC JIHAD issued a fatwas published in the Arabic

newspaper Al-Quds stating:

               The ruling to kill the Americans and their allies - civilians
               and military - is an individual duty for every Muslim who
               can do it in any country in which it is possible to do it. . . .

       126.    After years of preparation, by July and early August 1998, AL QAEDA

personnel were stationed in Dar es Salaam, Tanzania and Nairobi, Kenya. They purchased

trucks and outfitted them with oxygen, acetylene tanks, TNT, batteries, detonators, fertilizer

and sand bags, creating massive bombs to be driven into the U.S. Embassies. Participants

in the bombings had been with BIN LADEN since the early 1990s and BIN LADEN’s days

in the SUDAN.

       127.    On July 30, 1998, IRAQ warned it would take action unless the United

Nations embargo was lifted. IRAQ blamed the United States for the United Nations

embargo. On August 4, 1998, IRAQ refused to cooperate with the United Nations weapons

inspectors in IRAQ and talks for a resolution of the crisis collapsed, causing U.N. inspectors

to leave.

       128.    Three days later, on August 7, 1998, at approximately 10:30 a.m., an

individual known as Azzam drove a Toyota Dyna truck (outfitted similarly to the Nissan

Atlas truck in Dar Es Salaam) to the U.S. Embassy in Nairobi, Kenya and detonated a large



                                                 137
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 138 of 243




bomb damaging the Embassy and demolishing a nearby Secretarial College building and

Cooperative Bank building, resulting in the more than 213 deaths (12 Americans) and

injuries to more than 4,500 people.

       129.    On August 7, 1998 at approximately 10:40 a.m., ten minutes after the

bombing in Kenya, Khalfan Khamis Mohamed and Ahmed the German detonated the Dar

Es Salaam bomb in the vicinity of the U.S. Embassy in Dar Es Salaam, Tanzania severely

damaging the Embassy building and resulting in the death of 11 people and injuries to more

than 85 people.

       130.    On August 7, 1998 shortly before the bombing, an AL QAEDA member in

London, sent a letter to news organizations in Paris, Doha, and Dubai claiming

responsibility for the Embassy bombings.

       131.    At the trial in New York of some of the U.S. Embassy bombers, defendants

cited the poor living conditions in IRAQ. They blamed those conditions on the U.S.- U.N.

sanctions, and used it as motivation and explanation for the AL QAEDA attacks on the

Embassies.

                      THE 1998 U.S. AIR STRIKES ON AL QAEDA

       132.    On August 20, 1998, the United States initiated a retaliatory air strike with

cruise missiles on AL QAEDA training camps in Khost, Afghanistan and a factory in

Khartoum, SUDAN, believed to be a chemical weapons plant used by the Sudanese and

Iraqi governments to manufacture weapons for their use and that of AL QAEDA.

       133.    On August 20, 1998 President Clinton issued a statement on the air strike




                                               138
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 139 of 243




               Our target was terror . . . our mission was clear to strike at
               the network of radical groups affiliated with and funded by
               BIN LADEN, perhaps the preeminent organizer and
               financier of international terrorism in the world today.


       134.    In December 1998, after a stand off between the U.N. and IRAQ and a

discovery of weapons violations in IRAQ, the U.S. led U.N. allies in a four-day air strike

on IRAQ. Iraqi Trade Minister Muhammad Mahdi Salah then stated that he expected

terrorist activities against the United States to increase as a result of the bombing of IRAQ.

The Arabic language daily newspaper Al-Quds Al-Arabi, about which the US Government

says, “tends to be sympathetic to Bin Laden,” cited the cooperation between IRAQ, BIN

LADEN and AL QAEDA in a late December 1998 editorial, which predicted;

               President Saddam Hussein, whose country was subjected to
               a four day air strike, will look for support in taking revenge
               on the United States and Britain by cooperating with Saudi
               oppositionist Osama Bin-Laden, whom the United States
               considers to be the most wanted person in the world.

The editorial noted that this type of cooperation was already taking place, considering that

“Bin-Laden was planning on moving to IRAQ before the recent strike.”

       135.    Following the December 1998 air strikes on IRAQ, SADDAM HUSSEIN

dispatched FARUQ AL HIJAZI to Kandahar, Afghanistan in order to meet with BIN

LADEN and plot their revenge.

       136.    To demonstrate IRAQ’s commitment to BIN LADEN and AL QAEDA,

HIJAZI presented BIN LADEN with a pack of blank, official Yemeni passports, supplied

to Iraqi Intelligence from their Yemeni contacts. HIJAZI’s visit to Kandahar was followed




                                                139
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 140 of 243




by a contingent of Iraqi Intelligence officials who provided additional training and

instruction to BIN LADEN and AL QAEDA operatives in Afghanistan.

                                   MILLENNIUM PLOT

       137.   On December 14, 1999, Ahmed Ressam, an AL QAEDA operative, was

arrested while driving a truck from Canada into the United States at Port Angeles,

Washington. The truck was loaded with bomb making materials and detonators. Ressam

later confessed to, and was convicted of conducting an AL QAEDA plan to detonate a large

bomb at Los Angeles International Airport on New Year’s Day 2000. AL QAEDA terrorist

Mahfouz Walad Al Walid was identified as orchestrating the so called “Millennium Plot.”

                             ATTACK ON U.S.S. COLE

       138.   On October 12, 2000, members of AL QAEDA carried out their plan to

bomb the U.S.S. Cole by ramming a small boat loaded with explosives into the side of the

ship as it was anchored in the harbor at Aden, Yemen, resulting in the deaths of 17

American sailors and injuring an additional 39.

       139.   The Yemeni government investigation reported that the terrorists behind the

attack were extremists who fought the Soviets in the Afghan War and who were tied to the

EGYPTIAN ISLAMIC JIHAD and AL QAEDA and who were trained in Afghanistan.

Four were arrested in Yemen.

       140.   On June 20, 2001, in a videotape released to the press, BIN LADEN appears

to boast that his followers bombed the U.S.S. Cole. The 100-minute tape depicts BIN

LADEN, wearing a Yemeni dagger on his belt and reciting a poem to show that he and AL




                                              140
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 141 of 243




QAEDA were not afraid of attacking the United States military:

               And in Aden, they charged and destroyed a destroyer that
               fearsome people fear, one that evokes horror when it docks
               and when it sails.

Video of the damaged destroyer was superimposed with the words in Arabic, “the

destruction of the American Destroyer Cole.”

       141.    AL QAEDA leader ABD AL RAHIM AL NASHIRI, the network’s

operations chief in the Persian Gulf, was recently captured by United States officials. AL

NASHIRI is a known high level AL QAEDA operative who carried out spectacular acts of

international terrorism including the attack on the U.S.S. Cole in October 2000, the near-

simultaneous bombing of two U.S. embassies in Kenya and Tanzania. AL NASHIRI was

involved in the planning of other attacks for AL QAEDA some of which were foiled.



                   PREPARATION FOR SEPTEMBER 11TH ATTACKS

       142.    According to Czech intelligence sources, on June 2, 2000, MOHAMMAD

ATTA a pilot in training and the operational leader of the September 11, 2001 terrorist

attacks traveled to Prague to meet other co-conspirators. The following day, ATTA arrived

at Newark International Airport in the United States.

       143.    According to the FBI, from July 2000 through March 2001, ATTA,

SHEHHI, HANJOUR, JARRAH and HAMZI traveled to the U.S. where they resided and

took pilot courses to learn to fly the Boeing 747, 757, 767 and Airbus A320 in furtherance

of the AL QAEDA conspiracy to hijack U.S. aircraft to commit terrorist acts.




                                               141
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 142 of 243




       144.    Upon information and belief, sometime between April 8-11, 2001, ATTA

left Florida where he was a flight student, to again meet in Prague with Iraqi

INTELLIGENCE agent AHMED KHALIL IBRAHIM SAMIR AL ANI. Later in 2001, AL

ANI was expelled from the Czech Republic for espionage activities.

       145.    Sometime between April 23, 2001, and on or about June 29, 2001, SATAM

AL SUQAMI (Flt. 11), WALEED AL SHEHRI (Flt. 11), AHMED AL GHAMDI (Flt. 175),

MAJED MOQED (Flt. 77), AHMED AL NAMI (Flt. 93), HAMZA AL GHAMDI (Flt.

175), MOHAND AL SHEHRI (Flt. 175), WAIL AL SHEHRI (Flt. 11), AHMED AL

HAZNAWI (Flt. 93), and FAYEZ AHMED (Flt. 175), traveled from various points in the

world to the United States.

       146.    The FBI reported that in furtherance of his participation in the hijacking

conspiracy, ZACARIAS MOUSSAOUI purchased flight deck videos for the Boeing 747

on June 20, 2001 and took a three day Boeing 747 simulator course in Minneapolis,

Minnesota on August 13-15, 2001. He also purchased two knives in Oklahoma City,

Oklahoma on August 3, 2001.       MOUSSAOUI received approximately $14,000 from

RAMZI BINALSHIBH on August 1-3, 2001.

       147.    U.S. government officials reported that in the summer of 2001, FAYEZ

AHMED (Flt. 175), SAEED ALGHAMDI (Flt. 93), HAMZA AL GHAMDI (Flt. 175),

WALEED AL SHEHRI (Flt. 11), ZIAD JARRAH (Flt. 93), SATAM AL SUQAMI (Flt.

11), MOHAND AL SHEHRI (Flt. 175), AHMED AL GHAMDI (Flt. 93), and AHMED AL

HAZNAWI (Flt. 93) each opened a Florida Sun Trust Bank account with a cash deposit.




                                              142
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 143 of 243




These and other bank accounts were used by the 9/11 hijackers for living expenses, travel,

pilot training, weapons and other incidentals and served as places where AL QAEDA

operatives could wire money to support the terrorist conspiracy in the months and weeks

leading up to September 11, 2001.



                               SEPTEMBER 11TH ATTACKS

       148.    On September 11, 2001, defendants MOHAMMED ATTA, ABDUL ALZIZ

AL OMARI, WAIL AL SHEHRI, WALEED AL SHEHRI, and SATAM AL SUQAMI

hijacked American Airlines Flight 11 carrying 92 persons, bound from Boston to Los

Angeles, and at approximately 8:46 a.m., crashed it into the North Tower of the World

Trade Center in New York.

       149.    On September 11, 2001, defendants MARWAN AL SHEHHI, FAYEZ

AHMED, AHMED AL GHAMDI, HAMZA AL GHAMDI, and MOHAND AL SHEHRI

hijacked United Airlines Flight 175 carrying 65 persons, bound from Boston to Los

Angeles, and at approximately 9:02 a.m., crashed it into the South Tower of the World

Trade Center in New York.

       150.    On September 11, 2001, defendants KHALID AL MIHDHAR, NAWAF AL

HAZMI, HANI HANJOUR, SALEM AL HAZMI, and MAJED MOQED hijacked

American Airlines Flight 77 carrying 64 persons, bound from Virginia to Los Angeles, and

at approximately 9:37 a.m., crashed it into the Pentagon.

       151.    On September 11, 2001, defendants ZIAD JARRAH, AHMED AL




                                              143
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 144 of 243




HAZNAWI, SAEED AL GHAMDI, and AHMED AL NAMI hijacked United Airlines

Flight 93 carrying 45 persons, bound from Newark to San Francisco with the intention of

crashing it into a target in Washington, D.C., such as the White House or the Capitol. At

approximately 10:10 a.m, because of the heroic intervention of Flight 93's passengers, the

aircraft crashed into a field in Shanksville, Pennsylvania.

       152.    At approximately 9:50 a.m., the South Tower of the World Trade Center

collapsed; at approximately 10:29 a.m., the North Tower of the World Trade Center

collapsed. Defendants intentionally caused the deaths of and injuries to thousands of

innocent persons.

       153.    The hijackings referenced above were the culmination of a conspiracy among

defendants to attack the United States and murder United States citizens.



                               POST SEPTEMBER 11TH

       154.    On two videotapes made by AL QAEDA in September and October 2001,

BIN LADEN took credit for the September 11th attacks and stated that the attacks went

better than expected.

       155.    SADDAM HUSSEIN is the only national leader in the world who publicly

praised the attacks and said that the United States of America deserved them. IRAQ has

offered sanctuary to BIN LADEN and TALIBAN leaders. Abu Zeinab Al Quarairy, an Iraqi

defector who was an officer in the Iraqi Intelligence and was familiar with its operations,

reported that when he learned about the World Trade Center attacks on September 11th, he




                                                144
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 145 of 243




turned to a friend and said, “That’s ours.”

       156.    ABU ZUBAYDAH was arrested in April 2002 in Pakistan near the border

of Afghanistan, along with other AL QAEDA members. Documents and other evidence

were found at the scene of the arrest that demonstrate AL QAEDA plans for past and future

terrorist activities. ABU ZUBAYDAH has made self-incriminating statements about his

high level role in AL QAEDA and his close connection to BIN LADEN. He has further

identified several high level AL QAEDA officers, including, but not limited to, KHALID

SHEIKH MOHAMMED.

       157.    On April 22, 2002 during a court appearance in the Eastern District of

Virginia, ZACARIAS MOUSSAOUI stated that his Court appointed lawyers had “no

understanding of terrorism, Muslims, Mujahideen,” that he wanted to “fight against the evil

force of the [U.S.] federal government” and called for the destruction of the United States

and Israel.

       158.    In September 2002, al Jazeera television ran an interview in which

KHALED SHEIKH MOHAMMED and RAMZI BINALSHIBH admitted                                  their

involvement in the 9/11 terrorist attacks.

                                HAMBURG AL QAEDA CELL

       159.    In August, 2005, a German court convicted MOUNIR EL MOTASSADEQ

(or “MOTASSADEQ”), of being an AL QAEDA member and as part of the Hamburg cell,

helping to prepare the September 11, 2001 terrorist attacks.

       160.    MOUNIR EL MOTASSADEQ is an AL QAEDA co-conspirator. His




                                               145
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 146 of 243




indictment was the first formal criminal charge brought by German authorities in connection

with the September 11, 2001 attacks. MOTASSADEQ was arrested in November of 2001

on evidence that he had access to the bank account of one of the suicide hijackers and

arranged wire transfers to hijackers while they were learning to fly in the United States.

       161.    When arrested in 2001, prosecutors said MOTASSADEQ was a close

associate of MOHAMED ATTA, a ringleader of the plot. In 1996, MOTASSADEQ was

one of the witnesses who signed Mr. ATTA's will. MOTASSADEQ managed the finances

of another hijacker, MARWAN AL SHEHHI, and that money was used to help AL

SHEHHI pay for his flight lessons in the United States and cover living expenses here.

According to the criminal indictment, these funds were used to support members of AL

QAEDA .

       162.    In July 2000, MOTASSADEQ traveled to Karachi, Pakistan for a ‘vacation.’

The Pakistanis later confirmed that he had been in the country at this time and that there

were indications that he had visited an AL QAEDA camp in Afghanistan.

       163.    The German investigation revealed that in summer of 1999 or earlier, a

group of Muslim students in Hamburg joined forces with the express goal of carrying out,

especially in the United States, a Holy War or Jihad, by means of international terror. The

group’s members included MOHAMMED ATTA, MARWAN YOUSEF MOHAMED

RASHED AL SHEHHI (or “SHEHHI”), ZIAD SAMIR JARRAH (or “JARRAH”),

RAMZI MOHAMMED ABDULLAH BINALSHIBH (a/k/a Ramzi Mohamed Abdallah

Omar), SAID BAHAJI, as well as MOUNIR EL MOTASSADEQ.




                                               146
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 147 of 243




       164.    Initially, the principal meeting point of the Hamburg cell was the apartment

rented by ATTA, BAHAJI and BINALSHIBH in Hamburg-Marburg, which temporarily

served as AL SHEHHI’s residence, too. EL MOTASSADEQ and JARRAH convened for

meetings of the group at this location. In September 1999, the apartment AL SHEHHI

rented nearby served as an alternative base of operations. In October of 1999, after AL

SHEHHI and ATTA moved into the second apartment, it also became the primary address

of EL MOTASSADEQ.

       165.    In October of 1999 or earlier, the group’s members finalized their terrorist

scheme, which called for the use of airplanes in “jihad” to kill as many “infidels” in the

United States as possible. In order to coordinate details and logistical support with the

responsible representatives of the international terrorism network, they resolved to travel

to Afghanistan in two groups.

       166.    In late November of 1999, the three hijackers (ATTA, AL SHEHHI and

JARRAH) and BINALSHIBH traveled to an AL QAEDA training camp. Aside from

providing training in military operations, the camps served to fuel radical extremist ideology

and foster an inner resolve among recruits to sacrifice their own lives fighting the “godless

enemies.” AL SHEHHI went back to Hamburg in early January 2000. JARRAH did not

return to Hamburg until late January. ATTA stayed in Afghanistan until late February and

BINALSHIBH re-entered Germany in March 2000.

       167.    In spring of 2000, a second group traveled to Afghanistan. EL

MOTASSADEQ flew from Hamburg to Karachi on May 22, 2000, and returned on August




                                                 147
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 148 of 243




1, 2000. In the meantime, he underwent military training in a camp near Kandahar,

Afghanistan.

       168.      In accordance with the plans for the attacks discussed in Afghanistan,

members of the Hamburg cell began making arrangements for pilot training in the United

States upon their return. Accordingly, in March 2000, ATTA contacted 31 flight schools

in the United States via email from Hamburg, inquiring about the possibilities and

conditions of flight training for two or three men from different Arab countries. On March

26, 2000, JARRAH signed an agreement to receive pilot training at the Florida Flight

Training Center in Venice, Florida, and on March 30, 2000, transferred the amount of 349

German Marks to the account of the flight school’s Munich representative.

       169.      On May 25, 2000, JARRAH applied for a United States entry visa, which

he received without difficulty, as ATTA had before him, on May 18, 2000. AL SHEHHI

had received his United States entry visa from the United States consulate in Dubai, United

Arab Emirates (U.A.E.), on January 10, 2000. All three terrorists had previously obtained

new passports.

       170.      Following their entry into the United States (AL SHEHHI arrived on May

29, 2000, ATTA on June 3, 2000), AL SHEHHI and ATTA opened a joint bank account

on July 18, 2000 with Sun Trust Bank in Venice, Florida, through which they obtained

financing and material support for their stay in the United States from backers within the

international terrorist network. On July 7, 2000, they started taking flight lessons together

at the flight school Hoffman Aviation in Venice, Florida. By December 21, 2000, they had




                                                148
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 149 of 243




successfully completed their training, receiving professional pilot licenses from the Federal

Aviation Administration.

       171.    ATTA and AL SHEHHI then put their acquired skills to the test on a Boeing

727 flight simulator at the Simulations Center in Opa-Locka, Florida, in December 2000,

and by taking several exercise flights at the Advanced Aviation Flight Training School in

Lawrenceville, Georgia, and at the flight school in Decatur, Georgia, in January and

February 2001, respectively.

       172.    JARRAH entered the United States on June 26, 2000, and, until January 13,

2001, underwent pilot training at the Florida Flight Training Center (F.F.T.C.) in Venice,

Florida, where he obtained a private pilot license. Between December 15, 2000, and January

5, 2001, he took flight lessons at the Aeroservice Aviation Center in Virginia Gardens,

Florida.

       173.    BINALSHIBH’s applications for a non-immigrant visa for the United States

were denied and he was unable to train in Florida with JARRAH..

       174.    To take BINALSHIBH’s place, Zakariya Essabar was to be sent to the

United States to undergo pilot training. Like ATTA, AL SHEHHI and JARRAH before him,

Essabar attempted to obscure his visit to Pakistan from U.S. authorities by obtaining a new

passport from the Moroccan embassy in Berlin on October 24, 2000. United States

authorities however, denied Essabar’s visa applications. His plan to become a suicide

hijacker could not be realized. Instead, ZACARIAS MOUSSAOUI (currently detained and

indicted in the United States for his involvement in the preparations for the attacks of




                                                149
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 150 of 243




September 11, 2001), traveled to the United States following an eight-week visit to

Pakistan, and enrolled in flight school. However, due to MOUSSAOUI’s arrest on August

17, 2001, he was not able to take part in the attack.

       175.    EL MOTASSADEQ and the other AL QAEDA co-conspirators who stayed

in Hamburg, remained involved in the preparing for the attacks. In particular, they were

responsible for ensuring that the terrorists and ZACARIAS MOUSSAOUI had sufficient

funds for their stay and training in the United States.

       176.    Several meetings were held for group members in Germany and Spain for

the purpose of coordinating those who remained in Hamburg and those who had traveled

to the United States. Accordingly, BINALSHIBH and JARRAH met on January 4, 2001,

in Bochum or Dusseldorf. Later, BINALSHIBH traveled to Berlin to meet ATTA, who had

arrived there no later than January 6, 2001, after spending time in Spain. ATTA returned

to the United States on January 10, 2001.          Another meeting between ATTA and

BINALSHIBH on July 17 or July 18, 2001, in Tarragona, Spain, served the purpose of

coordinating the exact times of the attacks.

       177.    EL MOTASSADEQ, together with BAHAJI, acted as the resident

administrator of the terror organization in Hamburg.          EL MOTASSADEQ’s chief

responsibility consisted of securing funding for the group’s terrorist activities. He made use

of AL SHEHHI’s bank account. EL MOTASSADEQ made sure that the account received

sizeable support payments from sources in the United Arab Emirates and elsewhere. He

also transferred tuition money to maintain the status of AL SHEHHI as a student. Shortly




                                                 150
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 151 of 243




before AL SHEHHI left for Afghanistan, in late November 1999, EL MOTASSADEQ

gained control over the AL SHEHHI’s bank account and bank card which he used to

transact financial and other personal business on behalf of AL SHEHHI and cover up the

latter’s absence.     EL MOTASSADEQ transferred funds from AL SHEHHI’s to

BINALSHIBH’s account which the latter passed on to AL SHEHHI in the United States,

this money was used to finance AL SHEHHI’s flight training. After AL SHEHHI left

Germany, several cash withdrawals were made to provide funding for the intended flight

training of BINALSHIBH and Essabar and to benefit other cell members.

       178.   Evidence recovered by the Spanish authorities shows that MUHAMMED

GALEB KALAJE ZOUAYDI, a Syrian born businessman, along with several associates

in Spain and Europe, funneled money from the Saudi-based company, Mushayt for Trading

Establishment (or “Mushayt”), through Spanish corporations to entities and individuals

known to be associated with the AL QAEDA terrorist organization in Europe.

       179.   According to Spanish authorities, Mushayt received funds and donations

from other companies and individuals in Saudi Arabia that were funneled to AL QAEDA

through Spain.      This fraudulent scheme provided material, financial support to the

GLOBAL RELIEF FOUNDATION in Spain, to Abdul Fattah Zammar and MAMOUN

DARKAZANLI in Germany, who maintained the bank accounts of hijacker MOHAMED

ATTA and other members of the Hamburg AL QAEDA cell.

       180.   Ghasoub Al Abrash Ghalyoun (a/k/a Abu Musab), an associate of

ZOUAYDI’s in Spain, was observed filming future targets of AL QAEDA in the United




                                              151
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 152 of 243




States. In his videotapes, Spanish authorities found pictures of the World Trade Center

taken on August 9, 1997.

       181.    Defendant ABDULLAH BIN ABDUL MUHSEN AL TURKI (or “AL

TURKI”) is the former rector of the University of Riyadh, former minister of Waqf and

Islamic Affairs until 2000, and advisor to KING FAHD. AL TURKI is also Secretary

General of the MUSLIM WORLD LEAGUE.

       182.    Defendant ABDULLAH BIN ABDUL MUHSEN AL TURKI is a counselor

to the government of Saudi Arabia and was in contact with AL QAEDA financier

ZOUAYDI. AL TURKI acted as Saudi Minister of Islamic Affairs for many years and was

in a position where he knew or should have known about the reach of international terrorism

and AL QAEDA. AL TURKI later became a shareholder in the front organization known

as Promociones which bought real estate but did no actual construction work, although

listing itself as a construction company. Instead, that company made direct payments to AL

QAEDA cells.

       183.    On October 10, 1999, AL TURKI and ZOUAYDI, a senior AL QAEDA

financier for Europe, agreed to participate as business partners in a construction project in

Madrid, Spain. A contract was written by ZOUAYDI’S Company in Spain stating that both

parties would finance 50% of the project. The incomes would be split 70/30 between AL

TURKI and ZOUAYDI.

       184.    ZOUAYDI was part of an international terrorist movement for global jihad

which encompassed the AL QAEDA network. This network channeled money directly to




                                                152
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 153 of 243




the perpetrators of September 11, 2001.

       185.    Several faxes in support of this enterprise, scheme and conspiracy were sent

by ZOUAYDI to AL TURKI. As a guaranty for the Spanish company, ZOUAYDI sent a

check of 191 million Pesetas on September 15, 1999 to AL TURKI as beneficiary from

Banco Sabadell in Madrid. In a fax sent on October 15, 1999, ZOUAYDI asked AL TURKI

to send the money through AL RAJHI BANK (which hold his accounts in Saudi Arabia).

On October 22, 1999, a fax was sent to AL TURKI by Prol & Asociados law firm in Madrid

referring to a telephone conversation with someone acting on behalf of AL TURKI, named

Waleed O. Houssainy, about a project of AL TURKI’s to buy 100% of ZOUAYDI’s

Spanish company.

       186.    On February 4, 2000, ZOUAYDI sent a fax to AL TURKI, referring to him

as “advisor to KING FAHD.” In his declarations to the Spanish judge on April 26, 2002,

ZOUAYDI referred to AL TURKI as “advisor to KING FAHD.”



                              SAUDI ARABIAN DEFENDANTS

       187.    There were and are, a large number of Saudi citizens and members of the

Saudi Royal Family who support BIN LADEN. High-ranking officials in the Saudi

government and Saudi businessmen have provided money to support BIN LADEN and AL

QAEDA. Money to support BIN LADEN and AL QAEDA was transferred using charitable

institutions, businesses and banks. In many cases, these entities shared management and

or offices, creating an interlocking financing structure that obscures the movement, source




                                               153
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 154 of 243




and ultimate destination of money.

        188.    OSAMA BIN LADEN was born in Saudi Arabia to a wealthy Saudi family

which operates a large multi-national construction company. He and many other Saudis

reacted to the Soviet invasion of Afghanistan by taking up arms in the name of Islam.

Throughout the 1980's and 1990's and continuing today, many Saudis support and attend

the religious schools that preach hatred toward the West. Indeed, 15 of the 19 September

11th hijackers were from Saudi Arabia.

        189.    The close relationship between OSAMA BIN LADEN and certain of the

highest members of the Saudi Royal Family stretches back for a long period of time and

continues to this day.

        190.    OSAMA BIN LADEN met with Defendant PRINCE SULTAN BIN

ABDULAZIZ AL SAUD (or “PRINCE SULTAN”) after IRAQ invaded Kuwait in August

1990. PRINCE SULTAN is the Second Deputy Prime Minister, Minister of Defense and

Aviation, Inspector General, and Chairman of the Board of Saudi Arabian Airlines, which

does business in the United States and internationally. In the meeting, OSAMA BIN

LADEN offered the engineering equipment available from his family’s construction

company and suggested bolstering Saudi forces with Saudi militants who BIN LADEN was

willing to recruit.

        191.    This offer was also made to Defendant PRINCE TURKI AL FAISAL AL

SAUD (or “PRINCE TURKI”), the then Chief of Saudi Intelligence, or Istakhbarat.

PRINCE TURKI had an ongoing relationship with OSAMA BIN LADEN from the time




                                             154
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 155 of 243




that they first met in Islamabad, Pakistan at the Saudi embassy, during the Soviet Union’s

occupation of Afghanistan.

       192.    Defendant PRINCE MOHAMMED AL FAISAL AL SAUD (or “PRINCE

MOHAMMED” or “PRINCE MOHAMMED AL FAISAL”) is involved in the financing,

aiding and abetting and material support of OSAMA BIN LADEN, AL QAEDA, and

international terrorism in part through FAISAL ISLAMIC BANK and AL SHAMAL

ISLAMIC BANK in the Sudan. PRINCE NAYEF BIN ABDULAZIZ AL SAUD (or

“PRINCE NAIF”) is also engaged in the aiding and abetting or material sponsorship of

OSAMA BIN LADEN, AL QAEDA, and international terrorism as described herein.

PRINCE SALMAN BIN ABDULAZIZ (or “PRINCE SALMAN”) has also provided

material support to OSAMA BIN LADEN, and AL QAEDA.

       193.    PRINCE TURKI was head of Saudi Arabia’s Department of General

Intelligence (Istakhbarat) from 1977 until 2001. As such, he was in a position to know the

threat posed by BIN LADEN, AL QAEDA, the TALIBAN, and the extremist and violent

perversion of jihad and hatred that the Saudi religious schools were encouraging in young

students. PRINCE TURKI abruptly left his position in or around August 30, 2001, when

he was dismissed as chief of Saudi Intelligence just prior to the September 11, 2001 attacks.

       194.    PRINCE TURKI met personally with BIN LADEN at least five times while

in Pakistan and Afghanistan during the mid-eighties to mid-nineties. PRINCE TURKI also

had meetings with the TALIBAN in 1998 and 1999. In 1995, while the Saudi Istakhbarat

was headed by PRINCE TURKI, he decided to give massive financial and material support




                                                155
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 156 of 243




to the TALIBAN.

       195.    In 1996, according to various intelligence sources, a group of Saudi princes

and prominent Saudi business leaders met in Paris and agreed to continue contributing,

sponsoring, aiding and abetting BIN LADEN’s terrorist network.

       196.    Born in Riyadh, Saudi Arabia in 1924, PRINCE SULTAN is the son of

Abdulaziz Bin Abdul Rahman Al Saud, founder of the modern Kingdom of Saudi Arabia

and Hussa Bin Ahmad Sudairi. He is one of the six full brothers of King Fahd Bin

Abdulaziz Al Saud. These seven brothers are referred to as the Sudairi seven. PRINCE

SULTAN was appointed Governor of Riyadh in 1947.

       197.    PRINCE SULTAN has been the Second Deputy Prime Minister, Minister

of Defense and Aviation since 1962 and Inspector-General of the Kingdom of Saudi Arabia.

In addition, PRINCE SULTAN is Chairman of the Supreme Council for Islamic Affairs

which has oversight and control over charities in Saudi Arabia.

       198.    Beginning with the Gulf War, PRINCE SULTAN took radical stands against

western countries and publicly supported and funded several Islamic charities that were

sponsoring OSAMA BIN LADEN and AL QAEDA operations, including the Defendants

INTERNATIONAL ISLAMIC RELIEF ORGANIZATION (“IIRO”), MUSLIM WORLD

LEAGUE, WORLD ASSEMBLY OF MUSLIM YOUTH and AL-HARAMAIN. He was

appointed head of the Supreme Council of Islamic Affairs which was responsible for

charitable financing.

       199.    PRINCE SULTAN has been involved in the sponsorship of international




                                               156
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 157 of 243




terrorism through the IIRO and other Saudi-funded charities. Defendant IIRO is a direct

arm of the Saudi Royal family, according to Arafat Al Asahi, the Director of the Canadian

branch of the IIRO. Dr. ADNAN AL BASHA, the Secretary General of the IIRO publicly

thanked PRINCE SULTAN on December 22, 2000, for his support and aid.

       200.    PRINCE SULTAN personally funded several Islamic charities over the years

that sponsor, aid, abet or materially support BIN LADEN and AL QAEDA: the IIRO (and

its financial fund SANABEL EL-KHAIR), AL-HARAMAIN, MUSLIM WORLD

LEAGUE, and the WORLD ASSEMBLY OF MUSLIM YOUTH. All of these charities

are and/or were involved in the financing of international terrorism. The total of PRINCE

SULTAN’s personal donations to these entities since 1994 amounts to at least $6,000,000,

according to official and public reports.

       201.    PRINCE SULTAN’s role in the IIRO’s financing is of significance. Since

the IIRO’s creation in 1978, PRINCE SULTAN donated various gifts to the charity. In 1994

alone, he donated $266,652 to the IIRO. Since 1994, the amount funneled by PRINCE

SULTAN into IIRO alone is reported to be $2,399,868. PRINCE SULTAN’s role in

directly contributing to and in the oversight of IIRO evidences his material sponsorship,

aiding and abetting of international terrorism. PRINCE SULTAN maintains close relations

with the IIRO organization headquarters and knew or should have known these assets were

being diverted to AL QAEDA.

       202.    PRINCE SULTAN is also a large financial contributor of the MUSLIM

WORLD LEAGUE. PRINCE SULTAN donated during a television fund-raising campaign




                                              157
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 158 of 243




for MWL :

                The total collection made as a result of the television
                campaign was SR 45,000,000, with the Emir of Riyadh,
                PRINCE SULTAN, donating a million Saudi Royals
                ($533,304).

        203.    PRINCE SULTAN is also a regular donator to the WORLD ASSEMBLY

OF MUSLIM YOUTH (or “WAMY”). WAMY was founded in 1972 by AHMED

TOTONJI with Saudi backing in order to prevent the "corrupting" ideas of the western

world influencing young Muslims. It grew to embrace 450 youth and student organizations

with 34 offices worldwide.

        204.    Shortly after the September 11, 2001 attacks, PRINCE SULTAN publicly

accused the “Zionist and Jewish lobby” of orchestrating a “media blitz” against the Saudi

Kingdom. PRINCE SULTAN argued against the United States use of Saudi bases to stage

military strikes on Afghanistan after the September 11, 2001 attacks, stating that his

government “will not accept in [Saudi Arabia] even a single soldier who will attack

Muslims or Arabs.” Saudi Minister of Defense PRINCE SULTAN also stated in 2002 that

his country would not permit allied aircraft to launch preventive or major retaliatory strikes

against IRAQ from bases in Saudi Arabia. PRINCE SULTAN expressed the hope that the

Arab Nationals who have fought alongside the TALIBAN and AL QAEDA will be allowed

to return safely to their respective countries.

        205.    PRINCE MOHAMMED is engaged in the sponsorship of international

terrorism through DAR AL MAAL AL ISLAMI, the FAISAL ISLAMIC BANK SUDAN

and AL SHAMAL ISLAMIC BANK in the Sudan. As detailed supra, until 1983, DMI was



                                                  158
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 159 of 243




under M. Ibrahim Kamel’s chairmanship. On October 17, 1983, PRINCE MOHAMMED

became CEO of DMI. Under PRINCE MOHAMMED’s chairmanship, DMI developed

banking, investment and insurance activities in approximately twenty offices across the

world. DMI was founded in 1981 to foster the spread of Islamic banking across the Muslim

world and its Board of Directors included Haydar Mohamed Bin Laden, a half-brother of

OSAMA BIN LADEN. FAISAL ISLAMIC BANK SUDAN was one of the five main

founders of AL SHAMAL ISLAMIC BANK.

       206.    As the head of DMI, PRINCE MOHAMMED knew or should have known

of these and other activities and acted as an aider and abettor and material sponsor of AL

QAEDA, BIN LADEN, and international terrorism.

       207.    PRINCE NAYEF is Saudi Minister of Interior and heads the Saudi

Committee for relief to Afghans, which supervises the activities of Defendant AL-

HARAMAIN FOUNDATION whose sponsorship of terrorism is detailed infra. The

Minister of Interior, by function, controls the activities of Islamic Charities and is

empowered to verify their legality and conduct.

       208.    PRINCE NAYEF is the Chairman of the Saudi Arabian Committee for

Support of the Intifada al Quds. According to documents captured by the Government of

Israel in the Palestinian territories during operation Defensive Shield, this committee

knowingly transferred large sums of money to the families of Hamas terrorists who had

executed murderous attacks against Israelis. PRINCE NAYEF, along with others in Saudi

Arabia, supports suicide martyrs.




                                              159
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 160 of 243




       209.    PRINCE NAYEF has engaged in a pattern of conduct that aids, abets, and

materially sponsors international terrorism and AL QAEDA. As with PRINCE SULTAN

and PRINCE TURKI, PRINCE NAYEF has engaged in material support, including but not

limited to monetary payoffs, to OSAMA BIN LADEN’s AL QAEDA.

       210.    PRINCE SALMAN was named Chairman of the General Donation

Committee for Afghanistan (a/k/a Afghan Jihad Support Committee) in 1980 and has a

history of funding Islamic extremism. In 1981, the General Donation Committee for

Afghanistan gave $39 million dollars to aid the Afghan Mujahideen. PRINCE SALMAN

stated the donation was made to “our Afghan brothers.”

       211.    In 1999, PRINCE SALMAN made a donation of $400,000 during a fund-

raising event organized for Bosnia Herzegovina and Chechnya by Defendants

INTERNATIONAL ISLAMIC RELIEF ORGANIZATION, WORLD ASSEMBLY OF

MUSLIM YOUTHS, and AL-HARAMAIN FOUNDATION.

       212.    A letter seized by the Israeli Defense Forces during Operation Defensive

Shield, further evidenced the involvement of PRINCE SALMAN in financing terrorist

organizations. The letter dated December 30, 2000, was issued by the Embassy of the State

of Palestine in Riyadh to PRINCE SALMAN IBN ABDUL AZIZ, Chairman of the Popular

Committees for Support of the Palestinian Fighters. The Palestinian ambassador expresses

the concern of Yasser Arafat regarding funding of radical organizations.

               I wish to inform you that [Yasser Arafat] called me and
               asked to convey his request to mediate and intervene and
               express his opinion about what is happening in our
               homeland. The Saudi committee responsible for transferring



                                              160
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 161 of 243




               contributions to beneficiaries is sending large sums to
               radical committees and associations, including the Islamic
               Association which belongs to Hamas, the Al-Salah
               Association, and brothers belonging to the Jihad in all
               areas. This has a bad affect on the domestic situation and
               also strengthens these brothers and thus has a bad impact
               on everybody.


       213.    The role of certain Saudis in the sponsorship of AL QAEDA is evidenced

in the AL QAEDA organization’s own words. Confiscated AL QAEDA documents state

that among all the governments in the world, the government of Saudi Arabia is the only

representative model Islamic government, the greatest center of Islam as AL QAEDA

moves to expel the Jews and Christians from Arab lands through mass murder.

       214.    Information found in the possession of AL QAEDA terrorists indicates that

financial support of international terrorism by wealthy Saudis is designed to undermine

moderate Arab regimes and movements while providing support for Saudi legitimacy as the

strict guardians of Mecca and Medina.

       215.    These acts described herein constitute a pattern of conduct in sponsoring and

promoting radicals and international terrorism generally, as well as AL QAEDA and

OSAMA BIN LADEN, specifically.

       216.    Certain members of the Saudi Royal family, along with other wealthy Saudi

supporters, contributed to the IIRO and related charities as a way to support AL QAEDA

without suffering from the social (and legal) ramifications that such contributions bring. The

IIRO received funds which were passed on to terrorists in part from the Zakat payments from

individuals and companies in the kingdom of Saudi Arabia. The Saudi Royal family



                                                161
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 162 of 243




members own substantial assets in the United States of America, and do substantial business

in the United States of America, the profits of which in part, are used to fund international

terrorist acts, including those which led to the murderous attacks of September 11, 2001.

       217.    As the 2002 Report on terrorist financing by the independent task force of

the Council on Foreign Relations pointed out: “it is worth stating unambiguously what

official U.S. government spokespersons have not: [F]or years, individuals and charities

based in Saudi Arabia have been the most important source of funds for AL QAEDA; and

for years, Saudi officials have turned a blind eye to this problem.” The report goes on to

note that this is hardly surprising given that the Saudis possess the greatest concentration

of wealth in the area.



                         THE MUSLIM WORLD LEAGUE

       218.    The MUSLIM WORLD LEAGUE (“MWL”) was founded in 1962 in Saudi

Arabia, to “disseminate Islamic Dawah and expound the teachings of Islam.” One of its

founders was Said Ramadan, senior member of the MUSLIM BROTHERHOOD. Other

members of the MUSLIM BROTHERHOOD were also among the founders. The MWL

is the parent organization of the charity INTERNATIONAL ISLAMIC RELIEF

ORGANIZATION (or “IIRO”). MWL uses the IIRO as an operational arm to perform

many of its charitable activities.

       219.    The MWL is an organization funded, supported, and financed by persons or

entities of Saudi Arabia. According to the testimony of Arafat El-Asahi, a MWL




                                               162
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 163 of 243




representative in Canada:

              Q. During those eight years that you have been with the IIRO
              here in Canada, have you ever heard anything to the effect
              that the Canadian government has any concern whatsoever
              with respect to your office?

              A. Let me tell you one thing. The Muslim World League,
              which is the mother of IIRO, is a fully government funded
              organization. In other words, I work for the Government of
              Saudi Arabia. I am an employee of that government. Second,
              the IIRO is the relief branch of that organization which
              means that we are controlled in all our activities and plans by
              the Government of Saudi Arabia. Keep that in mind, please.

              Q. I will. Thank you. When you say you work for the
              Government of Saudi Arabia, are you also paid by that
              government?

              A. I am paid by my organization which is funded by the
              government. Let me tell you one little thing. Whenever the
              Saudi Embassy in Ottawa required anything, to ask about
              any Muslim project all over Canada, they come to us. They
              ask us about the people who are doing this project. Do you
              get this point?

              Q. Yes.

              A. Whatever we say is acceptable, fully acceptable, by the
              Saudi Embassy and by the government of Saudi Arabia.

              Q. Is the Muslim World League the type or organization that
              would actually have physical offices in countries throughout
              the world?
              A. Of course. I said in the beginning that we have over 30
              offices all over the world? One is here; one is in Washington, D.C.
              They are spread all over, in Europe, in Asia.

              Q. When you speak of an office that is an IIRO office, that
              counts as a Muslim World League office as well?

              A. What happens is that sometimes the IIRO and the Muslim
              World League office is one, but sometimes they have two


                                               163
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 164 of 243




                different offices, although the umbrella organization is the
                same, which is the Muslim World League.

        220.    The MWL has at least two offices in the United States. The New York City

office is currently active, while its main office in Falls Church, Virginia, was the target of

federal raids in early March 2002. Its officers at the Virginia office are President Abdullah

Bin Saleh Al Obaid, Vice President HASSAN A. A. BAHAFZALLAH, and

Secretary/Treasurer YAQUB M. MIRZA.

        221.    YAQUB MIRZA, the secretary and treasurer of the MWL in the United

States, is at the financial center of the SAAR network (founded by the AL RAJHI family).

YAQUB MIRZA’S house was raided in March, 2002 by federal authorities investigating

his alleged connections to AL QAEDA and September 11, 2001.

        222.    The MWL has numerous connections with AL QAEDA. MOHAMMED

BAYAZID, an AL QAEDA operative who fought alongside OSAMA BIN LADEN and

the other Mujahideen in Afghanistan (and has been implicated in a plot to get nuclear

materials for AL QAEDA), described how Defendant MOHAMMED JAMAL KHALIFA,

OSAMA BIN LADEN’s brother-in-law, opened a MWL office in Pakistan for the use of

the founders of AL QAEDA :

                Brother Jamal Khalif (Abu-l-Bara) was the one who started
                the educational project, both in the interior of Afghanistan
                and abroad. Thanks to Dr. Abdullah Azzam’s efforts he
                succeeded in getting the approval of the Muslim World
                League to open an office for the League in Peshawar as an
                umbrella under which the brothers could work and move in
                Pakistan freely.

        223.    Several employees of the MWL have explicitly worked with AL QAEDA.



                                                 164
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 165 of 243




OSAMA BIN LADEN’s associates from Afghanistan infiltrated and propagated MWL

offices around the world. The RABITA TRUST, another branch of the MWL, had its assets

frozen as a Specially Designated Global Terrorist Entity (or “SDGT”) of the United States

Treasury. WA’EL JULAIDAN, as head of the RABITA TRUST and MWL office in

Peshawar, Pakistan has repeatedly aided and abetted terrorists. JULAIDAN has been

branded a SDGT by the United States Treasury Department and his assets have been frozen.

WA’EL JULAIDAN operated MWL offices that served in the early days of AL QAEDA

to attract and train holy warriors from around the world for the war in Afghanistan. He had

contact with BIN LADEN lieutenants, defendants AYMAN AL ZAWAHIRI and ABU

ZUBAYDAH. The MWL initially was funded by OSAMA BIN LADEN, then the

government of Saudi Arabia took over the funding.

       224.    WADIH EL HAGE, convicted for his role in the 1998 United States

Embassy bombings in Africa, stated at his trial that he worked at the MWL in Peshawar,

Pakistan in the 1980s. It was while working at the MWL that EL HAGE met Abdullah

Azzam, the mentor of OSAMA BIN LADEN, and a co-founder of AL QAEDA .

       225.    Ihab Ali, another AL QAEDA operative in prison in the United States on

perjury charges, also went to work for the MWL in 1987. Ihab Ali played a large role in

the embassy bombings, facilitating communication between OSAMA BIN LADEN and

other AL QAEDA members and also piloting OSAMA BIN LADEN’s personal jet. In

1993, Ihab Ali took flight lessons at the Airman Flight School in Norman, Oklahoma—the

same school ZACARIAS MOUSSAOUI attended and which MOHAMMED ATTA




                                               165
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 166 of 243




scouted as a possibility for his flight training.

        226.    In conjunction with the attempted assassination of Egyptian President Hosni

Mubarak in 1995, one of the would-be assassins admitted: “The Muslim World League

bought our travel tickets and gave us spending money before we arrived at the [OSAMA

BIN LADEN's] farm in Suba region in southern SUDAN.”



            INTERNATIONAL ISLAMIC RELIEF ORGANIZATION

        227.    The INTERNATIONAL ISLAMIC RELIEF ORGANIZATION (or “IIRO”)

has materially supported terror around the globe, including providing support to OSAMA

BIN LADEN and AL QAEDA . IIRO’s office in the Philippines was headed by OSAMA

BIN LADEN’s brother-in-law, Defendant MOHAMMED JAMAL KHALIFA and has

acted as a center of terrorist financing and training activity – across the globe. From the

IIRO office in the Philippines, KHALIFA supported the MUSLIM BROTHERHOOD in

the Philippines. IIRO then evolved into a vast independent terrorist machine – funding,

recruiting and aiding and abetting AL QAEDA. IIRO was involved with the plot to

assassinate former President William Jefferson Clinton and Pope John Paul II, the plot to

blow up twelve American airplanes simultaneously, and the 1998 Embassy bombings in

East Africa.

        228.    According to the Arabic periodical publication Rose Al-Yusuf, the IIRO is

firmly entrenched with OSAMA BIN LADEN’s AL QAEDA organization. As one

example, the IIRO supported an AL QAEDA guest house in Egypt.




                                                    166
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 167 of 243




        229.   MOHAMAD KHALIFA, as the head of IIRO in the Philippines, used the

organization to collect and launder money for AL QAEDA operations. IIRO funded the

terrorist group Moro Islamic Liberation Front. A former member of Abu Sayyaf, another

Philippines based terror group stated: “Less than 30% of the IIRO funds went to legitimate

public works, the rest going toward the purchase of weapons.” MOHAMAD KHALIFA’s

branch of the IIRO served as a base to plan and finance AL QAEDA and international

terrorism.

        230.   IIRO built its office in Khartoum, SUDAN in the same residential

neighborhood as OSAMA BIN LADEN’s personal office, and near the office of

BENEVOLENCE INTERNATIONAL FOUNDATION, another AL QAEDA front

according to the testimony of a former AL QAEDA member, Jamal Ahmed Mohammed

Al Fadl.

        231.   The IIRO was implicated in the bombing of the United States Embassies

in Kenya and Tanzania in 1998. Kenya deregistered the IIRO after the bombing. IIRO

Tanzania was reportedly working with AL QAEDA immediately before the United States

Embassy bombing. IIRO went on to plot to destroy United States Consulates in India in

1999.

        232.   According to Canadian intelligence documents, IIRO funded EGYPTIAN

ISLAMIC JIHAD. Mahmoud Jaballah, an EGYPTIAN ISLAMIC JIHAD member tried

in Canada, was an IIRO employee. EGYPTIAN ISLAMIC JIHAD, is led by AL QAEDA’s

second-in-command, AYMAN AL ZAWAHIRI. Another employee of IIRO Canada,




                                               167
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 168 of 243




Mohammed       Khatib     founded   the   Canadian     branch    of   BENEVOLENCE

INTERNATIONAL FOUNDATION.

       233.    IIRO works with numerous other AL QAEDA affiliated charities. IIRO

shares the same address in the UNITED KINGDOM as the International Development

Foundation, a charity affiliated with Defendant KHALID BIN MAFOUZ, a senior AL

QAEDA financier (supra). The SUCCESS FOUNDATION, IIRO’s namesake, is also

funded by KHALID BIN MAFOUZ. IIRO aids and abets the SAUDI JOINT RELIEF

COMMITTEE, an AL QAEDA charity in Bosnia and elsewhere.                   IIRO, through

KHALIFA,      sponsors,    aids   and   abets   BENEVOLENCE           INTERNATIONAL

FOUNDATION, the AL QAEDA sponsoring charity front. IIRO provides funding for

other alleged humanitarian organizations that have materially sponsored, aided and abetted

and conspired with AL QAEDA: GLOBAL RELIEF FOUNDATION (or “GRF”),

TAIBAH International, Islamic African Relief Agency, and the WORLD ASSEMBLY OF

MUSLIM YOUTH (or “WAMY”).

       234.    IIRO also extensively funded the TALIBAN regime. As stated by Dr.

ADNAN BASHA, Secretary-General of IIRO, the IIRO donated more than Sixty Million

($60,000,000) dollars to the TALIBAN Regime and AL QAEDA in Afghanistan. The

TALIBAN Regime was a known material sponsor, aider and abettor of AL QAEDA

terrorists. After September 11, 2001, Pakistan deported 89 Arab aid workers from the IIRO

and other organizations because they were aiding, abetting, funding, otherwise conspiring

with, sponsoring and/or supporting AL QAEDA.




                                                168
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 169 of 243




       235.    There are three similarly named entities affiliated with IIRO. SANABIL

AL-KHAIR is an endowment fund established and located in Saudi Arabia in order to

provide stable financing for the activities of the IIRO. SANA-BELL INC was registered

in the District of Columbia in July 1989. It was also registered at 555 Grove St, in

Herndon, Virginia in March 2000. SANABEL AL-KHEER INC was registered at 555

Grove St, in Herndon, Virginia in August 2000, and received its non-profit tax status from

the Internal Revenue Service in 2001. The only declared activity of SANABEL AL-

KHEER INC was receiving as a donation, the land and the building at 360 S. Washington

St where its office and several other defendant charities are located.

       236.    HASSAN A.A. BAHFZALLAH, YAQUB M. MIRZA, and Abdullah Al

Obaid are the officers/directors of SANABEL AL KHEER INC. BAHFZALLAH and

MIRZA are also officers/directors of SANA-BELL INC. These men are also the officers

and directors of defendant, MUSLIM WORLD LEAGUE (“MWL”), the parent of IIRO.

Al Obaid is the secretary general of MWL worldwide. MWL’s Pakistani branch is

RABITA TRUST, an entity named by the United States and the United Nations as

associated with AL QAEDA.

       237.    BAHF ZALLA           represented       defendant          BENEVOLENC E

INTERNATIONAL FOUNDATION in Saudi Arabia in the 1990s.                      BAHFZALLA

founded the German companies Tatex and Triple-B, which provided assistance to AL

QAEDA Hamburg cell. MIRZA is an officer and board member of numerous companies

and charities involved in sponsoring terror who are defendants in this action and elsewhere.




                                                169
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 170 of 243




       238.    The IRO in the US was managed by SULAIMAN BIN ALI AL ALI, a

member of IIRO’s executive committee in Saudi Arabia.

       239.    SOLIMAN S. BIHEIRI is an Egyptian born businessman active in the US,

Europe, and the Middle East. From 1992-1998, SANA-BELL INC invested $3.7 million

with SOLIMAN S. BIHEIRI and companies he controlled in the US. This investment

originated from IIRO in Saudi Arabia and was handled by M. YAQUB MIRZA.

       240.    In 1986, while in the US on a tourist visa, BIHEIRI established Beit Ul-Mal

Inc (BMI) in New Jersey. BMI acted as an investment bank focused on real estate and real

estate development along the North East seaboard.

       241.    An agent for the Department of Homeland Security alleges that BMI

knowingly transferred funds for terrorists. The Department’s investigation showed

financial transactions between BMI and three people designated as terrorists by the United

States government, YASSIN AL KADI, Mousa Abu Marzook, and Mohammad Salah. AL

KADI was the head of MUWAFFAQ/BLESSED RELIEF, a charity involved in funneling

millions of dollars to OSAMA BIN LADEN and AL QAEDA. Federal officials allege that

an accountant with BMI said it’s funds being transferred overseas “may have been used to

finance the embassy bombings in Africa.” After September 11, BIHEIRI’s wife claims that

she saw BIHEIRI destroying records.

       242.    BIHEIRI was involved in suspicious financial transactions, in the United

States with several members of the Bin Laden family, including the mother and sister of

OSAMA BIN LADEN as well as with defendant ABDULLAH BIN LADEN.




                                               170
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 171 of 243




       243.    On BIHEIRI’s computer authorities discovered contact information for

defendants YOUSEF NADA and ALI GHALEB HIMMAT, sponsors of AL QAEDA

terror through the MUSLIM BROTHERHOOD, BANK AL TAQWA and other entities.

The computer also contained the name and address for Sami Al Arian, another person

designated by the United States as a terrorist.

       244.    Currently BIHEIRI is on supervised release in Virginia, charged with

Unlawful Procurement of Naturalization. SOLIMAN S BIHEIRI knowingly facilitated the

transfer of funds to terrorists and sponsors of terror.

       245.    In the United States the IIRO operates under the name of The

INTERNATIONAL RELIEF ORGANIZATION (IRO). The IRO and the MWL maintain

offices at the same address, 360 South Washington Street, Falls Church, Virginia. The

IRO sends money back and forth with IIRO. IIRO sends money to other organizations that

sponsor terror. Another IIRO sister company, the SUCCESS FOUNDATION, made

dozens of money transfers back and forth with the IRO. The SUCCESS FOUNDATION

also sent money to other organizations who sponsor terror, including TAIBAH and the

GLOBAL RELIEF FOUNDATION.

       246.    ABDURAHMAN ALAMOUDI, the Secretary of the SUCCESS

FOUNDATION, has openly stated his support for Hamas and Hezbollah, both designated

terrorist organizations. ALAMOUDI is the President of the American Muslim Foundation

(or “AMF”), which receives thousands of dollars from the SUCCESS FOUNDATION,

as stated on the income tax Form 990s for the SUCCESS FOUNDATION. Mohammed




                                                  171
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 172 of 243




Omeish, President of the United States branches of IIRO and IRO, as well as their sister

organization the United States-based SUCCESS FOUNDATION, is also Vice-President

of the American Muslim Foundation.

       247.      Mohammed Omeish is Vice President of American Muslim Foundation

which according to its tax form 990, filed in 1999, gave money to TARIK HAMDI.

HAMDI helped OSAMA BIN LADEN get a satellite phone and other electronic equipment

which was used to coordinate acts of international terrorism. After September 11, 2001,

IIRO’s offices in Virginia were raided by the FBI as a result of AL QAEDA sponsorship.

       248. One of the September 11, 2001, hijackers claimed to be going to work for

IIRO’s Fazeh Ahed.

       249.      According to public records, SULAIMAN AL ALI shared two addresses

with a direct financial and logistical supporter of the 9/11 hijackers, OMAR AL

BAYOUMI.

       250.      Additional co-conspirators, material sponsors and/or aiders and abettors and

members of the terrorist enterprise of the INTERNATIONAL ISLAMIC RELIEF

ORGANIZATION            include    Defendants:     SUCCESS       FOUNDATION,          INC.,,

ABDURAHMAN AL AMOUDI, SULAIMAN AL ALI, HASSAN A.A. BAHFZALLAH,

and M. YAQUB MIRZA, all located, doing business or registered to do business in the

United States.



                              THE SAAR FOUNDATION




                                                 172
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 173 of 243




       251.    The SAAR FOUNDATION was named after SULAIMAN ABDUL AZIZ

AL RAJHI, head of the Saudi Arabian AL RAJHI family. In the early 1980s, SULAIMAN

AL RAJHI asked AHMED TOTONJI, JAMAL BARZINJI and HISHAM AL TALIB to go

to the United States and start-up the SAAR FOUNDATION as well as other entities. Over

the ensuing two decades, AHMED TOTONJI, JAMAL BARZINJI, HISHAM AL TALIB

and others including M. YAQUB MIRZA, MOHAMED ASHRAF, M. OMAR ASHRAF,

and IQBAL YUNUS established over 100 entities including non-profits, charities, and

businesses. By the early 1990s, this SAAR Network was headquartered at 555 Grove Street

in Herndon, Virginia. SULAIMAN AL RAJHI had asked them to set up the network

surreptitiously. From the outset; the SAAR Network was intended to be a source of funds

to support terror as well as provide the mechanism by which the funding trail could be

laundered and obscured. AHMED TOTONJI was well suited for the task as he had

previously worked for SULAIMAN AL RAJHI at the AL RAJHI BANK as a financial

consultant. SAAR was incorporated in Herndon, Virginia and was granted 501c(3) non-

profit status by the IRS on July 29, 1983, and dissolved as of December 28, 2000. The Saudi

Arabian AL RAJHI family is the foundation’s biggest donor. The SAAR network

financially supports terrorism and its main contributors, the AL RAJHI Family, has a long

history of supporting terrorism.

       252.    Virginia Secretary of State corporate records indicate that there are more than

one hundred affiliated organizations registered or doing business at SAAR Network

addresses in Virginia. Most of these organizations do not maintain a physical presence at




                                                173
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 174 of 243




these addresses, or elsewhere. The SAAR FOUNDATION and network is a sophisticated

arrangement of non-profit and for-profit organizations that serve as front-groups for terrorist

organizations.

        253.     Officers of the SAAR FOUNDATION and SAAR network entities have a

long term relationship with YOUSEF NADA, a Specially Designated Global Terrorist, who

according to the United States Department of the Treasury, provided financial assistance

to OSAMA BIN LADEN and AL QAEDA, prior to and even after September 11, 2001.

        254.     JAMAL BARZINJI, HISHAM AL TALIB and AHMED TOTONJI worked

for YOUSEF NADA prior to being dispatched to the United States to secretly found the

SAAR FOUNDATION and network.

        255.     In 1988, when AL QAEDA was founded, YOUSEF NADA founded BANK

AL TAQWA. BANK AL TAQWA is designated a Specially Designated Global Terrorist,

for financially supporting AL QAEDA and according to the US Treasury, “appeared to be

providing a clandestine line of credit for a close associate of Usama Bin Laden.” JAMAL

BARZINJI, HISHAM AL TALIB and AHMED TOTONJI recommended two of their

SAAR Network fellow officers to YOUSEF NADA as prospective officers of BANK AL

TAQWA. YOUSEF NADA has visited the headquarters of the SAAR Network at 555

Grove Street, Herndon, Virginia.

        256.     In 2000, JAMAL BARZINJI arranged for a loan from the SAAR Network

to YOUSEF NADA. In February 2001, Mena Estates, a SAAR Network entity loaned

$500,000 to YOUSEF NADA. At that time, there were only three people affiliated with




                                                 174
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 175 of 243




Mena Estates. They were JAMAL BARZINJI, president, M. YAQUB MIRZA, vice-

president, and HISHAM AL TALIB, secretary-treasurer. Much of the loan was provided

in cash and was sent to the lawyer and financial agent for BANK AL TAQWA in Nassau,

Bahamas. A document which describes the loan and believed by US Customs agents to be

written by NADA, was recovered by US officials in a March 2002 raid of the SAAR

network premises. The document begins by saying “The eggs are in several baskets.” and

later says; “to avoid crimes we have to perfect information (terrorism, money-laundering.)”

       257.      JAMAL BARZINJI has signatory rights over at least 18 SAAR Network

bank accounts and M. YAQUB MIRZA is the predominant signatory for the SAAR

Network with signatory authority over at least 27 accounts. HISHAM AL TALIB has

signatory authority over at least 21 accounts. AHMED TOTONJI and MOHAMED

JAGHLIT also signed SAAR Network checks that were issued to terror sponsoring

organizations.         258.   AHMED IDRISS NASREDDIN, a Specially Designated

Global Terrorist is personally acquainted and maintained relationships with SAAR Network

officers, JAMAL BARZINJI, HISHAM AL TALIB, AHMED TOTONJI, MOHAMED

ASHRAF, and YAQUB MIRZA. NASREDDIN had a business relationship with M

YAQUB MIRZA and considered him to be the financial advisor and the controller of

finances for the SAAR FOUNDATION and the SAAR Network. NASREDDIN was aware

of the loan made to YOUSEF NADA.

       259.      YOUSEF NADA and GHALEB HIMMAT, both Specially Designated

Global Terrorists, also worked with MOHAMED ASHRAF and IQBAL YUNUS in another




                                               175
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 176 of 243




SAAR entity, the International Islamic Charitable Organization.

        260.    AHMED IDRISS NASREDDIN was also a major shareholder and officer

of the Specially Designated Global Terrorist, BANK AL TAQWA. AHMED IDRIS

NASREDDIN appointed SULAIMAN AL RAJHI to the Board of Directors at AKIDA

BANK in the Bahamas.         NASREDDIN and AKIDA BANK are listed as Specially

Designated Global Terrorists by the US Department of the Treasury. AL RAJHI BANK

was a correspondent bank for BANK AL TAQWA. YOUSEF NADA held an account at

AL RAJHI BANK until at least December, 2002.

       261. TAIBAH INTERNATIONAL AID ASSOCIATION (infra) is another

Virginia based charity in the SAAR network. Two of its officers Samir Salah and

ABDURAHMAN ALAMOUDI are also officers of other SAAR entities. Another officer

and founder was ABDULLAH BIN LADEN. TAIBAH’S branch in Bosnia was found to

have obscured its financial records in order to fund AL QAEDA. TAIBAH’S Bosnia

branch has been listed as a Specially Designated Global Terrorist by the US Department of

the Treasury. ABDURAHMAN ALAMOUDI is currently serving a 23 year sentence in

federal prison for sanctions busting and tax violations.

       262.    The GLOBAL RELIEF FOUNDATION (GRF) (infra) was an Illinois based

charity with branches in Bosnia and Kosova amongst other locales. The SAAR network

provided funding to GRF on several occasions. In December 14, 2001 US authorities raided

the office and froze their assets and listed GRF as a Specially Designated Global Terrorist

due to support for terror and al Qaeda.




                                               176
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 177 of 243




               263.    One of the companies involved with the terror financing SAAR

network is ARADI, INC.        ARADI’s corporate officers were defendants ABDULLAH

SULAIMAN AL RAJHI, HISHAM AL TALIB, and CHERIF SEDKY, a close associate

of defendant KHALID BIN MAHFOUZ.

       264.    The WORLD ASSEMBLY OF MUSLIM YOUTH (WAMY) is another

SAAR network entity. Two SAAR network officers, AHMED TOTONJI and JAMAL

BARZINJI were original founders of WAMY in Saudi Arabia. The President of the

Virginia branch, WAMY International, was ABDULLAH BIN LADEN. WAMY and

TAIBAH share several corporate officers.

       265.    On March 20-21, 2002, the offices of many SAAR network organizations,

along with the residences of their top executives, were raided by the United States

Government’s joint terrorism task-force, Operation Greenquest.

       266.    The SAAR FOUNDATION reported revenues of over $1.7 billion for the

year 1998 to the IRS, which represents more than any other United States charity has ever

generated in a single year. This despite that the SAAR FOUNDATION and its affiliated

charities keep a low profile in that they do not conduct fund-raising events or publicly reach

out to potential donors like most charities.

       267.    The SAAR network and the more than one-hundred businesses and

individuals that comprise it are fronts for, and a sponsor of, AL QAEDA and international

terror. As an example of the operation of the network, over two-thirds of the funds received

by the charities originated from other members of the network. 84% of the charities




                                                 177
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 178 of 243




disbursements went to other members of the network. Half of the SAAR network funds

were sent to off shore financial centers such as the Isle of Man and the Bahamas, venues not

used by traditional charitable organizations.

       268.    These organizations are closely inter-twined with Defendants IIRO, MWL

and their related “charities.” The connections between the AL RAJHI family, the SAAR

network, and the terrorist front-groups extends past the financial network to a repetitious

pattern of overlapping officers. The United States branches of the MWL and its subsidiaries

are a part of the SAAR Network. The MWL and SAAR share officers and addresses. Both

play an intermediary role between wealthy Saudi financiers and terrorist groups.

       269.    Co-conspirators, material sponsors, and/or aiders and abettors of the SAAR

network include Defendants: AHMED TOTONJI, HISHAM AL TALIB, IQBAL YUNUS,

JAMAL AL BARZINJI, M. OMAR ASHRAF, MOHAMMED JAGHLIT, MUHAMMAD

ASHRAF, TARIK HAMDI, YAQUB MIRZA, CHERIF SEDKY, ARADI, INC., GROVE

CORPORATE, INC., INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT, MAR-

JAC INVESTMENTS, INC., MAR-JAC POULTRY, INC., PIEDMONT POULTRY,

SAAR FOUNDATION, SAFA TRUST, TARIK HAMDI, SUCCESS FOUNDATION,

TAIBAH INTERNATIONAL, ABDURAHMAN ALAMOUDI, INTERNATIONAL

ISLAMIC RELIEF ORGANIZATION, MUSLIM WORLD LEAGUE, WORLD

ASSEMBLY OF MUSLIM YOUTH, SULAIMAN ABDULAZIZ AL RAJHI, SALEH

ABDULAZIZ AL RAJHI, ABDULLAH SULAIMAN AL RAJHI, AL RAJHI BANKING

AND INVESTMENT CORPORATION all located doing business or registered to do




                                                178
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 179 of 243




business in the United States.



                       THE GLOBAL RELIEF FOUNDATION

       270.    The GLOBAL RELIEF FOUNDATION (or “GRF”) was incorporated in

January 1992 in Illinois. According to its website, GRF “is a non-profit humanitarian

organization working to provide care, support and relief to people in need throughout the

world.”

       271.    GRF is active all over the world, providing relief in several locales, including

the United States, Afghanistan, Kosova, Lebanon, Bosnia, Kashmir, Turkey, Belgium, and

Chechnya, among others.

       272.    On December 14, 2001, federal authorities raided the offices of the GRF as

well as the residences of several of its directors. Simultaneously, the United States Treasury

froze GRF’s assets. A spokesman for the Treasury Department noted that GRF is aiding

terrorism:

               There was coordinated action to block the assets, because
               this group is suspected of funding terrorist activities.

The Treasury spokesman added that the public’s safety was at risk if GRF were allowed to

continue to operate:

               This extraordinary action was taken because it's relevant to
               the health and safety of the American public.

       273.    On the same day as the raids in the United States, the NATO-led task force

in Kosova, in the former Yugoslavia – KFOR raided two GRF offices in Yugoslavia and




                                                179
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 180 of 243




Serbia. A statement from KFOR explaining the raids detailed why:

              This afternoon KFOR soldiers, working in close cooperation
              with UNMIK-Police, carried out a coordinated search
              operation on the offices of the Global Relief Foundation in
              Pristine / Pristina and Dakovice/Dakovica, after receiving
              credible intelligence information that individuals working
              for this organization may have been directly involved in
              supporting worldwide international terrorist activities.

       274.   This action was an orchestrated element of a worldwide operation

coordinated with governments and law enforcement agencies against the offices of the

GLOBAL RELIEF FOUNDATION.

       275.   The head of the GLOBAL RELIEF FOUNDATION branch in Belgium

received over $200,000 from MUHAMMED GALEB KALAJE ZOUAYDI (a/k/a Abu

Talha) (or “ZOUAYDI”), a high level AL QAEDA financier. ZOUAYDI, was arrested by

Spanish authorities on April 23, 2002. A top financier for AL QAEDA, he fought with

OSAMA BIN LADEN and the other original founders of AL QAEDA during the

Afghanistan war.

       276.   ZOUYADI was closely connected to the AL QAEDA cell in Germany that

participated in the September 11, 2001 attacks. ZOUYADI sent money to MAMOUN

DARKAZANLI. DARKAZANLI and his company, MAMOUN DARKAZANLI IMPORT-

EXPORT COMPANY were listed as Specially Designated Global Terrorists by the United

States government shortly after September 11, 2001. DARKAZANLI is suspected of being

a key AL QAEDA point man in Europe, as is described in more detail infra.

       277.   Documents provided by the United States government in defense of its




                                             180
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 181 of 243




freezing of GRF’s assets indicate that known AL QAEDA terrorist WADIH EL HAGE was

in direct contact with GRF officials while he was planning international terrorism attacks.

Specifically, the government noted in its supporting documents that the FBI reported that

evidence introduced at EL HAGE’s trial demonstrated that, in the late 1990s, GRF

maintained communications with WADIH EL HAGE.

               Furthermore, the government indicated:

               At the time, el Hage was in contact with GRF, he resided in
               Kenya, and played an “active role” in an AL QAEDA
               terrorist cell operating there. . . .

       278.    During this same period, 1996 and 1997, EL HAGE was also in contact with

GRF offices in Belgium and Bridgeview, Illinois. In particular, documents recovered in a

search in Kenya showed that EL HAGE was in contact with GRF in Bridgeview, Illinois

after returning from a visit with AL QAEDA leadership in Afghanistan in February 1997.

       279.    Evidence provided by the government in freezing GRF’s assets corroborates

GRF’s promotion of martyrdom to kill the “enemies of Islam.” The government assessed:

               Newsletters distributed by GRF and published in 1995 by the
               Central Information News Agency Network (CINAN), which,
               like GRF, is operated via a Bridgeview post office box,
               encourage “martyrdom through JIHAD.” The newsletters,
               written in Arabic and translated by the FBI, include an
               article soliciting funds for the Bosnian relief effort to assist
               those suffering from the prolonged agony due to atrocities
               imposed by the “enemies of Islam.” The article refers to the
               Jihad (struggle) that should be carried out by Muslims and
               states: “It seems that the Prophet (Mohammad) had linked
               religion with JIHAD. So when do we awake? When can we
               take revenge for God and his religion? When can we rise to
               defend our rights and self respect?” The article continued,
               “God had equated martyrdom through JIHAD with



                                                 181
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 182 of 243




               supplying funds for the JIHAD effort,” and concluded, “All
               contributions should be mailed to: GRF.

       280.    GRF newsletters implored individuals to donate money to their organization

for the purposes of buying weapons. The government explained:

               Other GRF newsletters and publications encourage readers
               to give their Zakat, or charitable tithe, to GRF to assist in
               the purchase of, inter alia, weaponry. “[F]or God’s cause
               (the Jihad, they [the Zakat Funds] are disbursed for
               equipping the readers for the purchase of ammunition and
               food, and for their [the Mujahideen’s] transportation so that
               they can raise God the Almighty’s word and protect the
               gapsÿ.” The article concluded by exhorting Muslims “to
               make the Global Relief Foundation your messenger of
               goodness, and we will, God willing, disburse it as specified
               in Bosnia, Kashmir, Afghanistan, Tajikistan, and Lebanon.

       281.    Since GRF’s assets were blocked, information gathered about GRF,

according to the government, has only reaffirmed that GRF works closely with and in

support of terrorist organizations:

               In addition to this unclassified evidence, the classified
               material gathered since the date of the blocking has greatly
               amplified OFAC’s [Office of Foreign Asset Control] belief
               that GRF may have acted in concert with, and in support of,
               terrorists and terrorist entities.

       282.    Several photographs obtained at GRF’s offices in Chicago indicate that GRF

used its humanitarian cover as means to send expensive communications equipment abroad.

The government described what exactly was found during the raids on GRF’s offices:

               A set of photographs and negatives discovered at GRF’s
               Chicago offices indicate types of “humanitarian” supplies
               that GRF has sent abroad. The photographs display large
               shipping boxes arrayed under a GRF banner. Other
               photographs reveal that the boxes contain sophisticated
               communications equipment: approximately 200 handheld


                                               182
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 183 of 243




               radio transceivers, long range radio antennas, and portable
               power packs, with an estimated total value of $120,000.
               Arrayed near the communications equipment are a tool kit,
               a box of Bushnell binoculars, saddles, and ropes.

       283.    Other photographs found in the raids indicate that GRF had an specific

interest in munitions:

               Other photographs in this same set depict fighters armed
               with automatic rifles, a sand-bagged bunker with a radio
               mounted outside, and mutilated corpses with the name
               “KPI” (Kashmiri Press International) printed alongside.
               Finally, one photograph displays two dead men with the
               caption “HIZBUL MUJAHIDEEN,” a known terrorist
               organization operating in the Kashmir region between India
               and Pakistan. On the reverse side of the photograph was
               handwritten in Arabic, “two martyrs killed by the Indian
               government.



                   TAIBAH INTERNATIONAL AID ASSOCIATION

       284.    TAIBAH INTERNATIONAL AID ASSOCIATION (or “TAIBAH”) is a

charitable organization headquartered in Falls Church, Virginia. Established in 1991,

TAIBAH’s IRS Form 1023, which serves as an application to the United States Government

for tax exempt status, lists ABDULLAH A. BIN LADEN, OSAMA BIN LADEN’s half-

brother, as a founding officer. The same form also lists TAIBAH’s stated goals as a

humanitarian organization. TAIBAH’s Bosnia branch has been listed as a Specially

Designated Global Terrorist by the US Department of the Treasury. TAIBAH’s office in

Virginia determined who was to head the office in Bosnia.

       285.    From its headquarters in the United States, TAIBAH has a presence around




                                              183
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 184 of 243




the world through offices, mosques, and educational centers in the following locales:

Albania, Bosnia-Herzegovina, Bulgaria,, Kazakhstan, Kosova, Uzbekistan, Russia,

Tajikistan and Tataristan, among others.

       286.    Despite a well developed website, TAIBAH does not solicit funding through

this channel. According to its IRS Form 1023, TAIBAH relies on fund-raising trips to the

Middle East and mailings sent to Muslims in the United States for its revenue. As a result,

roughly half of the United States arm of TAIBAH’s revenue comes from Saudi Arabia. On

its year 2000 IRS Form 990, TAIBAH lists a four year aggregate contribution of nearly

$150,000 dollars in fund raising from Saudi Arabia. Also, TAIBAH’s Bosnian branch relies

on Saudi Arabia for funding. The Saudi Arabian SAUDI HIGH COMMISSION has been

identified by Bosnian intelligence as a source of TAIBAH’s funds.

       287.    Although it purports to be a humanitarian organization, the TAIBAH

INTERNATIONAL AID ASSOCIATION furthers the aims and materially supports

OSAMA BIN LADEN and AL QAEDA. Through the actions of its agents, officers and

employees, TAIBAH has provided financial and material support to AL QAEDA. The

strong affiliation that TAIBAH maintains with many other AL QAEDA front-groups

demonstrates its place as a highly connected component of OSAMA BIN LADEN’s

financial and logistical support network.

       288.    TAIBAH’s support of international terrorism and AL QAEDA is ongoing.

One of the individuals involved in the October 2001 threat to the American and British

Embassies in Bosnia was Mustafa Al Kadir, who was granted Bosnian citizenship based on




                                               184
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 185 of 243




his employment with TAIBAH. Al Kadir was still working with TAIBAH at the time of

this foiled terrorist attack and ensuing arrests.

        289.    On December 13, 2001, Bosnian police searched the offices of TAIBAH.

Following the raid, an audit and investigation of TAIBAH’s financial records was

conducted on January 25, 2002. This audit reveals that TAIBAH’s financial records were

managed in a way that obscured its true financial status. The financial records contained

flagrant abuses in TAIBAH’s allocation of donations and in the manner its expense

accounts were maintained. A March, 2002, Bosnian Intelligence Memo from the Agency

for Investigation & Documentation that summarizes the audit described the illegal

management of TAIBAH’s funds by its executives:

                It is also noteworthy that large cash sums were withdrawn by
                management individuals at the organization which were
                never accounted for by any record of expenditure, and which
                indicates a wide scope for possible illegal spending of
                money. It is clear that each of these items is for more than 10
                thousand marks.

        290.    Other discrepancies noted in the audit were the misuse of automobiles,

supplying of fictitious declarations of affiliation and employment, as well as suspicious

requests for visas.

        291.    Some of the funding for the Bosnian office of TAIBAH originates from bank

accounts at the AL-RAJHI ISLAMIC BANK. The flow of money begins with the AL-

RAJHI ISLAMIC BANK in Saudi Arabia, then to TAIBAH via wire transfers through

Hypobank in Germany and Commerce Bank in Bosnia. The AL-RAJHI ISLAMIC BANK,

its agents, officers, directors, and so-called charities, members of the AL RAJHI family are



                                                    185
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 186 of 243




significant financial supporters of terrorism as is discussed supra.

       292.    In Bosnia, TAIBAH works closely with another AL QAEDA front-group,

the charitable organization and Defendant GLOBAL RELIEF FOUNDATION (or “GRF”).

Key staff, including the director of TAIBAH in Bosnia, simultaneously worked for GRF.

According to the 2002 Bosnian Intelligence Memo, when GRF was initially registered, it

operated in Bosnia under the auspices of TAIBAH. TAIBAH’s close working relationship

with GRF is in accord with both charities’ role as AL QAEDA sponsors and front groups.

       293.    The 2002 Bosnian Intelligence Report on non-profit organizations affirms

that TAIBAH’s Bosnian office received its revenues from another Saudi Arabian charity,

the SAUDI RELIEF COMMISSION (a/k/a Saudi High Relief Commission) (or “SRC”).

TAIBAH has been implicated in the 1998 United States embassy bombings along with the

SRC.

       294.    Two officers from TAIBAH’s United States branch, Samir Salah and

ABDULRAHMAN ALAMOUDI, play a large role with United States organizations that

have come under scrutiny for their ties to AL QAEDA. Both of them are officers of a

number of organizations in the SAAR network. ABDULRAHMAN ALAMOUDI,

TAIBAH’s Vice-President, is a past employee of the SAAR FOUNDATION, the hub of the

SAAR Network, and currently heads some of the SAAR network charities. One of these

is the SUCCESS FOUNDATION, which provided funding to TAIBAH. ALAMOUDI was

Secretary of the SUCCESS FOUNDATION, with bank signatory rights and at the same

time was vice-president of TAIBAH. While ALAMOUDI was an officer of both charities,




                                                186
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 187 of 243




SUCCESS FOUNDATION entered into a co-operation agreement whereby TAIBAH would

implement SUCCESS projects internationally. While ALAMOUDI was an officer of both

charities, SUCCESS FOUNDATION funded TAIBAH. The above allegations demonstrate

how ABDURAHMAN ALAMOUDI and the SUCCESS FOUNDATION financially

supported AL QAEDA prior to the September 11 attacks.



  BENEVOLENCE INTERNATIONAL FOUNDATION, INC. AND BATTERJEE

       295.   BENEVOLENCE INTERNATIONAL FOUNDATION (“BIF”) a/k/a al Bir

al Dawalia was originally founded in the 1980’s by ADEL ABDUL JALIL BATTERJEE,

an associate of OSAMA BIN LADEN since the war in Afghanistan.               Defendant

BATTERJEE later transferred control of the organization to ENAAM M. ARNAOUT.

Defendant ENAAM ARNAOUT has been affiliated with BIF since at least 1992, and was

criminally indicted for his role in sponsoring AL QAEDA through diversion of charitable

funds to sponsor AL QAEDA.

       296. ADEL ABDUL JALIL BATTERJEE is the Chairman of AL SHAMAL BANK

in SUDAN (infra.) AL SHAMAL BANK was capitalized by BIN LADEN. BIN LADEN

and AL QAEDA also held accounts there. BIF had extensive programs in SUDAN from

1991 until 2002. BIF held accounts at AL SHAMAL BANK and used them for the benefit

of AL QAEDA. The US Treasury Department said that BIN LADEN “confirmed to an

associate that BIF was one of the non-governmental organizations providing funds to al

Qaida.”




                                             187
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 188 of 243




       297.   In the mid to late 1980s, Defendant ENAAM ARNAOUT, using various

aliases including “Abu Mahmoud,” “Abu Mahmoud al Suri,” “Abu Mahmoud al Hamawi,”

and “Abdel Samia,” worked for Mekhtab al Khidemat (the Office of Services) to provide

assistance to various mujahideen including those under the command of OSAMA BIN

LADEN.

       298.   Within that same time frame, Defendant ARNAOUT served as director of

communications in the “al Masada” mujahideen camp in Jaji, Afghanistan, under the

direction of OSAMA BIN LADEN. Defendant ARNAOUT distributed resources, including

weapons, at the direction of OSAMA BIN LADEN and others.

       299.   BATTERJEE originally met ARNAOUT in 1987 when ARNAOUT was a

teenager studying Islam in Pakistan. BATTERJEE appointed ARNAOUT as the head of

the Bosnian branch of BIF in the early 1990s.        According to BENEVOLENCE

INTERNATIONAL FOUNDATION’s 1992 articles of incorporation, ADEL BATTERJEE

is one of the three founders of BIF in the United States. In 1993, BATTERJEE moved the

BIF headquarters to Chicago, Illinois and brought ARNAOUT in from Bosnia to run the

organization. BATTERJEE officially transferred control of the organization to ENAAM

ARNAOUT on September 15, 1997, and ARNAOUT assumed the position of Executive

Director.

       300.   BATTERJEE commissioned the writing of a biography specifically about

OSAMA BIN LADEN and the origins of the AL QAEDA network in Arabic. This

biography, The Arab Volunteers in Afghanistan, was jointly published in 1991 by the




                                            188
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 189 of 243




BENEVOLENCE INTERNATIONAL FOUNDATION and the WORLD ASSEMBLY OF

MUSLIM YOUTH. The book details OSAMA BIN LADEN’s life, including the creation

of BIN LADEN’s terrorist network, AL QAEDA. On the back cover is a written statement

that expresses the ideology of the book, “This is the jihad in Afghanistan. What we see now,

it is a blessed river. The Arab people are the people that feed the jihad river.”

       301.    The conspirators of the first World Trade Center bombing in February 1993

had in their possession several terrorist training manuals when they were caught. Ahmad

Ajaj had in his possession an AL QAEDA manual that detailed how to be an effective

terrorist, teaching proper ways to make bombs and remain covert. It was found in an

envelope that had both the WAMY and Lajnat al-Birr, a BIF affiliate logos on it. Ajaj has

been convicted for participating in the first World Trade Center attack. WAMY and BIF

were co-located in Peshawar, Pakistan. In 2002 a joint team of Pakistani intelligence and

US FBI raided the WAMY office. A WAMY employee of that office was suspected of

being an accomplice of OSAMA BIN LADEN.

       302.    On or about June 10, 1995, BIF caused the delivery of an X-ray machine and

currency from the BIF Enterprise to a representative of the Chechen mujahideen in Baku,

Azerbaijan.

       303.    In or about November 1995, Defendant ARNAOUT and other members of

the BIF conspiracy caused the shipment of anti-mine boots to Baku, Azerbaijan, ultimately

destined for the Chechen mujahideen. Defendant ARNAOUT and BIF members solicited

donations from the public to purchase additional anti-mine boots for the mujahideen, falsely




                                                189
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 190 of 243




claiming that the project was for the benefit of civilians.

       304.    In or about May 1998, BIF and ARNAOUT facilitated the travel of an

influential founding member of the AL QAEDA Network, Mamdouh Mahmud Salim (a/k/a

Abu Hajer al Iraqi), to Bosnia-Herzegovina by indicating that Salim was a director of BIF.

       305.    MOHAMED JAMAL KHALIFA, alias “Abu Baraa,” (infra) is referenced

on a document recovered in the searches of BIF locations in Bosnia in March 2002. On or

about November 19, 1998, telephone toll records indicate that BIF’s Illinois office was in

telephone contact with a telephone number in Saudi Arabia used by KHALIFA.

       306.    In the latter part of the 1990’s, with Defendant ARNAOUT’s knowledge,

Saif Al Islam El Masry, a member of AL QAEDA’s majalis al shura (consultation council),

as well as a top military expert and instructor, served as an officer of the BIF.

       307.    In or about October 2001, Defendant ARNAOUT relayed to the BIF founder

ADEL BATTERJEE in Saudi Arabia via telephone ARNAOUT’s concern that ARNAOUT

was under scrutiny of the United States government and in particular the fact that Defendant

ARNAOUT had been searched at the airport upon his return to the United States.

       308.    On December 14, 2001, searches were conducted of the offices of

BENEVOLENCE INTERNATIONAL FOUNDATION in Palos Hills, Illinois, and in

Newark, New Jersey, along with the home of its chief executive officer, ENAAM M.

ARNAOUT, removing materials from each place.

       309.    Also on December 14, 2001, the Treasury Department’s Office of Foreign

Asset Control (or “OFAC”) issued an order blocking BENEVOLENCE INTERNATIONAL




                                                190
    Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 191 of 243




FOUNDATION’s assets and records, pending further investigation into BIF’s ties to

terrorists

        310.   In January 2002, following the blocking of BIF’s bank accounts by the

United States Department of the Treasury, Defendant ARNAOUT spoke via telephone to

ADEL BATTERJEE in Saudi Arabia, and BATTERJEE requested Defendant ARNAOUT

to relocate with his family to Saudi Arabia.

        311.   On February 12, 2002, the United States Government recorded a telephone

conversation of the then jailed ENAAM ARNAOUT, with his brother in Saudi Arabia.

During this conversation, ARNAOUT discusses “Abu Sulafa” with his brother. The United

States government has identified the name “Abu Sulafa” as an alias for ADEL

BATTERJEE. Using BATTERJEE’s alias, ARNAOUT stated that BATTERJEE has been

sending money to BENEVOLENCE INTERNATIONAL FOUNDATION’s branches.

        312.   One Justice Department AL QAEDA expert suggested that this telephone

conversation may further elucidate BATTERJEE’s role as the source of the “mysterious set

of wire transfers” that contributed $30,000 to $40,000 to BIF each month. Investigators

have tracked the wire transfers to a Swiss Bank account registered to a Cayman Islands

corporation.

        313.   Financial records obtained from Citibank indicate that in the four month

period from January 4, 2000, to April 11, 2000, BIF sent nineteen (19) wire transfers from

its checking account, number 980110435, in the amount of $685,560.

.       314.   On or about March 19, 2002, law enforcement authorities in Bosnia-




                                               191
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 192 of 243




Herzegovina searched eight locations affiliated with BIF, including BIF’s offices in that

country. The documents recovered established direct communication between ENAAM

ARNAOUT and OSAMA BIN LADEN beginning in the late 1980s.

       315.    Beginning at a time unknown through in or about March 2002, Defendant

ARNAOUT, and employees of the BIF Enterprise, possessed, and attempted to erase in part,

in Bosnia-Herzegovina, among other items, an archive of documents and photographs

concerning OSAMA BIN LADEN and AL QAEDA, including:

               I. a chart of an organization involved in military activity
               headed by OSAMA BIN LADEN;

               ii. notes summarizing several meetings during which AL
               QAEDA was formed in Afghanistan in August 1988
               (indicating that Osama BinLaden, Abu Ubaidah al Banshiri
               and Mamdouh Salim, a/k/a “Abu Hajer al Iraqi,” among
               others, were in attendance), and specifying the text of the
               original bayat (oath of allegiance) made by prospective AL
               QAEDA members to AL QAEDA ;

               iii. notes reflecting the commencement of AL QAEDA ’s
               “work” on or about September 10, 1988;

               iv. personnel files of the mujahideen trained in the al Masada
               camp in Jaji, Afghanistan, in or about 1988, which contained
               the true names and aliases and military experience of the
               trainees;

               v. a list of wealthy sponsors from Saudi Arabia including
               references to OSAMA BIN LADEN and ADEL
               BATTERJEE, the founder of the BIF Enterprise. These
               funders of AL QAEDA were known as the Golden Chain;

               vi. various documents reflecting Defendant ARNAOUT’s
               involvement in the acquisition and distribution of hundreds
               of rockets, hundreds of mortars, offensive and defensive
               bombs, and dynamite, as well as disguised explosive devices
               in connection with the al Masada camp;


                                                192
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 193 of 243




             vii. various documents in a separate folder reflecting
             Defendant ARNAOUT’s participation in obtaining missiles,
             bombs and mortars in 1989 and 1990 in connection with
             Hezb e Islami;

             viii. various newspaper articles including a 1988 article with
             a photograph depicting OSAMA BIN LADEN, Defendant
             ARNAOUT, and one of the founders of the BIF Enterprise;
             as well as 1998 articles concerning OSAMA BIN LADEN’s
             threats against the United States and the State Department’s
             1997 list of designated terrorist organizations; and

             ix. a handwritten organizational chart placing Defendant
             ARNAOUT at the top of a jihad organization involved with
             weapons.

      316.   In describing this archive, the US Government wrote in its Evidentiary Proffer in

USA v. Enaam Arnaout;

                      BIF had in its Sarajevo office a computer file labeled
             “Tareekh Osama,” or “Osama’s History.” The file contains
             scanned images of documents which chronicles Usama Bin
             Laden’s activities in Afghanistan which led to the formation of
             al Qaeda and even includes later reports of the danger
             BinLaden poses to the U.S.
                      BIF possessed in the file a handwritten draft list of the
             people referred to within al Qaeda as the “Golden Chain,”
             wealthy donors to mujahideen efforts. Ex. 5. At the top of the
             list is a Koranic verse stating: “And spend for God’s cause.”
             Id. The list contains twenty names, and after each name is a
             parenthetical, likely indicating the person who received the
             money from the specified donor. Id. “Usama”appears after
             seven of the listings, including the listing “Bin Laden
             Brothers.” Id. “Baterji”, LBI’s and BIF’s founder, appears
             after six of the listings. Id. Only three other persons are listed
             in the parentheses.


      317.   On or about April 15, 2002, ARNAOUT spoke to the BIF director in Pakistan and




                                              193
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 194 of 243




advised him to avoid government scrutiny in Pakistan by fleeing to Afghanistan with the BIF’s

money and to evade detection by refraining from the use of banks, telephones or electronic mail.

       318.    Defendant ARNAOUT and his co-conspirators fraudulently solicited and obtained

funds from prospective donors to the BIF Enterprise by falsely representing that the BIF Enterprise

would use donated funds solely for humanitarian purposes, with a small amount being used for

administrative expenses, while concealing the fact that a portion of the money raised by the BIF

Enterprise was being used to support groups engaged in armed confrontations and violence

overseas.

       319.    Defendant BIF and ARNAOUT and co-conspirators used BIF’s status as a charity

and a tax-exempt organization to lessen scrutiny by various governments concerning the financial

and other activities of the BIF Enterprise’s employees and agents, the BIF Enterprise’s overseas

offices, and the travel of the BIF Enterprise employees, agents, and associates.

       320.    Defendant ARNAOUT and BIF co-conspirators kept secret from governments and

the general public, including a significant number of donors, facts about Defendant ARNAOUT’s

relationship with organizations engaging in violence, including AL QAEDA and OSAMA BIN

LADEN.

       321.    BIF and ARNAOUT engaged in a conspiracy, the method and means of the

conspiracy included the following, among other illegal activities.

       322.    ENAAM M. ARNAOUT conspired with others to provide material support and

resources to persons, groups and organizations engaged in violent terrorist activities, including AL

QAEDA, and persons engaged in violent confrontations and to conceal and disguise the nature,




                                                194
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 195 of 243




location, source and ownership of material support and resources, knowing and intending that they

be used in preparation for and in carrying out acts of international terrorism.

        323.   Defendant ARNAOUT and other members of the BIF conspiracy agreed to transfer

by wire funds from BIF’s checking accounts to bank accounts in various locations, including New

Jersey and accounts outside the United States, which involved the proceeds of specified unlawful

activities.

        324.   ARNAOUT initially denied knowing BIN LADEN, but a March 19, 2002, police

raid at Bosnian offices and homes related to BIF, uncovered photographs of ARNAOUT with a rifle

in his hands and BIN LADEN at his side at what appeared to be an AL QAEDA training facility.

Documents found in the raid detail a relationship between ARNAOUT and BIN LADEN going

back 15 years. Both BIF and ARNAOUT have had their assets frozen and are believed, by the

United States Department of Justice, to be AL QAEDA co-conspirators.

        325.   Terrorists who had direct contact with BIF include: Mamdouh Mahmud Salim, an

Iraqi who established links between AL QAEDA and groups in IRAQ, SUDAN and Lebanon. He

was a key BIN LADEN aide who tried to obtain nuclear and chemical weapons for AL QAEDA.

He was arrested in the 1998 AL QAEDA Embassy bombings and was at one time listed as a BIF

director. Other terrorists linked to BIF include: MOHAMED BAYAZID, who also assisted AL

QAEDA attempts to acquire nuclear material; MOHAMAD JAMAL KHALIFA, BIN LADEN’s

brother-in-law who has been linked to the 1993 World Trade Center bombing and the disrupted plot

to bomb 12 American airliners in 1995; and Wali Khan Amin Shah who was convicted for his

participation in the plot to bomb American airliners.




                                                195
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 196 of 243




       326.     Upon information and belief, BIF assisted these and other AL QAEDA terrorists

with housing, travel documents and/or funding in the United States and abroad. AL QAEDA

members were given jobs with the Foundation and used the charity to transfer money to AL

QAEDA members.

       327.    Federal agents stated that BIN LADEN and AL QAEDA members withdrew funds

to support terrorist activities from bank accounts held by the charity and that BIF accounts in offices

around the world provided a cover for the movement of terror funds.

       328.    Co-conspirators, aiders and abettors of the BENEVOLENCE INTERNATIONAL

FOUNDATION          (a/k/a   al-Birr   al-Dawalia),     include    Defendants:     BENEVOLENCE

INTERNATIONAL FOUNDATION, ENAAM MAHMOUD ARNAOUT (a/k/a Abdel del Samia,

a/k/a Abu Mahmoud), ADEL BATTERJEE, all located, doing business or registered to do business

in the United States

                              THE SAUDI HIGH COMMISSION

       329.    THE SAUDI HIGH COMMISSION, (a/k/a the Saudi High Relief Commission) (or

“SHC”) was founded in 1993 by PRINCE SALMAN BIN ABDULAZIZ                              (or “PRINCE

SALMAN”), the Mayor of Riyadh. Hailed as the largest fund-raising effort in the Arab and Muslim

world, the SAUDI HIGH COMMISSION claims to have spent more than $600 million in aid to

Bosnian Muslims impoverished by the country’s recent civil war.

       330.    SHC has been widely criticized by aid agencies and Bosnian intellectuals for

importing the extreme form of Saudi Islam, Wahhabism, which is alien to the more moderate,

secular form of Islam found in Bosnia. Bosnian officials claim that the Wahhabis’ intolerant and




                                                 196
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 197 of 243




anti-Western form of Islam contradicts and offends Bosnian tradition and undermines the country’s

rich and diverse religious heritage.

       331.    On October 21, 2001, five Algerians were arrested in Bosnia Herzegovina on

criminal charges of international terrorism following a threat to the United States embassy. The

incident resulted in the five day closure of the United States and British embassies for what both

embassies called “a credible security threat.” The plot was discovered when United States

intelligence intercepted a telephone conversation between two of the accomplices about the mission.

During this telephone conversation, one of the terrorists said, “American interests would be

jeopardized within 48 hours.”

       332.    This group of Algerians is suspected to be a part of the AL QAEDA network. The

NATO Secretary-General, George Robertson, stated that at least one of the five had “direct links

with AL QAEDA and BIN LADEN.” The leader of the group, Bensayah Belkacem, has been

identified as a top AL QAEDA lieutenant. In October, 2001, Belkacem was arrested at his

apartment in Zenica, Bosnia, where authorities found phony passports and a mobile telephone

listing for ABU ZUBAYDAH, AL QAEDA’s third-in-command. According to phone transcripts,

Belkacem was also in phone contact with an AL QAEDA military commander Abu Al Maid.

       333.    One of the six Algerian terror suspects, Sabir Lamar, worked for the SAUDI HIGH

COMMISSION as an Arabic language teacher. Sabir Lamar fought in Afghanistan with the

Mujahideen. He is married to the daughter of a former local employee at the United States embassy

in Sarajevo.

       334.    In October, 2001, United States forces raided the Sarajevo branch of the SAUDI




                                               197
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 198 of 243




HIGH COMMISSION and found computer hard drives with photographs of the World Trade Center

before and after its collapse as well as photos of United States embassies in Kenya and Tanzania

and the U.S.S. Cole. Additionally, United States forces discovered files on pesticides and crop

dusters, information about how to make fake State Department badges as well as photographs and

maps of Washington D.C., with government buildings marked. About $100,000 worth of local

currency was found in a safe, as well as anti-Semitic and anti-United States computer material

geared toward children.

       335.    The Financial Police of the Federation of Bosnia Herzegovina Ministry of Finance

analyzed the documents seized from the offices of the SAUDI HIGH COMMISSION and described

the organization as a front for radical and terrorism-related activities:

               Members of the SFOR have on premises of the SAUDI HIGH
               COMMISSION Relief for Bosnia and Herzegovina confiscated some
               documentation for which it can be claimed with certainty that it does
               not belong in the scope of work of a humanitarian organization
               (various photographs of the World Trade Center, sketches of military
               bases, certain photographs of military ships, civil airplanes, certain
               specially protected facilities, and other).

       336.    In October 2001, a Bosnian spokesman announced that between 100,000 DM and

200,000 DM in cash were also seized in the offices of the Saudi High Commission. The SAUDI

HIGH COMMISSION used 24 vehicles with diplomatic plates to transport members and material

inside Bosnia Herzegovina.

       337.    Given its level of financing, the SAUDI HIGH COMMISSION does not provide

adequate financial aid to the needy. The SAUDI HIGH COMMISSION was functioning at least

until February 2001, when the announcement was made that the organization provided in a nine-




                                                 198
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 199 of 243




year period a total of $560,900,000 in donations. Since at least year 2000, funds sent to help Bosnia

Herzegovina were diverted for terrorist activities and not charity. For instance, in September 2000,

PRINCE SALMAN was alerted by a letter from the Bosnian association “Mothers of Srebrenica

and Podrinje” in which it was clearly claimed that the SAUDI HIGH COMMISSION in Bosnia

Herzegovina did not provide charitable assistance.

       338.    This Bosnian association stated that while PRINCE SALMAN announced that 200

million DM were collected in only one day after Srebrenica’s fall in July 1995, none of the Saudi

assistance reached the Srebrenica people. United States investigative forces are currently reviewing

suspicious financial records of the SAUDI HIGH COMMISSION which fail to account for $41

million dollars.

       339.    PRINCE SALMAN knowingly failed to take appropriate actions regarding the

management and use of funds of the SAUDI HIGH COMMISSION in Bosnia Herzegovina, as

proven by the evidence of non-charitable work discovered in the raids conducted in the Sarajevo

office of the organization.



              MUWAFFAQ-BLESSED RELIEF; AL QADI AND BIN MAHFOUZ

       340.    On October 12, 2001, one month after the September 11, 2001 attacks, with

Executive Order 13224, President George W. Bush designated Saudi businessman YASSIN AL

QADI as a terrorist sponsor for financially supporting AL QAEDA. As stated in a United States

Department of Treasury Press Release on October 12, 2001:

               Yassin Al Qadi (heads) the Saudi-based MUWAFFAQ (or
               "Blessed Relief") Foundation, an AL QAEDA front that



                                                199
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 200 of 243




               transfers millions of dollars from wealthy Saudi businessmen
               to bin Laden.

       341.    Defendant MUWAFFAQ (or “BLESSED RELIEF”) was registered in the Channel

Islands in 1992 but run from Jeddah, Saudi Arabia. The BLESSED RELIEF charity had an

international presence with offices in Europe, Ethiopia, Pakistan, SUDAN, Somalia as well as the

United States. BLESSED RELIEF purported to conduct traditional relief work such as the

distribution of food, clothing and medical equipment to victims of war or famine. MUWAFFAQ-

BLESSED RELIEF was endowed by Defendant KHALID BIN SALIM BIN MAHFOUZ, an AL

QAEDA financier, and run by YASSIN AL QADI. KHALID BIN SALIM BIN MAHFOUZ’s son,

ABDUL RAHMAN KHALID BIN SALIM BIN MAHFOUZ, was also a director of the BLESSED

RELIEF charity.

       342.    YASSIN AL QADI ran BLESSED RELIEF from 1992 with $15 to $20 million of

his own money, along with contributions from other wealthy associates and according to a June

1998 U.S. Justice Department report, sent $820,000 to buy weapons for Hamas. Millions of dollars

have been transferred to OSAMA BIN LADEN and AL QAEDA through BLESSED RELIEF.

During the 1990s an audit of the Defendant NATIONAL COMMERCIAL BANK OF SAUDI

ARABIA which was then run by KHALID BIN SALIM BIN MAHFOUZ and his son

ABDURAHMAN BIN MAHFOUZ, revealed the transfer of $3 million for OSAMA BIN LADEN

that was moved from the accounts of wealthy Saudi businessmen to BLESSED RELIEF.

       343.    In a 1995 interview, OSAMA BIN LADEN identified BLESSED RELIEF’s place

in his support network, “The bin-Laden Establishment’s aid covers 13 countries . . . this aid comes

in particular from the SAUDI HIGH COMMISSION .” OSAMA BIN LADEN went on to list a



                                               200
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 201 of 243




number of the Human Concern International Society’s branches, including the BLESSED RELIEF

SOCIETY.

       344.    YASSIN AL QADI incorporated the United States branch of BLESSED RELIEF

in Delaware in 1992, along with Talal M. M. Badkook and Dr. Mohamed Ali Elgari.

       345.    YASSIN AL QADI is a Director of GLOBAL DIAMOND RESOURCES, based in

Nevada. He sits on the board as a representative of NEW DIAMOND HOLDINGS, a foreign

investor firm that has a controlling interest in GLOBAL DIAMOND. Along with YASSIN AL

QADI, serving on the board of directors are representatives of the BIN LADEN family who invested

in GLOBAL DIAMOND RESOURCES. YASSIN AL QADI was introduced to GLOBAL

DIAMOND RESOURCE’s Chairman by an executive at the SAUDI BIN LADEN GROUP. In

regards to the company’s decision to let AL QADI join as an investor, the Chairman said, “I relied

on the representations of the BIN LADEN family. They vouched for him.”



                                        AL-HARAMAIN

       346.    The Saudi Arabian-based AL-HARAMAIN ISLAMIC FOUNDATION INC. (or

“AL-HARAMAIN”) is a private charitable organization that is supposed to provide a variety of

humanitarian services for Muslims worldwide. Established in Riyadh in 1992, AL-HARAMAIN

quickly developed a vast network of offices and representatives that now spans over fifty countries,

including the United States. AL-HARAMAIN raises most of its funds from Saudi Arabia where it

oversees the distribution of its resources across the world.

       347.    Although AL-HARAMAIN operates in many countries they are still controlled




                                                201
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 202 of 243




primarily from AL-HARAMAIN’s headquarters in Riyadh, Saudi Arabia. The President and Vice-

President of the United States branch, AQEEL AL AQEEL and MANSOUR AL KADI, both reside

in Riyadh, Saudi Arabia where they run        AL-HARAMAIN worldwide.            Defendant AL-

HARAMAIN ISLAMIC FOUNDATION, INC., is a Saudi charity front that has exploited its non-

profit status for the benefit of OSAMA BIN LADEN and his terrorist network AL QAEDA, in the

furtherance of international terrorism. In doing so, AL-HARAMAIN has developed an extensive

worldwide network. Many of AL-HARAMAIN’s foreign branches have been exposed for providing

direct and material support to AL QAEDA. The United States Department of the Treasury has

designated two of AL-HARAMAIN’s branches located in Bosnia and Somalia, as terrorist entities

and frozen the assets of both. The leaders of AL-HARAMAIN have direct links to AL QAEDA.

       348.    In December of 1999, AL-HARAMAIN conducted a joint fund-raising event with

a known AL QAEDA front, the Defendant INTERNATIONAL ISLAMIC RELIEF

ORGANIZATION (IIRO) and the WORLD ASSEMBLY OF MUSLIM YOUTH (WAMY) in

Riyadh, Saudi Arabia. AL-HARAMAIN and its co-conspirators also solicit and operate widely in

the United States.

       349.    Co-conspirators, aiders and abettors of the AL-HARAMAIN ISLAMIC

FOUNDATION doing business or registered to do business in the United States include

Defendants: AL HARAMAIN FOUNDATION, AL HARAMAIN ISLAMIC FOUNDATION,

INC., AQEEL ABDUL AZEEL AL AQEEL, MANSOUR AL KADI, SOLIMAN H.S. AL

BUTHE, and PEROUZ SEDA GHATY.

        350. Intelligence officials throughout the world have acknowledged that AL-HARAMAIN
exploited its non-profit status by providing secret aid to terrorist groups. In referring to AL-



                                              202
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 203 of 243




HARAMAIN in a speech given on March 11, 2002, United States Treasury Secretary Paul O’Neill,
stated:
          Few deceits are more reprehensible than the act of collecting charity
          from well-intentioned donors, and then diverting those funds to
          support hatred and cruelty. As I said during my visit to the Gulf,
          misusing charity funds to support terrorism harms the people who
          gave the donation, harms the people who should have received it
          and is dangerous to us all. Organizations that pervert the name of
          charity are an affront to us all, and we will find them, expose them,
          and shut them down.

       351.   After the June 2, 2002, raids of AL-HARAMAIN offices in Bosnia, the Commander

of the NATO-led forces in Bosnia, Lieutenant General John Sylvester stated:

              We detected a pattern here . . . for terrorist cells and those
              who aid and harbor them to operate behind the shield of
              legitimate humanitarian . . . organizationsÿ. They were
              preaching good, and sometimes doing good, while plotting
              evil.

       352.   On March 11, 2002, the United States froze the funds of the Bosnia-Herzegovina and

Somalia branches of the AL-HARAMAIN Islamic Foundation.                  These branches of AL-

HARAMAIN were “diverting charitable funds to terrorism.”            The United States Treasury

Department issued a Press Release about the designations that stated:

              The branch offices of al Haramain in Somalia and Bosnia
              are clearly linked to terrorist financing.

       353.   Although AL-HARAMAIN in Saudi Arabia was not included in this designation,

the Bosnian and Somalian branches receive their funding and guidance from the AL-HARAMAIN

headquarters in Riyadh, Saudi Arabia.

       354.   AL-HARAMAIN’s Bosnia and Somalian offices and the rest of AL-HARAMAIN

are closely intertwined. AL-HARAMAIN’s headquarters provides the funding, management, and

direction of the Somalian and Bosnian branches. The headquarters also maintains one website that


                                              203
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 204 of 243




covers AL-HARAMAIN worldwide and, on occasion, devotes certain pages of its website to certain

individual branches.

       355.   A United States Treasury Department Press Release stated that AL-HARAMAIN

worked with the AL QAEDA-linked Somali-based terrorist group Al Itihad Al Islamiya (or AIAI).

This like-minded Islamic fundamentalist group operated in the AL QAEDA orbit as it sought to

establish an Islamic state in Somalia and moved into a terrorist force in the mid 1990s. AIAI’s

involvement in September 11 includes sharing of training and personnel with AL QAEDA using

money provided by the Saudis through defendant AL HARAMAIN’s offices in Bosnia and Somalia.

The Al Barakaat Bank was a financial vehicle for AL QAEDA.. The press release states:

              The Somalia office of AL-HARAMAIN is linked to Osama
              Bin Laden's Al Qaeda network and Al-Itihad Al-Islamiya
              (AIAI), a Somali terrorist group. Al-Haramain Somalia
              employed AIAI members and provided them with salaries
              through Al Barakaat Bank, which was designated on
              November 7, 2001 under E.O. 13224 because of its activities
              as a principal source of funding, intelligence and money
              transfers for Osama Bin Laden.

       356.   The cooperation between AL QAEDA and Al-itihad Al-islamiya has not ceased.

The 2002 United States Department of State’s Patterns on Global Terrorism report states that Al-

itihad Al-islamiya is a terrorist group that maintains ties to AL QAEDA. The Treasury Department

Press Release about the designation also states that AL-HARAMAIN’s support of Al-itihad Al-

islamiya has been concealed under its humanitarian cover:

              Over the past few years, Al-Haramain Somalia has funneled
              money to AIAI by disguising funds as if they were intended
              for orphanage projects or Islamic school and mosque
              construction. The organization has also employed AIAI
              members and provided them with salaries through Barakaat



                                              204
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 205 of 243




               Banks and Remittances, a subsidiary of al-Barakaat Bank.

       357.    This concert of action, aiding and abetting of terror and material sponsorship of

international terrorism is precisely the hallmark of the offensive upon the United States that

culminated on September 11, 2001.

       358.    The AL-HARAMAIN Islamic Foundation was banned from Kenya for national

security concerns following the 1998 embassy bombings. OSAMA BIN LADEN and AL QAEDA

were convicted by the United States in 2001 for plotting and executing these dual attacks in Nairobi,

Kenya, and Dar Es Salaam, Tanzania, which killed 224 people, including 12 Americans, and injured

more than 4,000. These indictments and convictions demonstrate the United States government’s

belief that both OSAMA BIN LADEN and AL QAEDA have committed acts within and outside

the United States which trigger the United States District Courts’ jurisdiction over such entities.

       359.    The United States Treasury Department Press Release following the March 11, 2002,

designation of AL-HARAMAIN’s Bosnian and Somalian offices, stated the following about its

connection to the terrorist group Al-Gama’a Al-Islamiyya:

               The Bosnia office of Al-Haramain is linked to Al-Gama’a Al-
               Islamiyya, an Egyptian terrorist group. Al-Gama’a Al-
               Islamiyya was designated on November 2, 2001 and it is a
               signatory to Osama Bin Laden’s fatwas dated February 23,
               1998, targeting Americans and their allies.

       360.    In March 2002, Bosnian officials raided AL-HARAMAIN’s Sarajevo office and

discovered more proof of AL-HARAMAIN using its humanitarian image as a cover for terrorism.

A Bosnian intelligence report explains how investigators discovered that AL-HARAMAIN’s

financial records from 1994 through 1998 had been destroyed and that $1.59 Million dollars had

been inexplicably withdrawn from the charity between 1999 and 2001. The Bosnian intelligence


                                                205
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 206 of 243




report about the March 2002 raids also stated: “We believe that the clear lack of any concrete

humanitarian projects indicates that the existence of this organization was a fictitious cover for

probable links with terrorism.” In 2001, the Saudi-based AL-HARAMAIN aided AL QAEDA

terrorists groups in Chechnya and elsewhere by providing them with recruits, weapons, and money.

       361.       AL-HARAMAIN’s website used to have a direct link to the AL QAEDA site about

the Chechnya operations (qoqaz.com). The website was one of several AL QAEDA websites,

including qoqaz.com, qoqaz.net, and azzam.com (among others) that are part of the AL QAEDA

propaganda effort of Azzam Publications. The government of the United States has been tracking

the domains of azzam.com and qoqaz.com in an ongoing effort to shut down the sites for their role

as an AL QAEDA sponsor, promoter and mouthpiece. FBI Special Agent Robert Walker described

qoqaz.net, the English language equivalent of qoqaz.com, in his April 29, 2002, Affidavit in

Support of Complaint Against BENEVOLENCE INTERNATIONAL FOUNDATION, Inc. and

ENAAM M. ARNOUT. In his Affidavit, Walker stated that qoqaz.net leverages its relationship

with charities:

                  In or about early 2000, a website (www.qoqaz.net) dedicated
                  to the cause of Chechen mujahideen identified the leaders of
                  the military fight in Chechnya as including Ibn al Khattab
                  and included pictures of mujahideen training as well as
                  killed mujahideen. CW-1 has identified Ibn al Khattab as a
                  well-known mujahideen leader with links to Osama Bin
                  Laden. . . . The website condemned America . . .

       362.       Shortly after the merger of EGYPTIAN ISLAMIC JIHAD with OSAMA BIN

LADEN’s AL QAEDA, Ahmed Ibrahim Al Najjar, initially a member of the EGYPTIAN ISLAMIC

JIHAD, was sent on a new mission to Albania to work for AL-HARAMAIN. After al Najjar was




                                                 206
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 207 of 243




deported from Albania to Egypt in 1999, he was sentenced to death for acts of terrorism. In his

testimony, al Najjar admitted to being a full-fledged AL QAEDA member who entered Albania

with a false passport and who, like many other AL QAEDA operatives, was engaged in purported

humanitarian activities while waiting for orders to participate in terror activities. The case of Al

Najjar is but one example of a senior AL QAEDA operative who not only found refuge from

authorities with AL-HARAMAIN, but a platform from which to wage war and promote the use of

terror.

          363.   AL-HARAMAIN took part in a committee of charitable organizations that formed

the SAUDI JOINT RELIEF COMMITTEE (or “SJRC”). Along with AL-HARAMAIN, the SJRC

is comprised of the IIRO, WAMY, the SAUDI RED CRESCENT, and the MUSLIM WORLD

LEAGUE, among others. The SJRC has been connected to OSAMA BIN LADEN and two of his

top operatives, WA’EL HAMZA JULAIDAN and Adel Muhammad Sadiq bin Kazem. The United

States Treasury Department has branded JULAIDAN a Specially Designated Global Terrorist Entity

[SDGT], stating that JULAIDAN is “an associate of Osama bin Laden and a support of al-Qa’ida

terror.” AL-HARAMAIN has been able to continue its cooperation with AL QAEDA for years in

large part due to its ostensible appearance as a humanitarian organization.

          364.   In the United States, AL-HARAMAIN has three business entities in Ashland,

Oregon: AL-HARAMAIN FOUNDATION, AL-HARAMAIN Islamic Foundation, and AL

HARAMAIN Islamic Foundation, Inc. All three of these separately filed businesses are at the same

address and under the same management. These three businesses are one and the same as AL-

HARAMAIN’s headquarters in Riyadh, Saudi Arabia. The President and Vice-President of the




                                                207
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 208 of 243




United States branch, AQEEL AL AQEEL and MANSOUR AL KADI, are the Secretary General

and Deputy General, respectively, of the Riyadh office. The AL-HARAMAIN branch in Ashland,

Oregon, is specifically linked to AL QAEDA operations.

       365.    AL-HARAMAIN Ashland states in its year 2000 Form 990 that it operates an

Islamic center in Springfield, Missouri. Corporate records reveal that AL-HARAMAIN owns

property in Springfield, Missouri.

       366.    AL-HARAMAIN has been implicated as providing funds for the bombing of a night

club in Bali in 2002. AL-HARAMAIN continues in its illicit pattern of conduct in sponsoring acts

of international terrorism.

       367.    Umar Faruq, an admitted terrorist co-conspirator and a member of the AL QAEDA

terrorist organization, was arrested in or about May 2002. According to the confession of ABU

ZUBAYDAH, a top AL QAEDA leader detained by the United States authorities, Umar Faruq was

a senior AL QAEDA representative in Southern Asia. An interrogation of Umar Faruq was

conducted by United States authorities at the United States Air Force Base in Baghram,

Afghanistan, on May 23, 2002.

       368.    During a custodial interview on Sept 9, 2002, Umar Faruq confirmed that he was AL

QAEDA's senior representative to Southeast Asia and was initially sent to the region by ABU

ZUBAYDAH and Ibn Sheik Al Libi to plan large-scale attacks against United States interests in

Indonesia, Malaysia, Philippines, Singapore, Thailand, Taiwan, Vietnam and Cambodia. In

particular, Faruq prepared a plan to conduct simultaneous car/truck bomb attacks against United

States embassies in the region to take place on or about September 11, 2002.




                                              208
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 209 of 243




       369.    During an interrogation conducted by United States authorities at the United States

air force base in Baghram, Afghanistan, on May 23, 2002, Umar Faruq confessed that AL-

HARAMAIN was the main financial mechanism for funding terrorists operations in the region,

through its Indonesian office director in Jakarta, Ahmed Al Moudi. The AL-HARAMAIN

organization is said to have planned terrorist attacks in Indonesia.

               Al Haramayn was the funding mechanism of all operations
               in Indonesia. Money was laundered through the foundation
               by donors from the Middle East. Money was given to [him]
               to al Haramayn’s branch in Jakarta, which he said is
               connected to Kompak [Crisis Center Committee or
               Committee for Crisis Handling of the Dewan Dakwah
               Islamiyah organization, Islamic Propagation Council in
               Indonesia]. The two groups plan terrorist activity in
               Indonesia. The foundation had an office in Makassar where
               Faruq was introduced to the foundation’s head by Agus
               Dwikarna [Director of Kompak]. Faruq was given orders
               by Rashid [al-Qaida senior officer] to get money transferred
               to the foundation’s office in Jakarta through Ahmed Al
               Moudi [head of al Haramayn’s office in Jakarta].

       370.    Umar Faruq further stated that AL-HARAMAIN received money from a

Saudi, Sheikh Bandar. Sheikh Bandar gave $99,000 to Faruq to give to Al Moudi. Faruq

said Sheikh Bandar was the head of AL HARAMAIN in Saudi Arabia.

       371.    Furthermore, during a custodial interview on September 9, 2002, Umar

Faruq stated that terrorist operations of Jemaah Islamiya, founded by Abu Bakar Bashir and

directed by his top commander Nurjaman Riduan Ismuddin a/k/a Hambali , and Mohammed

Iqbal Abdurrahman a/k/a Abu Jibril, were funded by donations channeled through AL

HARAMAIN ISLAMIC FOUNDATION. Jemaah Islamiya is an extremist group closely

associated with AL QAEDA. It’s terror activities with AL QAEDA included planning the



                                                209
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 210 of 243




Bojinka attack, a foiled attempt to bomb 12 American airliners traveling over the Pacific,

and cooperation in the bombing of the U.S.S. Cole in 2000. Hambali is also believed to

have arranged a meeting of September 11 hijackers with other AL QAEDA members in

Malaysia in 2000:

               AL QAEDA encourages Basyir's [Abu Bakar Bashir] goal
               to spark a religious civil war in Indonesia in order to
               achieve his vision of a pure Islamic state under Islamic law.
               Basyir's plan of training jihadists and massing weapons and
               ammunition has been coordinated with Rashid, a senior
               lieutenant of Osama bin Ladin. Rashid also acts as a
               representative of a committee of Gulf-state sheiks who are Al
               Qa'ida financiers and who have committed ample funds,
               weapons, ammunition and computers to support this war.
               Funds are channeled through the Al-Haramain NGO.

       372.    AL-HARAMAIN is engaged in unlawful aiding, abetting, conspiring with

and offering material support to AL QAEDA which constitutes an unlawful pattern of

conduct, illicit scheme and enterprise.



                               RABITA TRUST

       373.    RABITA TRUST is a charitable organization which was created to organize the

repatriation and rehabilitation of stranded Pakistanis (Biharis) from Bangladesh. Founded in 1988,

the trust fund was started jointly by the government of Pakistan and the Saudi-based charity, the

MUSLIM WORLD LEAGUE. RABITA TRUST received the majority of its funding from the

MWL and the Saudis.

       374.    RABITA TRUST was initially granted 250 million Rupees from the Pakistani

government as well as 50 million Rupees from the MWL to help relocate some 250,000 displaced



                                               210
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 211 of 243




Pakistani refugees in Bangladesh. In its 15 years of existence, the RABITA TRUST has only

managed to relocate a few hundred Biharis.

       375.     RABITA TRUST is an AL QAEDA front, and the Head of RABITA TRUST is a

known AL QAEDA member. A Treasury Department press release issued when RABITA

TRUST’s assets were frozen indicated that:

                Rabita Trust is headed by Wa’el Hamza Julaidan, one of the
                founders of al-Qaida with bin Laden. He is the logistics chief of bin
                Laden’s organization and fought on bin Laden’s side in Afghanistan.

       376.     According to a biography of BIN LADEN and the original members of AL QAEDA,

the head of RABITA TRUST, WA’EL JULAIDAN, fought alongside OSAMA BIN LADEN and

championed his cause. The biography, written by a fellow compatriot of BIN LADEN, noted how

AL QAEDA’s key founders fought against the Soviets in Afghanistan during the Soviet-Afghan war

of the 1980s.

                One of the men who led the Arab Afghan Jihad forces came from one
                of the wealthiest Saudi families; he was influenced by the Afghan
                struggle, who would live together with them and sacrifice everything
                for the Afghani jihad. This man was Osama Bin Laden, a young, tall
                man who followed Dr. Abdullah Azzam to fight in Afghanistan.
                Another Saudi joined together with them; his name was Wa’el
                Julaidan, a US student who was studying agriculture and left to fight
                jihad in Afghanistan. These three: Osama Bin Laden (a.k.a. ‘Abu
                Abdallah’), Dr. Abdullah Azzam (a.k.a. Abu Muhammed), and Wa’el
                Julaidan (a.k.a. Abu Al Hassen al Madani), gathered together in
                December 1979 to create the new Islamic revolution in Afghanistan.


       377.     RABITA TRUST is the sibling organization of the IIRO as they are both subsidiaries

of the MWL.

       378.     RABITA TRUST is connected to the SAAR network (infra), through two officers,



                                                211
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 212 of 243




Dr. ABDULLAH OMAR NASEEF and Abdullah Al Obaid.

       379.    On October 12, 2001, RABITA TRUST was listed as a Specially Designated Global

Terrorist Entity. Its chairman is Defendant ABDULLAH OMAR NASEEF who founded the

Defendant RABITA TRUST in July 1988 and is currently its chairman.

       380.    ABDULLAH OMAR NASEEF ( or “NASEEF”) also served as Secretary-General

of the MWL during the time he created RABITA TRUST and has attempted to spread MWL offices

around the world. Part of his global efforts are found in his involvement in a SAAR network

charity. NASEEF is an officer of Makkah al-Mukarramah, Inc., registered in Virginia as a non-

profit organization. A second shared executive is the Vice-Chairman of the Board of Trustees of

RABITA TRUST, Abdullah Al Obaid, who is also an officer at two of the SAAR network

businesses that were raided, the MWL and SANABEL AL-KHEER.



                             AL RASHID TRUST

       381.    The AL RASHID TRUST a/k/a the Aid Organization of the Ulema was established

in Pakistan in 1996 at the time the TALIBAN took control in Afghanistan. The trust was established

by MUFTI MOHAMMED RASHID to carry out welfare projects with funds raised in the Pakistani

Muslim Community. This organization remains active and headquartered in Pakistan where it

operates offices. Upon information and belief, the Trust provides financial aid to jailed terrorists

around the world and is closely aligned to the TALIBAN and BIN LADEN. The AL RASHID

TRUST has been raising funds for the TALIBAN since 1999. The Trust helped fund radio,

newsprint and madrassas (schools) that teach a view of Islam that endorses violence and martyrdom




                                               212
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 213 of 243




in the name of Allah. Upon information and belief, the group conspired with AL QAEDA and

Pakistani terrorists to kidnap, torture and murder Wall Street Journal reporter Daniel Pearl, holding

him hostage in a two room hut in the AL RASHID compound. The AL RASHID TRUST and

MUFTI MOHAMMED RASHID provided money and logistical support to the TALIBAN and AL

QAEDA and both have been listed as Specially Designated Global Terrorists.



                              THE MUSLIM BROTHERHOOD

       382.    The MUSLIM BROTHERHOOD was founded in Egypt in 1928 to promote radical

Islam. It was crushed by the Egyptian government causing its members to seek refuge in other

countries in the Middle East and elsewhere. Many went to Saudi Arabia where they were welcomed

and funded. The MUSLIM WORLD LEAGUE, WORLD ASSEMBLY OF MUSLIM YOUTH and

their many offshoots and branches were founded and supported by the MUSLIM BROTHERHOOD.

The association is an umbrella organization which supports and sponsors AL QAEDA and other

terror groups both before and after September 11, 2001.

       383.    YOUSEF NADA helped finance and structure the MUSLIM BROTHERHOOD after

fleeing Egypt. He created ASAT TRUST in 1970 in Liechtenstein to finance the MUSLIM

BROTHERHOOD’s objectives by opening numerous entities under ASAT TRUST’s direction and

control. AHMED IDRIS NASSREDDIN an Ethiopian banker who went on to join YOUSEF NADA

in many business enterprises under ASAT TRUST was already doing business in Liechtenstein.

YOUSEF NADA employed a cadre of accountants and lawyers including Liechtenstein residents,

Erwin and Martin Wachter, Engelbert Schreiber Sr. and Englebert Schreiber Jr., to create and operate




                                                213
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 214 of 243




sophisticated funding mechanisms.

       384.   Over the years ASAT added dozens of companies, foundations, Islamic religious

groups and financial institutions with offices located around the world. ASAT TRUST became a

global network of financial, religious, business and charitable institutions for the MUSLIM

BROTHERHOOD. This structure however, also financed extremist organizations, including

OSAMA BIN LADEN and AL QAEDA and moved and laundered funds for terrorist activities.

       385.   BANK AL TAQWA is a company founded by NADA and NASREDDIN. Its other

principals are: ALI GHALEB HIMMAT, ALBERT FRIEDRICH ARMAND HUBER a/k/a AHMED

HUBER, and YUSUF AL QARDAWI. Its main office is 10 Deveux Street, PO Box 4877, Nassau

Bahamas. An affiliated company in Lugano, Switzerland AL TAQWA MANAGEMENT

ORGANIZATION a/k/a NADA MANAGEMENT ORGANIZATION performed much of the actual

administrative work for BANK AL TAQWA. BANK AL TAQWA shares an address with AKIDA

ISLAMIC BANK and DAR AL MAAL AL ISLAMI TRUST in the Bahamas.

       386.   AHMED HUBER has publicly expressed support for AL QAEDA, has acknowledged

that he met with members of OSAMA BIN LADEN’s terrorist network in Lebanon and claims he

funneled money from wealthy Saudi families to BANK AL TAQWA. In 1996 and 1997, Italian

authorities with assistance from Switzerland first began investigating BANK AL TAQWA and

NADA links to terrorists.

       387.   Defendants JAMAL BARZINJI and HISHAM AL TALIB worked for NADA (infra),

the head of BANK AL TAQWA. Two other SAAR network officers were also affiliated with BANK

AL TAQWA. SULAIMAN AL RAJHI was on the Board of Directors of AKIDA BANK in the




                                           214
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 215 of 243




Bahamas.

       388.    Defendant BAKR MUHAMAD BIN LADEN and his brother, Ghalib M. Bin Laden,

brothers of defendant OSAMA BIN LADEN were investors and account holders in BANK AL

TAWQA. Ghalib Bin Laden made an original deposit of $1 million U.S. in BANK AL TAQWA.

       389.    Defendant SHEIKH YUSUF AL QARDAWI has long been a member of the

MUSLIM BROTHERHOOD. YUSUF AL QARDAWI is a major shareholder of BANK AL

TAQWA and sits on its Islamic Legal Control Committee. YUSUF AL QARDAWI, in May 2001,

just months before the terror attacks on America, said; “The suicide mission is the loftiest form of

jihad.” YUSUF AL QARDAWI is also an officer of three DAR AL MAAL AL ISLAMI TRUST

companies (infra.)

       390.    MOHAMED MANSOUR and ZEINAB MANSOUR-FATTOUH, as officers of AL

TAQWA MANAGEMENT must have been aware of the sources of funding for BANK AL TAQWA

as well as where was funds were disbursed.

        391.   The United States Department of the Treasury has listed the following people and

organizations as Specially Designated Global Terrorists; AKIDA BANK PRIVATE LTD aka Akida

Islamic Bank, ASAT TRUST, BANK AL TAQWA, MALAYSIAN SWISS GULF AND AFRICAN

CHAMBER aka Gulf Center aka MIGA, ALI GHALEB HIMMAT, ALBERT FRIEDRICH

ARMAND HUBER aka AHMED HUBER, MOHAMED MANSOUR, ZEINAB MANSOUR-

FATTOUH, NADA MANAGEMENT ORGANIZATION a/k/a al Taqwa Management

Organization, YOUSEF NADA, NASCO NASREDDIN HOLDINGS, AHMED IDRISS

NASREDDIN. All are participants or associated with ASAT TRUST’s activities and operations,




                                               215
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 216 of 243




which knowingly facilitate and support AL QAEDA’s financial network for terror activities.

       392.     HIMMAT, HUBER, MANSOUR, MANSOUR-FATTOUH,                           AL QARDAWI,

NASREDDIN and NADA are aiders, abettors, material sponsors and/or co-conspirators of

international terrorism, including AL QAIDA.




                                  SAUDI BIN LADEN GROUP

       393.     THE SAUDI BIN LADEN GROUP (or “SBG”), is a global conglomerate, based in

Saudi Arabia.

       394.     THE SAUDI BIN LADEN GROUP’s website details its history in the following

manner:

                The history of bin Laden began in 1931 when Mohammed bin Laden
                founded the company. From its humble beginnings as a general
                contractor, the company has grown and prospered in parallel with
                the growth and prosperity of the Kingdom of Saudi Arabia. Over the
                years the company has been entrusted with many major construction
                projects, projects that helped the Kingdom to develop its resources
                and expand its infrastructure.

       395.     The group is a privately held company wholly owned by the descendants of

Mohammed Awad Bin Laden, father of OSAMA BIN LADEN. The international conglomerate is

active in the areas of construction, engineering, real estate, distribution, telecommunications and

publishing. Construction accounts for more than half of SBG’s gross revenue.

       396.     SBG or its predecessor in interest, was the first private contractor in Saudi Arabia.

SBG’s status as an organization makes it exempt from publishing its financial records. For several




                                                216
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 217 of 243




years, it was the official and exclusive contractor of the holy sites of Mecca and Medina.

       397.    SAUDI BIN LADEN GROUP is run by BAKR M BIN LADEN, son of Mohammed

Bin Laden and brother of OSAMA BIN LADEN. At the time of the death of Mohamed Bin Laden,

MOHAMED BAHARETH was appointed by the King of Saudi Arabia to run the SAUDI BIN

LADEN GROUP until Salem Bin Laden could take over. Salem ran the group until his accidental

death in 1998. SBG’s board of directors include Saleh Gazaz, MOHAMMED BAHARETH,

Abdullah Bin Said, Mohammed Nur Rahimi, and Tarek M. Bin Laden. Until recently, the SAUDI

BIN LADEN GROUP had an address in Rockville, Maryland. MOHAMED BAHARETH also sits

on the board of FAISAL ISLAMIC BANK. (Infra)

       398.    OSAMA BIN LADEN used SBG support and assistance to build necessary

infrastructure in Afghanistan as he did in SUDAN. In the introduction of his Declaration of War

against the Americans in 1996, OSAMA BIN LADEN admitted this family support:

               Then in 1979, just after he graduated from King Abdul Aziz
               University in Afghanistan, and the Mujahideen put out an
               international plea for help, Osama bin Laden responded by packing
               himself and several of his family's bulldozers off to Afghanistan.


       399.    The SAUDI BIN LADEN GROUP provided material support and financing to

OSAMA BIN LADEN in Afghanistan, as reported by the United States State Department:

               Under Al Qaida auspices, Bin Laden imported bulldozers and other
               heavy equipment to cut roads, tunnels, hospitals, and storage depots
               Afghanistan’s mountainous terrain to move and shelter fighters and
               supplies.


       400.    After the Soviets withdrew from Afghanistan in 1989, OSAMA BIN LADEN

returned to work in the SAUDI BIN LADEN GROUP’s Jeddah-based construction business. He


                                               217
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 218 of 243




continued to support militant groups until his departure to SUDAN in 1991. After his relocation

to SUDAN the same year, OSAMA BIN LADEN maintained close relationships with the SAUDI

BIN LADEN GROUP and they remained his sponsor.

       401.    The relationships between Osama Bin Laden and his family continued, despite

claims to the contrary. Dr. Saad Al Fagih, Saudi dissident living in London, and former Afghan

combatant, who kept close relationship with Osama Bin Laden for many years, stated in 1994:

There’s a very interesting thing in Islamic structure of the family: you are obliged to support your

family members. Even if they are distant members. If it’s a cousin or a niece or a nephew, especially

a brother, you have to support them if you are a capable person. And the people feel sinful if they

don’t let this money go to its real owner, in this case, Osama Bin Laden.

       402.    The notion that OSAMA BIN LADEN had been somehow “disowned” by the BIN

LADEN’s family is not supported by the facts or by the realities of Saudi culture. In a 1997

interview, OSAMA BIN LADEN revealed that on nine different occasions, his mother, uncle and

brothers had visited him in Khartoum in SUDAN even though he had been exiled. The SAUDI BIN

LADEN GROUP provided OSAMA BIN LADEN financial assistance and engineering support in

Sudanese construction projects. Various sources confirmed that the Sudanese construction

company set up by OSAMA BIN LADEN, AL-HIJRA FOR CONSTRUCTION AND

DEVELOPMENT, was a subsidiary of the SAUDI BIN LADEN GROUP. This information is

confirmed by an Intelligence Newsletter:

               These are Wadi al Aqiq, an agricultural company with an investment
               arm; Al Timar Al Mubarikah, a sugar concern; Al Hijra a building
               and public works company . . . an affiliate of the powerful Saudi
               group headed Bin Laden’s father.



                                                218
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 219 of 243




       403.    In SUDAN, OSAMA BIN LADEN participated in the construction of the Tahaddi

road and the Port Sudan Airport. The SAUDI BIN LADEN GROUP provided support and

contributions to these public works through two subsidiaries. The Public Buildings and Airports

Division of the SAUDI BIN LADEN GROUP participated in the construction of the Port Sudan

Airport, and the Mohamed Bin Laden Organization (a subsidiary of SBG) provided technical

assistance on the road construction in the Sudan with OSAMA BIN LADEN. The SAUDI BIN

LADEN GROUP confirmed publicly these two collaborations:

               Over the years the Division has undertaken various challenging
               projects, large and medium scale, including complete airports and
               roads. . . . The projects executed include . . . Port Sudan Airport.
               SBG's skills . . . has been recognised and utilized in the United Arab
               Emirates, Jordan, Yemen and Sudan.

       404.    The agreement for the construction of an airport in Port Sudan was between the

Republic of SUDAN and the SAUDI BIN LADEN GROUP. In 1993, OSAMA BIN LADEN stated

that he was involved in the construction of the road linking Khartoum to Port Sudan with some of

the former Afghan fighters who became part of AL QAIDA.

       405.    Relationships between the three entities: OSAMA BIN LADEN, the Republic of

SUDAN, and the SAUDI BIN LADEN GROUP were stressed during the inauguration ceremony of

the Port Sudan airport:

               Meanwhile, Osama Bin Laden, was the first guest invited to attend
               the inauguration of the new Port Sudan Airport. He sat in the front
               row and was the guest of honor in this ceremony. It was a group of
               Bin Laden’s companies that carried out the project of the new and
               modern airport that cost huge amounts of money.

       406.    Moreover, while OSAMA BIN LADEN was constructing the Tahaddi Road with




                                               219
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 220 of 243




SAUDI BIN LADEN GROUP’s technical assistance, his own company, AL-HIJRA, was headed by

AL QAIDA members. The testimony of Jamal Ahmed Al Fadl during the 2001 trial of the 1998

African Embassy Bombings further revealed the nature of AL-HIJRA executives in SUDAN:

                Q.     Do you know who ran the Al-Hijra Company while it was in the
       Sudan?
             A.        At the time, few people. The first one Dr. Sharif al Din Ali-Mukhtar.
             Q.        Who else?
             A.        Abu Hassan al Sudani, and Abu Hamman Al Saudi, Abu Rida Suri and
       Abu Hajer.

       407.     Other AL-HIJRA agents, officers, or executives were directly involved in AL

QAIDA and terrorist operations. Mamdouh Mahmud Salim, an AL QAIDA co-conspirator, was on

the AL-HIJRA board of directors and is a founding member of AL QAIDA.

       408.     The SAUDI BIN LADEN GROUP sheltered and directly supported operatives of

the AL QAIDA terrorist organization. MOHAMMAD JAMAL KHALIFA is a key figure in the

network of OSAMA BIN LADEN and has been implicated as a central AL QAIDA figure in several

international terrorist plots. Yet KHALIFA was taken in by a branch of SAUDI BIN LADEN

GROUP, the Mohammed Bin Laden Organization, headed by OSAMA BIN LADEN’s brothers.

The address listed on KHALIFA’s visa application was the Mohammed Bin Laden Organization

in Jeddah, Saudi Arabia.

       409.     The Mohammed Bin Laden Organization is a wholly-owned subsidiary of the

SAUDI BIN LADEN GROUP.               The board members include Saleh Gazaz, MOHAMED

BAHARETH, Abdullah Bin Said, Mohamed Nur Rahimi, BAKR M. BIN LADEN, Tarek M. Bin

Laden, Omar M. Bin Laden, and Yeslam M. Bin Laden.

       410.     In the early 1990s, Tarek Bin Laden served as the general supervisor of the IIRO,



                                               220
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 221 of 243




a charity that has aided and abetted and materially supported AL QAIDA and international terrorism

(supra). During this time, IIRO was rapidly becoming AL QAEDA’s foremost charity used as a

means to transfer funds, personnel, and other means of material support. The CIA reported:

               The former head of the IIRO office in the Philippines, Muhammad Jamal
               Khalifa, has been linked to Manila-based plots to target the pope and U.S.
               airlines; his brother-in-law is Osama Bin Laden.
And
               The IIRO helps fund six militant training camps in Afghanistan.



       411.    According to an Arabic publication, Tarek Bin Laden had a prominent role in 1990

at the IIRO:

               Tarek bin Laden has been a member of the IIRO in MWL for ten
               years. He has been working quietly for the orphans and the
               immigrants in the Islamic world. In the past two years the operation
               of IIRO has grown thanks to the support of the Saudi Royal family.
               Tarek says that the IIRO relies on donations of the Saudi people and
               some donations from the Islamic world.

       412.    OSAMA BIN LADEN’s name is still listed in the SAUDI BIN LADEN GROUP’s

corporate records.



                                      AL-RAJHI BANK

       413.    Officially founded in 1987, Defendant AL-RAJHI BANKING & INVESTMENT

CORPORATION, (or “AL-RAJHI BANK”) has a network of nearly 400 branch offices throughout

Saudi Arabia and manages seventeen subsidiaries around the world. Defendant SULAIMAN

ABDULAZIZ AL RAJHI is the Managing Director of AL-RAJHI BANKING & INVESTMENT

CORPORATION. Defendant SALEH ABDULAZIZ AL RAJHI is the Chairman. Defendant



                                               221
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 222 of 243




ABDULLAH SULAIMAN AL RAJHI is the General Manager.

       414.   The AL-RAJHI BANKING & INVESTMENT CORPORATION is the primary bank

for a number of charities that serve as AL QAIDA supporters. AL-HARAMAIN ISLAMIC

FOUNDATION, THE MUSLIM WORLD LEAGUE (“MWL”), and the IIRO all funnel terrorism

financing and support through the AL-RAJHI BANKING & INVESTMENT CORPORATION

financial system. AL RAJHI BANK promoted fund raising for the SAUDI JOINT RELIEF

COMMITTEE, a charity headed by AL QAIDA founder and Specially Designated Global Terrorist,

WA’EL JULAIDAN, by setting up a special account. Specially Designated Global Terrorist

YOUSEF NADA maintained a bank account at AL RAJHI BANK until at least December 2002.

One of the American Airlines Flight 11 hijackers, ABDULAZIZ AL OMARI, held an account with

AL-RAJHI BANKING & INVESTMENT CORPORATION.

       415.   Defendant SULAIMAN ABDUL AZIZ AL RAJHI has a history of financially

supporting AL QAIDA terrorists. The AL RAJHI family is also the primary financier of the SAAR

FOUNDATION (infra) and, as such, is implicated by the SAAR Network’s sponsorship of

terrorism and OSAMA BIN LADEN. SALEH ABDULAZIZ AL RAJHI has been closely linked

to OSAMA BIN LADEN’s personal secretary and convicted terrorist, WADIH EL HAGE. When

the Kenyan house of OSAMA BIN LADEN’s personal secretary, WADIH EL HAGE, was raided

in 1997, contact information regarding SALEH ABDULAZIZ AL RAJHI was discovered. WADIH

EL HAGE is an AL QAIDA member who was convicted for the 1998 United States Embassy

bombings in Kenya and Tanzania.

       416.   The SAAR FOUNDATION made grants/allocations directly from a Chase




                                            222
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 223 of 243




Manhattan Bank account that was in the name of AL RAJHI BANKING & INVESTMENT

CORPORATION.

       417.    AL RAJHI BANK issued travelers checks to AL HARAMAIN ISLAMIC

FOUNDATION, a Specially Designated Global Terrorist. AL RAJHI BANK cashed travelers

checks for AL HARAMAIN. These actions facilitated the surreptitious movement of funds to

Chechnya.

       418.    AL RAJHI BANK operated one of the few correspondent accounts for BANK AL

TAQWA, a Specially Designated Global Terrorist (infra.) Without these correspondent accounts,

BANK AL TAQWA would not have been able to financially support AL QAIDA.

       419.    In an interview with the FBI, an AL QAIDA informant stated that AL RAJHI “is the

name of a bank in which al Qaida had funds on deposit.”

       420.    AL RAJHI BANK was a major creditor to the fraudulent and terror sponsoring

BCCI. AL RAJHI BANK attempted to cover up its exposure to BCCI and during the ensuing

uproar, US Ambassador to Saudi Arabia, Charles Freeman, noted AL RAJHI BANK’s reputation

for “loan shark practices.”

       421. AL RAJHI BANKING & INVESTMENT CORPORATION knowingly assisted AL

QAIDA through: providing services to the Spanish and Hamburg AL QAIDA cells; allowing SAAR

network to use its correspondent account with a US bank to launder money for terror; providing

bank services to AL QAIDA directly; acting as a correspondent bank for BANK AL TAQWA;

providing banking services for YOUSEF NADA; providing banking services for AL HARAMAIN

to launder money for terror; and providing banking services for numerous AL QAIDA sponsoring




                                             223
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 224 of 243




charities.

        422.   Co-conspirators, agents, aiders and abettors of the AL RAJHI banking scheme to fund

or otherwise materially support terrorism include: SULAIMAN ABDULAZIZ AL RAJHI, SALEH

ABDULAZIZ AL RAJHI, and ABDULLAH SULAIMAN AL RAJHI. All of these Defendants do

business in and have a significant business presence in the United States, including but not limited

to, through Al-Watania Poultry, one of the world’s largest poultry businesses, and through

Defendants MAR-JAC POULTRY, INC., MAR-JAC INVESTMENTS, INC. and PIEDMONT

POULTRY. They are also material sponsors of international terrorism.


                NATIONAL COMMERCIAL BANK AND BIN MAHFOUZ

        423.   The defendant NATIONAL COMMERCIAL BANK (or “NCB”) was founded in

1950 by Salim Bin Mahfouz. KHALID BIN SALIM BIN MAHFOUZ is the son of Salim Bin

Mahfouz. The NATIONAL COMMERCIAL BANK (“NCB”) was the first commercial bank of

Saudi Arabia, based in Jeddah. After Salim Bin Mahfouz’s death in 1986, his son KHALID BIN

MAHFOUZ became President and CEO of the NATIONAL COMMERCIAL BANK and remained

in that position until 1999, becoming its principal shareholder with control over more than 50% of

the bank’s capital. KHALID BIN MAHFOUZ’s son ABDULRAHMAN BIN MAHFOUZ was

Deputy General Manager, Deputy Chairman of the Executive Committee, and until at least 2002,

was on the Board of Directors. The NCB has several wholly-owned subsidiaries, including SNCB

Corporate Finance Ltd. In London, SNCB Securities Ltd. In London, and SNCB Securities Ltd. in

New York City through which it operates an international banking enterprise.

        424.   The NATIONAL COMMERCIAL BANK was implicated between 1986 and 1990



                                               224
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 225 of 243




in the fraudulent schemes and practices of the Bank of Credit and Commerce International (or

“BCCI” scandal). NCB Chairman KHALID BIN SALIM BIN MAHFOUZ became Chief Operating

Officer and major shareholder of BCCI. A 1992 United States Senate Report on the BCCI scheme

detailed the role of NCB in hiding assets, money laundering, the cover-up and obstruction of a

Senate investigation, and sponsoring international terrorism. The NCB was used by OSAMA BIN

LADEN and AL QAIDA as a financial arm, operating as a financial conduit for OSAMA BIN

LADEN’s operations. As a former CIA counter-terrorism expert explained in October 2001:

              How does the Al Qaida organization fund its worldwide network of
              cells and affiliated groups? Several businessmen in Saudi Arabia and
              in the Gulf contribute monies. Much of the money is paid as
              ‘protection’ to avoid having the enterprises run by these men
              attacked. There is little doubt that a financial conduit to Bin Laden
              was handled through the National Commercial Bank, until the Saudi
              government finally arrested a number of persons and closed down the
              channel. It was evident that several wealthy Saudis were funneling
              contributions to Bin Laden through this mechanism. Now, it appears,
              that these wealthy individuals are siphoning off funds from their
              worldwide enterprises in creative and imaginative ways.

       425.   The BIN MAHFOUZ family businesses are organized through a series of “holding”

companies, including a Conglomerate, Saudi Economic and Development Company LLC (SEDCO),

founded in 1976 and based in Jeddah, and a petroleum company which is chaired by KHALID BIN

MAHFOUZ’s son.

       426.   Between 1986 and 1990, KHALID BIN SALIM BIN MAHFOUZ was a director of

the Bank of Credit and Commerce International (BCCI). After several fraudulent practices were

discovered, KHALID BIN SALIM BIN MAHFOUZ was indicted on July 1, 1992, on charges of

participation in a Scheme to Defraud in the First Degree in violation of New York Penal Law §




                                              225
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 226 of 243




190.65, in connection with certain acts and omissions relative to BCCI Holdings and certain related

entities. The indictment alleged a series of misrepresentations, sham loans, and fraudulent conduct

in failing to disclose the status of his interest in BCCI.

        427.    Under KHALID BIN SALIM BIN MAHFOUZ, BCCI was also implicated in

supporting international terrorism, as reported by the United States Senate:

                In the course of targeting BCCI for laundering drug money, the CIA
                learned of BCCI's involvement in manipulating certain financial
                markets, in arms trafficking, and in supporting international
                terrorism, including handling the finances of Sabri al Bannah or Abu
                Nidal, and his terrorist organization.

        428.    The 1992 Senate investigative Report detailed the initial involvement of BCCI in

terrorism financial supporting terrorism:

                BCCI's support of terrorism and arms trafficking developed out of
                several factors. First, as a principal financial institution for a number
                of Gulf sheikhdoms, with branches all over the world, it was a logical
                choice for terrorist organizations, who received payment at BCCI-
                London and other branches directly from Gulf-state patrons, and then
                transferred those funds wherever they wished without apparent
                scrutiny. Secondly, BCCI's flexibility regarding the falsification of
                documentation was helpful for such activities. Finally, to the extent
                that pragmatic considerations were not sufficient of themselves to
                recommend BCCI, the bank's pan-third world and pro-Islam
                ideology would have recommended it to Arab terrorist groups.

        429.    A bank audit of the defendant NATIONAL COMMERCIAL BANK conducted in

1998 revealed that over a 10 year period $74 million dollars was funneled by its Zakat Committee

to the IIRO, headed by OSAMA BIN LADEN’s brother-in-law.

        430.    The defendant NCB audit report also stressed various irregularities due to “unreported

expenses and loans.” It states that “without knowledge of the Zakat Committee, NCB Directors

established over the years credit and loans facilities for several charitable organizations, along with


                                                 226
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 227 of 243




banking facilities that were not reviewed by the Committee.” Direct donations were received

through NCB facilities to the SAUDI RED CRESCENT, IIRO and the MUWAFFAQ Foundation.

NATIONAL COMMERCIAL BANK, its agents and employees knew or should have known they

were materially sponsoring, aiding and abetting AL QAIDA, OSAMA BIN LADEN, and

international terrorism.

       431.     The NCB audit report reflects a $3 million dollar transfer to MUWAFFAQ-

BLESSED RELIEF FOUNDATION. KHALID BIN SALIM BIN MAHFOUZ was dismissed from

the NCB in 1999 soon after the release of the bank’s audit report and placed under house arrest.

KHALED BIN MAHFOUZ set up various charity organizations around the world since 1991. Every

one of these foundations were linked to AL QAIDA and involved in the financing and material

sponsorship of OSAMA BIN LADEN’s international terrorist operations.

       432.    The BIN MAHFOUZ family controlled the NATIONAL COMMERCIAL BANK in

Saudi Arabia, until 1999 when the Saudi Government bought the majority of its ownership. Upon

information and belief that bank has financed the operations of BIN LADEN and reports from Saudi

Arabia’s NATIONAL COMMERCIAL BANK show that in 1998 MUWAFFAQ provided BIN

LADEN with $3 million. At the time of the transfers of money to OSAMA BIN LADEN via NCB,

ABDULRAHMAN KHALED BIN MAHFOUZ was the Deputy General Manager of the bank as

well as Deputy Chairman of the Executive Committee.

       433.    ABDULRAHMAN KHALED BIN MAHFOUZ served on the board of directors of

MUWAFFAQ FOUNDATION. ABDULRAHMAN BIN MAHFOUZ worked closely with YASIN

AL QADI in managing MUWAFFAQ. From his positions as an officer of both NATIONAL




                                             227
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 228 of 243




COMMERCIAL BANK and MUWAFFAQ, ABDURAHMAN BIN MAHFOUZ provided financial

and other support to OSAMA BIN LADEN and AL QAIDA.

       434.    Upon information and belief, KHALED BIN MAHFOUZ, is also linked to the SAAR

FOUNDATION and its related charities. Offices of the SAAR FOUNDATION, a Saudi financed

entity in Herndon, Virginia were searched by Treasury Department investigators in March 2002.

SAAR shares a mailing addresses with many organizations with overlapping offices, donors,

directors and significantly, overlapping goals.



                                 DAR AL MAAL AL ISLAMI

       435.    DAR AL MAAL AL ISLAMI TRUST a/k/a DMI is involved in Islamic banking,

investment and insurance activities. DMI is registered in the Bahamas and operates from Geneva,

Switzerland under the name DMI Administrative Services SA. DMI was founded in 1981. Until

1983, DMI was operated under M. Ibrahim Kamel’s chairmanship. On October 17, 1983, PRINCE

MOHAMMED AL FAISAL AL SAUD became CEO. Under PRINCE MOHAMMED AL FAISAL

AL SAUD’s chairmanship, DMI developed banking, investment and insurance activities in

approximately twenty offices around the world. DMI is currently chaired by Abdulkarim Khaled

Yusuf Abdulla who replaced PRINCE MOHAMED AL FAISAL AL SAUD in early 2002.

       436.    DMI has held substantial investments in three Sudanese banks which have been active

supporters of OSAMA BIN LADEN and AL QAIDA; FAISAL ISLAMIC BANK SUDAN,

TADAMON ISLAMIC BANK, and AL SHAMAL ISLAMIC BANK (infra.)

       437.    DMI has had long running business relations with YOUSEF NADA. NADA has been




                                                  228
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 229 of 243




listed by the United States Department of the Treasury as a Specially Designated Global Terrorist

for his financial backing of AL QAIDA. NADA was a large shareholder in FAISAL ISLAMIC

BANK SUDAN, an associated company of DMI, and over which DMI exercises significant

influence.

       438.    BANK AL TAQWA, a terror financing bank controlled by YOUSEF NADA is

registered in the Bahamas at the same address as DMI. The attorney in whose office DMI and

BANK AL TAQWA are registered took an active role in both entities. For DMI, the attorney

provides corporate officers and shareholders. For BANK AL TAQWA, the attorney provided cash

handling services.

       439.    DMI’s wholly owned subsidiary, Faisal Finance held 23 accounts for WA’EL

JULAIDAN and YASIN AL KADI. Swiss authorities froze these accounts in November 2001.

JULAIDAN has been listed by the United States Department of the Treasury as a Specially

Designated Global Terrorist for his activities in founding and supporting AL QAIDA. AL KADI has

been listed for his financial support to AL QAIDA as well as his actions with the AL QAIDA front

charity MUWAFFAQ.

       440. In 1998, the FBI’s Counter Terrorism Task Force identified a Faisal Finance account

of YASSIN AL QADI as being a source of funding for Hamas terrorist, Mohamed Saleh. In 1999,

OSAMA BIN LADEN, on al Jazeera TV, acknowledged his close ties to WA’EL JULAIDAN.

Nevertheless, DMI, via its wholly owned subsidiary, Faisal Finance, knowingly and intentionally

continued to provide numerous accounts to WA’EL JULAIDAN and YASSIN AL QADI, financial

supporters of terror. In fact, the Hamas financing account identified in 1998, was one of the accounts




                                                229
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 230 of 243




frozen after September, 11, 2001.

       441.   Defendant YUSUF AL QARDAWI is an official of three DMI companies. AL

QARDAWI is a significant shareholder of BANK AL TAQWA, a bank listed as a Specially

Designated Global Terrorist.

       442.   Defendant HASSAN AL TURABI, who invited and hosted OSAMA BIN LADEN

and AL QAIDA in SUDAN, was on the Board of Supervisors of DMI at the time he seized power

in SUDAN.

       443.   DMI via its subsidiaries was a major depositor with the fraudulent and terror

sponsoring Bank of International Credit and Commerce, BCCI.

       444.   DMI’s actions and breach of duty have aided, abetted and provided material

sponsorship of the spread of international terrorism and AL QAIDA.



                AL BARAKA INVESTMENT AND DEVELOPMENT CORP.

       445.   AL BARAKA INVESTMENT & DEVELOPMENT CORPORATION (or “AL

BARAKA”), a wholly owned subsidiary of DALLAH ALBARAKA GROUP LLC (or “DALLAH

ALBARAKA”), is based in Jeddah, Saudi Arabia. Its investments include 43 subsidiaries, mainly

banks in Arab and Islamic countries. Most of them are known as or registered as “al Baraka Bank.”

United States assets include Al Baraka Bancorp Inc. in Chicago, Illinois, and Al Baraka Bancorp

Inc. in Houston, Texas.

       446.   A memo from the Russia Federation’s Security Service details the AL BARAKA

Bank’s role in funding Defendant AL-HARAMAIN:




                                              230
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 231 of 243




               On existing knowledge, part of the obtained financing comes from the
               charitable collections (Zakat) and goes to the personal foreign
               accounts of field commanders, including Khattab and Basayef.

       447.    AL BARAKA provided OSAMA BIN LADEN with financial infrastructure in

SUDAN beginning in 1983. For example, the use of AL BARAKA Bank by AL-HARAMAIN was

confirmed by a statement from AL-HARAMAIN chairman, AQEEL AL AQEEL, who declared that

the charity maintained accounts at AL BARAKA Bank in Saudi Arabia.

       448.    AL BARAKA INVESTMENT & DEVELOPMENT is present in the Sudanese

banking sector, through assets held in Algharb Islamic Bank, AL SHAMAL ISLAMIC BANK,

FAISAL ISLAMIC BANK, Sudanese Islamic Bank and TADAMON ISLAMIC BANK. AL

BARAKA is also affiliated with the National Development Bank in SUDAN.

       449.    Defendant SALEH ABDULLAH KAMEL was born in Makkah, Saudi Arabia, in

1941. After being the adviser to the Saudi Minister of Finance, in 1969 he founded DALLAH

ALBARAKA GROUP LLC, quickly establishing himself as one of the leading promoters of an

Islamic financial and banking system capable of rivaling large Western institutions.

       450.    DALLAH ALBARAKA GROUP LLC, a diversified conglomerate based in Jeddah,

Saudi Arabia, is involved in various industries, services and financial activities. The group includes

twenty-three banks in Arab and Islamic countries, in addition to several investment and financial

companies.

       451.    DALLAH ALBARAKA GROUP LLC’s portfolio includes a wholly owned

subsidiary specializing in aviation-services, DALLAH AVCO TRANS-ARABIA CO LTD (or

DALLAH AVCO.) The company was formed in 1975 and is based in Jeddah, Saudi Arabia.




                                                231
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 232 of 243




       452.    OMAR AL BAYOUMI, a Saudi national, was Assistant to the Director of Finance

for DALLAH AVCO, a position he gave as a reference in an application for admission to Case

Western Reserve University in Cleveland, Ohio in 1998. During his time in the United States,

OMAR AL BAYOUMI received a monthly salary and living allowance from DALLAH AVCO.

       453.    On May 5, 1998, OMAR AL BAYOUMI registered a fictitious company name called

Masjed al Madinah al Munawarah based in San Diego, California.

       454.    Two of the hijackers of American Airlines Flight 77, NAWAF AL HAZMI and

KHALID AL MIHDHAR, were assisted by AL BAYOUMI. Upon the arrival of the future hijackers

in the United States in January 2000, AL BAYOUMI invited them to San Diego, housed them, found

them an apartment, paid for the apartment, organized a welcoming party for them, introduced them

to his local mosque, arranged driver’s licenses, credit cards, car insurance and social security cards.

During this period of time, AL BAYOUMI’s living allowance was increased 800% by DALLAH

AVCO. It was via AL BAYOUMI that DALLAH AVCO financially supported the 9/11 hijackers

with an estimated $30,000.

       455.    Based on US Immigration and Naturalization Service records, the 9/11 commission

reported that AL BAYOUMI’s passport contained evidence of ties to AL QAIDA. According to the

9/11 Commission, the passports of at least three of the hijackers, including the two that AL

BAYOUMI directly assisted, also contained these “indicators of Islamic extremism.”

       456.    SALEH ABDULLAH KAMEL, Chairman of DALLAH AL BARAKA and AL

BARAKA BANK, was one of the three founding members of AL SHAMAL ISLAMIC BANK.

SALEH ABDULLAH KAMEL founded the bank in 1983, along with a Sudanese company, Al




                                                232
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 233 of 243




Shamal Investment and Development, and the Government of Northern State, then controlled by

Governor Mutasin Abdel-rahim, representative of HASSAN AL TURABI.

       457.    The practice and policy of DALLAH ALBARAKA GROUP LLC and AL BARAKA

BANK is to provide financial support and material assistance to international terrorist organizations

including AL QAIDA.

       458.    In 1998, Al Aqsa Islamic Bank was established with $20 million in capital. The main

shareholders were DALLAH AL BARAKA GROUP LLC and the Jordan Islamic Bank. Jordan

Islamic Bank, a DALLAH AL-BARAKA LLC subsidiary, owns 14 percent of Al-Aqsa Islamic

Bank. SALEH ABDULLAH KAMEL acknowledged that DALLAH AL-BARAKA Group LLC

owns another twelve percent directly.

       459.    Since 1998, Israel has refused to approve the bank, citing its obvious ties with known

terrorists. At the beginning of 2001, several antiterrorist authorities from Israel visited Citibank’s

headquarters in New York to warn its directors of the nature of the bank’s activities with respect to

international terrorism.

       460.    AL BARAKA provided support to the “charity” AL-HARAMAIN. As reported by

the Bosnian Intelligence Agency (Agency for Investigation and Documentation – AID) in a

memorandum titled “Some illegal activities of humanitarian organizations investigated by the

relevant investigative bodies of the Federation of Bosnia Herzegovina (FbiH)”:

               Records available for 1998 show a flow of money into the so-called
               “operating” account of the HO [Humanitarian Organization] at the
               Deposit Bank, Sarajevo, from the “main” account, sent from Saudi
               Arabia via the Deutsche Bank and the Albaraka Bank in Turkey. The
               amount is 1,059,687 DEM [$2.13 million].




                                                233
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 234 of 243




       461.   A Bosnian Intelligence memo regarding the activities of AL-HARAMAIN states the

following:

              Given all the above security factors, we believe that the clear lack of
              any concrete humanitarian projects indicates that the existence of
              this HO [Humanitarian Organization] was a fictitious cover . . .

       462.   The report establishes AL-HARAMAIN’s role in financing and assisting OSAMA

BIN LADEN’s operations.

              [t]he Saudi HO [Humanitarian Organization] al-Haramain, . . . has
              acted as a channel for financing the activities of terrorist
              organizations. . . . According to available intelligence, the Sarajevo
              office assisted the terrorist organization Gama al Islamija, while
              members of bin Laden’s el Itihad al Islamija (AIAI) terrorist groups
              were employed at the Somalia offices, which also financed their
              operations.




                                               234
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 235 of 243




                                            COUNT ONE

                 WRONGFUL DEATH BASED ON INTENTIONAL MURDER

       463.    Plaintiffs repeat the allegations of the paragraphs above as if fully set forth at length.

       464.    As a direct and proximate result of defendants’ intentional, willful and malicious acts

of terrorism on September 11, 2001, defendants have caused plaintiffs’ decedents’ family members

to suffer severe and permanent injuries, damages and losses, including but not limited to the

following:

       465.    Economic damages, including but not limited to, the pecuniary losses suffered by

plaintiffs and decedents’ remaining survivors, as a result of decedents’ deaths, including but not

limited to, loss of support, loss of services, loss of parental care and guidance, and loss of

prospective inheritance; and

       466.    Non-economic damages, including but not limited to, the loss of consortium,

solarium, society, companionship, care, comfort and love suffered by plaintiffs and decedents’ other

survivors.

       467.    WHEREFORE, by reason of the foregoing, defendants are liable jointly and severally

to each wrongful death plaintiff in the sum of FIFTY MILLION ($50,000,000.00) DOLLARS,

exclusive of interests, costs and fees.




                                                 235
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 236 of 243




                                          COUNT TWO

              SURVIVAL DAMAGES BASED ON INTENTIONAL MURDER

       468.    Plaintiffs repeat the allegations of the paragraphs above as if fully set forth at length.

       469.    As a result of their deaths, decedents lost the enjoyment of life that they would have

had if they had not been killed.

       470.    Before their deaths, decedents suffered conscious pain and suffering and fear of their

impending deaths, entitling their estates to compensatory damages under governing law.

       471.    WHEREFORE, by reason of the foregoing, defendants are liable jointly and severally

to each of the decedents’ estates in the sum of TWENTY FIVE MILLION ($25,000,000.00)

DOLLARS.

                                         COUNT THREE

                                   ASSAULT AND BATTERY

       472.    Plaintiffs repeat the allegations of the paragraphs above as if fully set forth at length.

       473.    As a result of the September 11, 2001 hijackings and attacks, plaintiffs’ decedents

and/or personal injury plaintiffs were placed in apprehension of harmful and/or offensive bodily

contact, and suffered harmful, offensive bodily contact, from which they ultimately died or suffered

serious permanent personal injury.

       474.    By reason of all of the foregoing, the surviving personal injury plaintiffs were

seriously and severely injured, shocked, bruised and wounded and suffered great physical, mental

and emotional pain and injury, and they were rendered sick, sore, lame and disabled, and were

otherwise injured, and they were confined to a hospital, and/or to bed and home for a period of time




                                                 236
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 237 of 243




by reason thereof, and required and received medical care and treatment, and incurred medical

expenses and will continue to incur future expenses therefor, and the surviving personal injury

plaintiffs were prevented from attending to the duties of their employment and prevented from

pursuing the furthering their careers and lost salary and earnings and will lose future salary and

earnings thereby.

       475.    WHEREFORE, by reason of the foregoing, defendants are liable jointly and severally

to each of the personal injury plaintiffs in an amount in excess of FIFTEEN MILLION

($15,000,000.00) DOLLARS.

                                          COUNT FOUR

                VIOLATION OF ANTI-TERRORISM ACT, 18 U.S.C. § 2333

       476.    Plaintiffs reallege above paragraphs as if fully set forth herein.

       477.    Personal injury plaintiffs and plaintiffs’ decedents, who are and were at all relevant

times citizens of the United States, suffered substantial injuries to their persons, property, and

business by reason of the acts of international terrorism perpetrated by defendants on September 11,

2001 that resulted in the death of plaintiffs’ decedents and serious permanent injury to personal

injury plaintiffs, a substantial portion of the planning, training and preparation for which occurred

primarily outside the territorial jurisdiction of the United States.

       478.    Defendants provision of material support and assistance to BIN LADEN and AL

QAIDA in Afghanistan, IRAQ and other places as well as their provision of a safe haven and base

of operations to BIN LADEN and AL QAIDA in Afghanistan and other countries from which they

carried out terrorist attacks on the United States, including the September 11, 2001 terrorist attacks




                                                 237
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 238 of 243




that resulted in the death of plaintiffs’ decedents, also constitutes acts of international terrorism that

caused substantial injuries to the persons, property, and business of plaintiffs and plaintiffs’

decedents.

        479.    WHEREFORE, plaintiffs each demand judgment be entered in favor of plaintiffs

acting individually and as the personal representatives of decedents’ estates and in favor of the

personal injury plaintiffs personally and against defendants, jointly and severally, for an amount

THREE TIMES each plaintiff’s compensatory damages, plus interests, costs, attorneys fees, and

such other relief as the Court deems just and proper.

                                           COUNT FIVE

                           TORTURE VICTIM PROTECTION ACT

        480.    The Alien Tort Act, 28 U.S.C. § 1350, also known as the Torture Victim Protection

Act, creates a cause of action in favor of plaintiffs in this action who are not nationals of the United

States, and against the defendants for their violation of international law in torturing and killing the

passengers and crew of the aforesaid Flights and victims on the ground.

        481.    The Torture Victim Protection Act, 28 U.S.C. § 1350, creates a cause of action for

all plaintiffs in this action against the defendants, for the torture and extrajudicial killing of the

decedents and injury to plaintiffs.

        482.    The plaintiffs and the estates of each decedent are entitled to recover wrongful death

damages, including pecuniary losses, and damages for loss of support, consortium, society,

companionship, prospective inheritance, care, love, guidance, training, education, solatium and

services, and damages for grief and mental anguish, moral damages, burial expenses and other




                                                  238
   Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 239 of 243




damages.

        483.    By reason of the foregoing, defendants are jointly and severally liable to each plaintiff

and each decedent's estate in the sum of FIFTY MILLION ($50,000,000) DOLLARS.

                                             COUNT SIX

        ANTI TERRORISM AND EFFECTIVE DEATH PENALTY ACT CLAIM,
             28 U.S.C. § 1605(A)(7) -- IRAQ, IRAN AND THE SUDAN

        484.    Plaintiffs reallege the paragraphs above as if fully set forth herein.

        485.    The death of plaintiffs’ decedents and injury to personal injury plaintiffs, who were

citizens of the United States at the time, resulted from acts of extrajudicial killing, torture and aircraft

sabotage.

        486.    These acts of extra judicial killing, torture and aircraft sabotage were perpetrated by

agents of BIN LADEN and AL QAIDA, who received material support and resources from

defendants, TALIBAN, IRAQ, SUDAN, and IRAN.

        487.    Agents, officials or employees of defendants, TALIBAN, IRAQ, IRAN and the

SUDAN provided material support and resources to BIN LADEN and AL QAIDA while acting in

the scope of their offices, agencies, or employment. Similar conduct, if committed by agents,

officials or employees of the United States, would be actionable.

        488.    At all relevant times, defendants IRAQ, SUDAN and IRAN were and are designated

by the U.S. Government as a state sponsor of terrorism.

        489.    The activities of the Islamic Emirate of Afghanistan under the TALIBAN regime, as

described in this Complaint, were effectively deemed terrorist activities pursuant to former President

Clinton's July 4, 1999, Executive Order No. 13129 and the continuation Order of June 30, 2001,



                                                   239
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 240 of 243




issued by President George W. Bush. In addition, after the terrorist acts on September 11, 2001,

President George W. Bush and other senior U.S., officials clearly designated the Islamic Emirate of

Afghanistan as having sponsored and supported the terrorists. For example, see President George

W. Bush's September 24, 2001, Executive Order on Terrorist Financing (Executive Order No.

13224).

       490.    WHEREFORE, plaintiffs demand judgment be entered in favor of plaintiffs

individually and as personal representatives of their decedents’ estates and in favor of the personal

injury plaintiffs personally and against defendants IRAQ, IRAN and SUDAN and their

instrumentalities and agents for an amount in excess of FIFTY MILLION ($50,000,000.00)

DOLLARS for each plaintiff, plus interest, costs, punitive damages, attorneys fees, and such other

relief as the Court deems just and proper.

                                        COUNT SEVEN

                                    PUNITIVE DAMAGES

       491.    Plaintiffs reallege the above paragraphs as if fully set forth herein.

       492.    For the reasons stated above, and pursuant to § 28 U.S.C. § 1606, defendants each

are liable jointly and severally, to each plaintiff for punitive damages in the amount in excess of

THREE HUNDRED MILLION ($300,000,000.00) DOLLARS.

                                        COUNT EIGHT

                                    PROPERTY DAMAGE

       493.    Plaintiffs reallege the above paragraphs as if fully set forth herein.

       494.    As a direct and proximate result of defendants’ intentional, willful and malicious acts




                                                240
  Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 241 of 243




of terrorism on September 11, 2001, defendants have caused property damage plaintiffs severe and

extensive damage in that their building became blighted; physical damage was caused to the building

by parts of the World Trade Center which struck the building; asbestos and other materials from the

World Trade Center struck plaintiffs’ building; the building has become unsafe until the asbestos has

been cleaned up; plaintiffs were required to perform extensive asbestos clean-up and clean-up for

other toxic materials from the World Trade Center; the plaintiff’s building has been closed for a

substantial period since September 11, 2001; tenants have not paid rent; many tenants have

abandoned and will abandon the building since they claim the building cannot currently safely be

occupied as required by the tenants’ leases; the exterior and interior of the building will have to be

replaced; carpeting in the building has to be torn up and replaced; the value of the building has been

blighted and diminished; and plaintiffs have been otherwise damaged, all of which damages are

continuing into the future.

       495.    By reason of the foregoing, property damage plaintiffs are entitled to recover all of

their damages from the defendant in an amount not to exceed the sum of ONE HUNDRED

MILLION ($100,000,000.00) DOLLARS.

                                        JURY DEMAND

       Plaintiffs demand trial by jury on all issues so triable.

       WHEREFORE, plaintiffs and each decedents’ estate demand

               (a) Count One - Wrongful Death Based on Intentional Murder the total
       sum of FIFTY MILLION ($50,000,000) DOLLARS for each wrongful death
       plaintiff;

               (b)   Count Two - Survival Damages Based on Intentional Murder the
       total sum of TWENTY FIVE MILLION ($25,000,000) DOLLARS for each



                                                241
Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 242 of 243
Case 1:03-md-01570-GBD-SN Document 1463 Filed 09/30/05 Page 243 of 243




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                                 243
